               '
               *



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 1 of 53 Pageid#:
                                   8399



                            '
                         fi
                         i ).
                           E i
                             ).
                              !E .                mu'11y Conge: .,fom mt'    -stdegenerate'/
                                                                           lnl                    :
                                                                                                  *
                                                                                                  .
                                                                                                  w-
                                                                                                   7.-q'
                                                                                                       o
                                                                                                       ''$
                                                                                                         -1L
                                                                                                         w.p.j,
                                                                                                              ïs
                                                                                                               -tcl?
                                                                                                                 -,n.s.
                                                                                                                   w tu.,x aJu'  -
                                                                                                                                9z70
                                                                                                                                  u'
                                                                                                                                   -,=
                                                                                                                                   '  5E
                                                                                                                                       ')1u
                                                                                                                                       u  Cs
                                                                                                                                           1
                        j..!:'.
                              '  '                                              .
                      (
                      j
                      i,
                      !6.
                        E.
                         ;..4
                         :  ::.
                            . 7p.
                                 '.
                                                  ohgoc-b  iI
                                                            mwss.ch-1
                                                                    ,$
                                                                     7
                                                                     :fb
                                                                       .ri
                                                                         ukckr:Ee
                                                                                ' y
                                                                                  b
                                                                                  .'1
                                                                                    -
                                                                                    5  t
                                                                                       a I
                                                                                         k i
                                                                                           ,
                                                                                           '
                                                                                           $n
                                                                                            t
                                                                                            .g
                                                                                             ' L
                                                                                               n i
                                                                                                 g   t aI,
                                                                                                         i
                                                                                                         k a  bout   t he 1
                                                                                                                          -
                                                                                                                          r
                                                                                                                        ' ' i
                                                                                                                            n telI
                                                                                                                                 1g,
                                                                                                                                   .=
                                                                                                                                    .n r
                                                                                                                                       -e
                           ..
                            ..                                                                      .                                j
                    '
                          ;
                          i.
                              '
                                .                 gatheq,'ng
                                                           '.
                                                            'abi1-
                                                                 r
                                                                 E'
                                                                  $
                                                                  u
                                                                  A.'hovsêthey are m onitorings'ocialmed.       '     ia theexai  m pliethat
                          t
                          I
                          iE
                          E
                                                  s'
                                                   heglvesIv  o.
                                                               khatJa5On kesFler'    e/astfen.ctln.g c'  nt' i,I .w                   .
                                 h
                                 t
                                 E
                                 j
                                 ë
                                 E
                                 :
                                 !
                                 E
                                                                                            o
                                                                                            t
                                                                                            '
                                                                                            a
                                                                                            :'-
                                 :
                                 r
                                 E
                                 .
                                 E
                                 îë
                                  1
                                 .'  .
                      .g
                       :
                       Ey
                        ;:
                         .
                         :.
                          ,.
                           :.
                            :
                            '.
                             .,
                              .,
                               7)
                                y
                                .jE
                                  ?Eq:
                                     24                '
                    !!:;
                    q
                    ....
                    .
                              ëi
                               .
                               :E
                               :
                               ig.
                                )
                                !
                                E.u
                                .
                                   ;
                                   )
                                   (
                                   :t    ,,,
                                     jj4:4
                                         .
                                         jj,j
                                            j,,, y,
                                            j:
                                             jrjr j jj;j
                                                jj,
                                                  i
                                                  j
                                                  :
                                                  .   I
                                                      .j,.
                                                         ,j
                                                         ,, ,,,
                                                          ;
                                                          .
                                                          y.jjjjjj
                                                                 y
                   .
                   l
                   f
                   g
                   .'
                    ::j
                     IEE:.
                         .:.
                      IEEs..
                            .
                             sj
                           ;E.
                             ëj
                              !j
                               !Esj
                                 :;j
                                   '
                                  :' t
                                     s
                                     v.x
                                       >
                                       .y
                                        .c
                                         wz.Oy j
                                               .
                                               v
                                               tx
                                                ,
                                                ?
                                                u.
                                                 j
                                                 ?s
                                                  w
                                                  t
                                                  .-
                                                   y
                                                   ./
                                                    ..
                                                     j
                                                     )
                                                     .t:
                                                       .jo,
                                                          .

                   '
                   h?-dRt-l-l.'j
                    M
                   ...s         -it
                               -.
                                V
                                : hx;
                                  . .
                                    <-
                                    ï
                                    ?
                                    ' x
                                     li
                                      I
                                      FiiI.:k
                                        -l  .
                                            .
                                            .
                                            :
                                            '
                                            1. r
                                               ;
                                             ):1
                                             : (
                                               è
                                               f7L
                                                 :@
                                                 w
                                                 :
                                                 .'
                                                  .
                                                  :.
                                                   f
                                                   .7
                                                    -
                                                    .
                                                    1
                                                    ''.ï<k
                                                     r
                                                     x
                                                     S
                                                     .   l
                                                         7
                                                         e
                                                         '
                                                         s:l
                                                           :-
                                                           '1y.
                                                            . r:
                                                               ..h
                                                                 .
                                                                 ?
                                                                 .
                                                                 ',
                                                                  -.
                                                                  .
                                                                  Jj:
                                                                   ji
                                                                    -
                                                                    .
                                                                    'sj.
                                                                     . -.
                                                                       àj
                                                                        rj.
                                                                        , -y
                                                                           .-jxt,:
                                                                                 .
                                                                                 '
                                                                                 ,
                                                                                 :y..txrky
                                                                                 -       i.                                                                    .



                          utfail.                         in to .at erintelli ence fro @ anarc ists atcit
                                                        z;                                  J
                                                                                            ï4
                                                                                             ,:v. .st
                                                                                                    =..zs .--  ?
                                                                                                               j y?
                                                                                                                  >
                                                                                                                  jp
                                                                                                                   -
                                                                                                                   ?h
                                                                                                                    k
                                                                                                                    ry
                                                                                                                     j?J
                                                                                                                      z .
                                                                                                                        -
                                                                                                                        j
                                                                                                                        .j
                                                                                                                         )
                                                                                                                         s
                                                                                                                         r
                                                                                                                         .,
                                                                                                                          q
                                                                                                                          r.jùz
                                                                                                                              y
                                                                                                                              jy
                                                                                                                               .!)A.rw
                                                                                                                                     tjrs
                                                                                                                                        ; .
                                                                                                                                          . .
                                                                                                                                            x
                                                                                                                                            E
                                                                                                                                            j=
                                                                                                                                             j.j-'
                                                                                                                                              j
                                                                                                                                              k   z
                                                                                                                                                 yj
                                                                                                                                                 .t
                                                                                                                                                  -s
                                                                                                                                                   ;.
                                                                                                                                                    t,f.  js -.
                                                                                                                                                              f
                                                                                                                                                              er
                                                                             1 jI0. P.1  r:jC
                                                                                            y
                                                                                            .y..
                                                                                               ,y
                                                                                               :.   .
                                                                                                    y
                                                                                                    sL
                                                                                                     fL
                                                                                                      .
                                                                                                      s .yj
                                                                                                          -
                                                                                                          .j j
                                                                                                             .   jo,
                                                                                                                   .
                                                                                                                   .,
                                                                                                                    -   .
                                                                                                                        ,yy
                                                                                                                          t
                                                                                                                          ja
                                                                                                                           y
                                                                                                                           .j
                                                                                                                            #y
                                                                                                                             rjl
                                                                                                                               v   'j
                                                                                                                                    g
                                                                                                                                    P.
                                                                                                                                     .
                                                                                                                                     ,    .y
                                                                                                                                          ,:,
                                                                                                                                            u
                                                                                                                                            .    ..
                                                                                                                                                  ,.
                                                                                                                                                   j;.      y .
                                                                                                                                                              y
                                                                                                                                                    ...             ..
                                                                                                                                                        ,;
                                                                                                                                                         ..
                   dû:r1:)U.            *
                                        '
                                        0C..            Il    j
                                                              ,*
                                                               1!
                                                                2
                                                                1::
                                                                  2
                                                                  1 P.I
                                                                      r-
                                                                       ' O.*
                                                                           1
                                                                           @
                                                                           71
                                                                            L
                                                                            -.        r
                                                                                      -1-
                                                                                        1
                                                                                        !
                                                                                        :j  %        5.?tr
                                                                                                it:; r
                                                                                                     ù
                                                                                                     :
                                                                                                                     ' '''
                                                                                                                      +''
                                                                                                          cL'!'41y'' ::!'
                                                                                                         ?t
                                                                                                          ù             6:
                                                                                                                        wi
                                                                                                                         j
                                                                                                                         -
                                                                                                                         -C
                                                                                                                          5
                                                                                                                           '
                                                                                                                          u:*,jê ;1j
                                                                                                                    ....m : -vs
                                                                                                                                    '
                                                                                                                                     'if':2r/'.:':;
                                                                                                                                       .
                                                                                                                              ss. x..-...-.       I'
                                                                                                                                                  .r>
                                                                                                                                                    .->'tï
                                                                                                                                              . .. ..
                                                                                                                                              - .-          ''',
                                                                                                                                                          ' >S
                                                                                                                                                          TTœ  .
                                                                                                                                                              S'
                                                                                                                                                          . ..: .
                                                                                                                                                        :,:
                                                                                                                                                                     ..
                                                                                                                                                                          '
                                                                                                                                                                          .

                   f:
                    .;j*  f-j: '':-i9i:)-i     1ëëssi                                                  '
                   I
                   p'
                    s(
                     :
                     s;
                      ë
                      -
                      ;
                      .-
                       ;
                       j'
                        'j
                         ;
                         !t
                          '
                          9.)
                            ;(
                             'yI
                               !.
                                :.
                                 i
                                 '5
                                  t
                                  6ë
                                   FC
                                    krj,,r.
                    ikkrt-??,.<,j9àj'
                        .
                                           .
                                          ,t
                                           #
                                           ,.
                                            :
                                            $.
                                           ..
                                           ,
                                              gF
                                         . .. ''

                                             )p
                                              ;
                                               .'

                                              y.
                                                '
                                                 .
                                                 kç tr.
                                               jj<kg.r:
                                                       l
                                                      .r<
                                                                                                                                                 i
                   -
                   d
                   J.
                   'h.'
                      D'.4C
                      .3    7D.
                          :.? t
                             $E
                             , é
                               4,9j
                               E  .
                                  ëz.:.
                                      j.r
                                        ujE
                                          r..7
                                          .     G
                                                .z,::'
                                             ...1    O
                                                     ,  C..t!'
                                                     f:.y    J
                                                             ïv.
                                                             E 2
                                                               sJ'x,
                                                                   7:
                                                                    11,
                                                                    . <:-
                                                                        ;f(
                                                                         ..2
                                                                           ..
                                                                          .9'
                                                                            1 r
                                                                              o
                                                                              a-jr.>
                                                                            -.-
                                                                              %    . )k,.
                                                                                   k1.  I a
                                                                                        .t. î..
                                                                                          ..î jj
                                                                                               t
                                                                                               .-..'
                                                                                                '
                                                                                                -  d
                                                                                                   :.
                                                                                                   f
                                                                                                   tSl.s
                                                                                                       .;'i.
                                                                                                      'e   4.
                                                                                                           t.


                   6 Likzgc
          Q.

                                               TorchAntifaNetwork
                                               e -.:57::
                                               ç       h.
                                                        )7't-
                                                            .1-.;
                                                                'Ii.
                                                                   k.
                                                                    çlt.
                                                                       f:-
                                                                         I.
                                                                          i:
                                                                          ''(1 '

                   Rem inderthatifyou postpicturesofantifasciststhis
                   weekend,pleaseblur/obscurefaces!itseasy to add a'
                   cute stlckerorem q l'ù
                   g3
                   :.-....D
                          'sj;$
                              t.
                               )<
                                j%j
                                  .1*F:
                                      s'  ..j
                                       iiïs
                                          a s.tx$çw
                                                  v;$.w
                                                      n'
                                                       .tî.
                                                       z  ;.
                                                          '
                                                          t j'<z:
                                                            '
                                                           'x   gu.
                                                                  k'1xk
                                                                      'w
                                                                       .w
                                                                        j.<
                                                                          4.
                                                                          .0.,
                                                                           = gu%:6k
                                                                             .    jryh
                                                                                     t.
                                                                                      o.:
                                                                                      z
                                                                                      ' s;
                                                                                         .. gw
                                                                                          @'%''4k,
                                                                                                 o4
                                                                                                  '.
                                                                                                   z'J
                                                                                                   k xp.
                                                                                                       sa;..
                                                                                                           y.
                                                                                                           s


                   33Retrwaee
                            .ts 115 LE-
                                      àkes
          r.
                                                                                                                  l
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 2 of 53 Pageid#:
                                   8400




                   ..   .,
                             1*
                              ; 7 Gener
                                  .   icsoyMilkf.
                                                l
                                                k.          .
                                                                                                                 w-.
                                                                                                                   -
                            .y(5 g  f.ilyGcrcecski
                   .           .
                    -
                    ..((I(
                         !.
                        yE
                           ,
                           (#
                          .)
                          j;     /En-


                   M ostim portantly,you have to destroy the source
                   im age som ehow,Posting any im age can exposè you to
                   discovery ofitifyou w ere to be subpoenaed lateron.
                   Destroylng the source ensures you can't.accidentally
                   expose som eone Iater,                               j


                   1 Fk-
                       ft'
                         weet 4 Likes

                                                                    LV            O                    t'hl
                        t
                        1             Rory Stolzenberg t     q
                                                             ilpx
                                                                op/stoj7  zen'ierg .Aug 12,I     nol,8
                        '   lr.
                            E                       . '            -               ..              . .
                                      j
                                      kl
                                       t
                                       i
                                       !!
                                        i,7lt
                                            j
                                            riù
                                              '
                                              hf
                                               E)
                                                l1
                                                 rt
                                                  -
                                                  3.;
                                                    .
                                                    /
                                                    p
                                                    jl
                                                     '1
                                                      2
                                                      .
                                                      7t.
                                                        :
                                                        -1
                                                         :
                                                         iji,
                                                            aG.
                                                              .01
                                                                '
                                                                .ct
                                                                  fj
                                                                   .ïr
                                                                     t;li
                                                                        rit4
                                                                           ;
                                                                           ïl
                                                                            ):
                                                                            .7t5
                                                                             . .
                                                                               ft
                                                                                '
                                                                                .
                                                                                q
                                                                                Tj
                                                                                 ';
                                                                                  '.t
                                                                                    ês
                                                                                     h
                                                                                     ll<
                                                                                       ;
                                                                                       (
                                                                                       t
                                                                                       r2
                                                                                        lt'(
                                                                                           lt
                                                                                           :ë).
                                                                                              d..
                                                                                                i
                                                                                                t
                                                                                                ;)sI
                                                                                                   '
                                                                                                   )L
                                                                                                    r
                                                                                                    :
                                                                                                    xt2
                        '
                                      Thank.  sforthe advicezall.Dled pi      xlrandwillpurge phone on Monday.
                                                                '
                                                                LQ             '
                                                                               I
                                                                               T
                                                                               t.
                                      Rory Stolzenberg @li
                                                         qora
                                                            pz
                                                             stolzenbeïg ,Aug 12a2018                            x
                        '

                        '
                                      Rel
                                        njyir)
                                             x
                                             gqto.
                                                 '.
                                                 #
                                                 E'Ef
                                                    -
                                                    allyGorcel
                                                             -j
                                                              skiL
                                                                 .
                                                                 L;
                                                                  'Ricl
                                                                      hFejkert
                                                                             yni
                                                                               f
                                                                               jtè
                                                                                 .
                                                                                 -
                                                                                 )I
                                                                                 .r-
                                                                                   t:
                                                                                   >,
                                                                                    r
                                                                                    f
                                                                                    '                             j
                                      Okavthlsisilnpossibletodointhemoment,1'm justgonnaonlypcstpîcsof
                                      CCPS.                                         '                            '

            S.
                                      C-
                                       J                        '
                                                                t4
                                                                 .             '
                                                                               :'
                                                                                :) 2                J2,.
                                                                                                    '

                                              A Conspiracy>By                         hom ?
     148.       W e are rem inded throughoutthe com plaint,thatPlaintiffs allege a         .
                                                                            I
        prem editated actofracialterrorism ,m eticulouslv planned bv m en who   were
                                              -         .
                                                         -''
                                                           -
                                                           '          -
                                                                      '     1
        previoûsly com plete strangers,and w hose only bond to one another,'is their
        seething,irrational,bloodthirsty hatred,ofthe unconditionally virtuous
        dtother'', w ho isclearly incapable ofwrongdoing,no m atter how m anl
                                                                            y cam eras
        record video oftheircrim es.
     149.        Surely,the Courtneedsno explanation from DefendantCantwellon
        theworkingsofthecriminalmind,butforthesakeof1ayobserverslit
        warrantsm ention thatpeoplewho are intenton carrying outprem editated
        racialterrorism ,secretly planned m onths in advance,have little incentive for
        inviting 1aw enforcem entto bearwitnesstothe pl
                               .                       '*''
                                                            ot's execution.Yeti,inviting
                                                                     .

        1aw enforcem entisprecisely whatthe Defendants,and DefendantCant      k   well
        in particular,did.Plaintiffs'counselhave known thissince atleastM ay of
        2018.                                                                                                     1
                                                                                                                  i
                                                                                                                  l




                                                                                                                  I
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 3 of1 53 Pageid#:
                                   8401                           l




     150.       or o pre e 'tate acts ofracialterroris ten to ene 't o t e
         resence ofrecor 'ng evices an ostile e ia outlets. et;                                                                                                                                                                                                                                                                                          .
          a. In aragra                                            1.9, laintiffsnote t at efen antInvictus s o. e to a
                  re orter

                  In aragrap 150, laintiffsnote t at efen ant ant e1ls !o e to a                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                     '
                  reporter                                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                                                                       I

          c. ln aragrap 152, laintiffsnote t at efen ant pencerin 'te a                                                                                                                                                                                                                                                                                      '
          .
             re orterto   to itness t e torc lit arc                                                                                                                                                       '

                                                                                                                                                                                                                                             '
                  In a'ragra s 158 an 185, lainti s note t at efen antlnvz
                                                                       l .ctus                                                                                                                                                       .

                                  ,




              *                                                                    )                                                                                                                                                                                                                                                               .
                      a ert e fact.
          f.           fallt e text essages ant ellexc ange uring t e w ee. . en in                                                                                                                       '

                      question, laint' ave o n for ore t an a eart at ls1 ost.
                       equent contact as it 11e eeve of ice ew s.

              g. antw ell ore t e sa e o y ca era to t e torc lit arc t at e 1
                to t e earller eetm g.
                                                                                                                                                                                                                                                                                                                  .;.'!.                i
                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                        .
                                                                 .:
                                                                  .:...                                                                                                                                                                                .                                                     .; ... ..1
                                                                                                                                                                                                                                                                                                                      k:

                                                                                    E                                                                                                                                                         '           ':7':                                                           :i
                                                                                                                 ;)!
                                                                                                                 . .:.. .               .                                                                                                                   %kf
                                                                                                                                                                                                                                                            .       ':
                                                                                                                                                                                                                                                               :i: ...                                                    . .
                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                      %.
                                                                                                                                    . .?k:
                                                                                                                                         .'
                                                                                                                                          .                                                                                                .               =f
                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                             4i
                                                                                                                                                                                                                                                              3;
                                                                                                                                                                                                                                                               *
                                                                                                                                                                                                                                                               ?.                                                         :.=.;
                                                                                                                                                                                                                                                                                                                              ...;.
                                                                                                         '
                                                                                                                     .                    .                                          :j :
                                                                                                                                                                                        .
                                                                                                                                                                                        j3
                                                                                                                                                                                        r l/
                                                                                                                                                                                          s Ei
                                                                                                                                                                                            liE  jj'
                                                                                                                                                                                                 '
                                                                                                                                                                                                 :  l....                              :.
                                                                                                                                                                                                                                        ;. ...::. ::.:.:..î.. .::k..           : .t2.
                                                                                                                                                                                                                                                                                    $.
                                                                                                                                                                                                                                                                                     i''
                                                                                                                                                                                                                                                                                     t        .
                                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                                            ::
                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                             y            ...
                                                                                                                                                                                                                                                                                                                              '.
                                                                  cs
                                                                       .j f9k
                                                                            ;1  J
                                                                                ) '                       ..
                                                                                                           ) t
                                                                                                             ))            .   .  '                                                                                               '       :
                                                                                                                                                                                                                                          ''
                                                                                                                                                                                                                                           ;    5.
                                                                                                                                                                                                                                                 ':
                                                                                                                                                                                                                                                  ;::
                                                                                                                                                                                                                                                    . p
                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                      y... .    .
                                                                                                                                                                                                                                                                :.:
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 :.p:  ..:   .' '        '
                                                                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         $j'
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           ' .
                                                                                                                                                                                                                                                                                             ''.                     .' .lfir     u.9F;k:SE
                                                                    '
                                                                 '....
                                                                    ;(7)
                                                                      ''J
                                                                        lg
                                                                        ,1E :
                                                                            if?Ls
                                                                                X
                                                                                / '=             .           v
                                                                                                             .
                                                                                                             =:  ux
                                                                                                                  hu        .
                                                                                                                           ...
                                                                                                                                 (y
                                                                                                                                  .
                                                                                                                                  q ,
                                                                                                                                    j  j                                           j ,. .   jt   r     j.   .                                      ..:'
                                                                                                                                                                                                                                                              :,
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                     ''  '. ::
                                                                                                                                                                                                                                                                             2:
                                                                                                                                                                                                                                                                             .:                 .     '
                                                                                                                                                                                                                                                                                         's .......,. :.                     fj;
                                                                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                                                                              L
                                                                                                                                                                                                                                                                                                                              ?j.
                                                                                                                                                                                                                                                                                                                               )q...n....f?jaïj!
                                                                                                                                                                                                                                                                                                                                           '
                                                                          :X
                                                                           !J
                                                                            )(I
                                                                              .Ej
                                                                                tktf#                    . ..                   @                                                                                                                                                                                                    jl';'j    j;
                                                                                                                    s.                 z                                                                                         .                                            .   ..x                 ..
                                                                       ..r.   Jf
                                                                               j     s
                                                                                     4 s
                                                                                       ?
                                                                                       e
                                                                                       .: ?
                                                                                          .                                     t
                                                                                                                                :t
                                                                                                                                 !k
                                                                                                                                  ; /
                                                                                                                                    .:..
                                                                                                                                       . ;             .                        '.                                                       @.j
                                                                                                                                                                                                                                           ( @f '                                          .      .                         .-t
                                                                                                                                                                                                                                                                                                                              .tlp  ;      e
                                                z)
                                                 t.
                                                  ?r
                                                   jsyï
                                                      ).
                                                       tk
                                                        ty
                                                         tp
                                                          h'
                                                          .
                                                          t..                                                                                                                                                                                                                                                                 .k
                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                               i    ;;h.(t:
                                                                                                                                                                                                                                                                                                                                    >
                                       'e
                                        g :
                                          nr
                                        ..k.ï
                                            :t
                                            !kj 'Et
                                                ::>,ï:/          ' %'$  t6
                                                                        ;
                                                                        E
                                                                        : p3
                                                                           6?
                                                                            t3
                                                                      .zytïil
                                                                             tt
                                                                              l@
                                                                              '
                                                                              . '6?$
                                                                                  ï$tkï9
                                                                              klttvs-z.!
                                                                                       1
                                                                                       .
                                                                                          $
                                                                                          .
                                                                                          jE
                                                                                           u:                 .
                                                                                                                                 !'
                                                                                                                                 ':tJ. t
                                                                                                                                   '     :
                                                                                                                                         .k t1,t
                                                                                                                                               r  t
                                                                                                                                                  .
                                                                                                                                                  ?
                                                                                                                                                  :
                                                                                                                                                    br
                                                                                                                                                    ï
                                                                                                                                                    l
                                                                                                                                                    -
                                                                                                                                                    x.
                                                                                                                                                     x
                                                                                                                                                      bi
                                                                                                                                                      ï
                                                                                                                                                      :.
                                                                                                                                                        ;.k :
                                                                                                                                                            . .
                                                                                                                                                              : .   .j.- ï
                                                                                                                                                                         -;
                                                                                                                                                                          .
                                                                                                                                                                           :E ..
                                                                                                                                                                                                    .                           rtjw
                                                                                                                                                                                                                                   :tI/L
                                                                                                                                                                                                                                      Ij%
                                                                                                                                                                                                                                       ï:
                                                                                                                                                                                                                                         #C
                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                         c
                                                                                                                                                                                                                                          J:
                                                                                                                                                                                                                                          w.,ua
                                                                                                                                                                                                                                           c
                                                                                                                                                                                                                                           . .. .
                                                                                                                                                                                                                                                 Jj
                                                                                                                                                                                                                                                 $
                                                                                                                                                                                                                                                  !kp
                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                   u
                                                                                                                                                                                                                                                    :..
                                                                                                                                                                                                                                                    z
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      ë
                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                .. . '
                                                                                                                                                                                                                                                                                :         ..                                .:
                                                                                                                                                                                                                                                                                                                            . .
                                                                                                                                                                                                                                                                                                                              é
                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              j)
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                               ;E
                                                                                                                                                                                                                                                                                                                                k K '  r
                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                       'r
                                                                                                                                                                                                                                                                                                                                        $:
                                                                                                                                                                                                                                                                                                                                           -.:
                                                                                                                                                                                                                                                                                                                                           .; k    .
                                                                                       ,                                                                x<                                                                                                                                                                   e
                                                                            ..V7   V.y: .. .                 .                              w.xï. ))t......p$jjJ.    !. ' .                                                                       ik)9y                                                                     .zjLt q
                                                                                                                                                                                                                                                                                                                                  j jt  ..
                                                                                                                                                                                                                                                                                                                                        p
                                                                           .:
                                                                        ):   1g..gg                                                                             ;ttg:i                                                                                                                                                        t
                                                                                                                                                                                                                                                                                                                              .;
                                                                                                                                                                                                                                                                                                                               .j j  . <.
                                                                                                                                                                                                                                                                                                                                        )
                                                                   : ;... j
                                                                          tk     '                           .
                                                                                                                                                              .
                                                                                                                                                              !
                                                                                                                                                              : 14
                                                                                                                                                                 /
                                                                                                                                                         jj) ... .
                                                                                                                                                                .. 1..'                                             .       . .        ..7                          .
                                                                                                                                                                                                                                                                     .                                                        !ï:
                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                              . ....      '.' .
                                                                   .E
                                                                    ;'                                           ,.                            <;y;
                                                                                                                                          jks4:.    .
                                                                                                                                                    j'
                                                                                                                                                     j.
                                                                                                                                                      vj'
                                                                                                                                                      t.g...    #;r(.j:
                                                                                                                                                                      t:..$qN           AUS;)jajt..           5:
                                                                                                                                                                                                               .'''                       .,'.
                                                                                                                                                                                                                       .#'y.j
                                                                                                                                                                                                                            'L
                                                                                                                                                                                                                             ;  (.
                                                                                                                                                                                                                                 ygyp
                                                                                                                                                                                                                                    y%'a
                                                                                                                                                                                                                                       '>9
                                                                                                                                                                                                                                         :1
                                                                                                                                                                                                                                          .a
                                                                                                                                                                                                                                           .'.  j.
                                                                                                                                                                                                                                                 j.
                                                                    ..                        .
                                k
                                Lh
                                .
                                .4e
                                  '.
                                   '..z.
                                       l.<;..'<'.'
                                                 . ......          '                                                                  .j
                                                                                                                                       jZ
                                                                                                                                        ojj:&
                                                                                                                                            .>':
                                                                                                                                            '           'y' N'        j'
                                                                                                                                                                       r.tt:
                                                                                                                                                                       j   ,4p.z#.zz h..''''. 'rj                  ..jg;
                                                                                                                                                                                                                       :  jjk
                                                                                                                                                                                                                            .yj.:
                                                                                                                                                                                                                             .   !     $  '
                                                                                                                                                                                                                                          âJ y:.à
                                                                                                                                                                                                                                                j?
                                                                                                                                                                                                                                                 .j'jj                                                                                    ., N
                            b
                            j
                            .
                            6
                            .                          y
                                                       :
                                                       2.
                                                       :                                                  .; .            .!<.   :1  .;
                                                                                                                                      :U
                                                                                                                                       j
                                                                                                                                       .
                                                                                                                                       J
                                                                                                                                       x>
                                                                                                                                        '
                                                                                                                                        9
                                                                                                                                        6s
                                                                                                                                         .
                                                                                                                                         f
                                                                                                                                         :ëij
                                                                                                                                            t
                                                                                                                                            ) jg  jjj
                                                                                                                                                    lp
                                                                                                                                                     js
                                                                                                                                                      éio
                                                                                                                                                        F
                                                                                                                                                        j
                                                                                                                                                        ! y
                                                                                                                                                          !
                                                                                                                                                          : j
                                                                                                                                                            ë   k
                                                                                                                                                                xa=  -
                                                                                                                                                                     v
                                                                                                                                                                     f
                                                                                                                                                                     j J
                                                                                                                                                                       j  j
                                                                                                                                                                          g
                                                                                                                                                                          !(k
                                                                                                                                                                            tj
                                                                                                                                                                             . yj
                                                                                                                                                                                !
                                                                                                                                                                                :( k
                                                                                                                                                                                   .
                                                                                                                                                                                   q y
                                                                                                                                                                                     )
                                                                                                                                                                                     g  #
                                                                                                                                                                                        t
                                                                                                                                                                                        ; g .
                                                                                                                                                                                            :             ;8
                                                                                                                                                                                                           . jEg
                                                                                                                                                                                                               j y
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 :.
                                                                                                                                                                                                                  r (
                                                                                                                                                                                                                    .j
                                                                                                                                                                                                                     jL.
                                                                                                                                                                                                                       às
                                                                                                                                                                                                                        k
                                                                                                                                                                                                                        c(
                                                                                                                                                                                                                         Lg
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                          ) !
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            j
                                                                                                                                                                                                                            st
                                                                                                                                                                                                                             L
                                                                                                                                                                                                                             v!
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                              j .)
                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                 .?y
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                   ;j ,q
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                       ë  q
                                                                                                                                                                                                                                          jn
                                                                                                                                                                                                                                           8
                                                                                                                                                                                                                                           . :y  .
                                                                                                                                                                                                                                                 :y j
                                                                                                                                                                                                                                                    .gy
                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                      .                                                                                        .y  jyt
                           <
                           2j
                            2:.                        94.
                                                       . :                             ..       jj'        :..j
                                                                                                              j::::.
                                                                                                                   ..;E;..t.p,..<;.s   si
                                                                                                                                        j
                                                                                                                                        jt
                                                                                                                                         )tpj
                                                                                                                                           y
                                                                                                                                           ks'
                                                                                                                                             j
                                                                                                                                             vi
                                                                                                                                              g
                                                                                                                                              .j
                                                                                                                                               y
                                                                                                                                               g..)
                                                                                                                                                  .
                                                                                                                                                  j.
                                                                                                                                                   Ej
                                                                                                                                                    .jj.
                                                                                                                                                       ;
                                                                                                                                                       )w
                                                                                                                                                        ..u
                                                                                                                                                          .
                                                                                                                                                          g$  î
                                                                                                                                                              .x ;ïks
                                                                                                                                                                    yQ(
                                                                                                                                                                      N(
                                                                                                                                                                       Njiï
                                                                                                                                                                          y
                                                                                                                                                                          E g
                                                                                                                                                                           iE
                                                                                                                                                                            :  ;.
                                                                                                                                                                             lï:j
                                                                                                                                                                               . y
                                                                                                                                                                                 j t jy
                                                                                                                                                                                      g y   t
                                                                                                                                                                                            lt   t      ktty tl
                                                                                                                                                                                                             )4
                                                                                                                                                                                                               t y jt
                                                                                                                                                                                                                   Ly
                                                                                                                                                                                                                     u k,
                                                                                                                                                                                                                       +jjt
                                                                                                                                                                                                                           yj:v  j jjzj
                                                                                                                                                                                                                                      ..racà jgj
                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                               .ryy  jg
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      .. . .                    u
                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                                                                              rg       )
                                                                                                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                        jg.:( l
                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                              iy
                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                              Ey
                                                                                                                                                                                                                                                                                                                                                g
                                                                                                                                                                                                                                                                                                                                               jj
                                                                                                                                                                                                                                                                                                                                                q(
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                  j<
                                                                                                                                                                                                                                                                                                                                                   :j
                                                                                                                                                                                                                                                                                                                                                  :y
                                                                                                                                                                                                                                                                                                                                                     ;
                            E                            .                             :   '1
                                                                                            E4
                                                                                             t?.) t:.j.:
                                                                                                       .:'    :    2  .
                                                                                                                      :                                                     .: :!3 : )ji
                                                                                                                                                                                     !  î   k!gt.j
                                                                                                                                                                                                 J1..j Ej
                                                                                                                                                                                                        trE
                                                                                                                                                                                                        . 'S
                                                                                                                                                                                                           rE
                                                                                                                                                                                                            '3
                                                                                                                                                                                                            t y.
                                                                                                                                                                                                               )':  jï
                                                                                                                                                                                                                     %u.
                                                                                                                                                                                                                     ?    ..
                                                                                                                                                                                                                          y
                                                                                                                                                                                                                          J  l
                                                                                                                                                                                                                             '. E;J
                                                                                                                                                                                                                                  $y r.E
                                                                                                                                                                                                                                       .  :.
                                                                                                                                                                                                                                           : ;?j'
                                                                                                                                                                                                                                                à   t
                                                                                                                                                                                                                                                    .yë
                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                      !   é                                                                   .!
                                                                                                                                                                                                                                                                                                                               .. :    .;
                                                                                                                                                                             g                                                                                                                                                           .(
                        . .:
                           ..                          J
                                                       '
                                                       t
                                                       p,
                                                        ..                              1.11
                                                                                        ,         2
                                                                                                  .           :                        ..
                                                                                                                                       . j.),.j   .jy
                                                                                                                                                    ?.'
                                                                                                                                                      /jj
                                                                                                                                                        .
                                                                                                                                                        yj
                                                                                                                                                         a,;T
                                                                                                                                                           ..
                                                                                                                                                            yj  @
                                                                                                                                                                $
                                                                                                                                                                Jj
                                                                                                                                                                o,7 o,   yz jj
                                                                                                                                                                             s
                                                                                                                                                                             .  j
                                                                                                                                                                                sg
                                                                                                                                                                                 4 ! j
                                                                                                                                                                                     !  ;
                                                                                                                                                                                        . .
                                                                                                                                                                                          r
                                                                                                                                                                                          . .
                                                                                                                                                                                            ;           .
                                                                                                                                                                                                        k I
                                                                                                                                                                                                          j   g   tyg  j    ,
                                                                                                                                                                                                                            ; j:jjyrj         Ety
                                                                                                                                                                                                                                    .;. .j ;::..yza
                                                                                                                                                                                                                                                .   .
                                                                                                                                                                                                                                                    a..
                                                                                                                                                                                                                                                      .   :j
                                                                                                                                                                                                                                                           .( E
                                                                                                                                                                                                                                                              :.                                                      jysr
                                                                                                                                                                                                                                                                                                                        yytj    t
                                                                                                                                                                                                                                                                                                                           y..y .ryj
                                                                                                                                                                                                                                                                                                                           .                  :   .
                            jj:                        ;
                                                       à                                                                                                                                                                   .:                                                                                                   ,       yj     j
                                                                                                                                                                                                                                                                                                                                               .g
                        .t.i
                           !  !                         ' .
                                                          j
                                                         x)                             :.
                                                                                                                               '%.:.
                                                                                                                                                     .z<:y
                                                                                                                                                        '!f
                                                                                                                                                          k$
                                                                                                                                                          :;>
                                                                                                                                                            :'z;.
                                                                                                                                                              :
                                                                                                                                                              .  ja;
                                                                                                                                                                   r$
                                                                                                                                                                    zJ
                                                                                                                                                                     4.4
                                                                                                                                                                      ?$
                                                                                                                                                                       ,; y!;.
                                                                                                                                                                             i 1.
                                                                                                                                                                               E y:j
                                                                                                                                                                                 a ys'
                                                                                                                                                                                   . qf   z;z
                                                                                                                                                                                      ..;.'       .
                                                                                                                                                                                                     ,
                                                                                                                                                                                                      . jt) j'ii.Y)
                                                                                                                                                                                                          .($     .y
                                                                                                                                                                                                                   jE  .. . . a,. 'J
                                                                                                                                                                                                                    .);'
                                                                                                                                                                                                                    r                                ;;(j IIFE;..                                                g(jjJ .j
                                                                                                                                                                                                                                                                                                                       jj j.p
                          '
                           j:
                            jL
                            j(j
                              '
                              :
                              .
                                                        )
                                                        gs
                                                        jjt
                                                           !
                                                           :
                                                           j'                                           ,.
                                                                                                         .. .   :...
                                                                                                                   .g     '4                                  XJ'Z
                                                                                                                                                                 '
                                                                                                                                                                 'J'
                                                                                                                                                                   rI'
                                                                                                                                                                   ' .4
                                                                                                                                                                      ':
                                                                                                                                                                       '.
                                                                                                                                                                       X >r. i
                                                                                                                                                                             'i'i
                                                                                                                                                                                j
                                                                                                                                                                                (t
                                                                                                                                                                                F!i;!'
                                                                                                                                                                                     tk
                                                                                                                                                                                     :  ;xrr '.   .kl.
                                                                                                                                                                                                    t:%
                                                                                                                                                                                                      .ts,'k.
                                                                                                                                                                                                      j.    ;''G...                                (:
                                                                                                                                                                                                                                                    kf  rkjt
                                                                                                                                                                                                                                                       ùV
                                                                                                                                                                                                                                                       :   (
                                                                                                                                                                                                                                                           ..; !'
                                                                                                                                                                                                                                                               ;                                              w
                                                                                                                                                                                                                                                                                                              rJ
                                                                                                                                                                                                                                                                                                               F:jE
                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                  .z
                                                                                                                                                                                                                                                                                                                  ;.g
                                                                                                                                                                                                                                                                                                                   J E.
                                                                                                                                                                                                                                                                                                                      E!
                                                                                                                                                                                                                                                                                                                      ! t
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                        !j
                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                         ï.Et
                                                                                                                                                                                                                                                                                                                          :j
                                                                                                                                                                                                                                                                                                                          E a;.
                                                                                                                                                                                                                                                                                                                            j  :?
                                                                                                                                                                                                                                                                                                                                .:i    )::1
                                                                                                                                                                                                                                                                                                                                       .    j
                                                                                                                                                                                                                                                                                                                                            :z
                                                                                                                                                                                                                                                                                                                                            E .
                                                                                                                                                                                                                                                                                                                                              Fy
                                                                                                                                                                                                                                                                                                                                               .,.
                                                        .;!y                                 :;
                                                                                              .
                                                                                              .      . .                    : %sq    .                                      ;  ) + . ,    . <
                                                                                                                                                                                            ;
                                                                                                                                                                                            .k
                                                                                                                                                                                             j   ;k :;.
                                                                                                                                                                                                      E                                        .,
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                v?  .;)y
                                                                                                                                                                                                                                                       .       ;.'    .                                      j
                                                                                                                                                                                                                                                                                                             !jj yyj  jj!j!
                                                                                                                                                                                                                                                                                                                          j :   .
                                                                                                                                                                                                                                                                                                                                j
                          ..                                                                                                                                                                                                                                                                                                                j v
                                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                                                                                              j'
                                                                                                                                                                                                                                                                                                                                                  jr;
                          . .                                                                                                                                                                                                                                                                                            .
                         . .
                          ï!T
                            2C
                             ùE                         z  y.
                                                           @                                  .
                                                                                              s';.:    E ::
                                                                                                         .....j.   ;.. .                                                                               jr.jà.$.
                                                                                                                                                                                                    s.j;:;(
                                                                                                                                                                                                          ;0
                                                                                                                                                                                                           .                                          5 ' àèj
                                                                                                                                                                                                                                                            ..:g<ss.'                                 ...;ë
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                             jrzé  f;î;$î
                                                                                                                                                                                                                                                                                                                        EJ
                                                                                                                                                                                                                                                                                                                         r5     .
                                                                                                                                                                                                                                                                                                                           j. ë:!.i
                                                                                                                                                                                                                                                                                                                           .                r s     0
                            )                           E@
                                                         E
                                                         î4i
                                                           .,                                                                                                                               <f$  .r     .x                                                          y(.                                     jgy
                                                                                                                                                                                                                                                                                                              u(
                                                                                                                                                                                                                                                                                                               t.j
                                                                                                                                                                                                                                                                                                                 x;g<trj
                                                                                                                                                                                                                                                                                                                       jjt,
                                                                                                                                                                                                                                                                                                                          .                ;
                  .      ..
                          .:
                           .                                                                           .y                                                                                                                                                                                                                                   y
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                            : ;
                         .t  ::                         :!                                                                                                                                                                                                    .E,
                                                                                                                                                                                                                                                                qg
                                                                                                                                                                                                                                                                 !  2 jyg(;
                                                                                                                                                                                                                                                                          u
                                                                                                                                                                                                                                                                          .                              t jijty :    lgj
                                                                                                                                                                                                                                                                                                                        g(
                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                          y
                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                          y  .           t;k
                                                                                                                                                                                                                                                                                                                                           jx
                                                                                                                                                                                                                                                                                                                                            ; t    j.
                                                                                                                                                                                                                                                                                                                                                   .gq
                                                                                                                                                                                                                                                                                                                                                     à
                                                        :i kw                                                                                                                  ;;j ' c. '                                                                         y
                                                                                                                                                                                                                                                                  : s
                                                                                                                                                                                                                                                                    .k
                                                                                                                                                                                                                                                                     :.
                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                      E(
                                                                                                                                                                                                                                                                       : E
                                                                                                                                                                                                                                                                         :                               ) t 3tt  (:  Eë):ïj1:          pr X        t
                          ..
                            a.t
                         .ï.k
                         r    n  .
                                 E                      .:
                                                        :?>
                                                          '.                                                                                                                <. ..
                                                                                                                                                                               ; . p             ..
                                                                                                                                                                                                 k  .
                                                                                                                                                                                                    t . '.   uu                                               :
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              j:
                                                                                                                                                                                                                                                            >;...
                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                $ E
                                                                                                                                                                                                                                                                 ;.    ..;
                                                                                                                                                                                                                                                                         E;                           :)
                                                                                                                                                                                                                                                                                                       ky.:ttE
                                                                                                                                                                                                                                                                                                             Skj:ùo  vë;.
                                                                                                                                                                                                                                                                                                                        Jz .â
                                                                                                                                                                                                                                                                                                                            .             4j9 $9
                                                                                                                                                                                                                                                                                                                                              !     ,)
                                                                                                                                                                                                                                                                                                                                                    ..
                              ktj                        x.
                                                         k t.                                                        (.          ..           <   u
                                                                                                                                                  A.  j
                                                                                                                                                      .k;                       E
                                                                                                                                                                                :z y
                                                                                                                                                                                   .      . ..   :   ..vk                                                                                             y
                                                                                                                                                                                                                                                                                                      !%.:
                                                                                                                                                                                                                                                                                                         . t3!:,; .
                                 l                         .
                                                           :                                                                                      : s ysm             .. .     V'; )      .         .                                                                    !                            j
                                                                                                                                                                                                                                                                                                      !I/h!Eï ty
                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                               .ys
                                                                                                                                                                                                                                                                                                                 Nu
                                                                                                                                                                                                                                                                                                                  ta
                                                                                                                                                                                                                                                                                                                   k j k
                                                                                                                                                                                                                                                                                                                       p!
                                                                                                                                                                                                                                                                                                                        ë$
                                                                                                                                                                                                                                                                                                                         jjEj
                                                                                                                                                                                                                                                                                                                            .::          .
                                                                                                                                                                                                                                                                                                                                         J
                                                                                                                                                                                                                                                                                                                                         %
                                                                                                                                                                                                                                                                                                                                         . yg f
                                                                                                                                                                                                                                                                                                                                              .e
                                                                                                                                                                                                                                                                                                                                               j
                          yjt
                              :
                              .
                              dr
                               .
                                 .                      ..                                                            . ,        .                       .#..'; .:  ;.
                                                                                                                                                                     j
                                                                                                                                                                     .r.
                                                                                                                                                                       :J...... .                                                                           ,                                       ...
                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                                      .!)!
                                                                                                                                                                                                                                                                                                         :àj
                                                                                                                                                                                                                                                                                                           ti
                                                                                                                                                                                                                                                                                                            !zl
                                                                                                                                                                                                                                                                                                              qr
                                                                                                                                                                                                                                                                                                               lvj
                                                                                                                                                                                                                                                                                                                .ili.
                                                                                                                                                                                                                                                                                                                   g
                                                                                                                                                                                                                                                                                                                   . r.
                                                                                                                                                                                                                                                                                                                      yg.
                                                                                                                                                                                                                                                                                                                       j).
                                                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                                                         :: ;
                                                                                                                                                                                                                                                                                                                          !              .j!   :E.ëyï
                               ï:
                              L.
                              .  '
                                 j
                                 L                      :
                                                        'E
                                                         j
                                                         Eg
                                                         j.i
                                                          ::'
                                                            4:                                                                                      ..
                                                                                                                                                                       œ                                                                                                                             j
                                                                                                                                                                                                                                                                                                     i!
                                                                                                                                                                                                                                                                                                      )
                                                                                                                                                                                                                                                                                                      :jj
                                                                                                                                                                                                                                                                                                    ':CEEt;
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                        :k:(ji
                                                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                                                            k.!<
                                                                                                                                                                                                                                                                                                               >
                                                                                                                                                                                                                                                                                                               F
                                                                                                                                                                                                                                                                                                             ë;$'t
                                                                                                                                                                                                                                                                                                                 .q   a
                                                                                                                                                                                                                                                                                                                      ë  .
                                                                                                                                                                                                                                                                                                                  tg%:'. '
                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                          .6(
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                            l.i
                                                                                                                                                                                                                                                                                                                                              E:1
                                                                                                                                                                                                                                                                                                                                              : :).:'
                                                                                                                                                                                                                                                           ..                                             k:
                                                                                                                                                                                                                                                                                                           3
                                                                                                                                                                                                                                                                                                           %5*$q ;.
                                                                                                                                                                                                                                                                                                                  $                         j$.?kky'!
                         .::
                            3q%3...;                    ).'
                                                       :?E
                                                       E                                                            S
                                                                                                                           ..                                                                .' ?                                                                                                                                         !)
                                                                                                                                                                                                                                                                                                                                           ?41'.
                                ..)                  .ok .
                                                       .                                                                              v                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                      :sx
                                              . D.                                                                                                                                                                                                                                                                             ....''


                                                                                                                                                                                                                                                                                                me           '                :1


               * nfortunatel , o y ca era footage oft e torc 1't arc l's jissing,                                                                                                                                                                           ,
                 ecause t e ca era as lost a er laintiffs'associates epper
                                                                         ' spraye
                  efen ant antw ell.
    '
                                                                  p
                                                                  -

Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 4 of!53 Pageid#:
                                   8402                           !
                                                                                                                                                                                                                                      i




                                                 .
                                                 qx?-           .7 .           :                                                                                                                                       j
                                                                                                                                                                                                                       (
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                       Z
                                                                                                                                                                                                                       E,.
                                                                                                                                                                                                                         L
                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                         '
                                                                                                                                                                                                                         3
                                                                                                                                                                                                                     !( ..
                  T.               .. .
                                   '
                                                             . ., -                                           .                    y                 .                                           ,                ;jy:
                   .
                   :
                  ..                                 j):k
                                           ' ' . j.. .
                                                     .  :..(.
                                                            .......'E..                                  .'   ,
                                                                                                                                ..                                                                                )jt
                                                                                                                                                                                                                  ; r .::
                  .
                  h                                              ' .
                                                                   E. (,                                              ''
                                                                                                                           jl . ,                                                                            t
                                                                                                                                                                                                             jj
                                                                                                                                                                                                              r
                                                                                                                                                                                                              j(g.'
                                                                                                                                                                                                              zjqj
                                                                                                                                                                                                                 .
                                                                                                                  :                      .
                  j
                  t.                                              .
                                                                  '. : 5                                 E ' ..                   ..
                                                                                                                                   ;.                                                                        .
                                                                                                                                                                                                             j
                                                                                                                                                                                                             t
                                                                                                                                                                                                             y
                                                                                                                                                                                                             .j
                                                                                                                                                                                                             .:


                                                                                       ''
                                                                                 :
                                                                                 j
                                                                                 i
                                                                                 L
                                                                                 Fë
                                                                                  t
                                                                                  i
                                                                                  (:
                                                                                   E
                                                                                   j
                                                                                   r
                                                                                   I
                                                                                   '    '                                                         j
                                                                                                                                                  k
                                                                                                                                                  ë
                                                                                                                                                  jlje. .
                                                                                                                                                ffï:kE
                                                                                                                                                  '
                                                                                                                                                  '                                        '                 .,
                                                                                                                                                                                                              .    :7       '
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            :'
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            '
                                                                                   I
                                                                                   )
                                                                                   E .
                                                                                   l                                                        j:::
                                                                                                                                               l
                                                                                                                                               y
                                                                                                                                               )
                                                                                                                                               p
                                                                                                                                              ..I        .             .                                           '                ; ...         :.
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                .


                                                                             .
                                                                             j
                                                                             :
                                                                             !
                                                                             ql
                                                                              i    :
                                                                                   1
                                                                                   )
                                                                                   ,
                                                                                   )
                                                                                   1
                                                                                   .
                                                                                                                                          !
                                                                                                                                          j
                                                                                                                                          .
                                                                                                                                          é
                                                                                                                                          E
                                                                                                                                          j
                                                                                                                                          i
                                                                                                                                          l
                                                                                                                                          )
                                                                                                                                          ,1
                                                                                                                                           '
                                                                                                                                           i
                                                                                                                                           s
                                                                                                                                           :
                                                                                                                                           l. .è,-
                                                                                                                                            !ë :
                                                                                                                                               :
                                                                                                                                               :.
                                                                                                                                                       'j;''''
                                                                                                                                                         .                      .
                                                                                                                                                                                    ''

                                                                                                                                                                                          ''
                                                                                                                                                                                                  '
                                                                                                                                                                                                     .
                                                                                                                                                                                                                       '
                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                . .

                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                               ..:
                                                                                                                                                                                                                                                 .'.. ...
                                                                                                                                                                                                                                                        s!
                                                                                                                                                                                                                                                         ..
                                                                              '                                                               .              .                                                              ,
                                       .                                      E
                                                                              .
                                                                              1)
                                                                               :   j
                                                                                   qi
                                                                                   .'                                                    .:E:'.
                                                                                                                                           :'  7:,
                                                                                                                                              'y '.
                                                                                                                                                  : '3..                             . .'.                                      .              ,               ..
                                                 ':
                                                  .                            ::,
                                                                               7 $
                                                                                 .:
                                                                                 ;          jJk
                                                                                            . t::
                                                                                                ;...kj
                                                                                                     :                                                                                                                                ,.
                                            '                                                                                                !:                    ..               .:.          j.
                                                                                                                                                                                                 .                     ,    ,              ;                  ..
                                             E
                                             ç
                                             :
                                             s
                                             '
                                             !
                                             (
                                             ,.                              (
                                                                             ;
                                                                             :
                                                                             E
                                                                             r
                                                                             y
                                                                             j
                                                                             rJ
                                                                              ;
                                                                              '
                                                                              (
                                                                              !
                                                                              q
                                                                              '('.
                                                                                 k
                                                                                 r
                                                                                 i
                                                                                 :l
                                                                                  q
                                                                                  1
                                                                                  7
                                                                                  :;j                                                  ï::(:j.
                                                                                                                                       ;
                                                                                                                                      ...
                                                                                                                                         ..  :
                                                                                                                                             k
                                                                                                                                             ;j
                                                                                                                                              :
                                                                                                                                              .
                                                                                                                                              ,              ,
                                                                                                                                                             .':v
                                                                                                                                                                .
                                                                                                                                                                s
                                                                                                                                                                j
                                                                                                                                                                :..                                      '                                '
                                   .         .                                      j
                                                                                    y
                                                                                    r                                          .
                                                                                                                               :
                                                                                                                               ë
                                                                                                                               y
                                                                                                                               !
                                                                                                                               ;j
                                                                                                                                (
                                                                                                                                y
                                                                                                                                j .:
                                                                                                                                 .jj)I
                                                                                                                                     r. r
                                                                                                                                        yj
                                                                                                                                        jt
                                                                                                                                         -..
                                   -Er
                                     .l
                                     'si
                                      l's
                                        C!'
                                                                              ,
                                                                              ,
                                                                             l.
                                                                              j.
                                                                              pyi
                                                                                :-''              ;)
                                                                                                                                ,  .
                                                                                                                                   ,
                                                                                                                                   .;
                                                                                                                                   ; .
                                                                                                                                          ..
                                                                                                                                           q:i .'.
                                                                                                                                           7                                    y
                                                                                                                                                                                jy
                                                                                                                                                                                 g
                                                                                                                                                                                 j
                                                                                                                                                                                 y
                                                                                                                                                                                 gr
                                                                                                                                                                                  g.                                       ,,
                                                                                                                                                                                                                            . .                       : .yj.,.
                                                                  : .;
                                                                     j
                                                                     t
                                                                     T
                                                                     j                            j                                                  :.
                                                                                                                                                      :                         *
                                                                                                                                                                                !
                                                                                                                                                                                1k
                                                                                                                                                                                 1
                                                                                                                                                                                 i
                                                                                                                                                                                 E
                                                                                                                                                                                 ël
                                                                                                                                                                                  r
                                                                                                                                                                                  j                                                                         ty
                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                             k
                                .
                                ,                                :
                                                                 j
                                                                 i
                                                                 L  ,k
                                                                    ;.
                                                                     . .:.:.:.;;::.,..;.iA'       5
                                                                                                  g
                                                                                                  !               .                                   i
                                                                                                                                                      yj
                                                                                                                                                       (
                                                                                                                                                       )
                                                                                                                                                       jy
                                                                                                                                                        .    . '...
                                                                                                                                                                                '
                                                                                                                                                                                yj
                                                                                                                                                                                 tj
                                                                                                                                                                                  ;
                                                                                                                                                                                  r
                                                                                                                                                                                  .j                                            .
                                                       )
                                                       .
                                                       j ur
                                                          2g
                                                          : j
                                                            .
                                                            (                             tttgy
                                                                                              g,
                                                                                               j..<
                                                                                                  .(                                                         J                     4.yy
                                                                                                                                                                                    y  j  j                         ,
                                                                                                                                                                                                                    ..                                   ;y
                                                                                                                                                                                                                                                          jj.
                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                            j
                                                            ïj
                                                             éi .                               j
                                                                               ,
                                                                '...
                                                            )
                                                            .'
                                                            :      4
                                                                   .r
                                                                    t
                                                                    c
                                                                                                                                                                            .
                                                                                                                                                                            j
                                                                                                                                                                            r
                                                                                                                                                                            yg jjz:
                                                                                                                                                                               y
                                                                                                                                                                            .,.q j
                                                                                                                                                                                  ;/:y
                                                                                                                                                                                     j
                                                                                                                                                                                     I
                                                                                                                                                                                     y
                                                                                                                                                                                     .)
                                                                                                                                                                                      j
                                                                                                                                                                                      T
                                                                                                                                                                                      .
                                                                                                                                                                                      l
                                                                                                                                                                                      ;:
                                                                                                                                                                                      s-ég
                                                                                                                                                                                         :
                                                                                                                                                                                         j
                                                                                                                                                                                         è
                                                                                                                                                                                         ,s
                                                                                                                                                                                         .
                                                                                                                                                                                         .
                                                                                                                                                                                           .: . . j.:.   .......
                                                                                                                                                                                                                      j,,j yy
                                                                                                                                                                                                                      '. .. :(
                                                                                                                                                                                                                   ..-(
                                                                                                                                                                                                                                                                    ,

                                                   t
                                                   r
                                                   t
                                                   lp
                                                    i
                                                    Tt
                                                     l)
                                                      1
                                                      '
                                                      80
                                                       2
                                                       y
                                                       ... .ë
                                                            '
                                                            :(
                                                             '
                                                                    2                   .                                                                                             i
                                                                                                                                                                                      j
                                                                                                                                                                                      t
                                                                                                                                                                                      gj '
                                                                                                                                                                                         j
                                                                                                                                                                                         t'
                                                                                                                                                                                          ;
                                                                                                                                                                                          r        .     -
                                                                                                                                                                                                         . '
                                                                                                                                                                                                           .
                                                                                                                                                                                                           . ...   .    .
                          .'
                          .                   f
                                              ë
                                              ji:. :)
                                               t
                                               ...
                                             . .
                                                  :)
                                                 ..:E
                                                    ;y .
                                                       6.
                                                        ?
                                                        j
                                                        );
                                                         l :         . . ....     :
                                                                                  .                                                                                                  i
                                                                                                                                                                                     ji
                                                                                                                                                                                      4
                                                                                                                                                                                      :
                                                                                                                                                                                      k
                                                                                                                                                                                      j
                                                                                                                                                                                      .
                                                                                                                                                                                      .g:p
                                                                                                                                                                                        ) , t .      ...j;
                                                                                                                                                                                                         .
                  ,
                               '             tï
                                              q.;d)--'  k
                                                        j
                                                     --'': .f:è '.
                                                                     '       ,
                                                                             -
                                                                             j
                                                                             gy
                                                                              jj
                                                                               y
                                                                               j
                                                                               g;
                                                                                r j
                                                                                  :
                                                                                y .
                                                                                ( j;
                                                                                  : .Ey .
                                                                                      ,.                                                                                                .
                                                                                                                                                                                        j   .        .           .
                                                              xti
                                                              i :g
                                                                 !
                                                                 d
                                                                 r E
                                                                 t    l
                                                                      t
                                                                      .::l
                                                                         .r
                                                                          à
                                                                          yy.r                                                                                                     ,,y
                                                                                                                                                                                     ë-
                                                                                                                                                                                      (
                                                                                                                                                                                      j
                                                                                                                                                                                      t-r.         .             '
                                                  .                  .             .
                                                        .                :              .
                               .                        (.
                                                      E:.                          :                 .
                                                                                                     j                 (
                                                                                                                       l
                                                                                                                       r.'.'                                                     :
                                                                                                                                                                                 jE
                                                                                                                                                                                  tj:)
                                                                                                                                                                                     x
                                                                                                                                                                                     $.'J..' u.h.'
                                                                                                                                                                                                 ) .
                                                                                                                                                                                                   E
                                                                                                                                                                                                   >
                                                                                                                                                                                                   k.r
                                                                                                                                                                                                    j y
                                                                                                                                                                                                      ..'6
                                                                                                                                                                                                         .
                                                                                                                                                                                                         e%' ' .      '
                                                                                                                                                                            .(
                                                                                                                                                                           .:
                                                                                                                                                                            .                              r.                        '%''        h'
                                                                                                                                                                  ..

                                                                                                                                                             :ï;.j
                                                                                                                                                        j
                                                                                                                                                        .@
                                                                                                                                                         j
                                                                                                                                                         .?J
                                                                                                                                                          'jj
                                                                                                                                                            k
                                                                                                                                                            j
                                                                                                                                                            .
                                                                                                                                                            :
                                                                                                                                                            p    :;
                                                                                                                                                                 .
                                                                                                                                                                 ..                       .
                                                                                                                                                                                          :
                                                                                                                                                                                          6
                                                                                                                                                                                          1:
                                                                                                                                                                                           'E
                                                                                                                                                                                            !
                                                                                                                                                                                            j
                                                                                                                                                                                            q
                                                                                                                                                                                            :
                                                                                                                                                                                            .ë
                                                                                                                                                                                             g
                                                                                                                                                                                             j
                                                                                                                                                                                             ë
                                                                                                                                                                                             .:
                                                                                                                                                                                              y.
                                                                                                                                                                                               ;
                                                                                                                                                                                               y
                                                                                                                                                                                               ëj;
                                                                                                                                                                                                :E
                                                                                                                                                                                                 ::
                                                                                                                                                                                                  j
                                                                                                                                                                                                  g
                                                                                                                                                                                                  E
                                                                                                                                                                                                  gj
                                                                                                                                                                                                   !
                                                                                                                                                                                                   .:
                                                                                                                                                                                                    ë
                                                                                                                                                                                                    j
                                                                                                                                                                                                    :
                                                                                                                                                                                                    !
                                                                                                                                                                                                    .j
                                                                                                                                                                                                     ..j
                                                                                                                                                                                                       .j
                                                                                                                                                                                                        .y
                                                                                                                                                                                                         ,t
                                                                                                                                                                                                          ..     :.....
                                                                                                                                                                                                                      ). .... . .g
                                                                                                                                                                                                                       z        .
                                                                                                                                                                                                                                . ...
                                                                                                                           .                            i
                                                                                                                                                        (
                                                                                                                                                        -
                                                                                                                                                        !t
                                                                                                                                                         :  gj
                                                                                                                                                            y
                                                                                                                                                            :
                                                                                                                                                            I                                              .;:
                                                                                                                                                                                                             ,us:.    ;
                                                                                                                           '                          1jk
                                                                                                                                                      :  pizi
                                                                                                                                                            --
                                                                                                                                                            jj                                                                   .
                                                                                                                           t
                                                                                                                           .                         j
                                                                                                                                                     .jt
                                                                                                                                                     j.,-
                                                                                                                                                         .
                                                                                                                                                        ..
                                                                                                                                                             ë.
                                                                                                                                                           ;.'
                                                                                                                                                                                                                                                       .
                                                                                                                                                     !:'E
                                                                                                                                                        !        .
                                                                                                                                                                 '                        .c,.
                                                  .                                                                               :
                                                                                                                                  .                                                   .    ,

                      J    -@. v - r                             . :-                   +        *.


               i. Even afterlosing hisbody cam era on theevening ofAugust 11
                                                                           Ith/
                  Cantwellknew video evidencewottld be im portantto fend offj
                  calum niessuch asthe one ofwhich w enow speak.Thatiswhiy he
                  broughta handheld cam era with lum toLee Park on August 12tl
                                                                                h.That
                  cam era caughtPlaintiffs'associate M ike Longo Jr.ofPhiladet
                                                                             lphia
                                                                             l
                  pepper spraying DefendantCantwell,forthe second tim e in as  m any                                                                         '
                  days, llnprovoked,on hzsway tothe park.
                                         .
                                                                             j
                                                                             j
                                                                         '

                                                                                                                                                                                                                                      k
                               i. SeeExh'bl 't7-cantwellM acedFl 'rstperson.m p4,a video'    taken                                                                              .
                                  A ugust 12thwl.th tlus
                                                       . cam era,w hich Plax.ntl.ç.f.
                                                                                    s uave hal
                                                                                             d in thel
                                                                                                     'r
                                       POSSeSSIOn IOr m ore Inan a year.                                                                                                                                                              j
                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      j
        .                                                    . )                                                                                                                                                                      j                         '
        151.      lfthePlaintlffsargumentistakenseriously,thentheyseemjtoexpect
            thiscourtto believe an absolutely absurd combination ofrequisite '
            assum puoas.

               a. Plaintiffs allegethatDefendantshad the organizationalcapacity,and
                  socialcapltal,to bring hundreds ofpeople,m ost ofthem com plete
                  strangers to one another,together for the purposes of com m itpting
                                                                                                                                                                   .



                  prem editated acts ofracially m otivated terrorism .

               b. Plaintiffs sim ultaneously allege thatDefendants'ideology ism ere
                  (Chate''andthusdevoidofthesubstanceormeritthatmightQarrant
                  large num bers ofm en to risk h'fe,lim b,and liberty by com m ittlng m ass                           '
                                            .                                 .                                       .                                                                                                               ë
                  actsofvlolencem frontofpollceandreporters.                                                                                                                                                                          j
                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                      l
                                                                              l
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 5 ofi53 Pageid#:
                                   8403
                                                                              I




                  Plaintiffssim ultaneously allege thatD efendantswere so lacking in
                  intellectualcapacity,thattheythoughtthisplotwould someh!ow be
                                                                              I
                  aided by the preserwe oflaw enforcem ent and telévision cam eras.

        152.   .The police coordination,conflictavoidance strategiesdiscussed atthe
           August 11thplanning m eeting on the aforem entioned video, and frequent
                                                                             I
          communicationswith i ajormedia,werehardly theextentofthemàasures
          befendantstook toavöidtheviolence attheheartoftllism atter.
                     1                                                        I       .
               a. Plaintiffs acknowledgein Paragraph 54 thatK esslerapplied for a
                  Perm it

               b. W hen the city unlawfully tried to revoke the perm iton August7t1z,
                  Kesslerenlistedthehelp oftheRutherfordInstituteandtheA
                                                                       lm exican
                  CivilLiberfiesUnion,to peacefully addressthe m atterin Federal
                  Court.

                  They prevailed.See Exhibit34-KesslerA cLu -W in.pdf
                              '
                                                                              '
                                                                              j
               d. On theAugust11thmeetingvideothatPlaintiffs'counselha#ehadfor
                  over a year,attendeescan be heard celebrating when the
                  announcem entofthe courtroom victory ism ade.
                  Defendantstried to preventPlaintiffsfrom knowing about
                                                                   '     the
                                                                           rirplans
                  fortheAngust11thUVA torclklitiarch,                         1
                                   Capitalofthe A ntifa                       l
                                                                              :
                                                                             1
    '   153.      Itwouldbecharitableto sav
                                          *''
                                              thatPl
                                                   a i
                                                     nti
                                                       ffs.
                                                          nel
                                                            ''
                                                                l
                                                             -''-
                                                                  ect
                                                                    e d t
                                                                        o ment
                                                                             1
                                                                              ion the
          mostimportantdetailofthiscase,butaswe'vejustestablished,thjy arenot
          deseryingthebenefitofthedoubt.'
                                        thePlaintiffsandthqirco-conspirators
          are adherentsofviolentand unpopular m ovem pnts,and m em bers ofgroups
          associated therewith.These m em bersllips and adherencesare obfusqcated in
          thisdeception upon theCottrt,butpromipently displayedelsewherl.
        154.      Plaintiffs describe Defendantsin the m ostinsam m atory terp's
          possible.W hite Suprem acist,neo-Nazi,dthate group'',and other epithets are
          thrown around with reckless abandon notat a1ldissim ilarly tohoF1Plaintiffs
                                                 ,
           andtheirco-conspiratorsbehaveon socialm edia.Plaintifsintentio/ally
          ignore theterm sD efendantsidentify them selvesby,such asW hite
          N ationalist,orAltRight.
               a. Tllis is not erroneous,but rather,intentional.Polls show the I
                  term inology favored by Defendantspollsbetter than the sm eprslevied
                  by Plaintifs.                                               j
                                                                              ;   '

                                                                              1
                                                                   r   V
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 6 of 53 Pageid#:
                                   8404



                   i. See Exllibitlo4-UVAW Npoll.pdf
                  ii. Sée ExM bitlos-W M eutersExtrem epoll.pdf
                 iii. See Exllibitlo6-ABcN azipoll.pdf

     155.      NqitheriyitanyacéidentthatPlaintkfsdeceptivelyclaim to emere
        concernedcitizens,ormemberéofinnocuouslynaGedgroupk.Theirl
        association with violent and unpopulargroupslike Antifa,orBlacliLives
        M atter,betrây theirtrue intentions,dim inish publicsupportfortheir crim es,
        andincreasethedifficult# ofdefm udingthisCourt.
            a. In 2017,2018,and 2019,poll: show ed little supportarld increasing
               opposition tow alrd Antifa.
                   i.'See Exllibitlo7-RassAntifal7.pdf
                  iis Se
                       'e ExM bitlo8-RassAntifal8..pdf
                    .                                                              1
                 iii. See ExhibitloglRassAntifalgopdf

            b. In 2017,beforetheEventsin dispute,a HarvardHarrispolljhöwed
               57% ofAm evicanshave a negative opinion ofBlack LivesM atte/.

                   i. SeeExVbit1110-HHBLMèo1l17.pdf
     156:     In fact,Plaintiffs are,orconspire with,Antifa adherents,for he
        purposes ofpolitically m otivated crim ina'lviolence.

            a. Emily GorcenskitoldtheCiarlpttesvilleCity CouncilJrlallisisthe
                 ' talofthe Antifa!''and the crow d Wentwild in célebration'.
               Capi
                   i. Seè Exhibitz8-capitalofAntifa.m p4

            b. PlaintiffW ispelw ey spoke to Slate.çom aboutddbàttalions''ofdj
                                               '
                                                                             antifa''
               armedwith tdcommunitydefensetpols''tofurthertheirdiversttybf'
               ta'ètics.                   '

                   i. See Exhibitsz-sethsBâtaEionsapdf

                  ii. ddIam a pastor in Charlottesville,and antifa saved m y 'fe twice
                      on Saturday.Indeed,they saved m any lives1om psyc ological
                                               .                            j'
                      and physicalviolence- lbelieve the body countcould ha    ve been
                                  .
                                                                            l
                      mùch w oràe,as hard asth:tistèbelieve.Thankfo ly,w    je had
                                       '
                        robustcommllmtydefensestan(tingup towhitesuprep'aèist
                        violèncethispastweekpnd.Incrediblybravestudentsjeldspace
                        atthe U niversity ofVirginia and stared down a torch-litm ob
                                                            k                                    (                                                       '                        .


                                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 7 of 53 Pageid#:
                                                                   8405
j                                                          a               .                        .          .                                                                                                     '

                                                                                                                                                              *
                            .
                                                                        '
                                                                                     thatvastly outnumbered them on Friday night.On Sa urday;
                                                                                     battalionsofantifascistprotesterscam etogetheron my citys
                                                                                     streetsto thw artthe tide ofm en carrying weapons,shields,and
                                                                                     Trum p lags and sporting M AGA hàtsand H itlqr salutes
                                                                                                                                          ' and
                                                                                     WaVing Nazilb gsand thepro-slavely Pstarsandbars.l''
                                                                            iii. C1
                                                                                  A phalanx ofneo-Nazisshoved rightthrough ourhum an wall
                    1                                                                with 3-footw ide wooden sllields,scream ing and spitting'                                                              .

'                                                                   .       .
                                                                                     ho>ophobicslursandpbscenitiesatus,ItwasWen thktantk
                                                                                                                                  j .
                                                                                                                                       'fa                                                                  .
                                                                                     stepped in to thw artthei .They hqve theirtoùlsto achievé their
                                                                                     purposes,and they are not onesIwillpersonally qse,but1etm e
                                                                                     stressthat ourpurpo:eswerethe sam e:block thisviole  'pttide
                                                                                     and donot1etittakethejedestal.''                                                                 .
                                        .   '
                                                                            iv. TtW hitesu'premacy isviolence'.Ididn'tseeany racialjustice
                                                                                                                                           1    '                 @
                                                                        .            protestersw ith weapons;as for antifa,anythAng they br  ought I                                                                                 ,



                                                    '                                would only categorize ascpm m llnity defense toolsand nothing
                                                                                     m ore.Pretty m uch everyone Italk to agreçs- including m ost
                                                                                     clergy.Mystrongstançeisthattheweapon isandwajwujja
                                                                                     suprem a'cy, andthewhitesti
                                                                                                               yremacistsintentionallyb!rought
                                .                                                                                                                '           :.
                                                                                     w eapons to instigate violence.''

                                                                                    The R adicalA genda Listeners'M eetup
    '                                   157.     CantFellorganized a m eetùp fprlj    . softhe RadicalAgenda show
                                                                                 lstener
                                           on them orning ofAugust 11th2017. Thisisthe only eyentofthatwee
                                                                                                         l kez!d
                                        .                                                                           l of.
                                                    which Cantwellcan accurately be dqycribed asan orgaG zer or leader
                                                    W ord ofthis p eetup was m entioned twice on Cantwell'swebsite.
                                        158.                        The firstm ention wasreferenced in PlaintifsSecond Am ended                                                                                                  ,
                                                    Co
                                                    U mplaintinParagraph106,referehcingaàlogposttitledft   uzlitejheRight
                                                     pdâtes''which w asposted on August8th and updatéd on August 9 h.

                                                            a. In thisparagraph Plaintiffjstatéd çiDeibndantCanswellexprb  essly
                                                                'tncouragefdl''RadlèalAgendafollowers '''to carry aconcealed
                .                                               .
                                                                    gyeaym .l?'                                  x       .       .                                                                      .                '

                                                            b. See Exhibitz4-uTR-updates-Blogpost.px                                                                      '

                                    .
                                                    .       c. Plaintiffscreative use ofquotation m arks evincestheirfond ess'for'       '
                                                                                                                                                     .                                                          '

                                                                    deceivingtllisCourt,and theextremely thin basisfortheiro tlandish                                                                                            .
,
        '
            '                                                       allegations.                                             '
                                                                                                                                             .                                .
                                                        ,                                                '           .                                                                        ?'                         '


                        .                                   d* Below , is a h rger snippet9om the August9th update) to show the                                                                                                  .


                                                            '
                                                                    courthow dishonestthisw as.
                                                                                     .                                                                                '                                                      '
                                                .                               .
                                                                                                                 '                   .
                                                                                                                                     '
                                                                                                     .       .
                                                                                                                                                                              .                    ',
    .

                                                    .                                                                                                                                     .                     'k               .
                                         Case 3:17-cv-00072-NKM-JCH
                                                   '      .
                                                                    Document 637-4 Filed 01/21/20 Page 8 of 53 Pageid#:                                                    .


                                                                            8406

!                '                                                                '                                                                .
j                        .                                .                                                                        g                   .               ,                     .                                  .
i:                                        .                                               .
                                                                                                                       '
                                                                                                                                       .


'
                                                                                                          i. dTheD mly Storm erhasJksu/# a callforpeople tosho up,
j                        .
                                                  '                                                                permitornone,andgiven stpwieadvlàeJ,
                                                                                                                                           ,
                                                                                                                                                      iJ'
                                                                                                                                                        c7on whattobrahg and
                                                                                                                                                                   .

1                                                                                                                  whatnottobrahg Theaka#w' cdJk toleaveyourWi-eaz'
                                                                                                                                               .                  g saf
i                                                                                                                  hom è,and JFyrou m ustbnhg à ikearm ,please concealit.
.
;                                         1                                                                                   '                                                                                                                 .
:
1                    .                                                                        .                    M
                                                                                                                   S any ofyou have asked aboutm eetahg up with m eperi
                                                                                                                                                                      sonally.                                                          .
i
;                                                                                                                      lhce theznal:
                                                                                                                                   ?aeventJ:shkely tobechaotiq wr,mlkhthav
                                                                                                                                                                        ' e                                                     '
:        .
                         .
                                              .
                                                                                                                   troublecatchlhg up atthemajh eventIam                                 .       w'tpzTzèag on!         .                   -

                                                                                                                   coordlàatlhg a m eetup for RadicalAgenda hàteners on Friday
                                                                                                                   butIhave tobe carefulabouthow the detàlls are annqunced.       l
                                         '                                                                         Sadl>y az llr/Aziau.xerf àay
                                                                                                                           .; œ'              œe' t
                                                                                                                                                  oMyou here.
                                                                                                                                                            e' Ial
                                                                                                                                                                 sosa-y ftithem edi
                                                                                                                                                                                  j
                                                                                                                                                                                   a,                   .
                                                                                  '
,                                                                                                                  èom m um àts,and other czlkzuba;elem ents.For *âzk eveht I
                                                              '
                                                                          ;
                                                                                  .
                                                                                                                   encourakethosewith the7ega7àuthon'e tocgz'
                                                                                                                                   .
                                                                                                                                                            .
                                                                                                                                                            ryraconï
                                                                                                                                                                   j
                                                                                                                                                                    cealed           .

                                                                                              ' ' fzeazM .Open cazv willdraw m ore zznnecessaa atten'
                                                                                                                                                    tlbn to u.
                                                                                                                                                             s
                             '
                                                                                                                   sozo oudonothavealicensetocazv pleasesecurey'
                                                                                                                                                               our
                             .
                                                                      .
                                                                                                                   k earm s elsewhere andletus ww z'
                                                                                                                                                   lraboutdeibnse.''           .''
                                                                                                                                                                               '                    '                                   '




.
                                                                                  '   e. DefendantCantwellcallstieCourt'satiention tohisconcer jfor                                                                                 .
                                                                                                                                                                                                                                                        '
                                                                                              obedielice to the laW ,and warning to his audience againstprovocative,
                                                                                              theo
                                                                                              P   ughperfedtlylegal,opencarrydisplaysoffi reàrmsatthislevent.
                                                                                                 rtinentdetailsconspicuously absentfrop the Plaintiffs'creative use
                                                                                                                                               '                                                            '               '
                                                                                                                                                                                                                                        .               '
                                     .
                                                                                              ofquotation m arks.
                                                                      '               f. Also conspicuoukly absentisany p ention thatCantwellwas m viding
                                                                                                           '

.                                                         '                                   thisadvicetoreàdersofhiswebsitefor((th
                                                                                                                                   kisevent''iil.refereylcetothe '                                                                              '
                                                                                              RadicalAgenda Listeners'M eetup,atwhlch no violehce ensued,
                                                                                              despite the bestefforts ofPlaintiffs'co-conqpirators.      .



     '                                                                                g.Plaintiffs'haveattemptedtomateriallydeceivetllisCottrtbyjmaking
                                                                                              theim pliçation thatCantwellhad encouraged RRàdicalAçenda
                                                                                              followers''asopposedto''thosewith'thelegalauthority''tocop
                                                                                                                                                       iceal
                                              '
                                                                                              theirfirearm s,atthe eventsin diépùte,rather than at a Wholly                                                                 .
                             '                                                                separateevent,                                                                                                    (
                                                                                                                              atwhichnocrimeisallegedinthecomplaintj
                                                                                      h. Tllisttquote''w àscited in JudaeM o(on'
                                                                                                                   -
                                                                                                                             <
                                                                                                                               sdenial'ofDèfendântCantwell's
                                                                                                                                           '.  .
                                                                                                                                                       -
                 .
                                                                          .                   motiontodismiss,whenhestated HeusedJJJ)#vanousplatj
                                                                                                                                                'orms.to                                                                        .                           '
                                          i                                   .
                                                                                              %dvlàeuràllygoerson bnhgaàg weapons.n'
                                                                                                  .                                                        .



                                                                                      i. This willful,and m alicious,m ateriyldeception perpetrated upon the
                                 '            '       .
                                                      .                                       Court) surely played a substantialrolein JudgeM oon'sdecislon-                                                                    '
                                                                                              makingprocesk,andpotentially,theoptcpmeofthemotiontJ.dismiss.
         )                                    '                                       j. P1alntiff
                                                                                                 'qhadt:G ow thiswould com eoutattrial, andperprtrated
                                                                                              this deception so as to.costDefepdantCantwellthe costofattorneys''
                                 .                                                                             .                                                                             .
     ,
             .           .                                                            '               .
                                                                                                                                                                                                                .                                   y
                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                    '
                                                                  .

                                                                                                                               '                                       '
                                     ,        .                                                                                                                                              :                          ,
'

                                                                                                                                         .   '
                                                                                                     .

                    Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 9 of 53 Pageid#:
                           .,                          8407     ,.                                       '




                                                                                     '
                                                                                 .                           '   . t.                        '
                                                                             .
                     .                               r                                       .                           '                                       '
                                          fees.tim e,em 6tionaldistressofthisprocess.and especiallv to hinder
1                                         his ability toparticipate in Am erican pohticaldiscourse.
                             159.         H oping to avoid the violencethreatened by Plaintiffsvand thelrco-
            .                    conspiratoi's,Cantwellonlymadethedetailsofthemeetingavailâbjetollis
                                 payihg custom ers, using his.ddpayw a11''featm e.Tllis featurevestrictsiacce'ssto                               '
                '
                                 certain contenton the website,based oila use:nam h and password proyided
                                 atthe tim e ofpurchase,and was usually only topm vide bonus contentto
                                 paying custom ers.                                                                                      ,




                             160.,        TopreventPlaintiffsandtheirco-conspi:atoks$om signingup justto
                                 getthe iziform ation,Cantw elldisabled new signupsbefore m aldng the                                            .
                                 Mnnouncem eht.                                         .
    (                                                    .                                       ,               '                                           .
                             161.     Aspartoftheirprem editated çonspiracy,Plaintiffs'andtheirjco-
                                conspiratorspaidformembership in advanceoftheEventsin dispute.                                                                       '
                                      a. Gorcenskifalsely testified under oath atCazitwell'sprelim inary
i                                        hearing on Novem ber 9ththat alfound outaboutthe Walm arbtm eetup
j                                        becauseM r,Cantwelladyerta'àed
                                                                      , the W alm artm eetup on WJ:sröwn
'       .                                 m àllaklglabt.''                   .
j                            .        '                                          .       .
E                                     b. Themeetu- p wasindeed announcedviatheemail,butthedetrilswere                        .

                                         bellindthepaywall.Theem àilreferénced can beseen agExllibitll3-                                             .



j
j                                .
                                          RAMeetupEmail.
                                                       pdf.                          .
                                                                                     :                               .

!       .
                                              i. V izplh Charlottesvllle,Wzwe '
                                                                              afor the ffzzïfdTheRlkhtSafyr
                                                    thaà ctpznlèjg Saturday.AS'
                                                                              lbcé wrehavebeen m eetlhg som uch
j'                                   . .            oppositionfmznb0ththeczlkzuèaalelementsandthemrjm'
                                                                                                     caàal
                                                    governmentahke,pr&'
                                                                      vehad toexercaàeagrqatdealoficaution
                                                    lh term s ofopebationalsecurity.SoIhave tem poranlybdaàabled
                                                    new m em bershlà mknups,andm ade thispostavw 7aN ponly to
                                                    exlàtingpayahg m em bers.

                                                I am J3 com m um ' cation with a reporter p'
                                                                                         ' âtjlà covenà the
                                                                                             .

                                               'qventland wants exclusaye access to a soclalgathenàg)outsl.de
                             .                                              .               .
    .


                                                the ZZ/.:JW evènt.I've offered toprovide exactly fN sah ekchange
    .
                         '       .
                                               '    forpromotionoftheRadicalAgenda.Ikeahàenotaf oi
                                                                     .                            l
                                                                                                   youP'JW
                                                    wanttobeoncameraorothqrwlbeZ' JkTthabklhdofex#osurq,so
                                                    I wantus tom eetup Jiatheir absence for a m ore lhtim at
                                                                                                          'e

                                          .
                                                    g
                                                    tha
                                                      'o
                                                       ts
                                                        hen
                                                          of
                                                           hy
                                                            go
                                                             .u
                                                              Th
                                                               we
                                                               g
                                                                hnoIw'
                                                                     P
                                                                     Jk
                                                                      '
                                                                      JWJ
                                                                        t
                                                                        à
                                                                        ov
                                                                         hia
                                                                         '
                                                                           te
                                                                            ve
                                                                             thhear
                                                                                  dep
                                                                                    aoc
                                                                                      r
                                                                                      hta
                                                                                        er
                                                                                         nc
                                                                                          te
                                                                                           ot
                                                                                            comdepJa
                                                                                                   br
                                                                                                    in
                                                                                                     tj
                                                                                                      j
                                                                                                        after.
                                                                                                      Iam                        .
                                                                                                                                                         .
                                                .
                                                    wqrkahg wath thereporteron gezzèag a. Fk'Jae# agreem entthàt
                                                    they /777notexpose thefaces orJ'
                                                                                   den tities ofanyope n 1f                          ,

                                                    explicitly tpTféze g to/?é exposei                                                                               '
'



                                 Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 10 of 53 Pageid#:
                                                                     8408                                                     .                      .                                                                                                                         %'       ''




II                                                                                                                                                                         '                                     .                       .



                                                                                        Paylhg m em berscan Wèal detallsfor the m eetup on
;                                                                                       Chnàtophercantwell.com ''

i                        .
                                                                          c. A non'm em berwho clicked through the link would have found a page
!                                                                            sim ilar to Exhibitll4-Ru eetupN oG em ber.pdf,which cutsoffthe
                                                                             firstparagraph,notifying the visitor thatthey m ustpurchase                                                                                                                                                '
j
i
                                                                             m em bership to obtain accessto the content.               ,                                                                                                                              '

                                                                                      i. tf am JT
                                                                                                n com m unication with a reporter who J:scovenhg the                                                                                                                                         '
'
                                                                      -                  event, and wants exclum ve access to -

                                         ,                                               To access thiscontent.vou m ustDùrchaseBasicM em bershm'...''
                                     /                                                                                                  .
                                                                                                                                                                                                         .   .
                                                                                                                                                                                                                                     j.
                                                                                         Radieal enda charlottes ' eM eetup
                                                 '
                                                                                         m.
                                                                                          -Aggust'
                                                                                                 tt7.2o17 z chris
     .                               .                                                   I'
                                                                                          mînCharl
                                                                                                 ottesvill
                                                                                                         e,VirgîniafortheUni
                                                                                                                           teTheRight9ullythiscomîngSaturday.Si
                                                                                                                                                              nce%
                                                                                                                                                                 Mehevebeenmeeting                                                                                 '
                 '
                                             '
                                                                                         somtl
                                                                                             chopgositionfromb0ththecri
                                                                                                                      minalelenlentsandtl
                                                                                                                                        nemkmi
                                                                                                                                             cipalgovernmentalike!we'vehadto                                                                                                        .
                                                                                         exerciseagreatdealofcautionintermsofoperationelsecurity.So lhavetemporarilydi'sablednew
                                                                                                                                                                                                                                     q
                                                                                  '
                                                                                         memberslni
                                                                                                  psignups,andmadethispostavaif                    ngmembers.lam 1
                                                                                                                              ablepnlytoexistingpayi             incommuni
                                                                                                                                                                 .       éation
             .                                                            '
                                                                                         witbareporterwhoiscoverinçtheeventandwantsexclusiveaccessto                                                                   '                                                                     .


         '                                                                                '
                                                                                                t
                                                                                                7l Toaccesstl
                                                                                                            niscontentyoumvstpurchasegasicMembership,Silve.
                                                                                                                                                          rMembershj
                                                                                                                                                                   j,Gold
                                                                  '
                                                                                                          Members
                                                                                                                   hiporPjati
                                                                                                                   s        nuc,Mernbersl
                                                                                                                                        ii
                                                                                                                                         p,orIogïnifyouareamember.                                                                   j.                                    .
                                                                                         Other;rO /ûTiQH topeethj:!                                                                                                                              . '
                     '                                '
'                                                                                        !
                                                                                         7
                                                                                         2
                                                                                         i
                                                                                         '
                                                                                         -
                                                                                         i
                                                                                         i-
                                                                                          )
                                                                                          è
                                                                                          '
                                                                                          l
                                                                                          ?
                                                                                          q'
                                                                                           ê
                                                                                           5
                                                                                           l
                                                                                           '
                                                                                           ;
                                                                                           t
                                                                                           !)
                                                                                            E
                                                                                            I
                                                                                            q
                                                                                            ë
                                                                                            p
                                                                                            E
                                                                                            ,
                                                                                            ..#
                                                                                              4
                                                                                              .
                                                                                              -
                                                                                              '
                                                                                              $r
                                                                                               t
                                                                                               #
                                                                                               %
                                                                                               ,'
                                                                                                '
                                                                                                2
                                                                                                $I
                                                                                                 3
                                                                                                 ;                         '?i-'                     '                                                                                                                     .
                                                                                                                                                                                                                                                                                        '
                                                                                              ....        ï.
                                                                                                          ,            .     -.



                                                                              '          i '
                                                                                           (
                                                                                          .'
                                                                                         ,E$
                                                                                           I
                                                                                           j
                                                                                           .j
                                                                                            )
                                                                                            i
                                                                                            j
                                                                                            ;
                                                                                            I
                                                                                            .'
                                                                                             .
                                                                                             .
                                                                                             ,
                                                                                             -
                                                                                             '
                                                                                             @.
                                                                                              k
                                                                                              ,
                                                                                              L
                                                                                              6
                                                                                              E7
                                                                                               -
                                                                                               k à s' F
                                                                                                      ..'
                                                                                                        F
                                                                                                        g.
                                                                                                         7
                                                                                                         (
                                                                                                         :
                                                                                                         rjg
                                                                                                           E.;
                                                                                                             ë
                                                                                                             (g
                                                                                                              :
                                                                                                              !tjr
                                                                                                                i
                                                                                                                2p
                                                                                                            ,-E,.i
                                                                                                                 )
                                                                                                                 l.
                                                                                                                  j
                                                                                                                  ;
                                                                                                                  -
                                                                                                                  tE
                                                                                                                   2'
                                                                                                                    .
                                                                                                                    k.'..
                                                                                                                        g
                                                                                                                        '.
                                                                                                                         ..
                                                                                                                          '
                                                                                                                          (
                                                                                                                          è.
                                                                                                                           '. -.:
                                                                                                                                (.
                                                                                                                                 f'
                                                                                                                                 L:
                                                                                                                                  që;
                                                                                                                                    .
                                                                                                                                    '
                                                                                                                                    r. '
                                                                                                                                       (
                                                                                                                                       '
                                                                                                                                       .)
                                                                                                                                        j'
                                                                                                                                         E
                                                                                                                                         jj
                                                                                                                                          y
                                                                                                                                          :
                                                                                                                                          .j
                                                                                                                                           ë
                                                                                                                                           -'
                                                                                                                                            l
                                                                                                                                            ,y
                                                                                                                                             ri
                                                                                                                                              j
                                                                                                                                              jE:
                                                                                                                                                ' '
                                                                                                                                                  .kj
                                                                                                                                                    lrk
                                                                                                                                                      j
                                                                                                                                                      .k
                                                                                                                                                       j
                                                                                                                                                       y
                                                                                                                                                       r
                                                                                                                                                       .:
                                                                                                                                                        '.
                                                                                                                                                         )
                                                                                                                                                         .
                                                                                                                                                         '''.
                                                                                                                                                           )(..'
                                                                                                                                                               .
                                                                                                                                                               !
                                                                                                                                                               '
                                                                                                                                                               .  ''
                                                                                                                                                                   ..
                                                                                                                                                                    ë
                                                                                                                                                                    'j
                                                                                                                                                                     .
                                                                                                                                                                     jjj
                                                                                                                                                                       .
                                                                                                                                                                       '
                                                                                                                                                                       j(
                                                                                                                                                                        j
                                                                                                                                                                        '
                                                                                                                                                                        rj
                                                                                                                                                                         '
                                                                                                                                                                         )
                                                                                                                                                                         ,j
                                                                                                                                                                          r
                                                                                                                                                                          j
                                                                                                                                                                          '
                                                                                                                                                                          y'j:
                                                                                                                                                                             '
                                                                                                                                                                             .
                                                                                                                                                                             7
                                                                                                                                                                             rt(
                                                                                                                                                                               '.y
                                                                                                                                                                                 'y.y.
                                                                                                                                                                                     .'
                                                                                                                                                                                      ...'
                                                                                                                                                                                         .
                                                                                                                                                                                         :..
                                                                                                                                                                                           r
                                                                                                                                                                                           -:
                                                                                                                                                                                            -'
                                                                                                                                                                                             ..E'
                                                                                                                                                                                                ,@r
                                                                                                                                                                                                  'k
                                                                                                                                                                                                   j
                                                                                                                                                                                                   j
                                                                                                                                                                                                   'q
                                                                                                                                                                                                    j
                                                                                                                                                                                                    Ej
                                                                                                                                                                                                     jk
                                                                                                                                                                                                      j
                                                                                                                                                                                                      j
                                                                                                                                                                                                      kj
                                                                                                                                                                                                       l
                                                                                                                                                                                                       :j.
                                                                                                                                                                                                         j
                                                                                                                                                                                                         :
                                                                                                                                                                                                         j
                                                                                                                                                                                                         :
                                                                                                                                                                                                         ..
                                                                                                                                                                                                          jj
                                                                                                                                                                                                           y
                                                                                                                                                                                                           (
                                                                                                                                                                                                           yr
                                                                                                                                                                                                            j
                                                                                                                                                                                                            'r
                                                                                                                                                                                                             .
                                                                                                                                                                                                             2:
                                                                                                                                                                                                              (.
                                                                                                                                                                                                               :-.
                                                                                                                                                                                                               )  !:E
                                                                                                                                                                                                                    '
                                                                                                                                                                                                                    j
                                                                                                                                                                                                                    (
                                                                                                                                                                                                                    y
                                                                                                                                                                                                                    kj
                                                                                                                                                                                                                     (
                                                                                                                                                                                                                     :
                                                                                                                                                                                                                     j
                                                                                                                                                                                                                     :j
                                                                                                                                                                                                                      (
                                                                                                                                                                                                                      :
                                                                                                                                                                                                                      E'
                                                                                                                                                                                                                       j
                                                                                                                                                                                                                       (y'yjE
                                                                                                                                                                                                                            :'
                                                                                                                                                                                                                             j .
                                                                                                                                                                                                                               j jt
                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                  jl
                                                                                                                                                                                                                                   jk
                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                    )
                                                                                                                                                                                                                                    .q
                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                     .T
                                                                                                                                                                                                                                      g
                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                      j(
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       ï1
                                                                                                                                                                                                                                        L
                                                                                                                                                                                                                                        ï.'
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         ( :'
                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                            '2
                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                             '1
                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                              .'
                                                                                                                                                                                                                                               !
                                                                                                                                                                                                                                               :E  'L
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                    '.'
                                                                                                                                                                                                                                                      :j  ':
                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                           t
                                                                                               r.i
                                                                                                 ..
                                                                                                  '
                                                                                                  6
                                                                                                  à
                                                                                                  .k
                                                                                                   .
                                                                                                   !h
                                                                                                    r
                                                                                                    y
                                                                                                    l
                                                                                                    '
                                                                                                    .q
                                                                                                     ;
                                                                                                     .
                                                                                                     q
                                                                                                     :j
                                                                                                      :
                                                                                                      ;
                                                                                                      !
                                                                                                      :t
                                                                                                       .
                                                                                                       j
                                                                                                       5
                                                                                                       y
                                                                                                       r.
                                                                                                        j
                                                                                                        q
                                                                                                        i-
                                                                                                         k
                                                                                                         )
                                                                                                         .
                                                                                                         i
                                                                                                      '
                                                                                                                         i
                                                                                                                         pk
                                                                                                                          $            E                       (               )è                 ë)
                                                                                                                      .sù
                                                                                                                        t
                                                                                                                        :
                                                                                                                        (
                                                                                                                        L2
                                                                                                                         l
                                                                                                                         ki
                                                                                                                          -,
                                                                                                                           4
                                                                                                                           -
                                                                                                                           .
                                                                                                                           y                                                                                                                      ,r      è
                                                                                                                                      ...
                                                                                                                                                          E);r
                                                                                                                                                                                                   .                       .                          ...
!                            .                                                           . .
                                                                                         .
                                                                                         r..
                                                                                           , E
                                                                                          . . ..    .
                                                                                             ... .. .    -
                                                                                                         ;
                                                                                                         rrry  .    ,!
                                                                                                                 -. .. , . k
                                                                                                                   . .      ë..
                                                                                                                            r
                                                                                                                   . . ... .. .
                                                                                                                                  E-
                                                                                                                                  .
                                                                                                                                  :
                                                                                                                                  -
                                                                                                                                  : ;.(
                                                                                                                                      -g
                                                                                                                                       y
                                                                                                                                       .
                                                                                                                                       ;r
                                                                                                                                        E
                                                                                                                                        ;
                                                                                                                                        r(
                                                                                                                                         -
                                                                                                                                         r
                                                                                                                                        :y
                                                                                                                                         pi
                                                                                                                                          (
                                                                                                                                          r
                                                                                                                                          -t
                                                                                                                                           jr.i
                                                                                                                                   . ...,. .....
                                                                                                                                     - -          .-(q.)
                                                                                                                                                ë.-
                                                                                                                                                ;       :-
                                                                                                                                                         E
                                                                                                                                                         :
                                                                                                                                                         -j
                                                                                                                                                          .        F
                                                                                                                                                                   y;
                                                                                                                                                                 ë-t
                                                                                                                                                               ;,. (
                                                                                                                                                                   -
                                                                                                                                                                   jy
                                                                                                                                                                    ;(
                                                                                                                                                                     ,
                                                                                                                                                                     !
                                                                                                                                                                     q
                                                                                                                                                                     r
                                                                                                                                                                     :
                                                                                                                                                                     ë.
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                      ë:
                                                                                                                                                                       ,
                                                                                                                                                                       -
                                                                                                                                                                       ,
                                                                                                                                                                       I(
                                                                                                                                                                        ;
                                                                                                                                                                        .
                                                                                                                                                                        -
                                                                                                                                                                        :
                                                                                                                                                                 . . . ..
                                                                                                                                                   . . . . . . .. . ..
                                                                                                                                                                         ë
                                                                                                                                                                         :
                                                                                                                                                                         E
                                                                                                                                                                         q#
                                                                                                                                                                          .
                                                                                                                                                                          j
                                                                                                                                                                          :
                                                                                                                                                                          .q
                                                                                                                                                                           --)
                                                                                                                                                                     .. . ..
                                                                                                                                                                             .
                                                                                                                                                                             ((,
                                                                                                                                                                              ,-
                                                                                                                                                                              -
                                                                                                                                                                                  ::;
                                                                                                                                                                                   .
                                                                                                                                                                                   ..
                                                                                                                                                                                         '
                                                                                                                                                                                         .-
                                                                                                                                                                                        . .. .
                                                                                                                                                                                             .  k.
                                                                                                                                                                                                E :
                                                                                                                                                                                                  -j
                                                                                                                                                                                                   y
                                                                                                                                                                                                   j.
                                                                                                                                                                                                    j
                                                                                                                                                                                                    E
                                                                                                                                                                                                    !.
                                                                                                                                                                                                     r
                                                                                                                                                                                                     ë
                                                                                                                                                                                                     ;
                                                                                                                                                                                                     -
                                                                                                                                                                                                     I
                                                                                                                                                                                                 ... .
                                                                                                                                                                                                 . ..
                                                                                                                                                                                                      I
                                                                                                                                                                                                      r
                                                                                                                                                                                                      ë;
                                                                                                                                                                                                       -g
                                                                                                                                                                                                       E
                                                                                                                                                                                                       j
                                                                                                                                                                                                       Ij
                                                                                                                                                                                                        E
                                                                                                                                                                                                        ë
                                                                                                                                                                                                        (r
                                                                                                                                                                                                         !
                                                                                                                                                                                                        -E
                                                                                                                                                                                                         ;
                                                                                                                                                                                                         y
                                                                                                                                                                                                         Ij
                                                                                                                                                                                                          (
                                                                                                                                                                                                          r
                                                                                                                                                                                                          yj
                                                                                                                                                                                                           y
                                                                                                                                                                                                           (
                                                                                                                                                                                                           ë
                                                                                                                                                                                                           .-
                                                                                                                                                                                                            r
                                                                                                                                                                                                            -y
                                                                                                                                                                                                             ,i
                                                                                                                                                                                                             ..   yE( ,
                                                                                                                                                                                                                 ).
                                                                                                                                                                                                             .. , ..
                                                                                                                                                                                                                      .ii.
                                                                                                                                                                                                                        -rEg!
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                            -g
                                                                                                                                                                                                                            -  ;(!
                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                             yr-
                                                                                                                                                                                                                               ..Iy
                                                                                                                                                                                                                       ... ..... .
                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                  që
                                                                                                                                                                                                                                   (
                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                   !I
                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                    r,
                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     (
                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                     .y
                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                       y...
                                                                                                                                                                                                                                         . .t
                                                                                                                                                                                                                                          --)
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            y.
                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                              (;
                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                               --)
                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                 -r
                                                                                                                                                                                                                                                 . .)
                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                    ry
                                                                                                                                                                                                                                                     --
                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                      ë
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                        .:-j
                                                                                                                                                                                                                                                       ry,
                                                                                                                                                                                                                                                      ..,  r
                                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                           p
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                            . ,.



                                                              .
                                                                          d. Only afterlogging in,as shown in Exhibitlll-NAM eetupM em ber.px,
                                                                             doesone see the details ofthe m eeting.

                                                                                      i. (dlzet'splan on meetingonFridayAugust11th,intheF almart                                                                                                                                    .
                             '
                                                 .        .                             parking lotat975 H ilton H eights Rd,Chàrlottesville,V jA 22901,                                                                                                                            '
     '
                                 '                                                      atnoon localtim e.W e'l1a11m eetthere.''
                                                                                                                                w ait a halfan hour
                                                                                                                                               r
                                                                                                                                                    orso                                                                                                                   '
                                                                                        for any stragglers,and then head offto ournext destinat' ion.''
                                                     162.      Despite these security m easures,Gorcenskiannounced the detailsof
                                                        the m eetup on Twitterthe m orning ofthe event.



                                                          $

             '                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                           .
                 Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 11 of 53 Pageid#:
                                                     8409




!
I
1
                         .
                                                  4
                                                  tja,3, '
                                                        .,
                                                         L4
                                                          ;
                                                          i
                                                          t.
                                                          ; k Emi
                                                                .l
                                                                 yG (On'the
                                                                 .'
                                                                  .       'BabylonianVideo Box)4
                                                                                               ,f
                                                                                                t
                                                                                                k
                                                                                                'ï
                                                                                                 'E
                                                                                                  a
                                                                                                  -'
                                                                                                   è
                                                                                                   Erny
                                                                                                  w.  ty
                                                                                                       .'
                                                                                                        rJ
                                                                                                         -
                                                                                                         ;
                                                                                                         .ot
                                                                                                           '
                                                                                                           ceE
                                                                                                             l
                                                                                                             u>.
                                                                                                               :s
                                                                                                                .                                                                          .                                                   ''
,
'
E           .                                      EjG. ..
                                                  A'
                                                   '
                                                         j
                                                         St
                                                         .
                                                         #'a
                                                           ':     ..



        '
                                                  Itappe%-
                                                  '
                                                          ars hris ant eIIof a ical enda
                                                  Is holding a rally '
                                                                     In the al a parking l0tat
                                                  noon befofe oving to an un '  lsclosed s 0t.                                                                                                     '
                                                  .!
                                                  i.'tl
                                                      i1 ?5:
                                                           .h
                                                            .4î.-.-ïz)x'
                                                                       lt
                                                                        ku(.yr?(.)'
                                                                        '         !.7                                                                             '                                r '

                                                  -:1d:)yl7C
                                                           'L
                                                            E:-p'
                                                               '!
                                                                a
                                                                '
                                                                .$
                                                                :!
                                                                 l
                                                                 :,
                                                                  i
                                                                  ï
                                                                  )t
                                                                   $
                                                                   2
                                                                   )
                                                                   .ï
                                                                    4
                                                                    ;-
                                                                       '
                                                                      11
                                                                       E
                                                                       1t.
                                                                         -i
                                                                          .
                                                                          '
                                                                          k
                                                                          t:
                                                                           i
                                                                           --
                                                                           ,C
                                                                            j
                                                                            :
                                                                            .
                                                                            ( <2
                                                                               '
                                                                               ?
                                                                               .
                                                                               -
                                                                               i
                                                                               1
                                                                               y#
                                                                                q);
                                                                                  . . fj
                                                                                       :E
                                                                                       i
                                                                                       -j:
                                                                                         2
                                                                                         d7
                                                                                          !
                                                                                          lr
                                                                                           E
                                                                                           lë
                                                                                            yi
                                                                                             piii
                                                                                             E     .'
                                                                                                . u-E' ;..E
                                                                                                    .     t* .h' 'y
                                                                                                           )i/
                                                                                                           .      ;.
                                                                                                                  , ï.r'.'.
                                                                                                                   2)
                                                                                                                   '      k.-- 16336
                                                                                                                             ..3   31
                                                                                                                                    3.).i
                                                                                                                                        jj7
                                                                                                                                          .' .'''  '-.                                 .
                                                                                   .ë t
                                                                                      i+') .:' ..', $,.....,...-.. ..                      !
                                                                                                                                           t.
                                                                                                                                            y'  .''.                                                       '
                                                            ..                      .-aE
                                                                                .::-- -                                                              .                            .
    .                                              sr :
                                                   O                                 't.,Q
                                                                                         .E 1tt                   12                                                                                   '
                                                                                                                  (..ç:..j
                                                                                                                   'k:,ri'
                                                                                                                   '
                                                                                                                                                                                                   1
                                                                                                                                                          .



                                      '            bI1-.-.@tt:''''''
                                                  L'
                                                  ... fpj:
                                                         ;..
                                                           ' !.
                                                              1.
                                                               146.
                                                                   ?ë.
                                                                  '15
                                                                    !
                                                                    '
                                                                    )
                                                                    1!
                                                                     1!
                                                                      4
                                                                      '
                                                                      t9t
                                                                        /
                                                                        rt:
                                                                          '
                                                                          k(,t
                                                                             :
                                                                             )
                                                                             '17
                                                                               1'
                                                                                1'e1
                                                                                   ::
                                                                                    11
                                                                                     4
                                                                                     lzy14
                                                                                         :
                                                                                         ,,
                                                                                          r
                                                                                          !i
                                                                                           a.1
                                                                                             r,lt
                                                                                                l
                                                                                                fi
                                                                                                 .
                                                                                                 :1'i
                                                                                                    r
                                                                                                    d
                                                                                                    c;p.
                                                                                                       B4
                                                                                                        :,;,
                                                                                                           I
                                                                                                           18.
                                                                                                             t.
                                                                                                             :i
                                                                                                              t
                                                                                                              .
                                                                                                              à'r
                                                                                                                .
                                                                                                                '
                                                                                                                ï
                                                                                                                5l
                                                                                                                 ,t
                                                                                                                  '.t
                                                                                                                    '1
                                                                                                                     7
                                                                                                                     5
                                                                                                                     :
                                                                                                                     ''
                                                                                                                      '1
                                                                                                                       ,
                                                                                                                       $-
                                                                                                                        :'
                                                                                                                        .Eî
                                                                                                                          .
                                                                                                                          )
                                                                                                                          -
                                                                                                                          C'
                                                                                                                           ;
                                                                                                                           ..
                                                                                                                            J.
                                                                                                                             t)
                                                                                                                              'q
                                                                                                                               :
                                                                                                                               '
                                                                                                                               r:t
                                                                                                                                 ù
                                                                                                                                 l-
                                                                                                                                 >:
                                                                                                                                  '?
                                                                                                                                   s.1
                                                                                                                                     s
                                                                                                                                     '.
                                                                                                                                      i-..
                                                                                                                                         1'
                                                                                                                                          :f
                                                                                                                                           ')
                                                                                                                                            sI
                                                                                                                                             .
                                                                                                                                             lçJ''
                                                                                                                                                 :
                                                                                                                                                 2
                                                                                                                                                 :
                                                                                                                                                 .:
                                                                                                                                                  i
                                                                                                                                                  '1
                                                                                                                                                   .
                                                                                                                                                   .'
                                                                                                                                                    j
                                                                                                                                                    i
                                                                                                                                                    ''
                                                                                                                                                     3
                                                                                                                                                     '                                         .                       .               -
                                             .
                                                  l:
                                                   !
                                                   .
                                                   i
                                                   E
                                                   r
                                                   -
                                                   ,...j
                                                       :
                                                       '
                                                       ,
                                                       )
                                                       .
                                                       $
                                                       ' hv       .         .                              -.
                                                     @1 î-),îj
                                                             ...
                                                               :jt.r?&n
                                                                      ..gl17kg
                                                                            irirY.m.t)?Gc'rcelu.kj
                                                                         . .. .
                                                                              , .                .                                                   .                                                         '    .
                                             '       1
                                                     ï Carltwd11isa:           headllner()1g -    .$
                                                                                             j('rR.
                                                                                             .     Aj1
                                                                                                     :)j'jx bf-
                                                                                                              ;jthefe..
                                                                                                                   .
                                                                                                                       tr
                                                                                                                      ts
                                                                                                                      : ijlllz4ldlsseût?             v-           ' .                              'j
                                                                                                                                                                                                    y
                                                                                                                                                                                                    '              ..
                 .            .                             l
                                                            ij
                                                             (                       .
                                                                                                                                                                                                   j
                                                                             tf....)k
                                                                                    j qjr.           ..
                                                            it               ?k.9/.<;7   .
                                                                                         k           o....
                                                                                                         j .'N.
                                                                                                      f.....
                                                                                                           jiq               ,ïykk
                                                                                                                             ;                                .                                                        .
                                              .             il                                              .                                                                                                              '
                                                   kqë
                                                   ' .7., '*5,
                                                     s      '
                                                             'kA. Emj
                                                               .,   l
                                                                    y.G (Dr3theBa:ylonl
                                                                                      anVl
                                                                                         deoBox)'
                                                                                                t'.
                                                                                                  1't
                                                                                                    '
                                                                                                    ;
                                                                                                    i
                                                                                                    ...'t
                                                                                                    -   i.
                                                                                                         l'
                                                                                                          r#..
                                                                                                             i
                                                                                                             1
                                                                                                             fG@
                                                                                                             .
                                                                                                             .  .
                                                                                                                -
                                                                                                                î
                                                                                                               .'.'
                                                                                                                 tk1er'
                                                                                                                      S;
                                                                                                                       .
                                                                                                                       1
                                                                                                                       (l'1%
                                                                                                                           .Atjg2ë
                                                                                                                                 '
                                                                                                                                 .
                                                                                                                                 )1'
                                                                                                                                   ,
                                                                                                                                   ?
                                                                                                                                   .                                                           .                                           .
                                                      r ';;
                                                       ..
                                                       .. è
                                                          )
                                                          $
                                                          ' r.
                                                          i
                                                          .
                                                          .
                                                          /  z    '                                                                                                                                        .
                                                            j                Car'h.'a-ellrtlngRaLticaî'Ag.enda.whthblllsilselfas''prtl-Eurcpean''f%'
                                                                                                                                                   aêhlte                                                          .           .
.
        .
                                                  .         !
                                                            à1
                                                            j;
                                                                         .   :$14
                                                                                .remaclst)an:prgmc.T
                                                                                                   efgs
                                                                                                      '
                                                                                                      ctlm.l
                                                                                                           .
                                                                                                           lv
                                                                                                            nçjj
                                                                                                               *9
                                                                                                                -sk
                                                                                                                  ;nseextr
                                                                                                                         .
                                                                                                                         efrt
                                                                                                                           '
                                                                                                                            .sm''(extremiFr
                                                                                                                            j             m/                                                       '
            .                                               .
                                      '              j                       V)
                                                                              q
                                                                              .x 2        y.p5
                                                                                          ,
                                                                                          =l             .ö
                                                                                                         1          .         ,                                                                                                                 .
                                          IEEiI.., , 1
                                                     .1
                                                     1)
                                                      : .                                                           ,        ,...v.                                                                            .




                             163  .  GorcensklwouldlaterbragthatAntifa(   tintelnetworks''hadl
                                                                                         '
                                                                                               'l
                                                                                                nfiltrated
                                                                                                j                                                                                                                                  .
                .'             Cantwell'swebsite,and othercom m unications networksto (tdisrupt''
                               Defendants'actlvltles.                       .
                                                                                         s   s  j .
                                                                                                 s
                                                                                                                                                                      .




                                                                                                                                         I   .                                                     l
                                                                                                                                                                                                   I




                                  .                                                                                                                                                   '-                                            .
                                                                                                     .




                                                                                                                                                                                                       '
                                                                                                                                                                                                                               j




                                                                                                                                                                          '                        j
                     .
        '                                                                     '                                                                                                                    k
                                                                 .                  .                                                                                         .                    (                               .




                                                                                                                                                 '
                                                                                                                                     .                                                             j               .
                        Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 12 of 53 Pageid#:
                                                            8410




                                                                         '
    .
                                                                             .
                                                                                       Emlly G,Cville.t
                                                                                                      l'
                                                                                                       )'4)îmt
                                                                                                             hdsorceoski                                  '   '                 '
                                                         ,
                                                                             7
                                                                             j
                                                                             :
                                                                             f6j
                                                                             '.à)
                                                                               .
                                                                                y
                                                                                2q
                                                                                i
                                                                                .:!
                                                                                  '.                                                                          .                         .           '


                                                                 O ne sto
                                                                        '
                                                                        -ry th'at hasn'tbeen told about
                                                                 #charlottesville 'IS hoW 0urintelnetw orks
                                                                 dram atlcally outclassed both the alt-rlght's
                                                                                                                                                                      !
                                                                 and the cons'.
                                                                 Yirèx
                                                                     --g-
                                                                        'l'ytkltzl'-.'tt)zlsk(l(J.:/t-)'t.-;! '

'       '
                                                                 16: Re:kk
                                                                 '
                                                                         /eets. 39:Là   .
                                                                                    kes' .,
                                                                                          ..
                                                                                           E
                                                                                           -
                                                                                           ,t.:
                                                                                              e:
                                                                                               '
                                                                                               E
                                                                                               l
                                                                                               iqùp
                                                                                                  :i
                                                                                                  Ef
                                                                                                   ,
                                                                                                   yj
                                                                                                    p
                                                                                                    .l
                                                                                                     e
                                                                                                     :
                                                                                                     t
                                                                                                     F
                                                                                                     ft
                                                                                                      l
                                                                                                      i)
                                                                                                       E '''t
                                                                                                            ; .:
                                                                                                               j
                                                                                                               d
                                                                                                               j; ;z
                                                                                                                   .
                                                                                                                   '
                                                                                                                   ;                          :
                                                                                                                                              k
                                                                                                                                              '
                                                                                                                                              j
                                                                                                                                              rl
                                                                                                                                               !
                                                                                                                                               jl
                                                                                                                                                t
                                                                                                                                                ;
                                                                                                                                                '.':
                                                                                                                                                   ':.
                                                                                                    .j
                                                                                                     à.
                                                                                                      1     g  '                               .
                                                                                                                                               k.
                                                                                                                                                .  : .
            '
                                                                     t-) '
                                                                         j(i               t2 t5û                 :/3

                '                        '                               .
                                                                                   Emil
                                                                                      y9,Cyillmtt
                                                                                                /lf-
                                                                                                   i
                                                                                                   .
                                                                                                   lïirnil
                                                                                                         y/c?'
                                                                                                             lensp
                                                                                                                 ci.19Aulj201'
                                                                                                                             i
                                                                                                                             ' '.v
                              '                                              6 .
                                                                             :
                                                                             '.
                                                                             : 1
                                                                              '.
                                                                              ;'. Rer
                                                                               2E
                                                                               5    '3
                                                                                     l
                                                                                     hz.tl'
                                                                                     ''   î
                                                                                          n
                                                                                          ''t
                                                                                          ' ot't
                                                                                               k
                                                                                               '''Emi
                                                                                               '     l
                                                                                                     v
                                                                                                     'Gor
                                                                                                     '    censlqi '.                                '

                                                                             1
                                                                             l    cwll
                                                                                     i
                                                                                     a   n-gat
                                                                                             tir  edi
                                                                                                    'nteli
                                                                                                         s onàn  n
                                                                                                                 o t
                                                                                                                   'tak
                                                                                                                      .enser
                                                                                                                           inusl
                                                                                                                               y byaut
                                                                                                                                     hcii
                                                                                                                                        ll
                                                                                                                                         ès-but'
                                                                                                                                               bveusèdkt              . .                               .
                         '.                                                  jj kztdelj
                                                                                      :tcpl
                                                                                          àn,dl
                                                                                              srupt,mcmitèrj4ndrespondt                       .                   .                 '
                                                 .                           l
                                                                             i:
                                                                              ?
                                                                              !! t7 2          .    . .                                 .

                                                                             )j
                                                                                       .    t7
                                                                                             '..
                                                                                               1:          'IBJ                                           '                                 .
                    .                                        .               '                                            GG

                                                                                   iEë
                                                                                     lllj1!(4:.(:
                                                                                                '
                                                                                                k
                                                                                                hli1l(!.j$i'r
                                                                                                            (i)
                                                                                                              .
                                                                                                              5Err1#1
                                                                                                                    yT
                                                                                                                     (!
                                                                                                                      )():'
                                                                                                                          #-i1rIf9dti-16)a
                                                                                                                                         z
                                                                                                                                         lqt
                                                                                                                                           jt
                                                                                                                                            p:@(
                                                                                                                                               )1i' '
                                                                                                                                                    s%
                                                                                                                                                     *.
                    .
                                                             -               .
                                                                             t
                                                                             ',
                                                                             j @
                                                                               . T'
                                                                                  h'
                                                                                   efcason.ùjqt
                                                                                              si
                                                                                               a'
                                                                                                wasl
                                                                                                   alUaatwett'
                                                                                                             svval
                                                                                                                 madjàitïqfjni
                                                                                                                             -?.Ouri
                                                                                                                                   ntel.Thé.
                                                                                                                                           .lofch.                                              '
                                                                              -j
                                                                               )              .                  .
                                                                     .

                                                                             s     rally?Oqrintel.
                                                                             jj                                           '                                                                         .
                                                                             t
                                                                             1
                                                                             .         C;
                                                                                        )3    1-'
                                                                                                7: $4          1*/4 '          .
                                                                                                                                          ' '                               '
                                                                             )
                                                                             j
                                                                             !                 -          . --- .                                                                       .

                                                                                 EmllvU,Ckille-V't'  f
                                                                                                     lisrnWclcrcel .
                                                                                                                   '
                                                                                                                   ss:.
                                                                                                                      t.19r
                                                                                                                          ckbl
                                                                                                                             tj'10'
                                                                                                                                  17' w.                                            .               .
                                                     '               .
                                                                             rjj '
                                                                             '
                                                                                 Are@tralqgicallyleakedi nfi
                                                                                                           :)kncVfkngtùeçwpr:Watchlntlandr
                                                                                                                                         lrocèsted.
                                                                                                                                                  tttelr
                                             .
                                                                 .               reaciionsInréaktime,                             ..                                                            '
                                    '                                        tj                                     .                  .                                        .
                                                                             j                                                                          .
                                                                 .           lj. Q 1          t4 L J           ïZ,J'
                                             a                               /                                        '

                                  164.     Cantwellw ore a body càm era throughoutthe event,and thatjvideo has
                                    '
                                     been ln thepossesslon ofPlam tlffs counselfor m ore than a year.The@
                                                                                                          vldeo ls'
                                                 .    .  .                     .  .           .   .
                                     under a confldentlallty orderto preventPlalntlffsfrom usm g ltfor doxing,
                                        butrelevantaudl
                                                      'oc11
                                                          *psfrom thevideoareprovidedhereasExhl
                                                                                              'bl
                                                                                                'tll6-
                                        W alm ârtAntifa.m p3 and Exhl
                                                                    'bl
                                                                      'tll7-W alm artcops.m p3

                                  165.     The conspiratorsofthe Plaintifswho confronted Cantwell's group in
                                     theW alm artparkinglot,wereAntifa adherentsfrom Philadelphia.Paul                                                                                              .

                                     M inton,M ike Longo Jr.,Brian Bozicek,RobertM edallo,and Shawn M enne.
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 13 of 53 Pageid#:
                                    8411
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 14 of 53 Pageid#:
                                    8412
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 15 of 53 Pageid#:
                                    8413




                       Department(4&#.  /z?arrive4'onqofwhom parkqdâlk 'oljcq'
                       vehiclea/bcdrftohers.GO
                       okerhear thepoliceradio.
                                                   RCENSKIS<Hdshewasabjeètp
                                                & t= thptvehicle when the om cer
                       calledJiaanl.
                                   dentaicatl.
                                             oncheckt??aanJèatsw. duagpou syeosz
                       determ làed was Cantwell.She@aJ'  # she cyulJ hear the?-aJlb
                       tram 'c thatJ'
                                    #eJa:JW'
                                           e# Cantwell-7777, the om cer was ta Aziag to
                       h1L
                         m .''

             b. Exhibitls-cantwellprelim .pdfisthe transcriptôfCantwell's
                prelim inary hearing on N ovem ber9th. '

                     i. @ ,4ndsoyou wentdown to Walmarl didn'tyou?
                       x   4.Fes,that% whatI lesflT/ie
                                                     dl to.

                        Q.Andyoujustsaidyou wèren'taàvolved.
                       .4.Isàid thatIobservedhnm severalrowsqway and thatk t
                                                                           :
                       picture thatI took Tm zzaseveralrows away.

                        Q.XZIJJJsom ehowyou te ze able topubhàh on Twitter that
                                            .                  .
                                                                     '      l  he
                       waagettahg questaoned by cops,questloned by cops aR e
                                                                           br
                       allegeily :zprtflkâlkagag
                                               'un,Jkr':that'nkht?
                       -4.Thatis eâaifWeaz#Tm w thepolice scazlnem yes.
      172.        Dèspiteclaimingnotioknow thepeoplewhoconfronted Cqntwell's
        party, Gorcenskilatetdescribed them asttW e''and RU s''in livesfream
                                                                           l 'videos
        froi UVA ontheeveninj6fAugust11th.Gorcènskisaid''Fèsaw èhraàtopher
        Cantwellhage a rall y today.Orgam àed atthe Walm prtparklhg lot.G e pw e
        there to capture that.The Jzletfzb showed up to capture that.ce #J'
                                                                          # notcall
        1W'
         iaNthcàlah,izartkzboèagthegun.Thatwas'!
               â isproofthatitJlsnotjustthe 'Hrfll/a
                                                    '
                                                    a customènJ3, W& theslore.
                                                    ''thatheJk terrorizlhzibut
                                                ;         ..   '         '   %-'- I
        acfually thecom m um 'ty Jkaand ofatself c e dldn'tneed to do thatjin'factlI
        gotto thatm eetup f'
                           R./:p-m làuteslate''.

      173.        Gorcenski'stweètfeaturingCantwell'sjicture,withthefalsr'
        accusation,was laterfeattuied on Itstb ingDow n.org,along with izdb,rm ation
        aboutishe planned torcM itm arch through UVA.
             a SeeExhibit3l-iGD TorcI:M arc'
              .                            h.pdf
             b. éçEarlier today ankht-I<rlbg gathering atthelocal Walm az'tepded wr
                                                                                  :*
                                                                                   /W
                 Clm àtopher Cantwels a wr N fenationahàtspeakeratUm'te theRakht
                  whowasoncequotedassayvïag 'ILlet%TutAïaggastheJfzTv andhave
                                                                         .
'



                                              Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed
                                                                         .                  '' 01/21/20
                                                                                                   .
                                                                                                        Page 16 of 53 Pageid#:
                                                                                  8414

                                      z                       ''                                                                            :                                                                     '
                                                                                                                           .



                                                                                a race wra.ri''pulled a gun on a custom er who conFonted the ,ah the
                                                                                parkinglot.PohcesurroundedWlkfqmowersP-
                                                                                                           .
                                                                                                                      J/JJ:
                                                                                                                          ?Jmlhutesjuttoen           .



            .
                                                                                allowed them toreconveneJ3 M clhtakePark.                                                .
                                                                                                                                                                                      .                               '
                                  .                   .                               L'                                           '                                                                      '



    '                                                                           Tlkis response frM policeJà espeçially alarm lhg.Fash are alze.
                                                                                                                                             i ?J.F
                                                                                p
                                                                                IG
                                                                                 ro
                                                                                  DwrhehgCharlottesvllle,withreportsofchurchesD/gharaqsed.As
                                                                                       portedMxy;thenkht(sleadersaredocumeptedcaflbgfor
                                                                                arm ed vaolenceagalhstanyone whocrosses them .
                                                                                It% beyond obvious that:WJlsJk notabout.
                                                                                                                       /Jw speech butterronàm .                                               ,               '
                                                                                Charlottesvllle%Black andbrown 1tx , sm ustbeprotected at2
                                                                                                                                         a.1/cost%
                                                  .
                                                                         .
                                                                                butthep/fce don'tseem to caz'e7                                                           -
                                                                                                                                                                              .

                                                                                Wkl1 fJIZU and its com m unity f'
                                                                                                                aAe açtion to stand agmhstwhite
                                                                                suprem acistterronàm on cam pus? X 77Chaklottesvllle a#owra torchlit
                  .
                                                                                çally togo down J:
                                                                                                 ?Jcitk llkz?J'
                                                                                                              /'
                                                                                                               sagmh,
                                                                                                                    7'
                                                              174.              As should be obvions9om the above text,'
                                                                                                                       thisiswarpropaganda.The
                                                                       f
                                                                       alseaccusationbyPlaintifs'PhillyAntifaco-conspi/ators,waspasjedonby
                                                                       Gorcenski,then reported asfaciby IGD,andused asapretextforthe
                                              '
                                                                                                                                                                     i                                    .
                                                                       violence they had planned forlater thatevenir!g atUVA.Thisconcer
                                                                                                                                      'tof
                                                                       action directly1ed totheviolenceatUVA on August11th.                                                               '
                                                                                           .   .                                                                 .                                ;
                      '

                                                              175. The question d<WkllCharlottesvilleallow a tobchlitrally togo ltpl<'Jaah
                                                                 citylimitsagmh? wouldkeanswqm d affirm atiyqly by any law-abiding
    .                                                                  person,butsince Plaintiffsand theirco-conépirators are crim inals,
                                                                       anarchists,and terrorists,they had other plàns.        ''                                                          .
                                                              176.              Theileaphyreportrightly identisedtllisattqmptto frame Cantwell
                                                                       fora crim e a: ttthe firsthintoftrouble on August llth''                                                                                   (
                                                                                                               e   '                                                                                  .
                                                                                                                                                                                              .

                                                                             a. See Exhibitlz-H eaphy.pdf-Page 112.
                      .
                                                                             b. ((The rzrs;hlntoftrouble on d uérus:77 occm edk the c af-e az'i
                          .                                                                                                                                          j.           '
                                                                               parHnglotpr U s ./te e29+ Y âe- azJe county ata/pzoc rzzarel.r
                                                                                  '
                                                                               .12.#pp.m.tlzzlàcantwelé'thehostofankht.wah'gpodcaqtc)'llqdthe
        '                                                                       êkadicalAgenda,''told usthathearranged tom eetwith anulm ber t?/
                                                                                                                       .               ww       ..       .   .   .
                                                                                paylhf custom ers atthatlocation,(Jantwellnoted that'#J&m àlhtm hs a
              '

        . .
                                      '                       '                 '
                                                                                >a#p'
                                                                                    a11't?
                                                                                         nWzkwebsiteJ3ordertoprotectlàformationz'
                                                                                                                               .e/rdi
                                                                                                                                    ng.
                                                                                                                                      /J
                                                                                                                                       .
                                                                                                                                       1
                                                                   .
                                                                                whereaboutsTmznAntqh andotheractivaàtgboups.CantwellIplanned '                                .
                                                                                                                                                                                                                  .
                                                          .
                                                                   '
                                                                                tom eetWzk àupporters,SrJ aplace to havelunch,and dlàcussplans
                                                                        ;       fob Saturday m orning.               E .           .       ,                                              ,



                  ''          .           '                                     When Cantwell= JN ,
                                                                                                  Fsuppqbtersarzfge; they Fezw confwm tedby
                                                                                dem onstrators. f rzlz./!rGorcenskas waspaztofthev /up,g she re
                                                                                                                                              jcalled                                     .                       .
                                                                                                       a




                                                                                           ,                                                                                                                  $
                                                                                                                               '                         '                                        '
                                              .                                                        .
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 17 of 53 Pageid#:
                                    8415




                  learning aboqt;âé+ eetahk iâzrugâ ar êkntelrz'nF'thathad zzlse a/etf
                    la.nfeef tgweb site.Gorcenski#z'
                                                   ove to the Wal-M artto take'pictures,
                    andshepostedthemc
                                    'turesonTP-
                                              J'
                                               tter.WAWJkamlhutes,theVbemarle
                    CountyPoh'
                             ceDèpartmentreèeivedareportofamanwithahkearm.
                    W'Wezaconh onted Iw A CPD , Can twelllhdicated thathehad abperm itto
                    carryaconcealedweaponbut      dem '
                                                      ed /vaziïkAzWg theWq
                                                                         reaz    i.ACPD
                    dechàed topg sue charges,and Captwelland âzk supporters
                    departei''                             '
                    Gorcepski'sytatem entto H eaphy,andipublic adm ission ofthe dintel
                    networks contradicts Gorcenskis sworn testim ony oflearning about
                    thé m eetup through Cantw qll'y dtm ailing lisf'.
                       i. See Exhibitls-cantlellprehm .pdfPage 185
                d. Gorcenski'sadm ispion to H èaphy aboutbeing Cfpartofthe group''that
                   congonted Cantwell,alsq,contradict:Gorcenski,s sworn statelm entin
                    them aliciousprospcution lawsuit(seeExllibitllg-
                    dorcenskiM pM fidavit.p/ ,ahdpublicstatel entsdenying a2y
                    kpowledgè of,or association with,lillilly Anfifa.

                                           Vice N ew s - Take
     177.         Afterbeing cleared ofany wrongdoing by Albem arle Police, antwell
            andllisassociatesmovedontoMclntireParktomeetwithreporterlfrom
                                                                   .
            ViceN ewsTozlight. The originalplgn,to go outforlunch,w as cancel
                                                                            jed .
                                                                                due to
            thefalsepolicereport,andqonceknsthe assailantswould strikeagal
                                                                         in.
     178. . Thefullum-edàctedaudioofCantwe1l'stwointerviçwswith 'keare
            availableasExl1ibit120-RA342.mp3andhavebeenpubliclyavailabièon
            Cantwell'swebsiteasEpisode 342 oftheRadicalAgenda sinceAugu!st14th
            2017.

     179s.tate ddInèaragraph150ofPlaihtiffs'SecondAmendedComplaint,ylaintifs
                 On them orm àg ofA ugust11,Cantwelland other cowonsplkators
                                           '

            gathered at.
                                       .
                                       .
                       à W alm artoutm de ofcharlottesvllle.Cantwellthen izay  1
                                                                               .eJetfto
            M clntyrePark topreparefor the evem hg. In an JTraiezd dp'wit, a repo
            '
                                                                               j rgey
                                   .                                         '
        .
            fro* Dke, CantTellsaid Trm trying toM aTem yselfm ore capable ofv  j iolence
            ...J'
                rm heretospreada'
                                deas,tnllr,fnthehopeq'thatsomebodymobeiapable
            H'
             z'
              /.lcom ealrg and do 'âaà''

                a. Tllisttquote''isactually tw oparts oftwo com pletely differentIArtsof
                    an intervièw rouguy sù minutesapartfrom oneanother,and in no
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 18 of 53 Pageid#:
                                    8416



              w ay m aterially related to one another.


           b. The firstquotebeginsatthe 33 m inutem ark ofthe audio.

                    Cantwell,speakingofBlackLivesMat
                    understands thattherekproblem s TJ'J'
                                                         ter:ççl.
                                                                l
                                                                m aguy#7lt?
                                                        th lawrezaforcem en'tas an
                            .   .
                                    '
                                                                                 l
                    ahstltutlon,and Irrn beally lhterested JT
                                                            n seelhg thosepro
                                                                            'blem s
                    solve4 butyoucàn'tsolvethem by tfllslzacflbgfrom theTact by
                    blam lhg lton race,and actlhg hke cops are outhuntlhg negros
                    for sport.Ittqobnoxious!

                    And so,thatstarted tom ake m ereahàe,you fw tppi thére.
                                                                          ba
                    racaalconm ctgtubgon.ThesepeoplearestartlhgJvbfsitheyke
                        '


                    burm hg down Jukzezlàs andphàrm acles àJ7# blowlhgpen
                                         .                   .         l ple%
                                                ,

                    brmhsoutatthelkprotests,talkahgaboutt),elr,vre gogjlsysj
                                                .
                                                                  .

                    am endm entnkhttodoso.Andlstarted toreahàe,youiâwt
                                                         .
                                                                         pm
                                                                         '
                                                                         .
                    whateverproblem sImlkhthave wath my fellow WzWzfdk
                                                                     petp/7e,
                    theygenerahy arenotahcludedtosuchbehaviozbandkou
                                                                  l gotta
                    klhda take thatJèaftpconsideration when youke fâlT
                                                                     rlAzèag about
                    outhow toorgamàeyoursociety.dt                               l
                                                                                 l
                                                    '
                                                                                 j
                    Reeve:ttTheyke notJkac7lWc'l to such behaviork',
                                                                                 I
                    Cantwell:dtThelast/'
                                       JI ,fsapra bunch of Whitepeoplqïriot      .

                    becausean arm edrobbergotshot?Been awhlle,let'
                                                                 1ssqf '
                                                                             .
                                                                                 ;
                    Reeve:aImean,Oklahomq tV#'
                    Cqntwell:(tOkay so p-
                                        vacs.l you have togo back to Oklahqm a
                     City to talk abouta W'
                                          N J,acfofterronàm,rakht.
                                                                 p'
                    Reeve:(tElhbtStpge.riDylann Roof

                    Cantwell:(tOkay sonow you'vem anaged to nam e fN w people,
                    andf'
                        izlprettysureElho
                                        'tRogerwasn'texplicitly PP7zzYIbythe
                    #a-z.B uthke,literall.n yourem em berthenam esoff
                                                                    z
                                                                    tN               fe
                    bom bers andm assshooters.Okay? Can you tellm e the      'nam es of
                    all19hkjàckerson 9/11,(/TF/W,top ofyourheqd?Ofcot        iirseyou
                    can 't.Fbu can 't tellm e the nam es ofthe last dozen peoï
                                                                             ple to
                    blow them selves up JkaE urope.BecauseJ'
                                                           :happens al1fW, tlkm e         .
'
d                                                                                                                                                   ,                                                                                       '                                                                                             E
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                 .                                                                                                      .


                                  Case 3:17-cv-00072-NKM-JCH
                                         )      .            Document 637-4 Filed 01/21/20 Page 19 of 53 Pageid#:                                                                                                                                                       .

                                                                      8417
                                                                                                              '                                     '                                                                                                                                                                                                             '
j
I
l
:
I                                         '
                                                      .,                                              '               '.
                                                                                                                                                                                          .

                                                                                                                                                                                                        '                                              '                                                             y               .
    . .                                                                                   .                                                                                                                                                                                                              .                                        '
                                                                                                                                                            .


j                                 .                                       .               .                                             .                                                           , .                                                                                                          .                                            .
1                                                                                                                      D u van rem em be rD-'vlann Roofs nam e.
                                                                                                                                       <k .
                                                                                                                                                                 you can'rem e ber rz:m
                                                                                                                                                              - -'                                                                                                                                                                   .
1             .
                      '
                                                              .
                                                                                                                                                                                                                                                                                                                                                      .
1                                                                                                                     M cvelkh(qnam e-
                                                                                                                                                                                              .                                                                 .                                                                                         .
                                                                                                                                                .                                                                                                                                                                                    ,                            ,
                                                                                  .                                                                                                                                                     l                      ''                                                        '           ''       ''
                                                                                                                      Reeve:d<You pw , asklhg whether WJJJ'/,people pw e c pable of
                                                                                                              . .       *     1)      '                K           '  '
                                              .                                                                       vlolence

                                                                                                                      Cantw ell:'V Jz'
                                                                                                                                     Jr'fsay capable.Ofcourse wrei-e capable.T'   izz '
                                                                                      .                                                                          ..
                                                                                                                                                                  .            j                            .
                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                           .                                                                                                     .
                                                                                                                      curo uhg aplàtol.Igo to thegyrv allthe :JTZZ/&.1+ 'J-ZJLug
                                                                                                                                                                               ' tom ake
                                                                                                                      m yselfm àre capable of vablence.Y econquered the entk   l.
                                                                                                                                                                                 eplY et.                                       .               ''''

              .                                                                                                       Fe'builtthe zzlzls:ptw ezY zze àazvbsJn the Jzfsiozp ofm nnH ni
                                                                                                                      It%theez#z'
                                                                                                                                zzasozsgandaptitude%z:gW;.7When e *,
                                                                                                                                                                   Jeople                                                                                                                                                            .
                                                                                                                         tto H llpeople,theygoanllby.n thefexplesze7xz7z'
                                                                                                                                                                        iv
                                                                                                                      nkht?'
,
;
'
j
                                                          .           '       .                 .                                               .               , .       '                                                                                .                                .                                    .                            .
                                                                                                                                                                                                                                                                                                                                                              ,
:                                                                                     c. Clearlk,DefendantCantwellistalking abouta generalcapacityfor
r                                                                                             violencein a wholly law fulsense.H è references hislicehsqd pistol,
i                                                                                         ' Wllich heirainswith atthefiring range.Hereferehceshisexkrci
                                                                                                                                                      se                                            .

                                                                                              regimen, w hich necessarily m ajtesjum amoy.
                                                                                                                                         eforpidableopplonèntin'
ë                                                                                             a physiçalalterèation,
                                                                                                                   'try though he m ay to avoid them .H e s'
                                                                                                                                                           >ecifically
                                                                                              referencesthewhollylawfulexampleofjoiningthemilitary,a 'nd in
                                                                          '                   par
                                                                                              ..y
                                                                                                  ticularthewelldocum ented military'
                                                                                               . ..
                                                                                                  .           .
                                                                                                                                    prowessofmajority :'te                                                                     ,.                                                   '
                                                                                                                                                                                                                                                                                                                     .
                                                                                              Nati6ns,throughoutthehisiory ofmankiild.

                                                                                      d. Roughly à0minuteslater,Cantwellsays;                                                                                                                                                               '
j
'                                             .                                                       .               '                                                                                                   ,                      .                                                           .
j                                                                                                     ,                                             '                                               .

!
!
                                                                                                          i. Cantwell:CçIam notunder thelàwression thatf personal
                                                                                                          .
                                                                                                                                                            .
                                                                                                                                                              l
                                                                                                                                                                ly am
                                                                                                                                                                  .           ,

                                                                                                                      goahg tosave my Race 4 N ation.Okay?l:
                                                                                                                                                           m here tospyeadidea%                .


                                                      '                                                                :a
                                                                                                                        q& ,andh anlrl
                                                                                                                                   ''  y
                                                                                                                                       '' e
                                                                                                                                      ''
                                                                                                                                       *   zvbv - vselfïn thehones thatsom ebod
                                                                                                                                            < <
                                                                                                                                            '
                                                                                                                                                                            i
                                                                                                                                                                               y m ore    .   *''
                                                                                                                                                                                              '                 '''                         ''*'
                                                                                                                                                                                                                                            i

                                                                  .                              '
                                                                                                                       cqpablq pr
                                                                                                                                zr com e alàg and do that.Som ebody hkeD o'nald                                                     '
                                                                              .                                                                                                           .
                                                                                                                       Trump,whodoesnotglveWzk daughtertoa JeW ,                                                                                                    ,
                                                                                                                                                                                                                                                                                    .

                                                                                                                      Reeve:éçgg'
                                                                                                                                oD onald Fzupo buthke,m ore zaclkf'

                  '
                                                                                                                       Cantwell:ddYeah.M ore.
                                                                                                                                            racisl .
                                                                                                                                                   ?1otm ore zaclkfthan D onald                                                                                                                                                               .
                                                                                                                       Talump.IthlhkthatDonaldri
                                                                                                                                               zzfzzwJ:
                                                                                                                                                      stelhhgthetruthjwhenhe
                                                                                          '
                                                                                          t     '
                                                                                                                      sàysTa thqleastraclàtpersonaround'
                                                                                                                                                       .Idon't:NJJT q'
                                                                                                                                                                     hatyou
                                                                                      '
                                                                                                                      co
                                                                                                                      bau
                                                                                                                        sl
                                                                                                                         td
                                                                                                                          ar
                                                                                                                           fd
                                                                                                                            eew
                                                                                                                              lal
                                                                                                                                b
                                                                                                                                koa
                                                                                                                                  ur
                                                                                                                                   to
                                                                                                                                    ru
                                                                                                                                     an
                                                                                                                                      cd
                                                                                                                                       et
                                                                                                                                        w
                                                                                                                                        hi
                                                                                                                                         ethwt
                                                                                                                                             ah
                                                                                                                                              yaltd
                                                                                                                                                  bo
                                                                                                                                                   e,
                                                                                                                                                    aaunta
                                                                                                                                                         d
                                                                                                                                                         fuw
                                                                                                                                                           la
                                                                                                                                                            gJ
                                                                                                                                                             t:
                                                                                                                                                              c
                                                                                                                                                              r
                                                                                                                                                              h
                                                                                                                                                              7.t
                                                                                                                                                                O
                                                                                                                                                                hkaa
                                                                                                                                                                   tyK?u
                                                                                                                                                                       Sln
                                                                                                                                                                         ,yekah,I
                                                                                                                       tlnhk som ebody a 1otm
                                                                              .


                                                                                                          .           youknok sqmebody T4-
                                                                                                                                         JM ten balhbn dollarsJiatheâazz/fdeèldes
                                                                                                                                                                                          orezaclkfthanDonaldTrump,j
                                                                                                                                                                                          .                        hopefu
                                                                                                                                                                                                                        .77.
                                                                                                                                                                                                                           /
                                                          .                           . .                                               '                             -                                                                                                         .                                            '
                                                                                                                               '                                                                                                                                    .                                                        .                            .



                              .                           '                                                                                                                       '                                                                                                     '                    '       .
                                                                              .                                                                                                                                                                                                                                      '                                        '
                                                                                                              '                                     .                                     '                                                                                                                                                                   '
                                      .                                                                           .                                               '
                                              .                                                                            .                                                                                                                                                                    .'
                                                  .                                                                                                                                                                                                                                 '
                                  .
          .               .                                                                                                                 '                                                                         '
                                                                                                                                                        .                                                                                                                   .                        .
'
                         .                                                                                                                                                                                                                                        '
                                                                                                                                                                          .


    .                                            Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 'Page 20 of 53 Pageid#:
                                                                      '
                                                                                                                  .                               .
                                                                                                                                                                                                              .
                                                                                                                                                                                                                                          '   '                           '
                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                  '                                                                '
                                                  .                                  8418 '
                                                                                              ,
                                                                                                         '                                                                                        .
                                                                                                                                                                                                      .   .                                                                                                                                                '

                                             .                                                                                                                                    k           ,


l                                                                                 .                                                                               .                                                                                                                                   '
j                                                                                                                      '
                                                                                                                                         .                    .. .                    .                                       .                                                                               '
                                                                                                                                                                                                                                                                                                                       .
                                 .                                .           .                                                                                                                                                                   .                                           '                            .
I                                                         .   .
                                                                                                                                     to download theRadicalAgenda,àndl flazb7fyrtpusregoing to spe                                    '               '               '                                       '
                                                                                                      .

                                                                                                                                     the world câàzJ#r,'.&ét'
                                                                                                                                                            .''
                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                          .


                                                                                                      Q. On acompletely differeptsubjectnow,Càntwellistalkingabgut
                                                                                                                  som eone like the Presidentofthe U nited Statès com ing topower
                                                                                                                                                                              ' .who
I                                                                                                                                                                             p '
                                                                                                                  w ould thereby necessarily be far m ore capablethan Defendant       .
                                                                              .
I       .                                                                         .
                                                                                                                  Cantwell butis G orein line with Cantwell'sviewsthan our cjurrent                                                                                                                                                            .
                                                                                                                           ,                                                                                                                  '
                         .
                                                                                                                  Presidentk There isno violence herereferencéd,save for the cj
                                                                                                                                                                              oercive
                                                                                                                                                                              '                                                                                                                                                        '
                                         '
                                                                                                                  power inheréntin any politicqlèntity.                                                                                                                                                            '
                     .
                                                                                                      f. And ofcourse,thatisprecisely why thePlaiptiffshave abused this
                                                                                                                        .
                             .                                                                    .

                                                                                                         court.To shutDefendqntCantwellup,because tllisoutcom e ljs.                                                                                                                                                           .
                                                                                                                  preciselywhatthey areagaid of.DefenéantCantwellis'
                                                                                                                                                                   an
                                                                                                                  extraordinarily talented linguist,and ifgiven the opportunityjtofully
                                                                                                                  participateinourtliscottrsé,V Fillimpactthepoliticaloutcolesin
                                                                                                                  wavsprofoundlv unfavorable to Plaintiffs.

                                                                                                      g. Thisblatantabùse ofboth puhctuation >nd contextisfeplete
                                                  ,
                                                                                                                  tllroughouttllis.
                                                                                                                       '          and countlessother.abqsesofourCourts,an.
                                                                                                                                                                         1'that               .                                                                                                               :
                                                                                                                  they have been able to get aFay with itfortwo years,and count
                                                                                                                                                                             ' ing,
                                                                                                                                                                             I     ,
                                                                                                                  whileDefendantsareinc:rcerated,assaulted,bankrupted,àl  yandered,
                                                                                                                  and harassed,isa crim e which ourlaw swillneed to beupda 'ea to
                                                                                                                  address,ifthey are hot suficientto addressitnöw .

                                                                      180. ..Plaintiffsdeceptively.
                                                                                                  stripped context,andtien pieced thesetwo                                                                                                                                                                             .
                                                          '                       completely differentsubj-
                                                                                                         -'
                                                                                                           ectstoge
                                                                                                                 --'
                                                                                                                     therforthepur
                                                                                                                             -
                                                                                                                               --'
                                                                                                                                   posesofm aliciously
                                                                                                                                     .               r.
                                                                                                                                                       and. '                                                                                                                                                                      .           .

                                                                                  m atèrially detjeiving this Court,so astt)èausethe m axim um possib eharm to
                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                       '
            ,.                                                                '
                                                                                  Defendant CantWell.                                      .                   '          .
                                                                                                                                                                                          '                                                                       '                                                        .

                                                                                                                                                                                                                  '                                                                                                                .
                                     .
                                                                                                      a. TM sftquote''wasèited in Judge M oon's denialofDeféndantC:ntWell's                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                           S
                                                                                                                  motiontodismiss,a.hestatedinhisdecisiop dïOn theMtyzzzlkagofthe
                                                                                                                      llth,he told arepbrter thathe was ê
                                                                                                                                                        tryahg'tom akefAzkn-
                                                                                                                                                                           se7f/zzlt?zw
                             .                                    '
                                                                                                                  Capab1e ofvlblence.!'  .'                                                                               .
                                                                                                                                                                                                                              .                                   '
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                           .
                                                                                  .               .                                                       .                                                                                               '                                                                    .
        .
                                                                                                                  '                                                                                                                                                                               .
                                                                                                                                                                      .


                                                                              '
                                                                                                      b. By.m aterially deceiving this Couvt,Plaiùtifsnecessarily im pjacted
                                                                                                                                              '
                                                                                                                                                                                                                                                                      .

                         .                                                                                        JudgeM oon'sthoughtprocess,andpotentiallk,theoutcom eo'fthat                                                                                                                                         '
                                                                                                                  decision.                                                           .                                                                                                               '       '

                                                                      181.                                        'l'llisdquote''isoftcited,hotonlyintllisabuseofouiCourts,#utin                                                                                                                                   '
                 .                                    .
                                                          .
                                                                                  Plaintiffs'fundraisingqfforts,and humorously,in theirm otion toenj
                                                                                      .
                                                                                                                                              '
                                                                                                                                                   'oin.      .       '
                                                                                                                                                                              .                                       .
                                                                                                                                                                                                                                  '                                                       '                   ''
                                                                                                                                                                                                                              .                                                                               .                                        .
                                                                          .                                                               .                           :                                                               .                       '
                         .                                                                                                                                                                                                                                                            :                   .        ,
                                                                                                                                                                                                                                                                                                                   .       .               .




            '.                                                                                                .                                                                           .                                                                                                           .
                                                                                                                                                                                                                                                                                      '
                                                                                                                        ..       .                                                                                                                                                            @
                                                                          ,                                                                                                                                                                                                                                            '
                                                      .
*
'



                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 21 of 53 Pageid#:
                                                    8419
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                             .
                                                 .       .
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                              '
                                                                              . ...                                                                                                                                                                                            ,
g                        .                                          .                                             .                                                                           ..                 .



i                                                                   l
                                                                    r
                                                                    ,:
                                                                     .1
                                                                      t
                                                                      h
                                                                      :41
                                                                        (
                                                                        )
                                                                        k1r
                                                                          #W 1
                                                                             !
                                                                             :5
                                                                              #r!
                                                                                r
                                                                                ;
                                                                                tr.l
                                                                                   r
                                                                                   oiri
                                                                                      ,
                                                                                      !i
                                                                                       l
                                                                                       rt
                                                                                        r
                                                                                        lj
                                                                                         tt
                                                                                          lr
                                                                                          iil
                                                                                            i
                                                                                            ;c
                                                                                             é
                                                                                             'lè
                                                                                               r
                                                                                               ji
                                                                                                ù
                                                                                                E
                                                                                                s
                                                                                                rt
                                                                                                 ;i
                                                                                                 'ty
                                                                                                   r,
                                                                                                   :t@
                                                                                                     t
                                                                                                     k!
                                                                                                      :
                                                                                                      .
                                                                                                      fi
                                                                                                       :
                                                                                                       ?t:
                                                                                                         t
                                                                                                         .j
                                                                                                          i
                                                                                                          lt
                                                                                                           ;
                                                                                                           ts                                                                                                    f!
:                                                    1'
                                                      Z''
                                                        .                                                               '                                                                                        jr
                                                                                                    '
                                                                                                                                                                   .                                             1l                           '
.
;       '                                        OurDë
                                                     ''
                                                      fendant!th:''CrjingNazi)''want
                                                                                 . s.                                     ..           ..         .                                                              (i                                    .
!                                                more yiolence.Retweet'
                                                                      to tèIIhlm that'è                                                                                                                          E!
                                                                                                                                                                                                                 i
                                                 t
                                                 ivtong.                                                                                                                                                           !
                                                 .      .       .       . .                         t
                                                                                                    '                                                    '
                                                                                                                                                        . .
                                                 j
                                                 q      .                                           .'...                              .      ..      .                                                   ,!     ët              .                                 .
                                                                                                                                                                                                                 :
                                                                                                                                                                                                                 7/
:
1
                                                 )                             :,:
                                                                                 ((E.
                                                                                    ;
                                                                                    z.. ë
                                                                                        lg
                                                                                         f
                                                                                         (
                                                                                         rj..
                                                                                            (Ely
                                                                                           :,
                                                                                            .    .
                                                                                                 j.
                                                                                               :jx
                                                                                                 yq:
                                                                                                   .;:
                                                                                                   ë .:ië ,
                                                                                                        '
                                                                                                          L.
                                                                                                           .:
                                                                                                            ..
                                                                                                           Fà
                                                                                                            ' (:
                                                                                                              ..
                                                                                                               .
                                                                                                               .
                                                                                                               Lj
                                                                                                               !E.'.ë
                                                                                                                ..
                                                                                                                 '
                                                                                                                 :
                                                                                                                 ë
                                                                                                                 .  u.                                                                    ..                     .1
                                                                                                                                                                                                                 :
                                             '
                                                                                      'x' '
                                                                                          tj
                                                                                           l
                                                                                           j
                                                                                           'l.1
                                                                                              ..g
                                                 !
                                                                .
                                                                        )' '('''.
                                                                          .
                                                                                ')y :
                                                                                .
                                                                                    ... :       .j
                                                                                                 l''
                                                                                                   t'j
                                                                                                   -.l.r
                                                                                                       :
                                                                                                       jj
                                                                                                        i
                                                                                                        tj
                                                                                                         .
                                                                                                         k
                                                                                                         :
                                                                                                         '':
                                                                                                           i
                                                                                                           t
                                                                                                           jE
                                                                                                            .:
                                                                                                            :!i
                                                                                                              t,E
                                                                                                                t
                                                                                                                .
                                                                                                                ji
                                                                                                                 j
                                                                                                                 y
                                                                                                                 .
                                                                                                                 lj!:
                                                                                                                    -
                                                                                                                    i
                                                                                                                    q
                                                                                                                    '
                                                                                                                    ëjp
                                                                                                                      q
                                                                                                                      tt-
                                                                                                                        t#!
                                                                                                                          ë
                                                                                                                          :r
                                                                                                                           ;
                                                                                                                           (j
                                                                                                                            pl)!
                                                                                                                               jjj
                                                                                                                               . ;:
                                                                                                                                  E          .           .         .                                      %
                                                                                                                                                                                                                 .
                                     .
                                               i                                   '
                                                                                                        ( .:.( ..
                                                                                                                . :.'.'                      ..
                                                                                                                                              ':.'. ..                                                             j
                                             ' i                .
                                                                        .                       .t
                                                                                                 ,
                                                                                                 '
                                                                                                 r
                                                                                                        .
                                                                                                  lq(#ils
                                                                                                        d'il
                                                                                                        i  i'!
                                                                                                             )'
                                                                                                              t',tk.:. .
                                                                                                              i                  ...
                                                                                                                                                             ...
                                                                                                                                                                                                                 é
                                                                                                                                                                                                                 . 4
                                 '
                                                                     ,' ..
                                                                    ,-                          .                                                .. '
                                                                                                                                                 .,           '                                       '
                                                                                                                                                                                                          .      :
                                                                                                                                                                                                                 , 1                                   .
                                                         ..          '
                                                                      . -.                                   :...7
                                                                                                            ...  rE)..:(,17..'      )' 'è-f.)'.'.'.'-.!k-.'E
                                                                                                                              1':;-,E                      it-2
                                                                                                                                                              '@.'
                                                                                                                                                                 ..:dpr-
                                                                                                                                                                       '.iifii-
                                                                                                                                                                              'ï'
                                                                                                                                                                                çLï:'i
                                                                                                                                                                                     F.81:$3.''L'-.       '
                                                                                                                                                                                                          ')       !     .                            ' '          '
                                                 1                  '          .
                                                                                                    .
                                                                                                            u
                                                                                                                           '.
                                                                                                                           '   4. .. k
                                                                                                                                 '              '
                                                                                                                                               . x                                                        k      ' l

'
                                                 .          '
                                                 r'Cjfl':îqqï:L$;$ .:i'iC!
                                                                         i1.
                                                                           )'   5$'t:.
                                                                            hf...    t)IE:
                                                                                         )tE'                                                                                            '.                      .i
                                                                                                                                                                                                                   1
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                              ''

                                                                                                                                                                                                                         j                                             .

                                                                                                                                                                                                                 :       1                                 .
.
.           .
                                             .
                                                 iyg
                                                 r
                                                 .
                                                   kzùkj:z
                                                   -     jy
                                                          g
                                                          !
                                                          g
                                                          E.;j).
                                                               tj
                                                                :
                                                                i
                                                                E
                                                                sE
                                                                 j
                                                                 y
                                                                 . jjjjj.4
                                                                         $
                                                                         :
                                                                         .
                                                                         ,
                                                                         j
                                                                         :4
                                                                          .
                                                                          j
                                                                          4,
                                                                           j
                                                                           y
                                                                           j
                                                                           g
                                                                           yjj
                                                                            !(
                                                                             ;
                                                                             k
                                                                             j<
                                                                              :j:
                                                                               .j
                                                                                l
                                                                                .
                                                                                j
                                                                                :
                                                                                !
                                                                                t,                                                                                                                            . .j
                                             .   :
                                                 q
                                                 E
                                                 k
                                                 :;
                                                  :
                                                  )
                                                  ::
                                                  q i
                                                    t
                                                    r '
                                                      4
                                                      l
                                                      tr
                                                       )
                                                       t
                                                       '
                                                       ..1'
                                                         :.                                     :
                                                                                                k
                                                                                                1                                                                                                              . 1, j                                                      '
                ''
                                 a.                     .
                                                                                                C
                                                                                                I
                                                                                                E
                                                                                                tI'                                                                                                              1l                      ''

                     .   182.            The willingness ofPlaintiffs'financiersto deceive the'
                                                                                              public,for                               '
                          ,                                                    .                                                                                                                                                     j
                              attqntion on socialm edia,and Snancialgain,providesstrong evidenc
                                                                                             ' e of
                              theirulteriorm otives forpursuing this lawsuit.                                                                                                                                                                     '

                         183.     This dquote''being used as the strongest evidence oftheir conspiracy
                            theory,also provides com pelling evidencethatthe Plaintiffsneverhad'
                                                                                               i
                                                                                                  any
                              expectation ofwinningthissuit.Plaintiffsandtheircounselhad toknow this
                              wèuld be exposed atsom epoint,and they have continued relying onlthis
                                                                               '

                                                                                                                                                         '                                                                       '
                                                                                                                                                                                                                                                               .
                              deception to date,only sothey could obtain inform ation through dis1.overy,
                                                                                                  c
                                                                                                  '
                 '
                                                                                                . l
                              and inflictm axim um dam age on their critics and politicalopposition.
                                                                                                  '

                                                                                                             lnterlude
                         184.            Afterm eeting with Vice,Cantw ellwentback to hishotelrool to
                                                                    .          .                                                                                            '


                              downloadthecam erafootagetoh% laptop.
                         185.    M terbeing notified by K essler ofthe Rleadersllip m eeting''atM clntyre
                            Park,Cantwellattended,as described atthe beginning ofthis docum ent.

                         186.    A fter the m eeting,Cantw ellw entback to his hotelroom again,and
    t   '
                            downloaded t .
                                           he footage ofthe m eeting to llislapt
                                                                               .
                                                                                 op.
'



    Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 22 of 53 Pageid#:
                                        8420



:          .                                                                  '
                                        Videos ofthe Torch M arch                       ' .
                                  .


               187.      Defendants are fortunate to have an abundance ofvideo evidenceto
1
                  prove their case.The sourcesofeach areprovided withoutedit,and 9om
(                 these, c6mpilations are provided.laterto illustrateprecisely whathappened.
                                                                                        .                 .

                                                   N ew szshare                                   '

               188.       NewszshareisaYouTubechannelrun by an independentjournalist
                  by the nam e ofFord Fischer.

                      a.A compilationofclipsrecordedfrom UVA onAugust11th2014was
                          published to YouTube by N eW szshare and isprovided asExl1
                                                                                   'ibit132-
                          N ew szshareA ll.m p4

                                        A ugustps Invictus Live Stream
               189.   Defaulted D efendantAugustus Invictuslive stream ed the eventsof
                 August 11th.

                      a. The Irivictusvideo isprbvided as Exhibitl33-lnvictusA ll.m pi
                                                                                     4

       .
                                      GRaw-and U ùcufROpen Source V ideo
                                        ,             '    **'                    '                   .



               190.      D uring the course of Cantw ell's crim inaldçfense investigation,a video
                  titled tR aw and U ncut''oftheAugust 11thUVA fightwasdowlaloade
                         (                                                              id.

                      a. Thisvideoisprovided asExhiéitl34-RawAnduncut.mp4
                                                G etty Im ages Video
               191.     Getty Im agespublished a com pilatioh ofvideofrom the August 11th
                  U VA events.

                      a. Thisvideo isprovided asExhibitl3s-Getty.m p4
                                                                 '
                                            .
                      '
                                  ttlnsane N ew Footage''O pen Source Video
               192.       Cantw ell's crim inaldefense investigation alsofound a video titled
                  tdlnsane N ew Footage''on aYouTube charm elby the nam e ofJake W estley
                  Anderson.                                                       .

                      a. Thisvideo isprovided asExhibitl36-lnsaheNewFootage.mp4               .
     '



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 23 of 53 Pageid#:
                                    8421



                                                        ((
                                                                        l*n er at                                                           eta11                                         en' ource 'rl
                                                                                                                                                                                                      *
                                                                                                                                                                                                        eo

     193.         ou ube c annelca1
                                  '
                                     'ne
                                       %'.''
                                             itselfR ' er at eta''pu
                                                                   '*''
                                                                        lis eI a                                                                                                                                                                ,
           '
        co pilation v1
                     ' eo oft e ug'ust 11th.         events,w ic appears to be rippe
        fro t e lw estrea of l      a e          as a lone .
          '
        vl eo, escri 1ng 1tast e est epiction of 1s1nvolve entt atnig t.
                                          '
               a.    O                      n erat                                             eta vi eo isprovi ed as x ibit137-
                      '
                         n er t eta. p4

                                                                                                                                         nlcorn                                              lot

     194            lain
                       'tiffs'co-conspirator nicorn iotpu lis ed eavily e 'te vi eoof
         t e ugust 11th events at                                                                                                .
                      '
               a.    1s v1
                         ' eo is provi e as x 1 1t138- nicor 1ot 11. p4

                                                                                                   antw ell's o                                                                                           a era
     195.       ant ellw ore t e sa e bo y ca era to t etorc lit arc t at e 1
        tot e earlier eeting.

                                                                       :.                                                                                                                                                                                                                                            . ,. ;::
                                                                                                                                                                                                                                                                                                                            ,);
                                                                                                                                                                                                                                                                                                                              jy

                                                                                                                      !:                    2.
                                                                                                                                           ..
                                                                                                                                           . =;                                    .                                                                                       c.:
                                                                                                                                                                                                                                                                             .2
                                                                                                                                                                                                                                                                              .4
                                                                                                                                                                                                                                                                               AE
                                                                                                                                                                                                                                                                                Lç'. '                                                           :'.'
                                                                                                                                              .   .                                                                    jj
                                                                                                                                                                                                                       .   $;
                                                                                                                                                                                                                        2@!:
                                                                                                                                                                                                                           d
                                                                                                                                                                                                                           .,;
                                                                                                                                                                                                                             sE
                                                                                                                                                                                                                             2 s,
                                                                                                                                                                                                                              :,
                                                                                                                                                                                                                              t
                                                                                                                                                                                                                              ;     .                                                                          :E
                                                                                                                                                                                                                                                                                                              h.
                                                                                                                                                                                                                                                                                                              .: kl
                                                                                                                                                                                                                                                                                                                 sks.
                                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                   h                 :. '....:.'
                                                                                                                                                                                                                                                                                                                                    .E
                                                               .:2:.ij
                                                                    $jj
                                                                     ï/
                                                                      12>
                                                                        J
                                                                        .1
                                                                        < !1
                                                                           jl   $
                                                                                jt   $
                                                                                     jt    q
                                                                                           (ï J;
                                                                                              .d
                                                                                              j l
                                                                                               .t   p
                                                                                                    zss::                               .
                                                                                                                                        .
                                                                                                                                        s '       .                                                                  .         .
                                                                                                                                                                                                                               :
                                                                                                                                                                                                                               :.                                    '  ''
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                         1  '
                                                                                                                                                                                                                                                                            .1
                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                             ..!
                                                                                                                                                                                                                                                                               (
                                                                                                                                                                                                                                                                              j: : :'
                                                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                                                     ::k
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                   .:..: .   '
                                                                                                                                                                                                                                                                                             .!
                                                                                                                                                                                                                                                                                              2..
                                                                                                                                                                                                                                                                                           ;:. '...
                                                                                                                                                                                                                                                                                                  '  .
                                                                                                                                                                                                                                                                                                     :. .:('
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                          ..''9
                                                                                                                                                                                                                                                                                                              t:
                                                                                                                                                                                                                                                                                                             (j'.3
                                                                                                                                                                                                                                                                                                                 .6   t
                                                                                                                                                                                                                                                                                                                      v:  '
                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                1j . e'g w...
                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                .              .
                                                                                                                                                                                                                                                                                                                               :           ..
                                                                                                                                                                                                                                                                                                                                            .'.   jp
                                                                                                                                                                                                                                                                                                                                                   :J
                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                    .t
                                                                                                                                                                                                                                                                                                                                                    j;i
                                                                                                                                                                                                                                                                                                                                                      ',. 7''sô'     .
                                                               E        k  i    ?.   t        tli   îs
                                                                                                    ï         ?tE.
                                                                                                              a           ''                      C'
                                                                                                                                                   :C
                                                                                                                                                    :'
                                                                                                                                                    EJ
                                                                                                                                                     EJi
                                                                                                                                                       $i.
                                                                                                                                                       J '''                                                                   '                                          v.!
                                                                                                                                                                                                                                                                        aë(                                                 :'                     9
                                                                                                                                                                                                                                                                                                                                                   F9
                                                                                                                                                                                                                                                                                                                                                   '       s'
                                           .jtj ltjjk?               rj
                                                                      jrx            a;             !                                              .
                                                                                                                                                   )
                                                                                                                                                   :1
                                                                                                                                                    :f '                                                                                                                     ..                        .                                           .fJ:J
                                                                                                                                                                                                                                                                                                                                                     bk''
                                -k
                                 ''
                                  éëjzt
                                   .o k?
                                           .
                                       (.E .!$
                                             s?
                                              :ï
                                               c!
                                                .vJ::l:)
                                                       ..    '   n
                                                             . $.5/efj    :!    i
                                                                                j    .
                                                                                     f     à  (
                                                                                              .
                                                                                              J!j
                                                                                                t   !
                                                                                                    ;
                                                                                                    '   4
                                                                                                        ,
                                                                                                        '     #    4      .
                                                                                                                          :
                                                                                                                          ;             .         .'sï .
                                                                                                                                                       :.                .  k ;
                                                                                                                                                                              .
                                                                                                                                                                              - k                           .p@.
                                                                                                                                                                                                               ë           '                                     j
                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                 :k
                                                                                                                                                                                                                                                                  kffz
                                                                                                                                                                                                                                                                     f
                                                                                                                                                                                                                                                                     $j
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      '<î
                                                                                                                                                                                                                                                                        9
                                                                                                                                                                                                                                                                        J)
                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                         ky
                                                                                                                                                                                                                                                                          El
                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                           .a
                                                                                                                                                                                                                                                                            r
                                                                                                                                                                                                                                                                            sj
                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                             S t
                                                                                                                                                                                                                                                                               , E                           .
                                                                                                                                                                                                                                                                                                             @
                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                             @s
                                                                                                                                                                                                                                                                                                              .       .                           ô sj
                                                                                                                                                                                                                                                                                                                                                     ij
                                                                                                                                                                                                                                                                                                                                                      jf
                                                                                                                                                                                                                                                                                                                                                       f.
                                                                                                                                                                                                                                                                                                                                                        .g  r    .
                                                                     11E1j!'
                                                                           rs'',jj$':q
                                                                                     ds'2.ï.(r. Sf(:ej2'sj:.ïh.
                                                                                                              fï.8'.
                                                                                                                   i''6<                                     .LM'.       v. 'Nk .l'..
                                                                                                                                                                                    'j'E9.
                                                                                                                                                                                         ï'2i1F'4t:F<'jfjE)!                           '                         '''rq.   qi >                                                                            .
                                                                                                                                                                                                                                                                                                                                                          ':'.'
                                                                                                                             .                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                        .
                                                                                              t'
                                                                                               t
                                                                                               .
                                                                                               .ë
                                                                                                j                      b.tô':?'                           Eë
                                                                                                                                                          .''1   :'!'::
                                                                                                                                                                      ':
                                                                                                                                                                      :;.
                                                                                                                                                                        '':
                                                                                                                                                                        :   .:4y:
                                                                                                                                                                              . '                                                                                                ..'
                                                                                                                                                                                                                                                                                   .                                                               N:
                                                                                                                                                                                                                                                                                                                                                    '''6
                                                                                              ';                                                                                                                                                      . ..... ':.                                                                                  b
                                                                                                                                                                                                                                                                                                                                                   ï'.
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                    b'i
                                                                                                                                                                                                                                                                                                                                                      fï:'
                                                                           '
                                                                           .                                                                                                                                                                                                   ...
                                                                                               ':
                                                                                                ..                                                                              1   :1
                                                                                                                                                                                     ;   j
                                                                                                                                                                                         ,   ?
                                                                                                                                                                                             j,
                                                                                                                                                                                              b  g
                                                                                                                                                                                                 ë  :  ;  (
                                                                                                                                                                                                          :E                                                                                                                                         .ë
                                                                                                                                                                                                                                                                                                                                                      .;
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                       y)E
                                                                                                                                                                                                                                                                                                                                                         .3
                                                                (
                                                                :! gk.
                                                                   ;<'! h
                                                                        9 :.                                                                                                    .   $ë
                                                                                                                                                                                     .
                                                                                                                                                                                     2   i
                                                                                                                                                                                         ,
                                                                                                                                                                                         .   é
                                                                                                                                                                                             .
                                                                                                                                                                                             .j  ,  .  .  i$
                                                                                                                                                                                                           :
                                                                                                                                                                                                           (
                                                                                                                                                                                                           .:
                                                                                                                                                                                                            5,       ..                            ...
                                                                                                                                                                                                                                                     .                                                                                             E
                                                                                                                                                                                                                                                                                                                                                   jgl
                                                                                                                                                                                                                                                                                                                                                     ë
                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                      l.    .
                                                                .E
                                                                 1                                                                                                      ;)!..
                                                                                                                                                                   î:txf.
                                                                                                                                                                            '
                                                                                                                                                                            1
                                                                                                                                                                            $ '5
                                                                                                                                                                            t.$
                                                                                                                                                                                e
                                                                                                                                                                              î'.                          r.jj.. ..)a6 '                  .5'.jjtjl.      ts
                                                                                                                                                                                                                                                            9î' ' ..:
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                    .1.
                                                                                                                                                                                                                                                                       'vR..n:.!                                                                   .x. '
                                                                                                                                                                                                                                                                                                                                                   '
                          1'4);r...kl$y...>.!.'.
                          .
                                                                ;
                                                                !'
                                                                 :
                                                                                                                                                         l.
                                                                                                                                                          ;
                                                                                                                                                          ti j
                                                                                                                                                             q   .
                                                                                                                                                                 ;
                                                                                                                                                                 j   R  I
                                                                                                                                                                        pS
                                                                                                                                                                         E
                                                                                                                                                                         ç
                                                                                                                                                                            $
                                                                                                                                                                            w
                                                                                                                                                                              t
                                                                                                                                                                              j
                                                                                                                                                                                j;
                                                                                                                                                                                y
                                                                                                                                                                                    :j)!tï1
                                                                                                                                                                                     l   .
                                                                                                                                                                                         E
                                                                                                                                                                                         j   .
                                                                                                                                                                                             jj  '
                                                                                                                                                                                                 â
                                                                                                                                                                                                 .  .  j
                                                                                                                                                                                                       s
                                                                                                                                                                                                          E
                                                                                                                                                                                                          jy
                                                                                                                                                                                                           i
                                                                                                                                                                                                           é  ;k
                                                                                                                                                                                                               qjsgj jj  .a                j      jjjj jtj
                                                                                                                                                                                                                                                         .g j j
                                                                                                                                                                                                                                                              g
                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                f
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                 L
                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                 j j
                                                                                                                                                                                                                                                                   sr
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                    :k  y
                                                                                                                                                                                                                                                                        t>y:%j
                                                                                                                                                                                                                                                                             :..
                                                                                                                                                                                                                                                                               9                    .                                                 '                  r.
                      ;'yf ;.
                           )                   ;
                                               :                                                                                                .u .
                                                                                                                                                        Jt.
                                                                                                                                                       gij
                                                                                                                                                         s2ly
                                                                                                                                                         ?   L:  ùj'y
                                                                                                                                                                 j    jw
                                                                                                                                                                       x
                                                                                                                                                                       y.
                                                                                                                                                                        k
                                                                                                                                                                        .q
                                                                                                                                                                         >.
                                                                                                                                                                         *y
                                                                                                                                                                          .s  ...
                                                                                                                                                                                ;j'$.
                                                                                                                                                                                                           .
                                                                                                                                                                                                            <...
                                                                                                                                                                                                             xw.s
                                                                                                                                                                                                             '  .,
                                                                                                                                                                                                                j  (r                     jï.s.j y$$  ljs
                                                                                                                                                                                                                                                        <y
                                                                                                                                                                                                                                                         kj
                                                                                                                                                                                                                                                            x
                                                                                                                                                                                                                                                                          %jy
                                                                                                                                                                                                                                                                             ,j
                                                                                                                                                                                                                                                                            ;.s  :ax.                                                                            ry gs: jg
                                                                                                                                                                                                                                                                                                                                                                         .fy.
                                                                                                                                                                                                                                                                                                                                                                            !
                     .
                     '.
                    ..':;.
                        :?
                          ï
                         31
                          /. '                 9
                                               .
                                               :
                                                1:
                                                t
                                               .a<'
                                                 ;
                                                r..
                                                  :                                                                e
                                                                                                                   .
                                                                                                                   .xj
                                                                                                                   j   p. j. )
                                                                                                                             jj
                                                                                                                              ,::c:
                                                                                                                                    .'
                                                                                                                                  t..;
                                                                                                                                     !t
                                                                                                                                     ; .
                                                                                                                                       .i
                                                                                                                                        :.
                                                                                                                                         q
                                                                                                                                            .
                                                                                                                                            E
                                                                                                                                            .:
                                                                                                                                              '
                                                                                                                                              :)
                                                                                                                                               i
                                                                                                                                               !
                                                                                                                                               .
                                                                                                                                               :
                                                                                                                                                       r s
                                                                                                                                                          z> .$
                                                                                                                                                             j   g   sJ
                                                                                                                                                                      sy
                                                                                                                                                                       ,zj
                                                                                                                                                                          j t
                                                                                                                                                                            ;
                                                                                                                                                                            . y
                                                                                                                                                                              ;j
                                                                                                                                                                               #j
                                                                                                                                                                               z    !j
                                                                                                                                                                                    .
                                                                                                                                                                                    j        rj  .  ,
                                                                                                                                                                                                    mt.)      xom&<%ç
                                                                                                                                                                                                                   . <.
                                                                                                                                                                                                                      js
                                                                                                                                                                                                                      . .j;
                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                           jj:s  .?
                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                 .  ;j
                                                                                                                                                                                                                                    x
                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                       ?
                                                                                                                                                                                                                                       ;è
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                       : gt
                                                                                                                                                                                                                                         jyyj  ..j
                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                   vjj
                                                                                                                                                                                                                                                 :y;
                                                                                                                                                                                                                                                     sy
                                                                                                                                                                                                                                                     yy i
                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                        ):
                                                                                                                                                                                                                                                         z$
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                          .p
                                                                                                                                                                                                                                                            .y.
                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                            4
                                                                                                                                                                                                                                                            #
                                                                                                                                                                                                                                                              jE
                                                                                                                                                                                                                                                              .jt.
                                                                                                                                                                                                                                                               #
                                                                                                                                                                                                                                                                 ?.C.$
                                                                                                                                                                                                                                                                 x
                                                                                                                                                                                                                                                                 s ..
                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                     c
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                      .:.j:
                                                                                                                                                                                                                                                                          t .  tT
                                                                                                                                                                                                                                                                               z
                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                 j :;  j
                                                                                                                                                                                                                                                                                       . ; <
                                                                                                                                                                                                                                                                                                            .                                               !
                                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                                            .!y
                                                                                                                                                                                                                                                                                                                                                                     q
                                                                                                                                                                                                                                                                                                                                                                     !.
                                                                                                                                                                                                                                                                                                                                                                      j:
                                                                                                                                                                                                                                                                                                                                                                      ! y
                                                                                                                                                                                                                                                                                                                                                                        jj
                                                                                                                                                                                                                                                                                                                                                                        .$;
                         j                     );                                                                  :      .      t   $.
                                                                                                                                      '  i:  :
                                                                                                                                             '  :
                                                                                                                                                '
                                                                                                                                                .
                                                                                                                                                :e
                                                                                                                                                 ..          '   s
                                                                                                                                                                 ' ! ijzy..
                                                                                                                                                                          < . .
                                                                                                                                                                              /
                                                                                                                                                                              < â        j   (j  .
                                                                                                                                                                                                 a         y .
                                                                                                                                                                                                             u k
                                                                                                                                                                                                               iyk
                                                                                                                                                                                                                 jjy .
                                                                                                                                                                                                                     j.    .
                                                                                                                                                                                                                           ;s
                                                                                                                                                                                                                            .  . s
                                                                                                                                                                                                                                 '  j  <
                                                                                                                                                                                                                                       . r
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                         f!q k 2
                                                                                                                                                                                                                                               .   s r
                                                                                                                                                                                                                                                     g:j,,
                                                                                                                                                                                                                                                         9 y
                                                                                                                                                                                                                                                           4y
                                                                                                                                                                                                                                                            .  ja
                                                                                                                                                                                                                                                                j,
                                                                                                                                                                                                                                                                 j.:
                                                                                                                                                                                                                                                                   ...
                                                                                                                                                                                                                                                                     .   .           . z  jy
                                                                                                                                                                                                                                                                                           <.                                                .
                                                                                                                                                                                                                                                                                                                                             .q
                                                                                                                                                                                                                                                                                                                                              ).f
                                                                                                                                                                                                                                                                                                                                               j ;.r
                                                                                                                                                                                                                                                                                                                                                z.    .
                                                                                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                      y   jy     t
                                                                                                                                                                                                                                                                                                                                                                 j  j
                                                                                                                                                                                                                                                                                                                                                                    :s
                                                                                                                                                                                                                                                                                                                                                                     y
                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                     j  z
                                                                                                                                                                                         ar  ë!  ;!J
                                                                                                                                                                                                 :     jey   TJtNL.
                                                 .;ç.%                                                             . . >..x             .              .                    k
                                                                                                                                                                            't'.:
                                                                                                                                                                                kq  %.ï                           );
                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                   vjcj
                                                                                                                                                                                                                      :ll
                                                                                                                                                                                                                        >s
                                                                                                                                                                                                                         'i
                                                                                                                                                                                                                          '..j<     ëE   I!
                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                          pJ   :C ILIL
                                                                                                                                                                                                                                                     .tuj
                                                                                                                                                                                                                                                        w
                                                                                                                                                                                                                                                        h'4.  <
                                                                                                                                                                                                                                                              ,<
                                                                                                                                                                                                                                                               ,s. .;s           a'js'..                                                  .(iE
                                                                                                                                                                                                                                                                                                                                             ;y;.
                                                                                                                                                                                                                                                                                                                                                pk.yytj.
                                                                                                                                                                                             s.;E         .:
                                                                                                                                                                                                          ?yE  V
                                                                                                                                                                                                               s'
                                                                                                                                                                                                                jgkw         (yJ!g
                                                                                                                                                                                                                                 ..))
                                                                                                                                                                                                                                    j<iy:j
                                                                                                                                                                                                                                         ,!    ; <
                                                                                                                                                                                                                                                 %  rr)
                                                                                                                                                                                                                                                      kt,   ! .
                                                                                                                                                                                                                                                              y               <t
                                                                                                                                                                                                                                                                               ..:j
                       Fj
                        .                                                                                                                                                                                                                                                        '
                     1$4.'y.                     %ï
                                                 ë&:e
                                                    .                                                                                               .
                                                                                                                                                                                             %jpd4):s.             J.                            qx
                                                                                                                                                                                                                                                  gg
                                                                                                                                                                                                                                                  .g:                                  jj),r..
                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                     ,2j                                               jy
                                                                                                                                                                                                                                                                                                                                        jj.
                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                          ;;.g
                                                                                                                                                                                                                                                                                                                                           E .k;
                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                             =
                                                                                                                                                                                                                                                                                                                                             ! jy
                                                                                                                                                                                                                                                                                                                                                j;
                                                                                                                                                                                                                                                                                                                                                yj.   ...
                                                                                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                                                                                      j       :yjé
                                                                                                                                                                                                                                                                                                                                                                 y..t;.
                     1:
                      k:
                       j
                       .j                        :
                                                 !j
                                                  $?                                                                           ''.r',  '.  ..
                                                                                                                                           : .j                                                                 .                                      .q.,                                                                          :yy
                                                                                                                                                                                                                                                                                                                                       .  gy ;
                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                             .y
                                                                                                                                                                                                                                                                                                           ,
                     .     ;                     .!i.?8l
                                                  (j.                                                                          .            '
                                                                                                                                            .
                                                                                                                                          tâ. . 7
                                                                                                                                                1
                                                                                                                                                :   '                                                                       :%
                                                                                                                                                                                                                             :.'       % .               Yk'
                                                                                                                                                                                                                                                           xx
                                                                                                                                                                                                                                                            .               ':
                                                                                                                                                                                                                                                                             ,     fj
                                                                                                                                                                                                                                                                                    .k;
                                                                                                                                                                                                                                                                                 .. . :.
                                                                                                                                                                                                                                                                                       :  .y
                                                                                                                                                                                                                                                                                           .;:  y,                                  a
                                                                                                                                                                                                                                                                                                                                    z.tyy
                                                                                                                                                                                                                                                                                                                                     lrsj::
                                                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                                                        ij.g
                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                          j;ys
                                                                                                                                                                                                                                                                                                                                             y.g
                                                                                                                                                                                                                                                                                                                                           :;.  ;y
                                                                                                                                                                                                                                                                                                                                                 .q s .       y
                                                                                                                                                                                                                                                                                                                                                              .. j; .:;..
                    '.'':..
                          ; :                     )!
                                                   ,S
                                                    L
                                                    :.                                                                                                                                                                 ''.                                                                 .....  Y. ..
                                                                                                                                                                                                                                                                                                      .                          .
                                                                                                                                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                                                                                                                                J!E:
                                                                                                                                                                                                                                                                                                                                  .g
                                                                                                                                                                                                                                                                                                                                  J j
                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                   Ejr
                                                                                                                                                                                                                                                                                                                                     k
                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                     EiE
                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                      (E
                                                                                                                                                                                                                                                                                                                                       .,
                                                                                                                                                                                                                                                                                                                                       j '(
                                                                                                                                                                                                                                                                                                                                         )Et
                                                                                                                                                                                                                                                                                                                                          ;!j
                                                                                                                                                                                                                                                                                                                                           E1;k(j!
                                                                                                                                                                                                                                                                                                                                                 tj
                                                                                                                                                                                                                                                                                                                                                 E;. 1      'y;.
                                                                                                                                                                                                                                                                                                                                                             .S
                                                                                                                                                                                                                                                                                                                                                              .  k
                                                                                                                                                                                                                                                                                                                                                                 .  t:
                                                                                                                                                                                                                                                                                                                                                                    i
                     k$j':g$
                           ï
                           j                     4;
                                                  ! ...                                                                                         '                      ;
                                                                                                                                                                      R.                                         ,                                                                         :'q:uk.p
                                                                                                                                                                                                                                                                                          ..      'ï:;,                       çEj  EEEë
                                                                                                                                                                                                                                                                                                                                     jtj
                                                                                                                                                                                                                                                                                                                                       'l<t.'.
                                                                                                                                                                                                                                                                                                                                           : 'F
                                                                                                                                                                                                                                                                                                                                             J  ;
                                                                                                                                                                                                                                                                                                                                                ':
                                                                                                                                                                                                                                                                                                                                                 f' .t       '!  K   .:
                                                                                                                                                                                                                                                                                                                                                                      '  é
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                        q.
                                                                                                                                                                        ' :.
                                                                                                                                                                       .<                                                                                                                              '                       ) tk
                      é ' JZ
                          j
                          .
                           j
                           :F
                           E                     :J
                                                  ..
                                                  jt
                                                   .i
                                                   g<                                                                                          '                          , ; (j     .        '
                                                                                                                                                                                     .=:kj;....k:         ya                                                                           ,                                    tt
                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                            j. .
                                                                                                                                                                                                                                                                                                                               4t
                                                                                                                                                                                                                                                                                                                                yjy
                                                                                                                                                                                                                                                                                                                                  g
                                                                                                                                                                                                                                                                                                                               jyiE é
                                                                                                                                                                                                                                                                                                                                    gé
                                                                                                                                                                                                                                                                                                                                     yl
                                                                                                                                                                                                                                                                                                                                      t.
                                                                                                                                                                                                                                                                                                                                              yl,.           j:  $  y2j
                      t;L fL
                          . L                    !j
                                                  ;(
                                                   .                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                            a
                                                                                                                                                                                                                                                                                                                            :J!
                                                                                                                                                                                                                                                                                                                              .   k
                                                                                                                                                                                                                                                                                                                                  . )ptt
                                                                                                                                                                                                                                                                                                                                      .L
                                                                                                                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                                                                                                                       .@
                                                                                                                                                                                                                                                                                                                                          k. ..               t  y  ;
                                                                                                                                                                                                                                                                                                                                                                    .;.
                    ..    '4.                      <.                                                                                          ..                       . >                                             '>                                                                                                   ..)<::
                                                                                                                                                                                                                                                                                                                                  ),;ï) :;
                                                                                                                                                                                                                                                                                                                                         1?yE
                                                                                                                                                                                                                                                                                                                                            ..
                      v.
                       jt
                        :$..                  x.:
                                                ?
                                                .
                                                 / .
                                                  $$.                                                                                        ..'
                                                                                                                                              .
                                                                                                                                             'Y
                                                                                                                                              'j*
                                                                                                                                               .
                                                                                                                                               ::..
                                                                                                                                                s
                                                                                                                                                .                                                                           x u' .                                                        .
                                                                                                                                                                                                                                                                                                                              . ''1       ':' .'Vv..;?                ...
                            ':
                             t:.
                               ::
                                ;!)ikd':;
                                        ::
                                         ;k)
                                           (';'
                                              2::'
                                                 :?
                                                  '''                                                              <':''                                             ''                                                                                                                                                                                          '


               a                                                                                                                                                                                                                                                                                                     =                   c

     196.         ortunately,bo y ca era footage oft e torc it arc is issing,
        because t e ca era wasstolen by laintiffs'co-conspirator indsay lizabet
          oers,a er laintiffs'co-conspirator R eany an''pepper spraye lefendant
         antw ell.

               a    ee x ibit125- oers a es a era. p4
     '



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 24 of 53 Pageid#:
                                    8422




                                                                                                            y';g
                                                                                                               i.!.
                                                                                                                  I.:;j
                                                                                                                  .:
                                                                                                                 .:ï  g!j'E:
                                                                                                                           ..               ..
                                                                                                                                         . .....
                                                                                                                   :         :::j:!':'....
                                                                                                                                ;(       .7
                                                                                                                                          ..5    '(t
                                                                                                                                                 2 ;.;!(J.
                                                                                                                                                        ; è:
                                                                                                                                                          !qi
                                                                                                                                                            jgjj
                                                                                                                                                               (
                                                                                                                                                               j
                                                                                                                                                               :
                                                                                                                                                               !:.:':
                                                                                                                                                                  . h
                                                                                                                                                                    :jj
                                                                                                                                                                      Eij
                                                                                                                                                                        lkg
                                                                                                                                                                          iljj
                                                                                                                                                                             Ell
                                                                                                                                                                               jy
                                                                                                                                                                                Ejjjjjl
                                                                                                                                                                                      jj.
                                                                                                                                                                                       l.j
                                                                                                                                                                                         :ji
                                                                                                                                                                                           .lj
                                                                                                                                                                                             'jyjj
                                                                                                                           ':
                                                                                                                           :                                                             '

                                                                                                                            '''24:' 2
                                                                                                                                    .4
                                                                                                                                     ),
                                                                                                                                      ir
                                                                                                                                       t
                                                                                                                                       9a : .
                                                                                                                                            .:1
                                                                                                                                              q.:
                                                                                                                                                1
                                                                                                                                                .
                                                                                                                                                .:.
                                                                                                                                                  4
                                                                                                                                                  2)
                                                                                                                                                   1
                                                                                                                                                   :4)t
                                                                                                                                                      ':
                                                                                                                                                       :)
                                                                                                                                                        :1
                                                                                                                                                         !g
                                                                                                                                                          .. '
                                                                                                                                                             .s
                                                                                                                                                              :;
                                                                                                                                                               q
                                                                                                                                                               j
                                                                                                                                                               k
                                                                                                                                                               r:
                                                                                                                                                               l 2:k
                                                                                                                                                                 .: :n1.4
                                                                                                                                                                        ::m   :,:Q :L
                                                                                                                                                                                    :(j
                                                                                                                                                                                      !::i
                                                                                                                                                                                      :: ::
                                                                                                                                                                                          :)
                                                                                                                                                                                           .#
                                                                                                                                                                                            t
                                                                                                                        -. ..                                    ,. .
                                                                                                                                                                    .'
                                                               '.:tE
                                                                   !E                               i@!
                                                                                                    .                         '.''  y  : .
                                                                                                                                         )
                                                                                                                                         ':!
                                                                                                                                           .  .      :    :   .  ..y
                                                                                                                                                                     ::   y:
                                                                                                                                                                          !::.:  :.F  :. :.  jg.
                                                                                                                                                                                            F:
                                                                                                                                                                                            ;  j.
                                                                                                                                                                                                ls
                                                                                                                                                                                                 .
                                                                                                                               ::j  L;
                                                                                                                                 L?,.?
                                                                                                                                     '
                                                                                                                                     L,
                                                                                                                                      : z
                                                                                                                                        .f
                                                                                                                                         .
                                                                                                                                         .
                                                                                                                                         j!
                                                                                                                                          g
                                                                                                                                          k.
                                                                                                                                       :!s
                                                                                                                                       ) j :'




                                   t1
                                   .  -
                                      I
                                      '
                                      ;
                                      i
                                      r
                                    I17
                                      .
                                      ;
                                      :
                                      .
                                   . .::'
                                      i:
                                      : p
                                        1
                                        î
                                        $t
                                         !
                                         kl
                                          i
                                          o$
                                          )
                                       ;E:.::
                                            .
                                            )
                                            4r
                                           ..â
                                             1
                                             E;
                                              -
                                            ::::
                                               .;
                                                :,
                                                 .:
                                                  ...
                                                    :::
                                                      f




                     1                                                                                                                                                                                                                  '

               b. M edia photo ofCantwellrecovering from pepperspray afterthe fight.
                         iE                                       -. .                                                                                                                                                          !()j
                                                                                                                                                                                                                                   ?5
                                                                                                                                                                                                                                    ' ;
                                                                                                                                                                                                                                      :q
                                                                                                                                                                                                                                       :'                   .
                         ,.    .          .                       . . .                                                           .                                                                          .
                                                                                                                                                                                                                               1.
                                                                                                                                                                                                                             3,,
                         j
                         (.                               .. .' ..')::
                                                              .
                                                              .c
                                                               : .     .. .:
                                                                     ! . .
                                                                     '                                             . '. '                                                                                                   .t:
                                                                                                                                                                                                                            j !.. ?..
                                                                            k.           ..             .
                         '7
                         iIS
                                                                        .
                                                                                                    .
                                                                                                                                 . ....                 .                                                              j
                                                                                                                                                                                                                       .l
                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                       z
                                                                                                                                                                                                                       :
                                                                                                                                                                                                                       l .,
                                                                                                                                                                                                                        :E
                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                         $.
                                                                             . .


                                                                                       F(
                                                                                       .Li
                                                                                         :t!E
                                                                                            4Il
                                                                                              !                                                4.s4..j                                          : ..
                                                                                                                                                     ,j
                                                                                                                                                     .
                                                                                                                                                      y
                                                                                                                                                      .g
                                                                                                                                                       >..                           .
                                                                                                                                                                                           . ' .,
                                                                                       ' 1    1
                                                                                              t4                                           ji j
                                                                                                                                              Cë.
                                                                                                                                                '$       .jj         '       .
                                                                                                                                                                             ..    '                   '
                                                                                                                                                                                                       . ..    !' .v
                                                                                                                                                                                                               .
                                                                                   '                                                      j$j
                                                                                                                                            : j
                                                                                                                                              k
                                                                                                                                              .;
                                                                                                                                               :         <
                                                                                                                                                         .                         .           :
                                                                                                                                                                                                .
                                                                                                                                                                                                .           ..
                                                                                                                                                                                                                    ).:
                                                                          '
                                                                           $k:
                                                                             i.               j
                                                                                              >
                                                                                              1
                                                                                              .
                                                                                               E                                         :j
                                                                                                                                          <t
                                                                                                                                           >>
                                                                                                                                            j :
                                                                                                                                              û'                                   .
                                                                                                                                                                                                             .
                                                                                                                                                                                                                                 .
                                                                                 '            Il:                                       :k.,q.:'
                                                                                                                                       .:                . .   .  .              .                           .                 ..
                                                    :
                                                  ...                        ), ,yjç,Aj:
                                                                             E                                                                 .                           ..
                                                                                                                                                                            v.. .      :,.                  : .'
                                               6
                                               ,;:                         .ù..' .:tjj'
                                                                           !          $'
                                                                                       ï: (                                   q;:s.
                                                                                                                                  k...::
                                                                                                                                       k(;y..',            ;:.. x%:.+;..
                                       :.-
                                         1.
                                         d
                                         .
                                               .,
                                          ,.i..:'
                                                                        .
                                                                         :
                                                                         .
                                                                         t
                                                                        jt ,
                                                                          :.
                                                                           'v
                                                                            s.
                                                                             '
                                                                             .
                                                                              j
                                                                              t ljj             i
                                                                                                                            :
                                                                                                                            .
                                                                                                                            j
                                                                                                                            y(
                                                                                                                             .'.
                                                                                                                             p j j
                                                                                                                                '':.-
                                                                                                                                  v
                                                                                                                                  u       E
                                                                                                                                          j
                                                                                                                                          Fj
                                                                                                                                           )
                                                                                                                                           .y
                                                                                                                                         .ë ..!
                                                                                                                                              .  y         ,                :
                                                                                                                                                                            .,
                                                                                                                                                                           . y
                                                                                                                                                                              .
                                                                                                                                                                              :jj .
                                                                                                                                                                                                         .         . .
                                                                       T.-.                                                                                                 -j
                                                                                                                                                                          .'.
                                                                                                                                                                             i
                                                                                                                                                                             j
                                                                                                                                                                             )j
                                                                                                                                                                              g
                                                                                                                                                                              k
                                                                                                                                                                              @
                                                                                                                                                                              j
                                                                                                                                                                              l t
                                                                                                                                                                                jl
                                                                                                                                                                                 j                                               --.
                                       -                          EFE qq
                                                                  2 .-i
                                                                                                                                                                            .
                                                                               .. S             i                                                        .
                                                                  :
                                                                  1     - .
                                                                       -s
                                                                       ,       : .
                                                                                               -j
                                                                                                ë                                                      '''7
                                                                                                                                                          :
                                                                                                                                                          r.
                                                                                                                                                           j
                                                                                                                                                           !
                                                                                                                                                           ).4
                                                                                                                                                           . )àë
                                                                                                                                                               jë
                                                                                                                                                                j-.          ,.
                                                                                                                                                                              (
                                                                                                                                                                              '
                                                                                                                                                                              j
                                                                                                                                                                              )-p
                                                                                                                                                                                .
                                                                                                                                                                                -I
                                                                                                                                                                                jt
                                                                                                                                                                                 ;
                                                                                                                                                                                 i                                                 !
                                                               Eq
                                                                :bj
                                                                  .
                                                                  ,
                                                                  ..         g
                                                                             t
                                                                             .      :-
                                                                                     jt
                                                                                      !.
                                                                                       !; - E                                                                                 x
                                                                                                                                                                              ptjl
                                                                                                                                                                                 r
                                                                                                                                                                                 q
                                                                                                                                                                                 j
                                                                                                                                                                                 y
                                                                                                                                                                                 ëj        ,                               (g
                                                                                                                                                                                                                            yj
                                                                                                                                                                                                                             gr ..r
                                                              .              1
                                                                             ::         '.
                                                                                         iI.
                                                                                           @(
                                                                                            .                                                                           qi
                                                                                                                                                                       .I
                                                                                                                                                                       :!j:
                                                                                                                                                                          E..i
                                                                                                                                                                             .!
                                                                                                                                                                              :
                                                                                                                                                                              j
                                                                                                                                                                              -
                                                                                                                                                                              11)r
                                                                                                                                                                                 g
                                                                                                                                                                                 j
                                                                                                                                                                                 :
                                                                                                                                                                                 1;
                                                                                                                                                                                  y
                                                                                                                                                                                  j
                                                                                                                                                                                  h
                                                                                                                                                                                  àg
                                                                                                                                                                                   ; , .        .                  !::
                                                                                                                                                                                                                   j  ;,
                                                                                                                                                                                                                       $ïj..
                                                                                                                                                                                                                          j1.
                                                                                                                                                                                                                          7   :
                                                                                                                                                                                                                              ;E' .
                                                                                                                                                                                                                              :i   )
                                                                             :.             .                                                                           :
                                                                                                                                                                        .: <    ï?
                                                                                                                                                                                 j
                                                                                                                                                                                 h
                                                                                                                                                                                 Sr
                                                                                                                                                                                  IE              ..... .,.. . .:)
                             .:
                              .
                              i
                              :
                              ...                  ..-
                                                     I!
                                                     24
                                                      !
                                                      . lI
                                                        )j
                                                         ji
                                                      -.s.
                                                          f?
                                                           E:''1
                                                               E@
                                                                :.L
                                                               .;
                                                               .
                                                                  ?ks...
                                                                  j
                                                                  èé
                                                                   .3d:y (    k
                                                                              j
                                                                              ;... - ...
                                                                              :                    . ... ) ..
                                                                                                         :                                                                            '.
                                                                                                                                                                                       ...
                                                                                                                                                                                       k
                                                                                                                                                                                       t
                                                                                                                                                                                       4
                                                                                                                                                                                       3 ï
                                                                                                                                                                                         q.i
                                                                                                                                                                                         k                                              -. .
                                                                                                                                                                                                                                        .
                                                                      .
                               '              .
                                                  ' .j.  :
                                                    .. :.E
                                                          (
                                                          :  :.'. >    .:;   ' jjj
                                                                                 y:'
                                                                                   jjjj
                                                                                      :' 'jgyje.
                                                                                      .        rsrj
                                                                                                  yj
                                                                                                   syj. 'j. .'C
                                                                                                              '                                                                       .
                                                                                                                                                                                         jj
                                                                                                                                                                                          t
                                                                                                                                                                                          .
                                                                                                                                                                                          j
                                                                                                                                                                                          jj
                                                                                                                                                                                         gs
                                                                                                                                                                                         yt
                                                                                                                                                                                          kl                                                .   .       .

                                                                                                                      ..y
                                                                                                                        j..
                                                                                                          .                                                                           ..yr                                       ..
                                                                 IE c          E@                                         .                                                              :g)                             ' .                    ;.
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                ...;
                                                                                                                                                                                                   j!
                                                                                                                                                                                                    (j;
                                                                                                                                                                                                      j:
                                                                                                                                                                                                       j;
                                                                                                                                                                                                        !(j
                                                                                                                                                                                                          !j:
                                                                                                                                                                                                            j..:
                                                                                                                                                                .. ..
                                                                                                                                                              tXj    s.                        ..
                                                                                                                                                                                                     :i
                                                                                                                                                                                                      ë (
                                                                                                                                                                                                        i;:
                                                                                                                                                                                                          ;:E2!
                                                                                                                                                                                                              ((t
                                                                                                                                                                                                                yk:
                                                                                                                                                                                                                  .:.
                                                                                                                                                                                                                    :.:.X
                                                                                                                                                                                                                        .':
                                                                                                                                                                                                                          )q
                                                                                                                                                                                                                          .4).
                                                                                                                                                                                                                           f j                  .
                                                                                                                                                                 y....:.''.                                                  .:
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                              :.. ...
                                                                                                                                                          j1 ébà
                                                                                                                                                               .
                                                                                                                                                               %bj.                                                                   j..           x
                                                                                                                       .-..                                  jr.
                                                                                                                                                               gj
                                                                                                                                                           .;Eë:,
                                                                                                                                                         rj:
                                                                                                                                                         j
                                                                                                                                                                 k:(
                                                                                                                                                                :;.;.;
                                                                                                                                                                   . :
                                                                                                                                                                     t
                                                                                                                                                         j.:
                                                                                                                                                           ,. J1
                                                                                                                                                          .   à.
                                                                                                                                                              :                                              .          .                       .




                     1    .        ..                              @                . @                                          .




         197*         erturning him selfin to Virginia authoritiesto answ erfora warrant                .

            stem m ing from the Eventsin dispute,Cantwellwaived hisrightto counsel
            and spoketo SergeantCasey Accord ofthe A poh'ce.Cantwelltold Accord
            about the body cam era and asked hlm to fm d It.A ccord Inform ed Cantwell                              ''
            that the sl
                      .                  .                                     l
                       te had already been searched,and no cam era had been found.
                                                                                                                                                          '                                          .




     198.         From theA CRJ,Cantwellcontinued to produce hispodcastunder the
           brandlngV ivefrom SegI
                 '
                                .''.Herepeatedlycalledforlistenerswhoml
                                                                      ighthave
                             'cked up the cam era,to turn itoverto his attornl
           been present and pl                                               ey.  en.
                                                                             (
           the evidence wasnotforthcom inz' ,herem arked f'The Redsm usthav'eit''
                                                           .                   .
                                                                                          ''-'''                                                               .                                         '
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 25 of 53 Pageid#:
                                    8423


                                                                                           N
        concluding thatanyonefriendly to him w ould haveprovided llim with the
        excu1patoryevidencehedesperately soughttovindicatehim .
            a. Thisw aslaterconfirm ed by video,as seen in Exhibitlzs-
                                                                   .

               M oersrrakescam era.m p4

                   G orcenski'sLive Stream s atLY A on Atlgust1.1th
      199.    Gorcenskilive st.reamed theAugust11t  heventsatUVA in foprparts.
         Thesevideoshave since been rem oved 9om Gorcenski'sPeriscopechannel,
         butwere downlo>ded by Cantwell)s attorney during the defe'nse inkes
                                                                          l tigatidn
        forthe Albem arle crim inalm atter.

            a. Those video filesare providèd here,withoutedit,aj
                  i. Exllibitlzl-Gorèenskilasl.m p4

                 ii. Exhibitlzz-Gorcenskilzsz.m p4

                 iii. Exhibitlz3-GorcenskiLs3.m p4

                 iv. Exlkibitlz4-GorcenskiLs4om p4

            b. Itisworth noting that,in partsofthe videos,the sound goesoutof
               syncwith the visualcom yonent.Yhiswasthe condition ofthevideo
               fileswhen they Were obtained by Cantwell,and notthe resull
                                                                        tofany
               editing.

               The unedited videofilesalso appear sidewaysand upside down at
               certain points,ow ing to the changirfg orientation ofthe cam era during .
               Gorcenski'srecording.

            d. These im pqrfections are addressed,to the extentpossible,in clips
               provided assubsequentexhibits,through editing perform ed by
               Cantwell.

             W hatA ctually H appen:d at                A on A ugust 11.th
     200.      Cantwellarljved on the UVA cam
                                            ' pus laterthan planned,and m ade it
        to N am elessField even later,owing to som e confusion asto theparking
        ordinances.
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 26 of 53 Pageid#:
                                    8424



           a. Cantwell'slate arrivaliscaptured on Plaintiffs'co-conspiratoli
              Gorcenski'slivestream video,and can be seen in Exhibitlz6-
              CantwellO rives.m p4.

           b. As DefendantM osely isbriefing Rsecukity''personnel,Cantwellarrives
              on scene and rallygoersbegin shouting llisnam e.
                                                                                  1
                   i. This stands in stark coBtrastto Plaintifik'false clnim t'
                                                                              h
                                                                              I
                                                                                at
                      Cantwellwasan organizer orleaderofthe eventsin dispute.
                                                          '                   '
                                                                                  ;
                                                      '       .
                                g
           c. No m blltion ofwlllingness to t
                                            fgetphysical''is m ade,contraryito the
              f                                       .
                                                                           q
               alse claim m adeby Plainte sin Paragraph 159 ofthe Second
              Am ended Com plaint.

                   i. Thisfalsehood waslikely lifted9om theHeaphy Repolt
                      (Exllibitlz-HeaphypdfPage117),asitwasnotincludq
                                          .
                                                                      1din
                      Plaintiffs'initialcom plaint.                               1
                                                                                  !
                         1.Heaphymeantwellenough,unlikePlaintiffs. i
                                                                   I
                         2.Thequotedphrasewasutteredinanothercontejktabout
                            August 12th,in w hich Heaphy asked Cantwellabout
                            R
                             m ilitias''atthe event.
                                                                                  1
                         3. Cantwellhad noknowledge ofRm ilitias''and noted that
                             som e people m ay have been m ore w illing to (<get! h sical''
                                                                                .p y

                             than others.
                                                                                  l
                  ii. Thenextsentenceofthesameparagrapli,which iscozjveniently
                      ignored by Plainte sreadst(Cantwell was shocked by the
                      absence ofa 1aw enforcqm entpresence,and noted JèahllL%
                      lhterview thatiq
                                     fyrtpunotlt 1aw eMorcementthatwrWlie
                      nationalists were golhg tom arch on ap ubhc um veksaty P-
                                                                              JM
                      torches, you ppuN thahk they would take an lhterest.,,b

                  iii. Thissezvesasfllmther evidence ofPlainte s'bad faith,iandthat
                       oftheh'counse1.                                     i
                                                                                  j
           d After Cantw ellarrives,M osley asksttD bes anyone notundersltand?,,
            .

                and anotherparticipantaskéhim to repeatit.Tltis iz thepointat
                which Cantwellisbriefed on the plan.
                                                                              .   l
           e. M osley briefsthe attendeeson a plan to kçep those with torches
                separated 9 om (
                               W ntifa''and (tcounter protesters''
                                                                    '                           '


                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 27 ofj53 Pageid#:
                         .
                                                                                                                '               J,
                                                    8425


                                                       '
,                                           .

                                            f. The explicitpurpose ofthisoperation wasto keep the fire aw ay 9om
                                        '
                                                                                                            .                   /
                                                    counterprotesters,fortheirown safety.Noneofitshould hayebeep                                    .
    .
                                                    necessary,since law ezlforcem entwas contacted in advance tô avoid
            .

                             '
                                                    exactlytllissituation.
                                                           .                                                        .       .
                                                                                                                                J
                                                                                                                                I
                                                                                                                                  . ..
                                 201.               The actualselection process forw ho ended up being on the out
                                                                                                                'side of
                                    theformatiohiscapturedonGorcenski's2ndlivestreamvideo J
                                                                                          1 .
                                            a. Tllisisexcerpted asExh bitlz7-lW ouDdntH aveATorch.m p4
.
                                                                                                                                1
                                            b. M osley can beheard sayingttlfyou doh'thavea Eexpletiveltlrch,get
    .                                               up to thefrontofthe line.''                 .
                                                                                    .
                                                                                                                                1                                   ' ,
                    '                       c. Atthe frontofthe line,anotherrallygoerinstructed torchless
                                                                                                                                l
            '                                       participantsto gorightorleft,ascaptured on Eklùbitlz6- y
                                                                                                    '
                                                    Cantw ellArrives.m p4                                                       ;
                                                                                                                                !
                                                                                                                                ;
                                                                                                                                ;                       .

                                                               Clear Evidence ofPlaintiffs'Prelneditation                       I
                                                                                                                                I                   .
                                   '                                                                                            !
                                 202.    .Gorcenski's livestream videosprovide com pelling evidence ofPlaintiffs'
                                    prem editation,especially when taken in the contextofotherstatem1ents                                                           .
                                    madethroughoutthetimeline.                                                                  l
                                                                                                  !                                                             .
        .                 203.*     In the leadup to the events in dispute,Pllintifs and their co'-
                        '    conspirators tried So have the rally perG itrevoked by falsely claim'
                                                                                                 ing                                        .

                             D efendants w ere intent on violence.                                ,
                                                                            '
                                                                                                                            .
                .
                                                                                                                                j                           .
                                            a. As evidence oftéissupposed conspiracy by Defendants,Gorc'pnski
                                               claimitohaveprovided the dharlottesville City Cùuncilwithr*21pages
                                                    ofthreats''in advance ofthe events in dispute.See Exhibitz8-
                                                    C italofAntifa.m pzl                                       1
                                                     ap                                                                         l
                                            b These supposed dlthreats''w ere collected by the antifa Rintelne
                                                .
                                                                                                            ltworks,,
                                    .               Gorcenskilaterbragged abouton Twitter,@nd likely had a g'
                                                                                                            reatdeal
                                                    ofoverlap with theedgyjokescitedbyPlaintifsin theircomplaints.
                                                                                                            '




                                                                                                                            1
                                                                        .       '                                           !
                                                                                                                '           I
                                   .
                                                                                            .
                                                                                                                        .
                                                                                                                            j
                         .
                                                                                                                            j                                   '
                                                                                                                            l
                                                           .                            .               >                                                               '
                                                                                                                                        '
                                                                                                    .                                           .




                                                                                                                                    f
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 28 of 53 Pageid#:
                                    8426




                           .
                              '.    Em ily G !Cville,.
                                                     '
                                                     &
                                                     ,
                                                     2J'S
                                                        wt
                                                         z
                                                         ilEq
                                                            t
                                                            nfl'
                                                               gx
                                                                r
                                                                -
                                                                z-ofcenskd
                                                                         ,


                         One stôry thathasn'tbeen told about
                         #dhaflottesvllle is how ourintelnetworks
                         dram atically outclassed both the alt-right's
                         and the cops'.
                         7::14Af'J-'19Atlg 2017
                                                        '
                         450 (                                   k
                                                                 7','
                                                                    sS s't
                                                                         -4p> :
                                                                         '                      rkr'''   ''
                             4X&L=,
                                  T%
                                  .Xitn-
                                   .   dt.
                                         q
                                         x.393L9.kC.tQw. .!.... 1:
                                                              :.''  !x%j
                                                                     M
                                                                     ' n
                                                                       :.vJ:
                                                                       '
                                                                       >   'J ....#
                                                                            z
                                                                            -
                                                                            :     4v:
                                                                                    +.   ...q  a:
                                                                                            ...'
                                                                                               4..
                                                                                                '
                                                                                                k.'
                                                                                                 k
                                                                                                 E
                                                                                                 :y
                                                                                                  s$
                                                                                                  . .:.
                                        -t.
                                          -.) 5-.
                                                5%
                                                 ''         'Nz*
                                                            a  -<
                                                                t
                                                            k,
                                                            :

                           ?      Emily'G,Cville.Q'''t&
                                                      --Eillvt!:
                                                               r
                                                               .
                                                               Hk:ef
                                                                   ls%)
                                                                      i'-
                                                                        19l
                                                                          h
                                                                          .tl
                                                                            g2C.'
                                                                                17.
                          . ll i
                               /
                             EiI
                             .  ' Repjglr
                                        ig t
                                           f-
                                            )e
                                             veEr4 I
                                                   ly c-
                                                       orcen ski
                               r
                               . cj
                                  vli
                                    an-gat
                                         heredInleli
                                                   s'
                                                    cl
                                                     ftennottaeenserlusl
                                                                       ybyatl
                                                                            thori
                                                                                ties.btl
                                                                                       tweusedi
                                                                                              t
                               'i
                               p    ex'fdel k,.. toplan. disrupt,Ikonf
                                                                   .. t
                                                                      cq andrespond'
                                          .. .                         . .     .   ,!
                               yi                                     '
                               li
                               j
                               i                                       1fQ
                               lj
                               t.                                      .--.

                          .:.    EmllyG,Cville.t'1'
                                                  )e iillrjlyf-lcrt:eilskl '19At.3g.201F v
                              '
                          '
                             'tl
                               i Thefeason.mediae%k-azatCan     .twelrsvszalmaftg' a
                                                                                   .thering?OurIntel. Tietorch
                              ''
                                 f'
                                  alpyi?OurIntel
                             j@ .
                             14
                              .                '
                               !:
                                E
      '
      *                        :)
                          .z''. EmiIv''G,Cvllle.ft::
                                                   'j
                                                    z fstnittet3tarcenski':1At3n'2017
                           '
                               .
                                E
                                /éE .PleMrateglcallyleakedInfoknowi
                                                                  ngth#y'
                                                                        k
                                                                        çerewatchlngandprcce#sek
                                                                                               dttl
                                                                                                  eir
                                 C
                                 E
                                 :
                                  . reacljonsjn reabtlme.                                             j
                               j..
                                ;j                                                                    1
                               l                 1-
                                                  7 Jt y
                               ..
                               t

      204.      Despite know ing aboutthese supposed threatsin advance,Gorcenski
         was com pletely fearlesswhen approacM ng Defendants, form ation at 1 the                        .



         University ofVirei'''' ni
                          '-      a.Forno lessthan 30 m inutes,Gorcenskiw alked in and
         outofthe form ation,spoke to rallygoers,and followed theirform ati1
                          .

                                                                             on no
                                                                            1                      .

         m ore than a few feetaway m ostofthe tim e.                        I
                                                                                                                 i
            a. A m ontage ofGorcenski'sfearlessengagem entwith thq rallygoers can
               be seen in ExM bitlz8-Gorcenskiu nafraid.m p4

            b. Gorcenskim ècked and insulted participants.                                                       I
                                                                                                                 I
               Gorcenskiself-identified às the ttclliefagitator''offfantifa''

            d. Gorcenskisaid q s'there anything lessm enacing than a tiki orch?''

               Gorcensld referstp Defendants'security precautions as (tsecurity
               theater''.IfGorcenskiactually believed the supposed 21pages r of




                                                                                                                 1
     '



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 29 of)53 Pageid#:
                                    8427



                  ddthreats''then thisw ould obviously have been perceived as sdm ething
                  ratherintim idating,and unworthy ofthe m ockery.

      205.        GorcenskiwasnptjustcapturingthemomentfortheM storicalrecokd.
         The stream served otherpurposes,such asprqviding reconnaissanc'  e for the
                                                       .
                                                                          1
         planned assaulton Defendants.The Periscope live strea> video w ab1
                                                                            viewable
                                                                              .

         by anyone with a sm artphone,and Gorcenskiused tllism edium to deliver
         importantstrategicinform ation toPlaintif M agill,Phl
                                                             'lly Antifa,and pther
         co-conspirators,whowerepreparingtoambush Defendantsattheéotunda.
                                                                 l
             a. See Exhibitlzg-GorcenskiRecon.m p4

             b. Gorcenskigivesrepeated headcounts  '


                  Gorcensld repeatedly callsoutthe location ofthe Defendants)
                                                                            l
                                      .
                                                                                  1
             d.   Gorcensld relaysinform ation aboutthe planned tim tngofDeb
                                                                           fendants'
                  m
                                                                                  i
      206.     Gorcenski's dem eanor cha!'
                                         lgesdram atically,jvstbeforeDefed
                                                                         ndants'
         m arch reachesthe Rotunda.

             a. See Exhibit l3o-show tim e.m p4
                                                                         1
                  Gorcenskiruns aw ay from Defendants'procession tobeatthèm to the
                                          -
                  Rotunda.                                               :
                                                                                  i
                  From a safe distance, G orcenskiutters tp an associate ((lfthq:
                                                                                y pull
                  Eexpletivelon me,theirwholemovementcomesto an end''. 1
                        This isprecisely Gorcensh 'sm otive for staging the scdne which
                        brings
                            ' usto tM sproceeding                              J
                                                       .                          1
                                                                       1
             d. AsGorcenskiapproachesthe Rotunda,Gorcenskisays ((jg9m put
                                                                       I tjng m y
                  cam era down fora m inute''before approaching the co-conspil
                                                                             -ators
                                                                             :
                  laying in w aitforthe am bush.

                  Anot.her co-conspiratorcan be heard saying t
                                                             tH eads down guys,heads
                  downl''beforebeginning with thetheatricRanti-racist''chantloffdNo
                  K azis!N oKKK !No FascistU SAI''
             f. Gorcenskiwarnéa co-conspirator(There'sa (expletivd lotoflthem l''
                                                                              I
'



    Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 30 of(53 Pageid#:
                                                                                     l
                                        8428                           i
                                                                                     I
                                                                                     l



                g. Theco-conspiratorrepliesd(Iknow''(courtesyofGorcenski'srecon
                   data).
                h. A co-conspirator can be heard saying ddokay guys,thisisim poytantto
                   allofusl''                                                        1
                                                                                     1

                i. Contrary to Gorcensii'sclaim ofbeinesuro
                                                         .m
                                                            risedbv
                                                         'ï-''   '
                                                                  *''
                                                                      Plaintifsj'waiting
                   ambush,evetyoneclearly knowswhoeveryoneis.Notone injroduction
                   ismade.Nobody saystfNicetomeetyou''orRlt'sokay,I'm on l
                                                                         your
                   Side''
                                                                       l
                j. Gorcenskiraisesthecamerajustenough to8lm thefeetofP1aintiffs'
                   other co-conspirators,cautiously raising itto catch the faces pfwo'
                                                                                     m en
                   andblackmales,butmakingsuretoavoidthefacesofPhillylAntifa,
                   andPlaintif M agill,aswelladtheweaponsand disguisesofjhose
                   carrying outthe violentportion oftheir ddiversity oftactics''.l

                k. GorcenskisaystTltisiswhatwehaveto stand againstthem .ilW A
                   Students,people ofcolor''m entioning only the sym pathetic décoys,apd
                   neglecting to m ention the m asks,weapons,and nighttim e sungl
                                                                               : asses
                   ofthosetheretocommita crtme.                                  i
                                                                                 j
                                                                                 1
                1. Suddenly,Gorcenskipretepdstobe terrified.Afterm ore thail30
                   m inutes ofclose quartersm ockery,calling D efendants ((patueItic')and
                                             .
                   theirsecurity m easuresdttheater'' Gorcenskipretendétobe oi   n the
                                                     ,
                   verge oftears,asthough death wasim m inent.
                                                                                 I
                m .Despite this supposed fear,neither Gorcenski,nor any other of
                   Plaintiffs)co-conspi
                                      'rat
                                        . ors, take the am ple opportunity to flee the scene.

                n. Taken together,itbecom esobviousfhattllis wasal1partofa carefully
                   staged plan.
                                                                                 l
         207.      Taken in thiscontext,Plaintifs'prem editated conspiracy is m ade even
                                                                                 1
            m oreobviouswhen onelistenstoGorcenski'sttguilty conscience''utjerances
            on thelive stream videos.Speaking entirelyforthebenefitoftheVIcord,
            Gorcenskirepeatedly asslzresthe viewer,includingAgentW olfoftheFederal
             ' eau ofInvestigation,thatt(antifa''is notplanrling anytlling viole
            Bur                                                                lnt.W hen
                                                                               1 ight
            view ed in the context ofw hat actually happened,this becom es dow nr
            h                                                                  1
             um orous.                                                         i
                            '
                                     .

                a. Seeàxhibitl3l-GorcenskiGuiltyconscience.mp4                   j

                                                                                 I
                                                                                 I



                                                                                 1
                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 31 of 53 Pageid#:
                                                    8429



                                 '
                                     b GorcenskisaysdtW e'reheretodowhatwealwaysdo,andthatis shine
                 .
                                             thelightontherealityofwhattheirmessageis''.                     1
                                                                                                             J'          .
                                                  i.Thisiscomical,sincetheèntiretyofGorcenski'seffortlpriorto
                                                    the eventsin dispute wasto try and preventthe m archh 9om
                                                              .

                                                    ever happening.
                                                                  ''-'
                                                                  .
                                                                       Gorcenslqi'sstated view is thatD efendant
                                                                                                             1
                                                                                                                s'
                                         -          m essage should be illegal,and they should be deprived1oftheir
                                                    civilkights.                                '
                                                                                                            I
                                                                                 .                      .    j
                                     c. GorcenskisaystY eah,a 1otofpeople are telling m e tobe safe'. Y ou
                                             know,ldon'ttllink thatAnyonehereisstupidenough tostartviolence.
                                             Um,I'm notexpectingviolenceatthis.l'm heretoshowwhat's
                                             happening so thateveryone can see thq factthatw llite suprep acy and
                                             fascism isback in theUnited States.Idon'tneedtostartviotencehere
                                             to dothat.Theirwordscan dothatthemselves.W hen you stkJrttalking
                                                                                                            '''''                .
                                             aboutejectingpeoplefrom an entirecontinentbecauseofthei Ir ski
                                                                                                          n
                                             colorortheir religion that'spretty m uch the definition ofW hite
                                             Suprem acy.''
                                                      '
                                                                                                             j       .
        .                .
                                                  i. Thè statem entofnotexpecting violence standsin stark contra:t
                                                     to the narrative Plaintiffspeddled to thecom m unity ar!ld city

                         '
                                                     councilpriortotheeventsin dispute.Gorcenskiand ot,herco-
    .
                                                     conspirators reportedly handed ..21 pages oftllreats''tö
                                                                                                            1'
                                                                                                              the city
                                                     council.See Exhibitz8-capitaloG ntifa.m p4             ,
                                                                                                            '

                                                 ii. Gorcenski'sguilty conscience is evidentwhen the im plication (?f
                     .
                                                     Safety im m ediaiely causes him to deny thathe and llij
                                                     associatesarethereto((startVyOsaoeu.jjoomeaskjwjsnot
                                                    planning an assault,he would nothave assum ed the 1
                                                                                                      ,
                                                    instructionstobesafehad anythingtodowith theirprrty
                                                    (t
                                                     startgind''theviolence.Gorcenskiknew whatwasbeing                       .
                                                    planned,and said this as a reflex deG al.                1
                                                                                                             1
                                                          .                                                  :
                             '
                                     .           iii. Gorcenskiplanned the assaultbecause he dàesnotw ant
'                                                   Defendants'wor(tsbeing heard by anyone,becausehej
                                                                                                    l
                                                                                                    knows
                                                    thatwehaven:intention ofRejectingpeoplefrom an ent
                                                                                                    i
                                                                                                      ire
                                                    continent for the color oftheir skin or their religion,, and his
                                             M
                                                    entiredishonestexistencedependsonsuppressingan)truth
                                                     aboutw hat D efendants'true aim s are.

                                     d. GorcenskisaysRFpsaw Chnàtopher Cantwellhave azafyr(oday.
                                        Orgam àed atthe Walm artparklhg lot.J'
                                                                             Fy ww 'etheretocapiure that.
                                        Them edl'
                                                a showed up tocapturethat.Fyd1'dnotcallJ:  ?athak,ah,



                                                                                                                 '
            .
            ,

                                                                         .                                  !
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 32 of 53 Pageid#:
                                    8430



               brandlàhjhg thegun.Thatwasa custoxezlahsidethestoïv. j ich Jk
               proofthatitJknotl'usttherHJJ/JZel''thatheJktèrronàinm buq'actually
               thectpzl
                      jznum'
                           ty J3 andofitself Wfedidn'tneeà to do thatJkJfactlIgot
               to thatm eetup a few m inuteslate,(                                  '

                  i* Thisisvital,because Gorcepskidenied knowing thePhilly
                              ,

                     Antifa thugà who accosted Cantwell'sparty in theparki
                                                                         'ng lot,
                       an   éyet,GorcenskinowidentisesllimàelfasYe'alonlwith
                       thatgroup,andclaimstoknow whetherornotthatgrlupcalled
                       in a false reporton Cantw ell.

                  ii. AsCantwell'sbody camera provesdefinitively,Cantwqlldid not
                       pùlla gun on hnybody,m uch less a random W alm artshopppr,
                       and did notenterthe store atany tim e. Gorcenskiaajmk,that
                       Cantwellpulled agun on f1a customerinsidethestore''bécause
                       Gorcenskiknew the 911 callwas m ade by M ilreLongo Jr.1om
                       inside the W nlmart.
            e. Gorcenskisays tdW e've gotfascisttoilets overhere.the Port-A-elohtls,
                                                                -
                                                 ,                  .      p
               ah?were 1törun q violentop,those Port-A -lohnsàre on a hi11,and
               they areprobably pretty eaiy to push ovei',butIam notrunniùg a
               violent op.ShoutputtoA gentW olfofthe FederalBureau of
               Investigation.Somebodyoniinecalledinathreat,anditwasveryeasy
               forme,Ijusttoldllim thetruth,which is,we'replanninga non-violent
               ra y.

                  i. Again,Gorcenyki'sprior statem qntsrender this im plausible.
                                                                        .
                     E ith                                               j
                                                                            rall/)or
                                                         ,.                 .

                          erdorcenskiwasplanzlingtm haying atdnon-viplent       '

                     Gom enékiwasplanning to cozzfrontviolent crim inalN a
                                                                         lzis
                       intenton violence.Both cannotbe true.Gorcenskiis t'
                                                                         ying,
                       unsùccessfylly,todivertsuspicion,concernedwith the#BI
                       prudently m onitùring his activities.
                                             .




      Plaintiffs'Co-conspirators Cam e U zilaw fully A rm ed,w ith V ible tIntent.      .



     20:.      Plaintiffsiavemateriallydeceivedtlliscourtbyclaimingthrtthe
        people D efendants allegedly Rpunched and kicked''i!lparagraph 167 w ere
                                                                           ls alound
               'teks''orm ore laùghably in Paragraph 168 apeacejyu pm yeso v
        ddprotes
        tiestatue'',whentheywereinfact,violentcriminals.
     209.      The V eacefdlCounterProtesters''were arm ed with guns,pe per
        spray,weighted gloves,and expandablebatony.
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 33 of 53 Pageid#:
                                    8431



      210.      W hile Defendant Cantw ellknow sa1ltoo w ellthatbeing arm ed does
         notequatetobeing violent,Plaintiffs haverepeatedly alleged the oppos
                                                                           ' ite
         throughouttheircom plaintand subsequentfilings.M oreover,none ofthe
         D efendantsare alleged tohave broughtfirearm stothe UVA càm pus,wllich
         isillegal Only co-conspirators ofPlaintiffs werebrazen enoulh to bre
                 .
                                                        .
                                                                           I ak tllis
         law ,as show n below .                             .
                                                                    '-'    1




                                                                          /
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 34 of 53 Pageid#:
                                    8432

                                                                                                         h




                    6.:'
                       :'.
                        .                                            ..                                                           :1
                                                                                                                                  .':
                                                                                                                                    ?:                                                                     '
                                                      p...:1:j;                                         .r.     <.                                                                                                                                                               .




                                                                                                                                                                                                                                                         ..'w$ï'''
                                                                                                                                                                                                                                                            .pkkà
                                                                                                                                                                                                                                                                y
                                                                                                                                                                                                                                                     ajJ
                                                                                                                                                                                                                                                       F
                                                                                                                                                                                                                                                       gf
                                                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                                                         .?
                                                                                                                                                                                                                                                          zy'
                                                                                                                                                                                                                                                            c?
                                                                                                                                                                                                                                                             gS
                                                                                                                                                                                                                                                              qqs'
                                                                                                                                                                                                                                                                 s
                                                                                                                                                                                                                                                     .r?
                                                                                                                                                                                                                                                     :;z/
                                                                                                                                                                                                                                                        1fY
                                                                                                                                                                                                                                                        ' i9E.
                                                                                                                                                                                                                                                             e.
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             :??
                                                                                                                                                                                                                                                               9:
                                                                                                                                                                                                                                                               :S..
                            ...                                                                                                                                                                                                                       s.r...:!
                                                                                                                                                                                                                                                      r      :                                                                       ..                 .c
                                                                                                                                                                                                                                                                                                                                                        ë                                                                                j.
                                                                                                                                                                                                                                                                                                                                                                                                                                          ;y.
                                                                                                                                                                                                                                                                                                                                                                                                                                            .(
                          .
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             x.
                                                                                                                                                                                                                                                              :                                                                                ..:k
                                                                                                                                                                                                                                                                                                                                                  sE..
                                                                                                                                                                                                                                                                                                                                                  9  (
                                                                                                                                                                                                                                                                                                                                                     ::
                                                                                                                                                                                                                                                                                                                                                      1t
                                                                                                                                                                                                                                                                                                                                                       ;j
                                                                                                                                                                                                                                                                                                                                                       : )?ï
                                                                                                                                                                                                                                                                                                                                                           j.;
                                                                                                                                                                                                                                                                                                                                                           .                                                                             .a
                                       .                                                                                                                                                                                                                                                                                                                 %' :
                                 j.zz')
                                 ..
                                      .'.                                                                                                                                                                                                                                                                                                                     .L
                                 ''
                                  J:
                                  .
                                     yj                                                                                                                                                                                         .

                                                                                                                                                                                                                                                                                                                                                                                          k,
                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                        ...
                                                                                                                                                                                                                                                                                                                                                                                        .  EE
                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                            .E
                                                                                                                                                                                                                                                                                                                                                                                            ! :
                                                                                                                                                                                                                                                                                                                                                                                              ET
                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                         ;F
                                                                                                                                                                                                                                                                                                                                                                                        .:
                                                                                                                                                                                                                                                                                                                                                                                        ::
                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                                          E:$
                                                                                                                                                                                                                                                                                                                                                                                            ,:
                                                                                                                                                                                                                                                                                                                                                                                             .:
                                                                                                                                                                                                                                                                                                                                                                                             ::
                                                                                                                                                                                                                                                                                                                                                                                             !EEi
                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                Jh
                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                        .:E   :
                                                                                                                                                                                                                                                                                                                                                                                              E èEè
                                                                                                                                                                                                                                                                                                                                                                                         ..       E:
                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                           E: .
                                                                                                                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                                                                                                              :i
                                                                                                                                                                                                                                                                                                                                                                                              E:
                                                                                                                                                                                                                                                                                                                                                                                               :E
                                                                                                                                                                                                                                                                                                                                                                                               !'EE!!
                                                                                        ..                                                                                                                                                                                                                                                                                              .:.
                                                                                                                                                                                                                                                                                                                                                                                        ! j:.:!
                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                           2  .:yE:
                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                               2: Ej
                                                                                                                                                                                                                                                                                                                                                                                                   !!
                                                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                          ;.
                                                                                                                                                                                                                                                                                                                                                                                           :.:   k;.!
                                                                                                                                                                                                                                                                                                                                                                                              ..::
                                                                                                                                                                                                                                                                                                                                                                                         jh
                                                                                                                                                                                                                                                                                                                                                                                          '4
                                                                                                                                                                                                                                                                                                                                                                                          4

                                                                                                                                                                   .                ,                                                                                                     .                                                                                         .y
                                                                                                                                                                                                                                                                                                                                                                                     *
                                                                                                                                                                 .
                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                         /'13'0N)k
                                                                                                                                                                                                                                                                                                                                                                       ,'.
                                                                                                                                                                                                                                                                                                                                                                     .' .'
                                                                                                                                                                                                                                                                                                                                                                                 .2
                                                                                                                                                                                                                                                                                                                                                                 .    j2'   .
                                                                                      ..
                                                                                                .                                                                                                                                                                                                                                                             ZJ
                                                                                                                                                                                                                                                                                                                                                                 X'9X
                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                               JJ'  c ::
                                                                                                                                                                                                                                                                                                                                                                    '  '


           t:E
           d !:..                                                                                                                                                                                                                                                                                 ..:
                                                                                                                                                                                                                                                                                                  ; .:
                                                                                                                                                                                                                                                                                                     ..
                          .4
                           . EIbkO.
                                  M                    l.mp4-ktc.medbpbmr                                                                                                                                                                                                                                                                                                                                                   -             E1 X
                         Me                   ' ck Avtle vk+e:sub'titfe' roofs.vl'w Hep!                                                                                                                                                                            '

                                                                                                                                                                                                                                                                                              (2
                                                                                                                                                                                                                                                                                               !?
                                                                                                                                                                                                                                                                                               1 :' '!iE'
                                                                                                                                                                                                                                                                                               :!
                                                                                                                                                                                                                                                                                              i!.: E  (è
                                                                                                                                                                                                                                                                                                      : !
                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                        .

                                                                                                                                                                                            SIEEECE
                                                                                                                                                                                                  :E
                                                                                                                                                                                                   :CS
                                                                                                                                                                                                     ::
                                                                                                                                                                                                      CIS
                                                                                                                                                                                                        E.
                                                                                                                                                                                                         :3k
                                                                                                                                                                                                         E :L
                                                                                                                                                                                                            3ïkE
                                                                                                                                                                                                               IEEE:!
                                                                                                                                                                                                                    :t
                                                                                                                                                                                                                     .7EEE$E
                                                                                                                                                                                                                           t:
                                                                                                                                                                                                                            !:E
                                                                                                                                                                                                                            . ;;::
                                                                                                                                                                                                                                 E:
                                                                                                                                                                                                                                  E:q
                                                                                                                                                                                                                                    :t:
                                                                                                                                                                                                                                      ;:
                                                                                                                                                                                                                                       I:
                                                                                                                                                                                                                                        tti(Ii
                                                                                                                                                                                                                                             T:
                                                                                                                                                                                                                                              t;j!E
                                                                                                                                                                                                                                                  !:
                                                                                                                                                                                                                                                   !!
                                                                                                                                                                                                                                                    t::J::
                                                                                                                                                                                                                                                         11EEEE
                                                                                                                                                                                                                                                              1Eg
                                                                                                                                                                                                                                                                EE6E
                                                                                                                                                                                                                                                                   JE
                                                                                                                                                                                                                                                                    JEf
                                                                                                                                                                                                                                                                      .(
                                                                                                                                                                                                                                                                      EE(.jI
                                                                                                                                                                                                                                                                          )iiI
                                                                                                                                                                                                                                                                             E:
                                                                                                                                                                                                                                                                              .E
                                                                                                                                                                                                                                                                               :ïi
                                                                                                                                                                                                                                                                                 ëE
                                                                                                                                                                                                                                                                                  i:'
                                                                                                                                                                                           t
                                                                                                                                                                                           .l h h
                                                                                                                                                                                      ;!
                                                                                                                                                                                       :E   :.l
                                                                                                                                                                                        !..'! 'i
                                                                                                                                                                                               :!
                                                                                                                                                                                               t  ;,
                                                                                                                                                                                                E;E
                                                                                                                                                                                                :   IExp
                                                                                                                                                                                                   IE
                                                                                                                                                                                                   E  EFC
                                                                                                                                                                                                      F Z.
                                                                                                                                                                                                         I:E.:
                                                                                                                                                                                                         E    ;.Ea'
                                                                                                                                                                                                               )i
                                                                                                                                                                                                                $:T ;En
                                                                                                                                                                                                                  EqE  Et
                                                                                                                                                                                                                      E?E:I
                                                                                                                                                                                                                        I  Ed
                                                                                                                                                                                                                          :I E,
                                                                                                                                                                                                                            :?  :ab
                                                                                                                                                                                                                              :FE:q
                                                                                                                                                                                                                                  :!ï5
                                                                                                                                                                                                                                     ë:!:,
                                                                                                                                                                                                                                      F:  :Ft
                                                                                                                                                                                                                                         :i
                                                                                                                                                                                                                                         !  F:'
                                                                                                                                                                                                                                            : e  tE
                                                                                                                                                                                                                                              ::):
                                                                                                                                                                                                                                              E   q'
                                                                                                                                                                                                                                                  .iI
                                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                   :i
                                                                                                                                                                                                                                                    E'
                                                                                                                                                                                                                                                    ik::.
                                                                                                                                                                                                                                                      ë !E
                                                                                                                                                                                                                                                        i  (at
                                                                                                                                                                                                                                                         !ii IEiE!
                                                                                                                                                                                                                                                            iP   E
                                                                                                                                                                                                                                                                 .E
                                                                                                                                                                                                                                                                    o
                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                    EE,
                                                                                                                                                                                                                                                                   Eë  ;  n
                                                                                                                                                                                                                                                                       .:i.
                                                                                                                                                                                                                                                                      Ek  .y
                                                                                                                                                                                                                                                                           :j:
                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                             :r ï
                                                                                                                                                                                                                                                                              :;g
                                                                                                                                                                                                                                                                                :1
                                                                                                                                                                                                                                                                                :q
                                                                                                                                                                                                                                                                                 : '
                                                                                                                                                                                                                                                                                 .gE
                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                   7:
                                                                                                                                                                                                                                                                                   :2
                                                                                                                             '                                                          v.
                                                                                                                                                                                         ...k                                                                                                                                                                                                                                                               ''
                                                                                                                                                                                            :                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                         . v.:




                                                                                                                    iEI
                                                                                                                    E
                                                                                                                    : EJ
                                                                                                                       .E
                                                                                                                        :E
                                                                                                                         :E
                                                                                                                          :E
                                                                                                                           ëS
                                                                                                                            E
                                                                                                                            qi
                                                                                                                             :E
                                                                                                                              T
                                                                                                                              d:
                                                                                                                              .IE
                                                                                                                                i
                                                                                                                                .E
                                                                                                                                :.:
                                                                                                                                  E
                                                                                                                                  .E
                                                                                                                                   ..
                                                                                                                                    jE
                                                                                                                                    E!E
                                                                                                                                      .L
                                                                                                                                       !
                                                                                                                                       .'
                                                                                                                                        I/
                                                                                                                                         ::
                                                                                                                                          IC
                                                                                                                                          ''
                                                                                                                                           .E
                                                                                                                                            '
                                                                                                                                            !ï
                                                                                                                                            .)
                                                                                                                                             .E
                                                                                                                                             ::h
                                                                                                                                               ::
                                                                                                                                                E
                                                                                                                                                .EE
                                                                                                                                                ;  :
                                                                                                                                                   :E
                                                                                                                                                    :
                                                                                                                                                    ;i
                                                                                                                                                     .E
                                                                                                                                                      .!
                                                                                                                                                       E
                                                                                                                                                       ::
                                                                                                                                                        t':
                                                                                                                                                       ::
                                                                                                                                                           i
                                                                                                                                                           F
                                                                                                                                                          .):j:
                                                                                                                                                            E
                                                                                                                                                           .k
                                                                                                                                                            y é'
                                                                                                                                                              E:;
                                                                                                                                                                !;
                                                                                                                                                                 !.
                                                                                                                                                                  !:.
                                                                                                                                                                  : ëE:
                                                                                                                                                                    ! E,
                                                                                                                                                                       !:
                                                                                                                                                                       ;
                                                                                                                                                                       dE.
                                                                                                                                                                        ;!.
                                                                                                                                                                          i.
                                                                                                                                                                          EE:
                                                                                                                                                                            E;
                                                                                                                                                                            .(;
                                                                                                                                                                             :
                                                                                                                                                                             .iF.
                                                                                                                                                                              :
                                                                                                                                                                              .  5.
                                                                                                                                                                                 ((.E2
                                                                                                                                                                                    4
                                                                                                                                                                                    :  !(.
                                                                                                                                                                                         I.
                                                                                                                                                                                         E
                                                                                                                                                                                         :ë.
                                                                                                                                                                                          EI;
                                                                                                                                                                                           E  Eh
                                                                                                                                                                                              : E.
                                                                                                                                                                                                L
                                                                                                                                                                                                .E.
                                                                                                                                                                                                 I(.
                                                                                                                                                                                                   I.
                                                                                                                                                                                                   E EE
                                                                                                                                                                                                      I.
                                                                                                                                                                                                       E:
                                                                                                                                                                                                        E:.
                                                                                                                                                                                                          :.
                                                                                                                                                                                                          EE.
                                                                                                                                                                                                           II!
                                                                                                                                                                                                            E
                                                                                                                                                                                                            :E(
                                                                                                                                                                                                              E!
                                                                                                                                                                                                              :EE::
                                                                                                                                                                                                                :'E:
                                                                                                                                                                                                                   E:
                                                                                                                                                                                                                    ITE
                                                                                                                                                                                                                    E kE'
                                                                                                                                                                                                                        ::
                                                                                                                                                                                                                        . $.
                                                                                                                                                                                                                          :
                                                                                                                                                                                                                         E.:.
                                                                                                                                                                                                                           jE.
                                                                                                                                                                                                                            i:ï
                                                                                                                                                                                                                             ï
                                                                                                                                                                                                                             ''  :
                                                                                                                                                                                                                                 E
                                                                                                                                                                                                                                 ï:
                                                                                                                                                                                                                                  5
                                                                                                                                                                                                                                  .F
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   4:
                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                    .:
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                    :i
                                                                                                                                                                                                                                     ;:
                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                       :E
                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                        :E
                                                                                                                                                                                                                                         .:E
                                                                                                                                                                                                                                           .!
                                                                                                                                                                                                                                           ; kE:
                                                                                                                                                                                                                                               .!           :i!
                                                                                                                                                                                                                                                            E           i!
                                                                                                                                                                                                                                         jqj.jity.!ygg::gy:!g!y..i:!:g:;ï:j.E.
                                                                                                                                                   ..                                                                             .   ...
                                                                                                                                                        :                                                                  :.t..
                    .
                                                                                                                    j
                                                                                                                    l
                                                                                                                    y
                                                                                                                    .
                                                                                                                    r
                                                                                                                    j
                                                                                                                    r
                                                                                                                    ig
                                                                                                                     !
                                                                                                                     (
                                                                                                                     y.
                                                                                                                     j
                                                                                                                    !E
                                                                                                                    : y
                                                                                                                      $
                                                                                                                      ;
                                                                                                                      jy
                                                                                                                     :Ej
                                                                                                                       4
                                                                                                                       :
                                                                                                                       gj
                                                                                                                       y,.
                                                                                                                        d
                                                                                                                      :EE:
                                                                                                                         y.
                                                                                                                        F:jjj
                                                                                                                            gg
                                                                                                                         !it:jf
                                                                                                                             .j
                                                                                                                              ,
                                                                                                                              jl
                                                                                                                              .
                                                                                                                            !::.
                                                                                                                               j
                                                                                                                               g
                                                                                                                               yg..
                                                                                                                              E!i
                                                                                                                              .   jjj
                                                                                                                                s:i
                                                                                                                                !   â
                                                                                                                                    :
                                                                                                                                    g.
                                                                                                                                    .
                                                                                                                                  :::
                                                                                                                                  .  g
                                                                                                                                     r
                                                                                                                                     j
                                                                                                                                     k
                                                                                                                                     jy
                                                                                                                                      j
                                                                                                                                      gy
                                                                                                                                    :!E
                                                                                                                                    .  :
                                                                                                                                       .j
                                                                                                                                      .F
                                                                                                                                      : g
                                                                                                                                        jj
                                                                                                                                        .
                                                                                                                                       !:.
                                                                                                                                         jjj
                                                                                                                                        i;:y
                                                                                                                                           q
                                                                                                                                           g
                                                                                                                                           j
                                                                                                                                           k
                                                                                                                                          .:g
                                                                                                                                            y
                                                                                                                                            j
                                                                                                                                            yykj.
                                                                                                                                           .E
                                                                                                                                            i:: ;.:ë
                                                                                                                                              ë:E  i;
                                                                                                                                                    !::
                                                                                                                                                      ..
                                                                                                                                                       :::k
                                                                                                                                                          .
                                                                                                                                                          ..(:q
                                                                                                                                                              :E:
                                                                                                                                                                E:
                                                                                                                                                                 ;:
                                                                                                                                                                  )?:
                                                                                                                                                                    .!:
                                                                                                                                                                      !,
                                                                                                                                                                       !::!
                                                                                                                                                                          :
                                                                                                                                                                          .:!:
                                                                                                                                                                             .hJ;!::.:.!E
                                                                                                                                                                               !
                                                                                                                                                                               .        :E:
                                                                                                                                                                                          E!:.$
                                                                                                                                                                                          .   2.$
                                                                                                                                                                                                sE.
                                                                                                                                                                                                  jE.iE
                                                                                                                                                                                                      i!
                                                                                                                                                                                                       ,:
                                                                                                                                                                                                        .E!
                                                                                                                                                                                                        ! E!
                                                                                                                                                                                                          ..j
                                                                                                                                                                                                            é.
                                                                                                                                                                                                            .:E
                                                                                                                                                                                                              .ë
                                                                                                                                                                                                              . E:
                                                                                                                                                                                                                :
                                                                                                                                                                                                                ..E
                                                                                                                                                                                                                  .;
                                                                                                                                                                                                                  ::E
                                                                                                                                                                                                                    !5:
                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                          qjjf
                                                                                                                                                                                                                      y!:.j  jyjfjj
                                                                                                                                                                                                                             .      .p
                                                                                                                                                                                                                                  qjjqj.q
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                       y
                                                                                                                                                                                                                                       jy
                                                                                                                                                                                                                                      .y:
                                                                                                                                                                                                                                        .:..




                        '
                        '1:111:j2
                               r.
                                '1
                                 iI  .s5.
                                        :' l.d            ré.:        ''
                                                                       e:.
                                                                        ,'
                                                                         ..
                                                                          ë.
                                                                          k'
                                                                           .,
                                                                            ...
                                                                              ''
                                                                               .'
                                                                               ..
                                                                                ,.                    e!hl
                                                                                                        q,
                                                                                                         .'
                                                                                                          .r
                                                                                                           h.
                                                                                                                                               't
                                                                                                                                            '.!;ï.
                                                                                                                                                 ç.
                                                                                                                                                  t.
                                                                                                                                                  3t.
                                                                                                                                                    :t
                                                                                                                                                    ?:ï
                                                                                                                                                      '::
                                                                                                                                                      L!E.: ').
                                                                                                                                                           !:
                                                                                                                                                             .:
                                                                                                                                                              !.
                                                                                                                                                              EE
                                                                                                                                                               tIEë!
                                                                                                                                                                   .).
                                                                                                                                                                   ' 'I
                                                                                                                                                                     :ëEE
                                                                                                                                                                      !E:
                                                                                                                                                                        l)
                                                                                                                                                                         à:
                                                                                                                                                                          ë9:F)
                                                                                                                                                                             7:
                                                                                                                                                                              2:
                                                                                                                                                                               !zr
                                                                                                                                                                                i: ëlq
                                                                                                                                                                                     'ë )r
                                                                                                                                                                                        E!
                                                                                                                                                                                         E!:
                                                                                                                                                                                         !?E:
                                                                                                                                                                                            Fr
                                                                                                                                                                                             !:
                                                                                                                                                                                              !lE
                                                                                                                                                                                               !Fq
                                                                                                                                                                                                 !f)
                                                                                                                                                                                                  :r
                                                                                                                                                                                                   'i
                                                                                                                                                                                                    ?!
                                                                                                                                                                                                    k:
                                                                                                                                                                                                     '2.
                                                                                                                                                                                                     -tI:
                                                                                                                                                                                                       -E :.
                                                                                                                                                                                                          . :.
                                                                                                                                                                                                            E:3)
                                                                                                                                                                                                             i 3:
                                                                                                                                                                                                               :!t3:!7ë
                                                                                                                                                                                                                    i !.
                                                                                                                                                                                                                       ).
                                                                                                                                                                                                                       :@t
                                                                                                                                                                                                                         !!
                                                                                                                                                                                                                         Cf
                                                                                                                                                                                                                          h'
                                                                                                                                                                                                                           2:.
                                                                                                                                                                                                                            ië:.
                                                                                                                                                                                                                              !
                                                                                                                                                                                                                              .:!::
                                                                                                                                                                                                                                 J!
                                                                                                                                                                                                                                  ET
                                                                                                                                                                                                                                   :).)
                                                                                                                                                                                                                                      hE
                                                                                                                                                                                                                                      !l?
                                                                                                                                                                                                                                        !:.
                                                                                                                                                                                                                                        EE?
                                                                                                                                                                                                                                          ;).
                                                                                                                                                                                                                                            i.
                                                                                                                                                                                                                                            2
                                                                                                                                                                                                                                            :!.
                                                                                                                                                                                                                                             E!
                                                                                                                                                                                                                                              :.)ë
                                                                                                                                                                                                                                                '!
                                                                                                                                                                                                                                                 !:
                                                                                                                                                                                                                                                  'ï
                                                                                                                                                                                                                                                   )'
                                                                                                                                                                                                                                                   E::.! :.
                                                                                                                                                                                                                                                          i:
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                          E)
                                                                                                                                                                                                                                                           ..:
                                                                                                                                                                                                                                                             E9:;.
                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                               ;Eë
                                                                                                                                                                                                                                                                 ;j
                                                                                                                                                                                                                                                                  ::
                                                                                                                                                                                                                                                                   (q
                                                                                                                                                                                                                                                                    !.
                                                                                                                                                                                                                                                                     :!J
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                      :::.
                                                                                                                                                                                                                                                                        ë;.E!
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                           -: :):;:
                                                                                                                                                                                                                                                                                  6ï:.E:E
                                                                                                                                                                                                                                                                                        6'
                                                                                                                                                                                                                                                                                         .E:!.:
                                                                                                                                                                                                                                                                                              =.)':
                                                                                                                                                                                                                                                                                                  y.!.yJ?)..j%:.:
                                                                                                                                                                                                                                                                                                                q.t.
                                                                                                                                                                                                                                                                                                                .y: 2u
                                                                                                                                                                                                                                                                                                                    i !:
                                                                                                                                                                                                                                                                                                                       L.
                                                                                                                                                                                                                                                                                                                       !t.
                                                                                                                                                                                                                                                                                                                         :.
                                                                                                                                                                                                                                                                                                                         s :.
                                                                                                                                                                                                                                                                                                                           I:.
                                                                                                                                                                                                                                                                                                                            L E.?Z,
                                                                                                                                                                                                                                                                                                                                t I$
                                                                                                                                                                                                                                                                                                                                  ?
                                                                                                                                                                                                                                                                                                                                  E!
                                                                                                                                                                                                                                                                                                                                   5s
                                                                                                                                                                                                                                                                                                                                    ë>7:!.
                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                        i:
                                                                                                                                                                                                                                                                                                                                         tg:.
                                                                                                                                                                                                                                                                                                                                            rji,
                                                                                                                                                                                                                                                                                                                                               ):
                                                                                                                                                                                                                                                                                                                                                2:2.
                                                                                                                                                                                                                                                                                                                                                  'E
                                                                                                                                                                                                                                                                                                                                                   !!p:.
                                                                                                                                                                                                                                                                                                                                                       E.
                                                                                                                                                                                                                                                                                                                                                        !.
                                                                                                                                                                                                                                                                                                                                                        : :E:):1.
                                                                                                                                                                                                                                                                                                                                                                )2.
                                                                                                                                                                                                                                                                                                                                                                r  ï:.
                                                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                                                   è: )::E
                                                                                                                                                                                                                                                                                                                                                                      E  tE
                                                                                                                                                                                                                                                                                                                                                                          !:
                                                                                                                                                                                                                                                                                                                                                                           !!: ):  ;.
                                                                                                                                                                                                                                                                                                                                                                                    t.:.
                                                                                                                                                                                                                                                                                                                                                                                    T  6:
                                                                                                                                                                                                                                                                                                                                                                                        6r
                                                                                                                                                                                                                                                                                                                                                                                        ) j:.2j
                                                                                                                                                                                                                                                                                                                                                                                             E 7;
                                                                                                                                                                                                                                                                                                                                                                                               2
                                                                                                                                                                                                                                                                                                                                                                                               .4g
                                                                                                                                                                                                                                                                                                                                                                                                 ::
                                                                                                                                                                                                                                                                                                                                                                                                 71j
                                                                                                                                                                                                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                                                                                                                                                                                                    :g
                                                                                                                                                                                                                                                                                                                                                                                                    J :.
                                                                                                                                                                                                                                                                                                                                                                                                      $ :. ;ë
                                                                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                                                                            :7
                                                                                                                                                                                                                                                                                                                                                                                                             t:..
                                                                                                                                                                                                                                                                                                                                                                                                             :  ?.
                                                                                                                                                                                                                                                                                                                                                                                                                 it:
                                                                                                                                                                                                                                                                                                                                                                                                                   !.
                                                                                                                                                                                                                                                                                                                                                                                                                    4.
                                                                                                                                                                                                                                                                                                                                                                                                                     4.
                                                                                                                                                                                                                                                                                                                                                                                                                      1.
                                                                                                                                                                                                                                                                                                                                                                                                                       m:.).
                                                                                                                                                                                                                                                                                                                                                                                                                           !?4.  !;të
                                                                                                                                                                                                                                                                                                                                                                                                                                   ! ys.!
                                                                                                                                                                                                                                                                                                                                                                                                                                        I.!
                                                                                                                                                                                                                                                                                                                                                                                                                                          ë).!!
                                                                                                                                                                                                                                                                                                                                                                                                                                              ):.!
                                                                                                                                                                                                                                                                                                                                                                                                                                                 qy!ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                  y'@Fq&F
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ..'..'.4:j4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 )kf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,11.1:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,'
                        .                                                                                                                                                                                                                                                                                   .
                          1-8
                            -8:.
                              .;
                               .
                                 !:.,
                                    ..  ili
                                         .èd
                                           : j9
                                             ::.
                                              .(E
                                                J)
                                                 ?9
                                                 .:1
                                                   :j
                                                   ..:
                                                     .2j
                                                     : j.
                                                        ri.
                                                       -é    s.
                                                              è:!
                                                                g:
                                                                .Ft
                                                                  ..
                                                                   9k!
                                                                   k ;!
                                                                      j:1
                                                                       ! r, 6r
                                                                            j !. .5
                                                                                :.:1..t
                                                                                   k,
                                                                                    ù .t
                                                                                      zty:
                                                                                       k  :.
                                                                                          !
                                                                                         !E:
                                                                                           i!k
                                                                                           ..
                                                                                             së
                                                                                             i.ï
                                                                                              ,<.
                                                                                               t:E
                                                                                                :!E
                                                                                                  !.
                                                                                                   $. .4
                                                                                                    :.p
                                                                                                    a  srIJ''
                                                                                                           :.!
                                                                                                            .'ë:
                                                                                                             '  iE
                                                                                                               ES
                                                                                                                'i!
                                                                                                                  Et :.
                                                                                                                     '
                                                                                                                   .:E'E
                                                                                                                       Fë
                                                                                                                        '.
                                                                                                                         '.
                                                                                                                          !.,.y...;'::'.'.'.;   .;    :
                                                                                                                                                      .   ..::
                                                                                                                                                          .    :'.a'. c E
                                                                                                                                                                        :.:.,
                                                                                                                                                                          i
                                                                                                                                                                          , 3.
                                                                                                                                                                            :
                                                                                                                                                                            .5s
                                                                                                                                                                              '
                                                                                                                                                                              .1!
                                                                                                                                                                               %
                                                                                                                                                                               . k.';k
                                                                                                                                                                                 '    iE.
                                                                                                                                                                                      ï  b ; u.' .,
                                                                                                                                                                                                 :
                                                                                                                                                                                                 .'... E.......
                                                                                                                                                                                                        :       .*.7.'Eu:'.....'' ..  . '
                                                                                                                                                                                                                                        . t. .
                                                                                                                                                                                                                                             .':.,
                                                                                                                                                                                                                                                 . .
                                                                                                                                                                                                                                                   !   :,EF; ::
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             ..t ':Ct
                                                                                                                                                                                                                                                                 .   ',C...
                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                       .    .r';'1'F.;''E..:' ..'.:..         '..
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                   ..;:..'.':.E.E.
                                                                                                                                                                                                                                                                                                                           .;      r
                                                                                                                                                                                                                                                                                                                                   :sE.
                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                     .  '
                                                                                                                                                                                                                                                                                                                                      :E:E..E:'...:
                                                                                                                                                                                                                                                                                                                                         .         ':?
                                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                                   :        i'
                                                                                                                                                                                                                                                                                                                                                        >!'..
                                                                                                                                                                                                                                                                                                                                                       ..    !.
                                                                                                                                                                                                                                                                                                                                                              'Ci'E' ...F: .
                                                                                                                                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                                                                                                                           ri:k'..r.r''s:i:.r::xi.:2:.':;.r'
                                                                                                                                                                                                                                                                                                                                                                                                            .,                     .
                                                                                                                                                                                                                                                                                                                                                                                                            :':::'.:.''E.:.?:''êi':'.w.'''>i$:
                                                                                                                                                                                                                                                                                                                                                                                                                                             'zR'   E.j'   ''ï ..97,
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .:   '5.. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                            .:;..
                         . ..   :.
                                 iE
                                  -,:.k;ui
                                     :.  k.
                                          ,.:..
                                              43!
                                                i:
                                                 ,k:.;:
                                                      ;)i
                                                        .i
                                                         .p          A..i
                                                                        :!....:..:E:.'
                                                                                     .....p........;.
                                                                                                    :z:?;..:
                                                                                                           .:....
                                                                                                                ,..!.. ............                                                                       ......:.....ë,;.kE;:...i.:
                                                                                                                                                                                                                                   ..;.
                                                                                                                                                                                                                                      :..... ....:
                                                                                                                                                                                                                                                 ..... .:.....:.:: .;..).
                                                                                                                                                                                                                                                                        !:. r...,......... ... .. ..:.:.. ...E.:.....
                                                                                                                                                                                                                                                                                                                    ::a:.!
                                                                                                                                                                                                                                                                                                                         ..:: .:
                                                                                                                                                                                                                                                                                                                            2::E;;.
                                                                                                                                                                                                                                                                                                                                  ':;. ).:
                                                                                                                                                                                                                                                                                                                                         $$,!!
                                                                                                                                                                                                                                                                                                                                             :.'
                                                                                                                                                                                                                                                                                                                                             . :;it'
                                                                                                                                                                                                                                                                                                                                                   ?:
                                                                                                                                                                                                                                                                                                                                                    'M
                                                                                                                                                                                                                                                                                                                                                     .................k.L;CJF.k
                                                                                                                                                                                                                                                                                                                                                     .                        !tt


       11        e tm e t in t at eco es osto vious u on even a cursor revie
                                 '
               .       .      .           .               .     .     . . .
        oft e vl eo ev1 ence,Is t at t e vlolence at   as m tentlona lnltlate                                                                                                                                                                        '
                    .           .   .  g    .   .
          co-cons lrators o t e lalntl s m t s case.                          '
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 35 of 53 Pageid#:
                                    8433



      Plaintiffs'Cb-conspirators W ore Disguises,Evincing their Crim inàlInteht
      212.      Lindsay Elizabeth M oeréwore sunglassesand a hat,and w hen
         consciousofcam era,conceqled hertattoos.

      213:           Brian Bozicek worea1lblack,sunglasses,and a skullcap. j
                                                                   '              :

                                            The dccharge''
      214.           Plaintiffs have m aterially deceived tlkis courtby stating in Pgragraph
        163 ofthesecond am ended complaintthatDefendantsttchargedtoéard a
        sm a11group offewerthan 30people''aswellasin Paragraph 164bylstating
        Defendants Rrushed dow n the àteps''.

      215.           In fact,defendântsslowly andcalmly walkeddown thestairj,as
        evidenced by dozensofvideos.                                              1
                                                                                  i

             a. See Exhibitl-charge.m pzl
             '

             b                                                                    !
                 .   Thisvideo was partofa com pilation,and assuch failsto capt   !
                                                                                   urethe
                     Plaintiffs'co-conspi
                                       .-' ratorsbeing flzlly surrbunded,butitcan be seen
                     thatDefendants had notfully '
                                     .
                                                     -
                                                     'urrounded them after one m inut
                                                     s                            h e and
                     forty seconds.

             c. AsD efendantscam e down the steps ofthe Rotunda,they w ere
                surprised to see the counterprotesters.W hile the originalpl1
                                                                            jm wasto
                     WalkstraightdoFzïandencirclethemonument,thesightof)ounter
                     protesters,andlack ofexpectedlaw enforcementpresence,iztitially
                     caused them to change course.


                                                                                  l
                                                                                  1
                                                                                  J
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 36 of 53 Pageid#:
                                    8434
V
*
d
'



                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 37 of 53 Pageid#:
                                                    8435



        .                         and their co-conspiratorshad ample tim e and spaceto leave,but
                                  instead carried through on theiroriginalplan,to assaultDefendants.
                                                    â.Nh6t;i&1'Ch4%k.$np4.?kCmea#mt                                                                                                                                                                                                                                                                                                                             .          '.' Q X
                                                    Buxsa Plaz
                                                             N çk Audo Vie HbtiG Tçol: kbi
                                                                                         eee He;p                                                                                                      .

                                                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                                                 I)
                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                                  li
                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                   E:
                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                                                    iIiIl
                                                                                                                                                                                                                                                                                                                        1@
                                                                                                                                                                                                                                                                                                                         Il I) lI!l
                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                  iI
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                   h
                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                   l)
                                                                                                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                                                                                                    T
                                                                                                                                                                                                                                                                                                                                    li!El
                                                                                                                                                                                                                                                                                                                                        I i
                                                                                                                                                                                                                                                                                                                                          IlI;
                                                                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                                                                             l r
                                                                                                                                                                                                                                                                                                                                               ilI@E'
                                                                                                                                                                                                                                                                                                                                                    3!
                                                                                                                                                                                                                                                                                                                                                     C
                                                                                                                                                                                                                                                                                                                                                     :i:
                                                                                                                                                                                                                                                                                                                                                       3:
                                                                                                                                                                                                                                                                                                                                                        Eirji k
                                                                                                                                                                                                                                                                                                                                                              liI)
                                                                                                                                                                                                                                                                                                                                                             ..,'o
                                                                                                                                                                                                                                                                                                                                                                  à
                                                                                                                                                                                                                                                                                                                                                                  /
                                                                                                                                                                                                                                                                                                                                                                  IrIq
                                                                                                                                                                                                                                                                                                                                                                     lj)!I
                                                                                                                                                                                                                                                                                                                                                                        I  i kd)
                                                                                                                                                                                                                                                                                                                                                                               l .lI
                                                                                                                                                                                                                                                                                                                                                                                  1)tT!
                                                                                                                                                                                                                                                                                                                                                                                      i'E
                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                        ë::
                                                                                                                                                                                                                                                                                                                                                                                         i  E!
                                                                                                                                                                                                                                                                                                                                                                                             Cq
                                                                                                                                                                                                                                                                                                                                                                                              l l
                                                                                                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                                                                                                                jIl
                                                                                                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                                                                                                                  3I!
                                                                                                                                                                                                                                                                                                                                                                                                    1 .
                                                                                                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                                                                                                      Ilë
                                                                                                                                                                                                                                                                                                                                                                                                        i'
                                                                                                                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                                                                                                                         '!
                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                          ' i
                                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                                            ' I
                                                                                                                                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                                                                                                                             ''E
                                                                                                                                                                                                                                                                                                                                                                                                               II
                                                                                                                                                                                                                                                                                                                                                                                                               !!!
                                                                                                                                                                                                                                                                                                                                                                                                              ,'''.
                                                                                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                                                                                   f!(I !
                                                                                                                                                                                                                                                                                                                                                                                                                        l Ir     ! J j
                                                                                                                                                                                                                                                                                                                                                                                                                                     !I@
                                                                                                                                                                                                                                                                                                                                                                                                                                       !
                                                                                                                                                                                                                                                                                                                                                                                                                                       ël
                                                                                                                                                                                                                                                                                                                                                                                                                                        'I1q
                                                                                                                                                                                                                                                                                                                                                                                                                                           IE
                                                                                                                                                                                                                                                                                                                                                                                                                                            '..
                                                                                                                                                                                                                                                                                                                                                                                                                                             1l
                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                              l
                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                                                                                                                                                                                              .!
                                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                                                                               !I
                                                                                                                                                                                                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                                                #
                                                                                                                                                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                                                                                                                                                                r)
                                                                                                                                                                                                                                                                                                                                                                                                                                                 4
                                                                                                                                                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                                                                                                                                                 îl
                                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                              '                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                 r'
                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                 IE
                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                 )!A
                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                  .I
                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                   il
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                    )
                                                                                                                                                                                                                                                                                                                    @
                                                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                                                                                     ,''m
                                                                                                                                                                                                                                                                                                                     .....
                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                          ;:!
                                                                                                                                                                                                                                                                                                                         ,!
                                                                                                                                                                                                                                                                                                                          .  .'
                                                                                                                                                                                                                                                                                                                           ,,ë
                                                                                                                                                                                                                                                                                                                           ,   .,,(
                                                                                                                                                                                                                                                                                                                               i'
                                                                                                                                                                                                                                                                                                                              .!  i
                                                                                                                                                                                                                                                                                                                                  .p
                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                    !I
                                                                                                                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                                                                                                                        l'.,.
                                                                                                                                                                                                                                                                                                                                      .ke
                                                                                                                                                                                                                                                                                                                                        !g
                                                                                                                                                                                                                                                                                                                                        . ,.,;
                                                                                                                                                                                                                                                                                                                                         ki  ,.,,,R
                                                                                                                                                                                                                                                                                                                                              '' )
                                                                                                                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                                                                                                                              kl
                                                                                                                                                                                                                                                                                                                                               .,l.'ir'
                                                                                                                                                                                                                                                                                                                                                   t.
                                                                                                                                                                                                                                                                                                                                                      ;! t!
                                                                                                                                                                                                                                                                                                                                                       .s'
                                                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                                                    ,, #  ;'
                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                           o
                                                                                                                                                                                                                                                                                                                                                           ëj?.( t!
                                                                                                                                                                                                                                                                                                                                                                ,r
                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                                                                  y,
                                                                                                                                                                                                                                                                                                                                                                    ..m
                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                     ,tjr
                                                                                                                                                                                                                                                                                                                                                                    .,
                                                                                                                                                                                                                                                                                                                                                                   ?ëé   @!
                                                                                                                                                                                                                                                                                                                                                                        (.
                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                           !,y(
                                                                                                                                                                                                                                                                                                                                                                          ,.  i
                                                                                                                                                                                                                                                                                                                                                                              ,I,jë
                                                                                                                                                                                                                                                                                                                                                                              ,.
                                                                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                                                    TT
                                                                                                                                                                                                                                                                                                                                                                                   !#'
                                                                                                                                                                                                                                                                                                                                                                                   ,!
                                                                                                                                                                                                                                                                                                                                                                                  ,;
                                                                                                                                                                                                                                                                                                                                                                                     !!;
                                                                                                                                                                                                                                                                                                                                                                                       !
                                                                                                                                                                                                                                                                                                                                                                                       !.
                                                                                                                                                                                                                                                                                                                                                                                      '!
                                                                                                                                                                                                                                                                                                                                                                                       .I
                                                                                                                                                                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                                                                                                        . r'
                                                                                                                                                                                                                                                                                                                                                                                           !'
                                                                                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                        ,,i.
                                                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                                                            o
                                                                                                                                                                                                                                                                                                                                                                                            j,'
                                                                                                                                                                                                                                                                                                                                                                                              ,..'
                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                .,,y
                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                              ,,
                                                                                                                                                                                                                                                                                                                                                                                                    l1
                                                                                                                                                                                                                                                                                                                                                                                                  E!!
                                                                                                                                                                                                                                                                                                                                                                                                      .E
                                                                                                                                                                                                                                                                                                                                                                                                    r,,
                                                                                                                                                                                                                                                                                                                                                                                                   ,) r;
                                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                          .,
                                                                                                                                                                                                                                                                                                                                                                                                         .. .,i
                                                                                                                                                                                                                                                                                                                                                                                                         ,t.(
                                                                                                                                                                                                                                                                                                                                                                                                       ,,.
                                                                                                                                                                                                                                                                                                                                                                                                              .s
                                                                                                                                                                                                                                                                                                                                                                                                               .g
                                                                                                                                                                                                                                                                                                                                                                                                              ë,
                                                                                                                                                                                                                                                                                                                                                                                                            ,@,y,;
                                                                                                                                                                                                                                                                                                                                                                                                                 ,@,,ë,,,i;,.ë,.gj','a
                                                                                                                                                                                                                                                                                                                                                                                                                   y'
                                                                                                                                                                                                                                                                                                                                                                                                                    c                j
                                                                                                                                                                                                                                                                                                                                                                                                                                     ,ë
                                                                                                                                                                                                                                                                                                                                                                                                                                        ;)
                                                                                                                                                                                                                                                                                                                                                                                                                                         ë.j
                                                                                                                                                                                                                                                                                                                                                                                                                                      ,ë.,
                                                                                                                                                                                                                                                                                                                                                                                                                                           .!pk
                                                                                                                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                                                                                                                                                              (
                                                                                                                                                                                                                                                                                                                                                                                                                                              .!
                                                                                                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                                                                                                                                               e
                                                                                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                                                                               ë.
                                                                                                                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                j,
                                                                                                                                                                                                                                                                                                                                                                                                                                                 q
                                                                                                                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                 T
                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                 .;
                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .


                                                                       ..
                                                                      :. ..
                                                                     ..                                                                                                                                                                                                                                                                                          .                                                                     jI
                                                                                                                                                                                                                                                                                                                                                                                                                                     ...i:.
                                                                                                                                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                                                                                                                                                                                                                            u..7
                                                                                                                                                                                                                                                                                                                                                                                                                                               .i
                                                                                                                                                                                                                                                                                                                                                                                                                                                :F:
                                                                                                                                                                                                                                                                                                                                                                                                                                                  jE
                                                                                                                                                                                                                                                                                                                                                                                                                                                   .         .
                                                                                                                                                                                                                                                                                                                                                                 ,                                                                     (j
                                                                                                                                                                                                                                                                                                                                                                                                                                       g)E.
                                                                                                                                                                                                                                                                                                                                                                                                                                        ; .
                                                                                                                                                                                                                                                                                                                                                                                                                                        . .. .
                                            .                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                          $5F
                                                                                                                                                                                                                                                                                                                                          : jry
                                                                                                                                                                                                                                                                                                                                              '                                                                 .                      ïb.'
                                                                                                                                                                                                                                                                                                                                                                                                                                       ?
                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                           .. .' .. . ' E..
                                                                                                                                          :.:
                                                                                                                                            ..
                                                                                                                                             jj:
                                                                                                                                               .'  !.(7j
                                                                                                                                                 :)j   )q7 :#
                                                                                                                                                         Ji'dho
                                                                                                                                                              sl5
                                                                                                                                                              r t;
                                                                                                                                                                i     :E
                                                                                                                                                                      .
                                                                                                                                                                 '::;..
                                                                                                                                                                      s  ;... :.''. .;l
                                                                                                                                                                         !
                                                                                                                                                                       ir:            ..
                                                                                                                                                                                      :;j                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                               kp6
                                                                                                                                                                                                                                                                                                                                                 ijt4
                                                                                                                                                                                                                                                                                                                                                    :.
                                                                                                                                                                                                                                                                                                                                                     :.                     ..   :.j
                                                                                                                                                                                                                                                                                                                                                                                   !::
                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                      ''
                                                                                                                                                                                                                                                                                                                                                                                                                                        ,



                                                          k
                                                          I
                                                          y(.
                                                            !
                                                            l
                                                            :(
                                                             1ES
                                                               E'' . I.                                                                                                                                                                                                                                                                                              i.'''
                                                                                                                                                                                                                                                                                                                                                                .'::kh           )j!
                                                                                                                                                                                                                                                                                                                                                                                   rrj
                                                                                                                                                                                                                                                                                                                                                                                     :::
                                                                                                                                                                                                                                                                                                                                                                                       ..:jj
                                                                                                                                                                                                                                                                                                                                                                                           gàj  jj.....j.
                                                                                                                                                                                                                                                                                                                                                                                             gjjg       j,
                                                                                                                                                                                                                                                                                                                                                                                                        yjy
                                                                                                                                                                                                                                                                                                                                                                                                         yE:E
                                                                                                                                                                                                                                                                                                                                                                                                          . :@
                                                                                                                                                                                                                                                                                                                                                                                                             àg
                                                                                                                                                                                                                                                                                                                                                                                                              ygE
                                                                                                                                                                                                                                                                                                                                                                                                                F2E
                                                                                                                                                                                                                                                                                                                                                                                                                  9ë
                                                                                                                                                                                                                                                                                                                                                                                                                   ài
                                                                                                                                                                                                                                                                                                                                                                                                                    Et. :ét  jr.               .q..
                                                                                                                                                                                                                                                                                                                                                                                                                                                  L.i...k
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;q
                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                  !1.
                                                    1l                                                                                                                                                                                                                                                                                                                                                                                                   t
                                                  l.)1t)!1!
                                                          ..s                                                                                                                                                                                                                                                                                             .
                                                -
                                                J
                                                -
                                                'i
                                                 -i î
                                                    .
                                                    .k
                                                     t)
                                                      .à
                                                       )
                                                       -
                                                       t
                                                       fl
                                                        q
                                                        ..
                                                         -
                                                         i
                                                         @!
                                                          E@
                                                           g
                                                           (
                                                           I
                                                           .I
                                                            4
                                                            )
                                                            !
                                                            i
                                                            -)
                                                             j
                                                             4
                                                             .
                                                             !
                                                             !
                                                             ,
                                                             r
                                                             i.j
                                                              :
                                                              j
                                                              .
                                                              !
                                                              ; E
                                                                !-
                                                                -
                                                                . j
                                                                  E
                                                                  !
                                                                  '
                                                                  ë                                                                                                 ..
                                                                                                                                                                     !                                                                                                                             .
                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                   ,y
                                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                    -.--                              .
                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      k!.-., .
                                                                                                                                                                                                                                                                                                                                       !,
                                                                                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                       ;     ..-
                                                                                                                                                                                                                                                                                                                                               i-
                                                                                                                                                                                                                                                                                                                                               .h
                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                (5
                                                                                                                                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                                                                                                                                 E
                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                 ,-
                                                                                                                                                                                                                                                                                                                                                  s
                                                                                                                                                                                                                                                                                                                                                  ë
                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                  js
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                                                                                                    j!
                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                                                                                     -'
                                                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                      kyt ykjgyyjrt;y,
                                                                                                                                                                                                                                                                                                                                                                     gj
                                                                                                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                                                                                                                                      ..-
                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                          .-..
                                                    -
                                                      :
                                                      .
                                                      :
                                                    '';
                                                      :
                                                      :i:
                                                        ;:f
                                                          :
                                                          .
                                                          E
                                                         Eë
                                                          :
                                                          : .
                                                            J:E
                                                              Jj:jjj
                                                                ..
                                                               'y  )I
                                                                    .'
                                                                    h..
                                                                     :'jLLL. '                                                                              ,                                                     ' ..                                               j,
                                                                                                                                                                                                                                                                    ':
                                                                                                                                                                                                                                                                     .Ik
                                                                                                                                                                                                                                                                       ;,
                                                                                                                                                                                                                                                                        .:.'
                                                                                                                                                                                                                                                                            ï (à   2jj        g;:
                                                                                                                                                                                                                                                                                                j.                                     ., ,                                                                  ..y      ..-
                                                                                                                                                                                                                                                                                                                                                                                                                        @k
                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                        ,--
                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                                                          y;;j
                                                                                                                                                                                                                                                                                                                                                                                                                          . ,-r
                                                                                                                                                                                                                                                                                                                                                                                                                              .ë
                                                                                                                                                                                                                                                                                                                                                                                                                               )
                                                                                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                                                                               (
                                                                                                                                                                                                                                                                                                                                                                                                                               kE
                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                               d
                                                               E
                                                               ëh
                                                                ;
                                                                k                                                                                                                                                                                                       :L L
                                                                                                                                                                                                                                                                           '    ' !  :
                                                                                                                                                                                                                                                                                     .;
                                                                                                                                                                                                                                                                                      )
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                      h      l
                                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                             é
                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                             .                                                                                                              lië  );
                                                                                                                                                                                                                                                                                                                                                                                                                  j(.
                                                                                                                                                                                                                                                                                                                                                                                                                    :E!
                                                          .g.                                                                                                                                                                                                            ...
                                                                         :.. ::'                                                                                                                                                                                      .:                     .                                                                                                           '':.
                                                        4
                                                        :            ik
                                                        )414jjj!:ïlt'jji
                                                                       ëlî                                                                                                                                         :                                                             . gj  .       .:
                                                                                                                                                                                                                                                                                                p.k                                                                                                                 ,'
                                                                         .t                                                                                                                                      . kti
                                                                                                                                                                                                                     :::-
                                                                                                                                                                                                                        '                                                         '
                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                  '!
                                                                                                                                                                                                                                                                                   '!    .
                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                         i.
                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                           E      qi.q
                                                                                                                                                                                                                                                                                                     '.r';'
                                                                          .                                                        <. :                                                                                                                                             .
                                                        -                                                                      ;E
                                                                                                                               .::..;.     kï/                                                                   . ;                                           :...
                                                                                                                                                                                                                                                                .pE .
                                                                                                                                                                                                                                                               .:                                  ..
                                                                                                                                      :i
                                                                                                                                       j:' ;
                                                                                                                                           ';
                                                                                                                                            J)
                                                                                                                                             t
                                                                                                                                             .@I
                                                                                                                                              j@r:
                                                                                                                                                 ...'.
                                                                                                                                                    .
                                                                                                                                                   .:
                                                                                                                                                  ..
                                                                                                                                                      'ië:
                                                                                                                                                     ii  tk
                                                                                                                                                         .                                                                                                                    j
                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                             ii
                                                                                                                                                                                                                                                                             .).
                                                                                                                                                                                                                                                                               :.
                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                1F
                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                 ï
                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                 L:
                                                                                                                                                                                                                                                                                  è
                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                  I):
                                                                                                                                                                                                                                                                                    E  . :
                                                                                                                                             .. .
                                                                                                                                             ,
                                                                                                                                                        .'                                                                                 j.kj:;.,.                          .
                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                               (ï
                                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                                ji
                                                                                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  ;(
                                                                                                                                                                                                                                                                                   gjj
                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                   ;j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                   tji:.:
                                                                                        ;
                                                                                        r5.
                                                                                          gL.
                                                                                            .jg.' .;i'                                                             ..
                                                                                                                                                                    E.                                                                                                                                                 .
                                                                                         .
                                                             !!l
                                                             l @7
                                                                l!
                                                                 iEE
                                                                   !il
                                                                     @1
                                                                      Ei
                                                                       Ejj
                                                                         EEë
                                                                           Ei
                                                                            :j:'jy@
                                                                                  .E  j
                                                                                      ilg jj     :gj jgjjj
                                                                                                     '    .ljj
                                                                                                            r
                                                                                                            :  -tj t
                                                                                                                   -E
                                                                                                                    -ë
                                                                                                                     t
                                                                                                                     -'ijr jjltE
                                                                                                                               :
                                                                                                                               jj -l   r :
                                                                                                                                         vi :ti
                                                                                                                                             j j q r
                                                                                                                                                   ,
                                                                                                                                                   EL  j
                                                                                                                                                       r
                                                                                                                                                       -t l j  t l i
                                                                                                                                                                   r
                                                                                                                                                                   :.
                                                                                                                                                                    'g;
                                                                                                                                                                      ' .
                                                                                                                                                                        :t
                                                                                                                                                                         (j r
                                                                                                                                                                            k  j
                                                                                                                                                                               y: j! (:  j !j
                                                                                                                                                                                            -l: '
                                                                                                                                                                                                !.
                                                                                                                                                                                                 ':
                                                                                                                                                                                                  ':.:
                                                                                                                                                                                                     iljr
                                                                                                                                                                                                       :  jj ô
                                                                                                                                                                                                             --j -'j 'j tlj-.t
                                                                                                                                                                                                                             j
                                                                                                                                                                                                                             -'.'j
                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                 .j
                                                                                                                                                                                                                                  --l
                                                                                                                                                                                                                                    jjt j gj.jjl
                                                                                                                                                                                                                                           l     j jjs
                                                                                                                                                                                                                                                     lEijkj
                                                                                                                                                                                                                                                          j E t
                                                                                                                                                                                                                                                              lE j  jjjjjl        j gjk li j (I
                                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                                              jl
                                                                                                                                                                                                                                                                                               .jijl   jljs
                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                                                          jljj
                                                                                                                                                                                                                                                                                                             l'j
                                                                                                                                                                                                                                                                                                               ilëEjk
                                                                                                                                                                                                                                                                                                                    rlj.
                                                                                   .        ,
                                                             -''
                                                             i 2'                 '-       .' 'gj.-              '                   -                             '-           -  .       '                                        .      '       .                                              .        ..
            '                                   '
                                                                ''.--r    i-!'-
                                                                              a       ,
                                                                                      -
                                                                                      s         E
                                                                                                s
                                                                                                . e     .        .j    '!
                                                                                                                       .r'!.l M.
                                                                                                                               r     - --
                                                                                                                                              !
                                                                                                                                              '
                                                                                                                                              ,: :
                                                                                                                                                -- -)
                                                                                                                                                    '  ...-
                                                                                                                                                        j
                                                                                                                                                        v '
                                                                                                                                                          -          e
                                                                                                                                                                     -
                                                                                                                                                                                  .
                                                                                                                                                                                  s         -
                                                                                                                                                                                              -.--F.
                                                                                                                                                                                                   !
                                                                                                                                                                                                   'i
                                                                                                                                                                                                    .
                                                                                                                                                                                                    ,!
                                                                                                                                                                                                     -,
                                                                                                                                                                                                      .'
                                                                                                                                                                                                       -!
                                                                                                                                                                                                        o  -,
                                                                                                                                                                                                            -r
                                                                                                                                                                                                             ;
                                                                                                                                                                                                             .        i ;
                                                                                                                                                                                                                        )!
                                                                                                                                                                                                                         -.-      -  -
                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                     ;.
                                                                                                                                                                                                                                      ë
                                                                                                                                                                                                                                      r - :
                                                                                                                                                                                                                                          !,.r.
                                                                                                                                                                                                                                              - r ;
                                                                                                                                                                                                                                                  d
                                                                                                                                                                                                                                                 --
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                      .- !.
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                          !  j
                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                             !r
                                                                                                                                                                                                                                                              l
                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              s
                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              !;
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                               T
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                               T!
                                                                                                                                                                                                                                                                e
                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                ;'
                                                                                                                                                                                                                                                                 r I
                                                                                                                                                                                                                                                                   .!,-
                                                                                                                                                                                                                                                                      '7l .                    ,y..--;a
                                                                                                                                                                                                                                                                                                .-    .      I
                                                                                                                                                                                                                                                                                                             u
                                                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                                                             '.
                                                                                                                                                                                                                                                                                                       . . ; -:
                                                                                                                                                                                                                                                                                                               -     l.
                                                                                 -r
                                                                                  ;  ;rr,
                                                                                        . .;  Ei
                                                                                                     r--y
                                                                                                         ;
                                                                                                         rt
                                                                                                          .
                                                                                                        .,I;'
                                                                                                            -
                                                                                                            .  r'
                                                                                                               ,
                                                                                                               y-
                                                                                                                -
                                                                                                                -',,     ;I  -
                                                                                                                             ,
                                                                                                                           ;!à);     j--
                                                                                                                                         .
                                                                                                                                         !
                                                                                                                                       r-,  r,,r       r,,       .;
                                                                                                                                                                    r
                                                                                                                                                                    I --!,.
                                                                                                                                                                         .;!   ,j
                                                                                                                                                                                .);!
                                                                                                                                                                                   !!   ;:
                                                                                                                                                                                        .
                                                                                                                                                                                        ,  !;
                                                                                                                                                                                             -
                                                                                                                                                                                             (
                                                                                                                                                                                             !- .
                                                                                                                                                                                                ;
                                                                                                                                                                                                y,-
                                                                                                                                                                                                  , ,   (;,
                                                                                                                                                                                                          -
                                                                                                                                                                                                          !      -
                                                                                                                                                                                                               ,--(
                                                                                                                                                                                                                     -, I
                                                                                                                                                                                                                        - ;j   y ;
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                  ,.
                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                    ;   ;
                                                                                                                                                                                                                                        , '
                                                                                                                                                                                                                                          -,r-,
                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                jà ,,
                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                    .-
                                                                                                                                                                                                                                                      ,;;
                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                          - r
                                                                                                                                                                                                                                                         )- ,      ;
                                                                                                                                                                                                                                                                   r)
                                                                                                                                                                                                                                                                    rI!                                   '
                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                          , !,g
                                                                                                                                                                                                                                                                                                           r,   ,,,!!
                                                                                                                                                                                                                                                                                                                   I;)I
                                                                                                                                                                                                                                                                                                                      ,.
                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                     y!;I                               r!I;r-,- rr,                              r,
                                                                                                                                                                                                                                                    .
                                                                              r!  tr
                                                                                   !
                                                                                   -!
                                                                                    r-,,
                                                                                    --
                                                                                           !,
                                                                                           ,  r;y
                                                                                            -,,
                                                                                            .   -,
                                                                                                 -!
                                                                                                 .,
                                                                                                  -,
                                                                                                  -  ;       ,-
                                                                                                              -y                          à,   ,
                                                                                                                                               .--,k.  -
                                                                                                                                                       y--, ., !
                                                                                                                                                               .;  ,,
                                                                                                                                                                   -
                                                                                                                                                                   .-,..,      .
                                                                                                                                                                               .,-      .,
                                                                                                                                                                                         -.-
                                                                                                                                                                                            ,
                                                                                                                                                                                            -;
                                                                                                                                                                                            - -- ).j               !,        ),,;   ),,          rr,;
                                                                                                                                                                                                                                                ,r
                                                                                                                                                                                                                                                r    rr -                                            !,!
                                                                                                                                                                                                                                                                                                       ,!,
                                                                                                                                                                                                                                                                                                         !,,r ,!
                                                                                                                                                                                                                                                                                                                   .

                                                              -'i
                                                             .i
                                                             '  -
                                                                ''
                                                                -!
                                                                 .'
                                                                 --- ,'
                                                                   E-'il
                                                                      F
                                                                      F
                                                                      -E'
                                                                       -
                                                                       -
                                                                        '
                                                                         -'
                                                                         .-
                                                                        -i
                                                                           i
                                                                           l
                                                                           !'
                                                                          ' '
                                                                           -
                                                                           - -
                                                                             '
                                                                            -;
                                                                              I
                                                                              t
                                                                              il
                                                                              - i
                                                                                -
                                                                                 :-
                                                                                  -'
                                                                                   Li
                                                                                   .@
                                                                                E---
                                                                                     ï
                                                                                     -
                                                                                     '
                                                                                    !ë
                                                                                    -
                                                                                      '
                                                                                      '
                                                                                        '
                                                                                        '
                                                                                          -
                                                                                          i.
                                                                                          .
                                                                                        !--
                                                                                      !--  -
                                                                                            1
                                                                                            -!
                                                                                           !!
                                                                                              -
                                                                                              -'-
                                                                                               .
                                                                                               'r1
                                                                                               @E
                                                                                                E,E.r
                                                                                                 .
                                                                                                 i  .'
                                                                                                    .ëqE  ë'
                                                                                                        j!!..!
                                                                                                            r
                                                                                                           ...1
                                                                                                             -.  --éii
                                                                                                               i-i
                                                                                                              ë@
                                                                                                               .     !ë!-i   -i
                                                                                                                         --yii i
                                                                                                                               !
                                                                                                                              ë.'
                                                                                                                               -E
                                                                                                                                E.!  #;
                                                                                                                                  k..:   - i
                                                                                                                                       !ëE)E-!! r;
                                                                                                                                               .-
                                                                                                                                              ë-
                                                                                                                                               . ë-E!.-,!
                                                                                                                                                        r--
                                                                                                                                                          i-E-.E-!:-ë;EE-!ë
                                                                                                                                                                    ii             .-i..1
                                                                                                                                                                          ,E'-.Eëë-E     :i
                                                                                                                                                                                         E  .
                                                                                                                                                                                            -    k
                                                                                                                                                                                                 j
                                                                                                                                                                                              ,-Fi
                                                                                                                                                                                            E--  .!
                                                                                                                                                                                                  -@
                                                                                                                                                                                                  E ëë
                                                                                                                                                                                                   E@
                                                                                                                                                                                                   ë   ,,
                                                                                                                                                                                                     iii.!
                                                                                                                                                                                                         EëEEr
                                                                                                                                                                                                          Eë .!
                                                                                                                                                                                                             @   .
                                                                                                                                                                                                                 ;.1
                                                                                                                                                                                                                   !.ë
                                                                                                                                                                                                                     1s-@!-.-..----.-.--.-..--E-..-..... .-.--.-.--...!-.-.!..-..-..--.--...!.-.--...... -......-.--!...
                                                                                                                                                                                                                     .
                                           :(1t1l!l;à..-. : . . .. :..!,              j
                                                                                      !
                                                                                      ji
                                                                                       - j,.  -;
                                                                                               ir
                                                                                                .
                                                                                                .
                                                                                                 j
                                                                                                 si
                                                                                                  .j.;
                                                                                                     :... t...   :j.
                                                                                                                   .
                                                                                                                    yy :
                                                                                                                       .yjy
                                                                                                                          ,t
                                                                                                                           ry
                                                                                                                            .
                                                                                                                            j
                                                                                                                            r y.,
                                                                                                                               ë -2 .-
                                                                                                                                    :,.
                                                                                                                                      ,.E.:
                                                                                                                                          <
                                                                                                                                          .
                                                                                                                                          -
                                                                                                                                          ...
                                                                                                                                            ,
                                                                                                                                            .,....
                                                                                                                                              -   (
                                                                                                                                                  z
                                                                                                                                                  .-,.
                                                                                                                                                     ,.,: .2.:.
                                                                                                                                                              :  .
                                                                                                                                                                 2.....
                                                                                                                                                                      ; ...,
                                                                                                                                                                           ;!
                                                                                                                                                                           . .t
                                                                                                                                                                              ë;
                                                                                                                                                                               .j ..y.
                                                                                                                                                                                     j:.
                                                                                                                                                                                       :
                                                                                                                                                                                       -y:
                                                                                                                                                                                         y:
                                                                                                                                                                                          ,(
                                                                                                                                                                                           t
                                                                                                                                                                                           ?
                                                                                                                                                                                           'y
                                                                                                                                                                                            ,
                                                                                                                                                                                            :j
                                                                                                                                                                                             rL
                                                                                                                                                                                             y t.
                                                                                                                                                                                                :
                                                                                                                                                                                                E.
                                                                                                                                                                                                 -,,
                                                                                                                                                                                                   q. ..,.q1    :g
                                                                                                                                                                                                                 ! ,1
                                                                                                                                                                                                                    .7
                                                                                                                                                                                                                     .r
                                                                                                                                                                                                                     -,ë:::.; ...r.
                                                                                                                                                                                                                                  ,.
                                                                                                                                                                                                                                   -::Ejy-,y
                                                                                                                                                                                                                                           j.
                                                                                                                                                                                                                                            ,y
                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                              -. . -!    è?:!:
                                                                                                                                                                                                                                                             7r
                                                                                                                                                                                                                                                             kèg
                                                                                                                                                                                                                                                               .;
                                                                                                                                                                                                                                                                .!,.y(.E.-,                                                                                                                   .     . ... ....
                                       -
                                       (
                                       1
                                       k
                                       ..1
                                            1
                                            (1
                                             ;.
                                             E;,
                                              : :p
                                               :;;'
                                                  t
                                                  :k
                                                   l
                                                   ;ë
                                                    2'
                                                     :
                                                     .y,
                                                       l.i
                                                       .
                                                       .  kE.!
                                                         ;:
                                                          E
                                                          .       (
                                                                  I
                                                             ù;i;.!
                                                                  ..
                                                                   '
                                                                   .i
                                                                    :
                                                                    .
                                                                    i
                                                                    .
                                                                    .
                                                                    .
                                                                    .q
                                                                     @
                                                                     '
                                                                     :I
                                                                      i
                                                                      k
                                                                      .
                                                                      k
                                                                      '
                                                                      k
                                                                      ';
                                                                       '
                                                                       i
                                                                       k
                                                                       ''
                                                                        i
                                                                        I
                                                                        '
                                                                        .
                                                                        .
                                                                        :
                                                                        '.1':t
                                                                         .L   )
                                                                              j
                                                                              .
                                                                             .'
                                                                             '.I
                                                                               !
                                                                              '.
                                                                              .'j
                                                                                i
                                                                                l
                                                                                .
                                                                                '
                                                                                .
                                                                                '
                                                                                ' i
                                                                                 '.
                                                                                 . I
                                                                                   :
                                                                                   I
                                                                                  .'
                                                                                   ...I
                                                                                    E y
                                                                                      .
                                                                                      :ë
                                                                                       ,
                                                                                       .l
                                                                                        .:
                                                                                         i....:
                                                                                                        .
                                                                                              j)......:. ,.. .cL.i,),:.,j,r...:yr...c . . E ..)...c,q.,.(
                                                                                                                   .                                    LE.
                                                                                                                                                        .. .  :.L.
                                                                                                                                                          ,.,rL
                                                                                                                                                           . ..  .         . ..
                                                                                                                                                                                                                 ,y
                                                                                                                                                                                                                  :.
                                                                                                                                                                                E.k,,,i:.,...,(ij... .....r...L.2. .j,E
                                                                                                                                                                                          ..                      .. .     r,
                                                                                                                                                                                                                        réy.:.;.q.r.   ,. . .,$. . 2:;.,.:y,Et
                                                                                                                                                                                                                                     ...                ... . .
                                                                                                                                                                                                                                                        .         kt:.J..) j
                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            .;
                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             .-
                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                               ï
                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                               .j
                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                .(
                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                              ..           .               . ... .                                   . . ..
                                                                                                                                                                                                                                                                                                                                                                          . .
                                                                                                                                                                                                                                                                                                                                                                                   .          ..
                                                                                                                                                                                                                                                                                                                                                                                            .. . ..
                                                                                                                                                                                                                                                                                                                                                                                            .         ....
                                                                                                                                                                                                                                                                                                                                                                                                             .                 . ..
                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,

                                                                                                                                                               eans Oj.y's
                                                                                                                                                                         1glaeSS                                                                                                                                                                                             .
                        216.     Plaintiffshave m aterially deceived thiscourtby claim ing in P    Iaragraph
                                                                                                   ('
                           165 ofthe second am ended com pl
                                        .                 '*'
                                                              aintthat dA s they
                                                                               ''
                                                                                -
                                                                                  reached the stat '
                                                                                                   I
                                                                                                    ue,
                           Defendants and co-conspirators stood shoulderto shouldèr and encircled the
                           studentsto trap them ''and in Paragraph 172 by stating REncircled by
                           Defendants and coconspirators,John Doe felttrapped and did notbelieve
                           thathe could escape safely.He knew thatasan Afaac
                                   .
                                                                    '
                                                                                  .
                                                                                    an-A m erlcan m( an,I
                                                                                              .         .fhe
                           had tried toescapebefovethe group dispersed,hew ould havebeen attacked.''

    '                   217..    As shown in Exhibitl-charee.
                                                           T' m '
                                                                o4.
                                                                L ' attached.
                                                                            ' Plaintifshad no less                                                                                  ..''                                                                                                                                   .
                    '                                                                       j      .                                                                                                                                                                                                                                                                                                                                       .
                           than 1 m inute and 40 seconds,as Defendants slowly and calm ly éu'
                                                                                            rrounded
                           thestatue,ashadbeentheirplansincebeforethePlaintiffsa
                           crim inalassociatesattem pted to disrupttheir event.This lef'
                                                                                        ndtqeirAntifa
                                                                                       tam ple
                           opportunitv for Plaintiffs to flee the scene ifthey feltthreatened by
                           Defendants,or otherwise saw fit.



                                                                                                                                                                                                                                                                                                                                                                        l                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                 '




                                                                                                                                          '
                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                       j
*
'

                                                                                                                                                                                                                                     .                                                                                    l
                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 38 ofr 53 Pageid#:
                     .                                                             I
                                                    8436
                                                                                                                                                                                                                                                                                                                          1                                                     '
                                                                                                                                                                                                                                                                                                                          1          '
                                                                                                                                                                                                                                                                                                                          I          .
                                                                                                                                                                                                                                                                                                                          I
                                           .
                                           . * fzilibhl-ciku e.rnp4-NtCmtlapla-v'er
                                             >                                                                                                                                                                      '                                                                                                     I                          -          Q         X
                                           Mtxfà Plœyb4ck Audlc Vido subtà!e Tels Wew Help                                                                                                                                                                                                                                1


                                     .                                                                                                                 Ej
                                                                                                                                                        iy
                                                                                                                                                        (
                                                                                                                                                        ë j:
                                                                                                                                                           :E
                                                                                                                                                           i
                                                                                                                                                           E ::
                                                                                                                                                             E  ::
                                                                                                                                                                E
                                                                                                                                                                i!.:
                                                                                                                                                                   ië..
                                                                                                                                                                      :;
                                                                                                                                                                      i::
                                                                                                                                                                        j!
                                                                                                                                                                        i
                                                                                                                                                                        EiF
                                                                                                                                                                          i.
                                                                                                                                                                          :
                                                                                                                                                                          ::.
                                                                                                                                                                            'E
                                                                                                                                                                            i::
                                                                                                                                                                             i'i
                                                                                                                                                                              q
                                                                                                                                                                              .q:
                                                                                                                                                                                q.
                                                                                                                                                                                : '.
                                                                                                                                                                                  q
                                                                                                                                                                                 :;
                                                                                                                                                                                  !'E
                                                                                                                                                                                   ;
                                                                                                                                                                                   E;.
                                                                                                                                                                                     ':
                                                                                                                                                                                      i'.
                                                                                                                                                                                      ;  q:
                                                                                                                                                                                          E(.
                                                                                                                                                                                            i.
                                                                                                                                                                                            '
                                                                                                                                                                                            :  .'
                                                                                                                                                                                              >:
                                                                                                                                                                                              ë ''
                                                                                                                                                                                                 .::!
                                                                                                                                                                                                    ::
                                                                                                                                                                                                    S
                                                                                                                                                                                                    .
                                                                                                                                                                                                    :5E;
                                                                                                                                                                                                     L   '
                                                                                                                                                                                                       EE.
                                                                                                                                                                                                       '  '
                                                                                                                                                                                                         .1
                                                                                                                                                                                                          :1
                                                                                                                                                                                                           .E
                                                                                                                                                                                                            :).E
                                                                                                                                                                                                             .:::
                                                                                                                                                                                                                Ei
                                                                                                                                                                                                                 ;:
                                                                                                                                                                                                                ::
                                                                                                                                                                                                                E: E
                                                                                                                                                                                                                   :L
                                                                                                                                                                                                                  E:
                                                                                                                                                                                                                   q:
                                                                                                                                                                                                                    i::
                                                                                                                                                                                                                      EE
                                                                                                                                                                                                                       :
                                                                                                                                                                                                                      '.
                                                                                                                                                                                                                      .::
                                                                                                                                                                                                                       ; ë
                                                                                                                                                                                                                        ::E
                                                                                                                                                                                                                          .E
                                                                                                                                                                                                                         ::
                                                                                                                                                                                                                          : E
                                                                                                                                                                                                                           ë:E
                                                                                                                                                                                                                            !:
                                                                                                                                                                                                                            :!:
                                                                                                                                                                                                                             : E
                                                                                                                                                                                                                               :E
                                                                                                                                                                                                                              :::qt
                                                                                                                                                                                                                                 !:q
                                                                                                                                                                                                                                  q:
                                                                                                                                                                                                                                  ; i
                                                                                                                                                                                                                                   !:
                                                                                                                                                                                                                                   j :i
                                                                                                                                                                                                                                    !:
                                                                                                                                                                                                                                    j )E:
                                                                                                                                                                                                                                      !:i'
                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                        E  ;
                                                                                                                                                                                                                                         ::.
                                                                                                                                                                                                                                           :;
                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                            ::
                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                            i '
                                                                                                                                                                                                                                             EES
                                                                                                                                                                                                                                               .'
                                                                                                                                                                                                                                              i.
                                                                                                                                                                                                                                              :2:
                                                                                                                                                                                                                                                !:'
                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                  :c:7
                                                                                                                                                                                                                                                  i  .l
                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                       ::C
                                                                                                                                                                                                                                                        ::i
                                                                                                                                                                                                                                                          :'
                                                                                                                                                                                                                                                         ::E:
                                                                                                                                                                                                                                                            TE
                                                                                                                                                                                                                                                             ëz
                                                                                                                                                                                                                                                            (.2i
                                                                                                                                                                                                                                                               E
                                                                                                                                                                                                                                                               :j
                                                                                                                                                                                                                                                                z
                                                                                                                                                                                                                                                                2i'
                                                                                                                                                                                                                                                                 ::  :6
                                                                                                                                                                                                                                                                  !à:E!
                                                                                                                                                                                                                                                                      :E'
                                                                                                                                                                                                                                                                       j:i
                                                                                                                                                                                                                                                                         !:
                                                                                                                                                                                                                                                                        E: 2
                                                                                                                                                                                                                                                                          'Eë
                                                                                                                                                                                                                                                                            :E)
                                                                                                                                                                                                                                                                           :E .
                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                              !:
                                                                                                                                                                                                                                                                               jE
                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                Ej
                                                                                                                                                                                                                                                                                 2ë
                                                                                                                                                                                                                                                                                  2i
                                                                                                                                                                                                                                                                                 ;E!E
                                                                                                                                                                                                                                                                                    !E
                                                                                                                                                                                                                                                                                     ;E
                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                      ;E
                                                                                                                                                                                                                                                                                       ëE
                                                                                                                                                                                                                                                                                        ;E
                                                                                                                                                                                                                                                                                         qE
                                                                                                                                                                                                                                                                                          jE
                                                                                                                                                                                                                                                                                           :'
                                                                                                                                                                                                                                                                                            E)
                                                                                                                                                                                                                                                                                             :5
                                                                                                                                                                                                                                                                                            :(i
                                                                                                                                                                                                                                                                                              :g!
                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                :E
                                                                                                                                                                                                                                                                                                 :'
                                                                                                                                                                                                                                                                                                  é
                                                                                                                                                                                                                                                                                                  !q
                                                                                                                                                                                                                                                                                                   é
                                                                                                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                    ::
                                                                                                                                                                                                                                                                                                     E!
                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                      '(:
                                                                                                                                                                                                                                                                                                        E:
                                                                                                                                                                                                                                                                                                         é
                                                                                                                                                                                                                                                                                                         jEE
                                                                                                                                                                                                                                                                                                          ;:E
                                                                                                                                                                                                                                                                                                            !E
                                                                                                                                                                                                                                                                                                           ::
                                                                                                                                                                                                                                                     ::     :  !j .      : .  :2 !  i !! :: ! ë   E i        :'
                                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                             .
                                                                                                                                                        E
                                                                                                                                                        'E E
                                                                                                                                                           EE!!
                                                                                                                                                             r  E
                                                                                                                                                                :E:ï. !'          ?:  jq
                                                                                                                                                                                       !:
                                                                                                                                                                                        EE
                                                                                                                                                                                         q::.' i' :
                                                                                                                                                                                         ,
                                                                                                                                                                                         '                .'
                                                                                                                                                                                                                   E
                                                                                                                                                                                                                   '           .    7:      :         .         '             ' :      '' '     E'      :'   '                                                                       '
            '                    '                                                                                                                     i
                                                                                                                                                       C
                                                                                                                                                       '
                                                                                                                                                       l
                                                                                                                                                       iii''E
                                                                                                                                                       .:  :
                                                                                                                                                        ë.E!
                                                                                                                                                        :
                                                                                                                                                       '.
                                                                                                                                                            l
                                                                                                                                                            ':
                                                                                                                                                             r
                                                                                                                                                           ë.:  :
                                                                                                                                                             .'.ë  :
                                                                                                                                                                :!.::. :
                                                                                                                                                                      !.:
                                                                                                                                                                       :.
                                                                                                                                                                       ! h
                                                                                                                                                                        ::.
                                                                                                                                                                          E.
                                                                                                                                                                          !!..
                                                                                                                                                                            E.
                                                                                                                                                                            7E:'..
                                                                                                                                                                               !  ':
                                                                                                                                                                                  :  .::
                                                                                                                                                                                   .:....:
                                                                                                                                                                                        :..::: :
                                                                                                                                                                                         '.::!!:!(
                                                                                                                                                                                                 .'::
                                                                                                                                                                                                    E
                                                                                                                                                                                                   :.:
                                                                                                                                                                                                     ë:E
                                                                                                                                                                                                       ; ':
                                                                                                                                                                                                          E:
                                                                                                                                                                                                           E:
                                                                                                                                                                                                            E
                                                                                                                                                                                                            j:
                                                                                                                                                                                                            .()
                                                                                                                                                                                                             :t
                                                                                                                                                                                                              :
                                                                                                                                                                                                              i
                                                                                                                                                                                                              5
                                                                                                                                                                                                              :..
                                                                                                                                                                                                           ;.':
                                                                                                                                                                                                              .
                                                                                                                                                                                                              :'E
                                                                                                                                                                                                                '
                                                                                                                                                                                                                J
                                                                                                                                                                                                                :
                                                                                                                                                                                                                FE
                                                                                                                                                                                                                 k
                                                                                                                                                                                                                 i
                                                                                                                                                                                                                 F'
                                                                                                                                                                                                                 E
                                                                                                                                                                                                                 :
                                                                                                                                                                                                                 '
                                                                                                                                                                                                                 !E'
                                                                                                                                                                                                                   3
                                                                                                                                                                                                                   :
                                                                                                                                                                                                                   i
                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                   E
                                                                                                                                                                                                                   '
                                                                                                                                                                                                                   ë'
                                                                                                                                                                                                                    i
                                                                                                                                                                                                                    t
                                                                                                                                                                                                                    C
                                                                                                                                                                                                                    E
                                                                                                                                                                                                                    i
                                                                                                                                                                                                                    ëE
                                                                                                                                                                                                                     :
                                                                                                                                                                                                                     !.
                                                                                                                                                                                                                     :'i
                                                                                                                                                                                                                      y
                                                                                                                                                                                                                      E.:E'
                                                                                                                                                                                                                       :
                                                                                                                                                                                                                       .:
                                                                                                                                                                                                    ::::!!E E. .: ; :;::'!
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                         qE.
                                                                                                                                                                                                                          E
                                                                                                                                                                                                                          ::
                                                                                                                                                                                                                           '
                                                                                                                                                                                                                           .':
                                                                                                                                                                                                                           :E
                                                                                                                                                                                                                            :''
                                                                                                                                                                                                                             E
                                                                                                                                                                                                                             E:
                                                                                                                                                                                                                              E
                                                                                                                                                                                                                              ':
                                                                                                                                                                                                                              :E'E
                                                                                                                                                                                                                               :
                                                                                                                                                                                                                               E:
                                                                                                                                                                                                                                q:
                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                 )
                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                 j::
                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                  :'
                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                   :::
                                                                                                                                                                                                                                     Fj
                                                                                                                                                                                                                                      :!g
                                                                                                                                                                                                                                        ::
                                                                                                                                                                                                                                         E::
                                                                                                                                                                                                                                           j:
                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                            !i:
                                                                                                                                                                                                                                              ;:!li:.
                                                                                                                                                                                                                                                    :(E
                                                                                                                                                                                                                                                      ::!
                                                                                                                                                                                                                                                        ::
                                                                                                                                                                                                                                                         E:
                                                                                                                                                                                                                                                          !!E
                                                                                                                                                                                                                                                            ::!
                                                                                                                                                                                                                                                              ':
                                                                                                                                                                                                                                                               !!
                                                                                                                                                                                                                                                                :  .:
                                                                                                                                                                                                                                                                    q:!ë:
                                                                                                                                                                                                                                                                        FE:::!!
                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                         ::!''::E!!! ! .. ...'::ë
                                                                                                                                                                                                                                                                                E);
                                                                                                                                                                                                                                                                                  ! !
                                                                                                                                                                                                                                                                                    :::
                                                                                                                                                                                                                                                                                      !p:  i!
                                                                                                                                                                                                                                                                                            jEE!
                                                                                                                                                                                                                                                                                               y:!
                                                                                                                                                                                                                                                                                                 .:
                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                  .jj
                                                                                                                                                                                                                                                                                                    !q:
                                                                                                                                                                                                                                                                                                      EEE::
                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           Fq
                                                                                                                                                                                                                                                                                                            :y
                                                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                                                              '


                                                            .                                                                                                                                                                                                                                                                                                . ,:
                                                                                                                                                                                                                                                                                                                                                                .:. ..
                                                                                                                                                                                                                                                                                                                                                                ,        ;)k
                                                        .
                                                        .                                                                                                                                             ,
                                                                                                                                                                                                                                                                            .e  .! .                                                                             :
                                                                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                                                                 tE
                                                                                                                                                                                                                                                                                                                                                                 (::
                                                                                                                                                                                                                                                                                                                                                                   .  w.Jpj
                                                                                                                                                                                                                                                                                                                                                                   .;..   r.
                                                                                                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                           'ë
                                                                                                                                    .. .                                                            ju                                                                        ;$
                                                                                                                                                                                                                                                                               ,!
                                                                                                                                                                                                                                                                                ')h
                                                                                                                                                                                                                                                                                  t,                                                           .                f'
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                 y:
                                                                                                                                                                                                                                                                                                                                                                  ::
                                 .
                                                                             :                                                                                                                     .(
                                                                                                                                                                                                   .                                                                        ..  1.
                                                                                                                                                                                                                                                                                .  r                                                                           2:.
                                                                                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                 j
                 .                                                           i          .. ...                                       .x.
                                                                                                                               .....E:
                                                                                                                                     g  :z
                                                                                                                                         .' $2                ky..
                                                                                                                                                     $.p$...':'                                                                                                               .
                                                                                                                                                                                                                                                                             .$                                                                                 :
                                                                                                                                                                                                                                                                                                                                                               '.F
                 .                                                     :i'
                                                                         ï'.
                                                                           i'$
                                                                             q@;.:EïE'E.!.25
                                                                                           2h:Er.                                     gE:
                                                                                                                                        E': :
                                                                                                                                            EE;
                                                                                                                                              :':.
                                                                                                                                                 :kl
                                                                                                                                                   rdCE): .' F:
                                                                                                                                                              E.''                      .'.                               '.'                        .:
                                                                                                                                                                                                                                                     '                ''''.'                                      .'
                                                ;.,rJ
                                                    ;.r:2:).;.
                                                             s:
                                                              ....E;.
                                                                    ;7
                                                                    :
                                                                    :..$
                                                                       r.
                                                                        t.
                                                                         ! rj    â..
                                                                                   jij
                                                                                     k.
                                                                                      lr
                                                                                       ' .. .     j?
                                                                                                   .                                       . .                                                                                                                                                        : ...F::
                                                                                                                                                                                                                                                                                                             . '...s
                                                                                                                                                                                                                                                                                                                   :j
                                                                                                                                                                                                                                                                                                                    .gj
                                                                                                                                                                                                                                                                                                                      ;::
                                                                                                                                                                                                                                                                                                                      : .''''
                                                                                                                                                                                                                                                                                                                            .).
                                                                                                                                                                                                                                                                                                                              d,
                                                                                                                                                                                                                                                                                                                               i..,..::''                .ï7
                                                                                                                                                                                                                                                                                                                                                           ,i
                                                                                                                                                                                                                                                                                                                                                            '.
                                                                                                                                                                                                                                                                                                                                                             :i
                                                                                                                                                                                                                                                                                                                                                              9t;
                                                                                                                                                                                                                                                                                                                                                                '!
                                                                                                                                                                                                                                                                                                                                                                .EE:):
                                                                                                                                                                                                                                                                                                                                                                     '

                                                 . '
                                          .
                                         g :
                                                   Eq
                                                   :  :i.
                                                      j
                                                      .:
                                                     ..
                                                      .                     .
                                                                                 ..'. .. . .. .:
                                                                                     .          . :: .:.          .3
                                                                                                                  7 jJ
                                                                                                                     :1! .:. . .
                                                                                                                      ëE                                  ' :.       F(
                                                                                                                                                                           .        :.
                                                                                                                                                                                     F.
                                                                                                                                                                                      !..
                                                                                                                                                                                      : k!.
                                                                                                                                                                                        i !(
                                                                                                                                                                                          ;.::
                                                                                                                                                                                             .2:7
                                                                                                                                                                                                J'
                                                                                                                                                                                                 !.
                                                                                                                                                                                                  F:i
                                                                                                                                                                                                    ErE                                                                                    ..:.
                                                                                                                                                                                                                                                                                         ..'  jt
                                                                                                                                                                                                                                                                                               ::ùjr;.
                                                                                                                                                                                                                                                                                                     (j
                                                                                                                                                                                                                                                                                                     : ..
                                                                                                                                                                                                                                                                                                      ;.444
                                                                                                                                                                                                                                                                                                          ::.
                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                             : :.             ..... ' .i
                                                                                                                                                                                                                                                                                                                                  :.'
                                                                                                                                                                                                                                                                                                                                  .    jLl
                                                                                                                                                                                                                                                                                                                                         qàE
                                                                                                                                                                                                                                                                                                                                           :   ..'
                                                                                                                                                                                                                                                                                                                                               :.: ..
                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                 :' ;
                                                                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                                                                    :6.
                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                       :.
                                                                                                                                                                                                                                                                                                                                                        ::.. .46.
                                                                                                                                                                                                                                                                                                                                                       E: ' '
                                                                                                                                                                                                                                                                                                                                                                ):
                                                                                                                                                                                                                                                                                                                                                                .3:
                                                                                                                                                                                                                                                                                                                                                                 :.. .
                                                                                                                                                                                                                                                                                                                                                                  :
                                           !:!''
                                             ::                                                                   '
                                                                                                                                                                                                                                                                                               '..
                                                                                                                                                                                                                                                                                                 ::q
                                                                                                                                                                                                                                                                                                   :                                   V'y     L    ''''                        ..
                                                ' k':f':
                                                )
                                                t
                                                .
                                                1
                                                ?         '
                                                          .. k'>
                                                           E    .                     E::g
                                                                  .....Ei::.E!f;:EE:ïi.
                                                                                      F
                                                                                      F
                                                                                         !q
                                                                                          :::EE E:
                                                                                       E:E:E
                                                                                       :
                                                                x...$9jk ::.9ï;:;/6:'f/i
                                                       ) J ''ixî)
                                                                                            C
                                                                                            FE:F
                                                                                           :E
                                                                                            E  E
                                                                                               .
                                                                                               J
                                                                                               !
                                                                                               E
                                                                                               !
                                                                                               i1
                                                                                                E E
                                                                                                 EE
                                                                                                 ii
                                                                                                  :.
                                                                                               'kt.
                                                                                                    z
                                                                                                    a.'
                                                                                                   :.                                      . :
                                                                                                                                          '.e
                                                                                                                                                        .          '
                                                                                                                                                                   .
                                                                                                                                                                                                                                                                    ''
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                     ':
                                                                                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                                                                                       '';
                                                                                                                                                                                                                                                                                                         .                          .k
                                                                                                                                                                                                                                                                                                                                   :.'
                                                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                        E;
                                                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                     .'':G
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                          .        .
                                                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                   '' .                          '
                                                                                                                                                                                                                                                                                                                                                                                'ï
                                            ..k
                                              ..:! ,      t.
                                                           ;.
                                                            @.
                                                             j.
                                                             kj:g
                                                                . .;. ....    T.
                                                                               ).
                                                                                :jrk
                                                                                   ..
                                                                                    g..:
                                                                                       ..
                                                                                        ):''': jt.:ë
                                                                                                 j 2!
                                                                                                    :!:
                                                                                                      t:.::!:
                                                                                                            ë:
                                                                                                             t.
                                                                                                              !:E:
                                                                                                              :  !:
                                                                                                                  2:
                                                                                                                   ;::
                                                                                                                     E                                         .                                                                              .q
                                                                                                                                                                                                                                               ,....
                                          .:.. . . :':'            ..''                                          li:!  i
                                                                                                                       :
                                                                                                                       !j
                                                                                                                        ..
                                                                                                                         !ë
                                                                                                                          :!Ei
                                                                                                                             '!
                                                                                                                              :
                                                                                                                              .
                                                                                                                              ;i:.
                                                                                                                                 7:'
                                                                                                                                   E
                                                                                                                                   '
                                                                                                                                   :.'
                                                                                                                                     !.:
                                                                                                                                       i
                                                                                                                                       E
                                                                                                                                       '
                                                                                                                                       '
                                                                                                                                       )''        ':
                                                                                                                                                   :i
                                                                                                                                                    E
                                                                                                                                                    ;
                                                                                                                                                    :(
                                                                                                                                                     r
                                                                                                                                                     .
                                                                                                                                                     j
                                                                                                                                                     ::h
                                                                                                                                                       ï
                                                                                                                                                       E
                                                                                                                                                       ii!
                                                                                                                                                         :
                                                                                                                                                         .?'
                                                                                                                                                         i
                                                                                                                                                         : ii''
                                                                                                                                                           k  :
                                                                                                                                                              i
                                                                                                                                                              ë
                                                                                                                                                              li''
                                                                                                                                                               : E!i:';
                                                                                                                                                                      ';
                                                                                                                                                                       .:....... '       ''.$
                                                                                                                                                                                            'gE?J
                                                                                                                                                                                                :::
                                                                                                                                                                                                  j                                              .'(k.
    '
                                                    '.
                                                      ...       : . .. ...:
                                                                                             1
                                                                                             '
                                                                                             -
                                                                                             -1
                                                                                              d                .
                                                                                                                 ç
                                                                                                                 ,
                                                                                                                 11
                                                                                                                       :'
                                                                                                                                .. . g    j!
                                                                                                                                           :
                                                                                                                                           gj?@
                                                                                                                                              :.
                                                                                                                                               (.
                                                                                                                                                !
                                                                                                                                                . $
                                                                                                                                                  ;
                                                                                                                                                  ;q
                                                                                                                                                   ë:
                                                                                                                                                    y
                                                                                                                                                    ë.
                                                                                                                                                     ï !
                                                                                                                                                       y
                                                                                                                                                       :
                                                                                                                                                       jq:
                                                                                                                                                         -
                                                                                                                                                         .
                                                                                                                                                         1
                                                                                                                                                         .    :
                                                                                                                                                              :   .f                          C
                                                                                                                                                                                              J...'
                                                                                                                                                                                              .;                                                                        ..
                                         jtjgJ:à
                                              .sj!
                                                 iE
                                                  j5j
                                                    ..
                                                    EL(
                                                     :
                                                        .
                                                                    .
                                                                      .
                                                                     .. :
                                                                  .....jE
                                                                       :
                                                                       . ..'
                                                                           ...E
                                                                              '.
                                                                               ' ....         $
                                                                                              1.                .r
                                                                                                                 I@
                                                                                                               ....
                                                                                                               k  (!
                                                                                                                   .j j
                                                                                                                    :jr!
                                                                                                                       g!
                                                                                                                        i:2
                                                                                                                          (j .
                                                                                                                           :q:
                                                                                                                           . é:
                                                                                                                              ;j
                                                                                                                                   .
                                                                                                                                .:;..:.t
                                                                                                                                       . .
                                                                                                                                         .;)
                                                                                                                                           h
                                                                                                                                           7;
                                                                                                                                            .
                                                                                                                                            4f
                                                                                                                                             :
                                                                                                                                             .:.(
                                                                                                                                                ;
                                                                                                                                                .
                                                                                                                                                1$
                                                                                                                                                 f
                                                                                                                                                 7:
                                                                                                                                                  ï
                                                                                                                                                  ;. . .
                                                                                                                                                       .
                                                                                                                                                       ,
                                                                                                                                                       :.
                                                                                                                                                         E
                                                                                                                                                         .
                                                                                                                                                         !:.
                                                                                                                                                         .- -
                                                                                                                                                            ::;                                                                                      ë..:
                                                                                                                                                                                                                                                    ..  (ë:
                                                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                                        ..Et.:.
                                                                                                                                                                                                                                                            .)
                                                                                                                                                                                                                                                            5    : :.
                                                                                                                                                                                                                                                              ;..!  ::..r
                                                                                                                                                                                                                                                                    ..:
                                                                                                                                                                                                                                                                .. . :  ..                                         .. .
                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                  :..
                                                                                                                                                                                                                                                                                                                  : :t
                                                                                                                                                                                                                                                                                                                     j.
                                                                                                                                                                                                                                                                                                                      )F
                                                                                                                                                                                                                                                                                                                       :                                                                 ,
                                                                                         j.yï
                                                                                            :i
                                                                                            a.               : ::           j1
                                                                                                                             ..
                                                                                                                             ,!...:
                                                                                                                              i              .,                                 ët
                                                                                                                                                                                E :..: . ..
                                                                                                                                                                                 .F                     r.
                                                                                                                                                                                                         ..:.
                                           .....::'
                                           :      .                        .:
                                                                            .(
                                                                             :i
                                                                              :E:
                                                                                .k   .;
                                                                                 ....:                   .'                          .Jk
                                                                                                                                     F R:
                                                                                                                                       Nj                                                                               ''.'                                              :':
                                                                                                                                                                                                                                                                            ...
                                                                                                                                                                                                                                                                              ;




                                         !'.y,
                                         .
                                             '.
                                              5J.s,y!
                                                    ëë.p,',
                                                        là a!
                                                          :'
                                                          .i
                                                           :>
                                                           'Stiq
                                                               .e4
                                                                 xi
                                                                  !:
                                                                   i.t.:..f$3'E.=e'*s-..*a.-..
                                                                   '                           !v
                                                                                               . ..
                                                                                            -'.E                                                                                                                                                                                                                     ' .                               4
                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                                                                       <.'-
                                                                                                                                                                                                                                                                                                                                                          A.
                                                                                                                                                                                                                                                                                                                                                          .h.
                                                                                                                                                                                                                                                                                                                                                            ij.
                                                                                                                                                                                                                                                                                                                                                            ' ,-.
                                                                                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                                              - ...
                                                                                                                                                                                                                                                                                                                                                                  ,-.
                                                                                                                                                                                                                                                                                                                                                                    qT1-
                             '                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                      I                 .
                         218*.
                                    sfor lainti oe's aranoi et noce'ntricconcerns) laintifI
                                                                                           f oe
                            see e t oroug y unconcerne it 1sca acity for 1g t,as efe'n ants
                            slowly an cal ly circle t e onu ent,leaving a ple roo foreg'ressforno
                             .
                                                            '
                         .
                            less t an one inute an forty secon s,as prev
                                                                       .iously s o n in x d1 itl-
                         '
                                 arge                 P .                                                            .                                                                                                                                                                                                '
                                                                                                                                               .                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                      I

                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                      I


        '
                                                                                                                                                                                                                                                                                                                     I                                                                       .
                                                                                                                                                              '                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                     I                                              .
                                                                                                                                     .                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                     I                                                                       .




                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                       '                                                                                                                             ;




                                                                                                                                                                                                                                                                                                                     1                  '
                                                                                                                                                                                                                                                                                                                     1




                                                                                                                                                                                                                                                                                                                     1
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 39 of 53 Pageid#:
                                    8437
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 40 of 53 Pageid#:
                                    8438




         220.     Plaintiffscontradictthem selvesin Paragraph 173 ofthe second
            am endedcomplaint,furtherdisplayingtheirduplicity,by immediai:
                                                                          ely
            followingthesehystericalclaimsofbeingtrapped too afraidtoescape,when
            theythen say(tFearingfortheirlives,PlaihiiffsJohn Doe,Romero,)andthe
            otherprotestersstruggled to escapethe m ob.''Both cannotbe true,;and in
            fact,neither is.

         221.     Itiqalsoworth notinghere,thatnonçoftheAfrican-Am ericrn
            Plaintiffs or co-conspiratorsfiled any crim inalcom plaintsagainstDefendant
            Cantwelloranyoneelse,noristhereany claim ofdocum ented injur
                                                                       !y, justthe
            dubiousdaim of(
                          tlgotpeppersprayedtoo'whichseemedtobegoi)
                                                                  i
                                                                   garound
            a 1otthatnight,and curiously,m ore and m ore by the day in the wçeks and
     '      m onthsthatfollowed.
                                                                                      i
         222. . Plaintiffspainta cartoonish pictureofbloodthirsty W hite l
            Suprem acistswho launched a prem editated assaulton peoplethe#Iwere
                                                   .    .

            trying to avoid.aftercallinz the police and m portersasthouah lett
                         .
                             -        ---'   '*'        ''''           --'''
                                                                              i
                                                                               ing caught
                                                                               --''

            were also partofthe Wconspiracy'',only to decline taking creditfor4he '
                                                                          l
            supposed attack once ithappened.The idea thatthese supposed rqc ially
            motivated marauderssaw '
                                   fi.tnottoleave any bruiseson anyofthJblack
            males,dçfiesreason,tosaytheleastofit.                                     )
                                                                                      I
                                                                                      i
                                                                                      I
     '



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 41 ofl53 Pageid#:
                                                                                    1
                                    8439



                                                                                    I,
                                           W ho A ttacked W ho?
         223.       Necessarily,this entirecaserests on a single question.W ho àtarted the
                                                                                  û
           violence?Ifitw asnotDefendants,then the whole conspiracy theory falls
            apar
             '-'
                 t. D efendantscannotbe sued forunlawfull-v cons-pi
                                                                  -' rine to lawfu111y
             .
            defend them sèlves againstviolentcrim inals who attack the  '''m withqut
                                                                                  (
         '
           provocation.                                                           i
                                                                                  k
         224                                                                      1
                 .
                      .
                          Given thefactsoutlined above,thatDefendantscalled 1aw ;
                                                                                1
                 enforcem entin advance,tried theirbestto kee'p
                                                              -' theirplansa secretfrom
                 th                             .
                                                                                  1
                     eiroppoyition,invited thePress,ahdin thecaseofCyntwell,wnrra body
                 cam era,tltis questibn oughtto answeritself.                       r
                                                                                    1
         225.     Clearly,the factthatwe find ourselvesatthisj
                           .                                  -'unc
                                                              '    fure ispr
                                                                     '    ''-' àofo
                                                                                '
                                                                                   fan
                                                                                (
            extraordinary presum ptive burden upon the Defendants,owing to m edia
                 deception,politicalpressure,Plaintiffs'brazen dishonejty,and destructive
                                                                                  l
         '
                 culturalinsuencesofconspicuous ethzzicorigin.Defendants are thus
                 fortunate to have videoproofofthis,too.Itis a substantialom issioh bv
                 Plai                                                       .
                                                                                  I -,,
                     ntiffstojump rightfrom thefalseclaim of(trushing''and Rcharging to
                 tdpunching and kicz ng''Withoutmentioning th,eprovocationsofPlbi
                                                                                f
                                                                                  ntiffs
                 criminalassociates from Philadelphia.                              1

         226.      Thom asM assey,whoD efendantCantwellwould like torem ind
            everyone again,was subsequentlv  -' c
                                             '   harzed with robbery and ethnlc
                                                        -'''
            infim idation in Philadelphia for doing to two US M arinesin thatqr
                                                    .
                                                                               ity,what
                                         ,
                 heattemptedto dotoDefendantsatIJVA,clearly cameintentondghting,
                 andcarriez
                          dtln-oughonthatintent,bythrowingthesrstpunches.J
                                                                                    1
                     ak Thiscan be seen in the finalsecondsofExhibitl-charge.m p4
                                                                                i
                                                                                    !
                     b. Itcan also be seen in Exhibitz-Attack.m p4
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 42 of 53 Pageid#:
                                    8440




     '



     228.       Itis onlv
                        -'' atthispoi
                                  ''-' ntthatt'hem uch talked aboutphot
                                                                   ''-' olr
                                                                         ''''' aph,
                                                                                ''
                                                                                 -'   which
        has        .
                                                                                    k
            ,perhapsmorethan any otherthing,ensnared DefendantCazitrellin the
         lawfareofthelasttwoplusyears,istaien.Plaintiffssuredolovethatphoto.
         Letus give it a closer look.                                            '
        Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page
                 '
                      .                                            :
                                                                      43 of 53 Pageid#:
                                            8441
                                                        .   '
                                                                                                            I
                                                                                                            I
                                                                                                                            .



                 229.           Defendant Cantwell's defense investigation in Albep arle County,    '
                                                                                                            l
                     commonlyreferredtothiscriminalasdbeanym an''forsakeofhispec
                                                                              'uliar
                     hat.                                                           '
                                                '
                            .


                 230.           In Exhibit4-cantwellDefends.mp4,Beqnym an and Tom M asjey can
                     both be seen attacking the m an in thewhitetank top.                                   '

                 231.           In thism uch talked aboutphoto,wecan seetheinjury Bean#man and
                     M assey iniicted above thelefteyeofM r. Tank Top.                                  .
                                                                                                            !
                                                                                                            j
         .                                                                                                  1
                 232.           Notwantingany morejuch injuriestoensue,peppersprayiri
                                                                                    1gTank
                     Top'sassailants,seem ed quite prudent,tö the now terrified Defendant
                     Cantwell       .
                                                                        '                       .
                                                                                                            j       .
'
                                                                .
                                                                                     J
                                                                                     :  .


                 233.     This gang assaulttakesplace rightin frontofDefendantCafltwell,
                                                    .                           '    I
                    who wasalready in fear ofthislife,after m em bqrs ofM asseyjsentourage, ,

             .
                    including M ike LongoJr.,w ho m aced Cantwellw ithoutprovocatioppthe next
                     day)in coordination with Gorcenski,attempted to assaulthim and l
                                            .                                       7
                                                                                     kam ehim
                     forbrandishing atW alm artearlierthat afternoon.So ag aid forhis.safety
    '                wasCantwell'thathe refused to participate in this eventwithoutpo
                                        .                                           y lice
                     protection,andyetnopoliceprotectionwasforthcoming.                                     (
                 234. Only afterall.ofthat,didDefendantCantwell',fearingforl1ilI safety,
                    andtbrtheoutcomeofa largerSghtwith iorches,deploy hispeppe'rspray in
                     thehopesofstopping thisconflictbefo/eitgotoutofcontrol.                                    '

                 235.           Cantwelldeployed hispepper spray atan individualwho is potparty
                     totllissuit,andwhohadjustcomm itteda gângaysault,wllich inflicteda                             '
                     clearand sekiousinjury abovethelefteyeofthem an in thetanktqp.
                                                                                  '
    ,                                                               .
                                                                                                            j                   '
                 236.     In Exhibit4-càntwellDefends.mp4,Beazèym an can be seen c6cking his
                    fistback,axid looking directly at Cantwell,before Cantwelldeploys'his
                     POPPOr Spray.

                                .
                                        '                                                                   j           '
                                                            .               .
                                                                                                            j




                                                                                                            (           .
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 44 of 53 Pageid#:
                                    8442
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 45 of 53 Pageid#:
                                    8443
'



                Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 46 of 53 Pageid#:
                                                    8444



                                                                                                                         .                                                                                                                                                                  'a

                             *                     er ean                                         a                      1Se a e ) a t e Sees                                                                                                            RSSO                                   IC a O er
                              artici ant 1 t e ea a                                                                                     1t                      1s e er s ra                                                                           e lete                                                                  c' es
                                                                                                                                                                                                                                                                                                                                   ' asse                                                                                             .
                                             p     2                                                                                                                                                                                                                                                                                                                                                                              .
                             severa tl es.
    '
                                      z$fp'
                                          /- opzuelpee mpa-vttrov..p'v,                                                      .                                                                                                              '               '                                                                                                                                  - a
                                                                                                                                                                                                                                                                                                                                                                                                 ' x
                                      ,.
                                       %Sa Y œk J.n+ lfzoy &œ*sa Ie .%- M/p




                                                                                                                                                                                                  /:
                                                                                                                                                                                                   .......:.;:
                                                                                                                                                                                                             ..
                                                                                                                                                                                                             cï.
                                                                                                                                                                                                               .....k
                                                                                                                                                                                                                    8..
                                                                                                                                                                                                                      :.:
                                                                                                                                                                                                                        .:.
                                                                                                                                                                                                                          :.
                                                                                                                                                                                                                           :.
                                                                                                                                                                                                                            :..
                                                                                                                                                                                                                              k:.. ''
                                                                                                                                                                                                                                 '...
                                                                                                                                                                                                                                    :..::
                                                                                                                                                                                                                                        .'''.
                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                             ;:.
                                                                                                                                                                                                                                               :.
                                                                                                                                                                                                                                                '...:
                                                                                                                                                                                                                                                    .:.::
                                                                                                                                                                                                                                                        .::.
                                                                                                                                                                                                                                                           :2..:
                                                                                                                                                                                                                                                               ....kr
                                                                                                                                                                                                                                                                    ,y;
                                                                                                                                                                                                                                                                      :.;
                                                                                                                                                                                                                                                                        :1!.''..;
                                                                                                                                                                                                                                                                                :.
                                                                                                                                                                                                                                                                                 k.....'
                                                                                                                                                                                                                                                                                      .J4
                                                                                                                                                                                                                                                                                        .hj''.'
                                                                                                                                                                                                                                                                                              ..'
                                                                                                                                                                                                                                                                                                .'
                                                                                                                                                                                                      ..        .
                                                                                                                                                                                         :::
                                                                                                                                                                                         ..
                                                                                                                                                                                          ..
                                                                                                                                                                                            .g
                                                                                                                                                                                            : !l
                                                                                                                                                                                               j$
                                                                                                                                                                                                ''
                                                                                                                                                                                                 .
                                                                                                                                                                                                 :
                                                                                                                                                                                                 ,
                                                                                                                                                                                                 !;
                                                                                                                                                                                                  :t
                                                                                                                                                                                                   ,
                                                                                                                                                                                                   .
                                                                                                                                                                                                   :,y
                                                                                                                                                                                                     j:
                                                                                                                                                                                                      j
                                                                                                                                                                                                      '!
                                                                                                                                                                                                       :
                                                                                                                                                                                                       .:
                                                                                                                                                                                                        .;.
                                                                                                                                                                                                          'x
                                                                                                                                                                                                           '
                                                                                                                                                                                                           .:
                                                                                                                                                                                                            (   'j: j.
                                                                                                                                                                                                                     Ijyt
                                                                                                                                                                                                                        .1;
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                          'g:   s
                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                :   jpr)lj1 )
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            y'. j
                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                ,gy
                                                                                                                                                                                                                                                  ;jIi
                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                     .(:)
                                                                                                                                                                                                                                                        .y
                                                                                                                                                                                                                                                         1(
                                                                                                                                                                                                                                                          .,)4;
                                                                                                                                                                                                                                                              'ly.
                                                                                                                                                                                                                                                                 !:
                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                  2.1
                                                                                                                                                                                                                                                                    '(.
                                                                                                                                                                                                                                                                      'g:..
                                                                                                                                                                                                                                                                        .  j
                                                                                                                                                                                                                                                                           kl
                                                                                                                                                                                                                                                                            j.)j'!
                                                                                                                                                                                                                                                                                 (r,.
                                                                                                                                                                                                                                                                                    :2: (
                                                                                                                                                                                                                                                                                        24jl
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           'r
                                                                                                                                                                                                                                                                                            ltj
                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                              :j
                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                '.
                                                                                                                                                                                                                                                                                                 :                                                                                                                                            .




                     .                                                                                                                                                                                                                                                                                                                                                                                  1 *: :
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    !          :...                 . .         :

                                                                                                                                                                                                                                                                                                                                                                                 *
                                                                                                                                                                                                                                                                                                                                                                                 ,         ,     l                                            '
                                                                                                                                                                                                                                                                                                                                                                                          :               . ,,                $

                                      4k
                                       ?.
                                        r,4,j
                                            plj.                                                                                 ):h
                                                                                                                                   :)
                                                                                                                                    :)J
                                                                                                                                      k..l
                                                                                                                                         :2
                                                                                                                                          :4:
                                                                                                                                            ..
                                                                                                                                             333
                                                                                                                                               6:rr
                                                                                                                                                  tis:
                                                                                                                                                     .:
                                                                                                                                                     '.:'
                                                                                                                                                      ' :'
                                                                                                                                                        J1s!
                                                                                                                                                         . ':
                                                                                                                                                            h.'
                                                                                                                                                              ..'
                                                                                                                                                                ...
                                                                                                                                                                  I2
                                                                                                                                                                   .?:
                                                                                                                                                                     Lt.
                                                                                                                                                                       '...
                                                                                                                                                                          k..
                                                                                                                                                                            :.
                                                                                                                                                                             '..
                                                                                                                                                                               ''..
                                                                                                                                                                                  6'..
                                                                                                                                                                                     kRkkk)
                                                                                                                                                                                          :)
                                                                                                                                                                                           $h
                                                                                                                                                                                            ......1s
                                                                                                                                                                                                   :...1
                                                                                                                                                                                                       :1:
                                                                                                                                                                                                         ):
                                                                                                                                                                                                          ..)
                                                                                                                                                                                                            :)
                                                                                                                                                                                                             :.1:
                                                                                                                                                                                                                ):)
                                                                                                                                                                                                                  :..):
                                                                                                                                                                                                                      ....)f
                                                                                                                                                                                                                           t..)
                                                                                                                                                                                                                              :.
                                                                                                                                                                                                                               :):.
                                                                                                                                                                                                                                  ?f1
                                                                                                                                                                                                                                    .1);..............:
                                                                                                                                                                                                                                                      f.::
                                                                                                                                                                                                                                                         ..!
                                                                                                                                                                                                                                                           ç:
                                                                                                                                                                                                                                                            .:.
                                                                                                                                                                                                                                                              :rh
                                                                                                                                                                                                                                                                .:
                                                                                                                                                                                                                                                                 '?r
                                                                                                                                                                                                                                                                   t::s)
                                                                                                                                                                                                                                                                       E.Er
                                                                                                                                                                                                                                                                          )CtE
                                                                                                                                                                                                                                                                             :)r
                                                                                                                                                                                                                                                                               t:t)
                                                                                                                                                                                                                                                                                  rt:
                                                                                                                                                                                                                                                                                    6t:
                                                                                                                                                                                                                                                                                      .:.
                                                                                                                                                                                                                                                                                        rr
                                                                                                                                                                                                                                                                                         ;t):
                                                                                                                                                                                                                                                                                            lrtl
                                                                                                                                                                                                                                                                                               r1:
                                                                                                                                                                                                                                                                                                 1:
                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                   1:1
                                                                                                                                                                                                                                                                                                     ::
                                                                                                                                                                                                                                                                                                      J):
                                                                                                                                                                                                                                                                                                      . ,:6/
                                                                                                                                                                                                                                                                                                           :1
                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                             I:
                                                                                                                                                                                                                                                                                                              !::
                                                                                                                                                                                                                                                                                                                fr
                                                                                                                                                                                                                                                                                                                 .?:
                                                                                                                                                                                                                                                                                                                   lrt.:
                                                                                                                                                                                                                                                                                                                       .::
                                                                                                                                                                                                                                                                                                                         kk:
                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                            .tr
                                                                                                                                                                                                                                                                                                                              t.
                                                                                                                                                                                                                                                                                                                               :J:
                                                                                                                                                                                                                                                                                                                                 ty
                                                                                                                                                                                                                                                                                                                                  ..f
                                                                                                                                                                                                                                                                                                                                  ' t)
                                                                                                                                                                                                                                                                                                                                     ...
                                                                                                                                                                                                                                                                                                                                       h.
                                                                                                                                                                                                                                                                                                                                       ::..éll
                                                                                                                                                                                                                                                                                                                                             tlf
                                                                                                                                                                                                                                                                                                                                               qr'
                                                                                                                                                                                                                                                                                                                                                 r.
                                                                                                                                                                                                                                                                                                                                                 dt?$
                                                                                                                                                                                                                                                                                                                                                    .::1
                                                                                                                                                                                                                                                                                                                                                       5t:)51
                                                                                                                                                                                                                                                                                                                                                            :2....
                                                                                                                                                                                                                                                                                                                                                                 ;:?2
                                                                                                                                                                                                                                                                                                                                                                    ?ïf
                                                                                                                                                                                                                                                                                                                                                                      3'
                                                                                                                                                                                                                                                                                                                                                                       ;?
                                                                                                                                                                                                                                                                                                                                                                        2):L:
                                                                                                                                                                                                                                                                                                                                                                            ?:
                                                                                                                                                                                                                                                                                                                                                                             L:L
                                                                                                                                                                                                                                                                                                                                                                               .;
                                                                                                                                                                                                                                                                                                                                                                                :1..
                                                                                                                                                                                                                                                                                                                                                                                   ::,.
                                                                                                                                                                                                                                                                                                                                                                                      !:::)
                                                                                                                                                                                                                                                                                                                                                                                          ::k:::jz/;
                                                                                                                                                                                                                                                                                                                                                                                                   i.i
                                                                                                                                                                                                                                                                                                                                                                                                     .4i
                                                                                                                                                                                                                                                                                                                                                                                                       't.
                                                                                                                                                                                                                                                                                                                                                                                                       k
                                 1
                                 j4
                                  1
                                  . .
                                    :1:.
                                       '
                                       !s
                                       . .
                                         1
                                         j
                                         .
                                         :.
                                          ,
                                          6
                                          .L.
                                           <1.
                                             !:
                                              i
                                              ,
                                              '
                                              4
                                              :
                                              j.:
                                                4.!
                                                . 4
                                                  y
                                                  .'
                                                   ;
                                                   .
                                                   '>
                                                    (
                                                    jj
                                                    .1.
                                                     .:k
                                                       .
                                                       :
                                                       .?
                                                       -6
                                                        .7
                                                         :.
                                                         .x
                                                          :
                                                          /.
                                                           s
                                                           .a
                                                            3y. ...:
                                                            .      ....... ,.                                                                            ......
                                                                                                                                                              d.
                                                                                                                                                               :. ....'. .. .1.
                                                                                                                                                                              :
                                                                                                                                                                              .
                                                                                                                                                                              2... .                                                                                           ..
                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                ...
                                                                                                                                                                                                                                                                                  :.k
                                                                                                                                                                                                                                                                                    ........ .:
                                                                                                                                                                                                                                                                                              ............. .$
                                                                                                                                                                                                                                                                                                             .)
                                                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                              s
                                                                                                                                                                                                                                                                                                              :u
                                                                                                                                                                                                                                                                                                               kk+
                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                 e
                                                                                                                                                                                                                                                                                                                 a
                                                                                                                                                                                                                                                                                                                 .p.
                                                                                                                                                                                                                                                                                                                  4,
                                                                                                                                                                                                                                                                                                                   3
                                                                                                                                                                                                                                                                                                                   e
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   '*'
                                                                                                                                                                                                                                                                                                                     (
                                                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     ..
                                      4*$f.%kA3.C@#w .' an-
                                                          vd-*4CcxxGx/.*1-                                                                                                                                                                                                                        '                                                                                             -              tl yt.
            '    '       .            jp'lz oyka o*vu= :.ku.           Tczk %*ww'Hep

                                                                 : ' ';
                                                                 :.::
                                                                 '
                                                                 .: . tjk
                                                                        :tlj !dl:j
                                                                           y;:   L,3t:
                                                                                     3bL
                                                                                       'qL)
                                                                                          61          .. .:.:.;                                                                                                                                                                      .''.
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       :'
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                        . !' ':''.?...)1:.'.'.':
                                                                                                                                                                                                                                                                                             '                 ''.':
                                                                                                                                                                                                                                                                                                                   ':
                                                                                                                                                                                                                                                                                                                   .':
                                                                                                                                                                                                                                                                                                                    .'.k:k
                                                                                                                                                                                                                                                                                                                         'h
                                                                                                                                                                                                                                                                                                                         :  'r
                                                                                                                                                                                                                                                                                                                             S)
                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                             'i.::
                                                                                                                                                                                                                                                                                                                                 .'
                                                                                                                                                                                                                                                                                                                                  c'
                                                                                                                                                                                                                                                                                                                                  ..'
                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                    ..:
                                                                                                                                                                                                                                                                                                                                     '':
                                                                                                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                                                                                                        .:
                                                                                                                                                                                                                                                                                                                                        .''
                                                                                                                                                                                                                                                                                                                                         1 '.'..':.:'
                                                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                           . 1i
                                                                                                                                                                                                                                                                                                                                              ..'.  :.:.:''''''':''
                                                                                                                                                                                                                                                                                                                                                 :..'
                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                     7:.
                                                                                                                                                                                                                                                                                                                                                       !.'
                                                                                                                                                                                                                                                                                                                                                         !j
                                                                                                                                                                                                                                                                                                                                                          ;.
                                                                                                                                                                                                                                                                                                                                                           ,.
                                                                                                                                                                                                                                                                                                                                                           :;.;
                                                                                                                                                                                                                                                                                                                                                            : .'
                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                '. :'.'..'.'
                                                                                                                                                                                                                                                                                                                                                                 '.'
                                                                                                                                                                                                                                                                                                                                                                   !.
                                                                                                                                                                                                                                                                                                                                                                    j'
                                                                                                                                                                                                                                                                                                                                                                     j.
                                                                                                                                                                                                                                                                                                                                                                      j:
                                                                                                                                                                                                                                                                                                                                                                      ''4J
                                                                                                                                                                                                                                                                                                                                                                         :':.
                                                                                                                                                                                                                                                                                                                                                                            ''
                                                                                                                                                                                                                                                                                                                                                                          .'::'.
                                                                                                                                                                                                                                                                                                                                                                            ;. '.:
                                                                                                                                                                                                                                                                                                                                                                             '::
                                                                                                                                                                                                                                                                                                                                                                               ,.
                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                               ' ..
                                                                                                                                                                                                                                                                                                                                                                                ('
                                                                                                                                                                                                                                                                                                                                                                                : '.
                                                                                                                                                                                                                                                                                                                                                                                 y.
                                                                                                                                                                                                                                                                                                                                                                                 . '''.:
                                                                                                                                                                                                                                                                                                                                                                                  ij
                                                                                                                                                                                                                                                                                                                                                                                   !::: ..
                                                                                                                                                                                                                                                                                                                                                                                         ':
                                                                                                                                                                                                                                                                                                                                                                                      ;:.;
                                                                                                                                                                                                                                                                                                                                                                                         ..'.
                                                                                                                                                                                                                                                                                                                                                                                            '..
                                                                                                                                                                                                                                                                                                                                                                                              '..
                                                                                                                                                                                                                                                                                                                                                                                                ':.
                                                                                                                                                                                                                                                                                                                                                                                                  '.:
                                                                                                                                                                                                                                                                                                                                                                                                    ...:.
                                                                                                                                                                                                                                                                                                                                                                                                        '.:
                                                                                                                                                                                                                                                                                                                                                                                                          ;                                       .
                                                                 ''
                                                                  .:
                                                                    ' $    ...
                                                                             ,.
                                                                             ..,.1....;
                                                                                      h.
                                                                                      ! d.,.
                                                                                       t.
                                                                                        y  '.:
                                                                                             f:
                                                                                              ..
                                                                                              t':
                                                                                                ':
                                                                                                ;''...s
                                                                                                      k:
                                                                                                       ..'...
                                                                                                            /:
                                                                                                             '...:.
                                                                                                                  .5                                                                                                                                                                 .;
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                      ...
                                                                                                                                                                                                                                                                                      . ë.:'...:..'.. .
                                                                                                                                                                                                                                                                                        .
                                                                                                       .k1
                                                                                                         ,'        .5
                                                                                                                    .
                                                                 '
                                                                 .'
                                                                  ..'                                                                                                                                                                                                                 '
                                                                      ,:  ..
                                                                          :
                                                                          4                                                                                                                                                                                                           .:      s
                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                               .!
                                                                                                                                                                                                                                                                                                .2
                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                 .'
                                                                                                                                                                                                                                                                                                  q
                                                                                                                                                                                                                                                                                                  :j
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                   ..:
                                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                     .2
                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                      .'
                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                       :j
                                                                                                                                                                                                                                                                                                        :..
                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                          .)
                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                            à
                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                             .i
                                                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                                                              2
                                                                                                                                                                                                                                                                                                              .j
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                               .j
                                                                                                                                                                                                                                                                                                                .!
                                                                                                                                                                                                                                                                                                                 .'
                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   .,
                                                                                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                                    .!
                                                                                                                                                                                                                                                                                                                     91
                                                                                                                                                                                                                                                                                                                      :k
                                                                                                                                                                                                                                                                                                                       .j
                                                                                                                                                                                                                                                                                                                        ..2
                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                           ..l
                                                                                                                                                                                                                                                                                                                             .j
                                                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                              j:
                                                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                               .(
                                                                                                                                                                                                                                                                                                                                b
                                                                                                                                                                                                                                                                                                                                .j
                                                                                                                                                                                                                                                                                                                                 .r
                                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                   ...
                                                                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                     .j
                                                                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                        .E
                                                                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                          'j
                                                                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                                           4
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           .I
                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                             .1
                                                                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                               !
                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                               .r
                                                                                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                                                 .ë
                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                   .;
                                                                                                                                                                                                                                                                                                                                                    .:
                                                                                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                      .1
                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                                                        .r
                                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                         .!
                                                                                                                                                                                                                                                                                                                                                          .1
                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                            .t
                                                                                                                                                                                                                                                                                                                                                             .k
                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                              .l
                                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                               L.
                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                L'
                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                  h
                                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                                                   1:
                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                                                                                     k
                                                                 .
                                                                 :
                                                                 .:
                                                                 .  .
                                                                    ..
                                                                    . .
                                                                     ...:
                                                                       ...
                                                                         .
                                                                         .,
                                                                         , .
                                                                           .
                                                                           . ::        :r       .      .     .
                                                                                                             .
                                                                                                             ..    .
                                                                                                                   ::.                                                                                                                                                                .
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                     ::
                                                                                                                                                                                                                                                                                     .  :
                                                                                                                                                                                                                                                                                     ..........
                                                                                                                                                                                                                                                                                     r         : :    : .      ::   :.         j       :  . '           :   :  ..   :
                                                                                                                                                                                                                                                                                                                                                                   ':
                                                                                                                                                                                                                                                                                                                                                                   ) ..
                                                                                                                                                                                                                                                                                                                                                                      '  ks :
                                                                                                                                                                                                                                                                                                                                                                            1'' h.
                                                                                                                                                                                                                                                                                                                                                                                 ;'  '
                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                      i...
                                                                                                                                                                                                                                                                                                                                                                                         :::
                                                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                                                            ...
                                                                                                                                                                                                                                                                                                                                                                                              :.
                                                                                                                                                                                                                                                                                                                                                                                               2 '
                                                                                                                                                                                                                                                                                                                                                                                                 ::.::
                                                                                                                                                                                                                                                                                                                                                                                                     '''
                                                                                                                                                                                                                                                                                                                                                                                                       .;
                                                                                                                                                                                                                                                                                                                                                                                                        .E.'
                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                      .)
                                                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                        ':
                                                                                                                                                                                                                                                                                        .:;
                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                                                                        ..:
                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           .;
                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                           .'.x
                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                               )
                                                                                                                                                                                                                                                                                               F.
                                                                                                                                                                                                                                                                                               1/
                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                4
                                                                                                                                                                                                                                                                                                .j
                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                 là
                                                                                                                                                                                                                                                                                                  z
                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                  â
                                                                                                                                                                                                                                                                                                 .:
                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                                                                                                   :.
                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                    .:
                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                     ::
                                                                                                                                                                                                                                                                                                      ..:
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                        k
                                                                                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                                                                                        .r
                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                         .;k
                                                                                                                                                                                                                                                                                                     .j:.*  ..
                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                             k
                                                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                              .:
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               9
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               :k
                                                                                                                                                                                                                                                                                                                .J
                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                 k
                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                 ...
                                                                                                                                                                                                                                                                                                                 s
                                                                                                                                                                                                                                                                                                               ..'
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                  *:
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                  :.
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                    .:
                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                    .r
                                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                                    . )
                                                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                       7
                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                       ...
                                                                                                                                                                                                                                                                                                                       u
                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                          :..
                                                                                                                                                                                                                                                                                                                         :. '
                                                                                                                                                                                                                                                                                                                         k..':
                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                               ...
                                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                               .:z
                                                                                                                                                                                                                                                                                                                              .:
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                   :::
                                                                                                                                                                                                                                                                                                                                     ...
                                                                                                                                                                                                                                                                                                                                       :.
                                                                                                                                                                                                                                                                                                                                 . ':....
                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                         ::
                                                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                          '':
                                                                                                                                                                                                                                                                                                                                             j:
                                                                                                                                                                                                                                                                                                                                              .'
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                               .'
                                                                                                                                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                                                                                                                                ..2
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                      ' :
                                                                                                                                                                                                                                                                                                                                                    ..2
                                                                                                                                                                                                                                                                                                                                                         :s
                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                          ..'
                                                                                                                                                                                                                                                                                                                                                           ...
                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                         ., ,'
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                             ;:
                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                              .'
                                                                                                                                                                                                                                                                                                                                                                '..
                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                ':
                                                                                                                                                                                                                                                                                                                                                               .'
                                                                                                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                ..:
                                                                                                                                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                                                    . .:
                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                            :.:
                                                                                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                                                                                             ..@
                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                              :.$
                                                                                                                                                                                                                                                                                                                                                                               :.:
                                                                                                                                                                                                                                                                                                                                                                                 .@
                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                 ..:
                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                                                     '.:
                                                                                                                                                                                                                                                                                                                                                                                     .!
                                                                                                                                                                                                                                                                                                                                                                                   ..::
                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                        h
                                                                                                                                                                                                                                                                                                                                                                                       .:;.
                                                                                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                                                                                         :'.
                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                           .'
                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                           .:':
                                                                                                                                                                                                                                                                                                                                                                                            ..!.'
                                                                                                                                                                                                                                                                                                                                                                                              .'
                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                               :.'
                                                                                                                                                                                                                                                                                                                                                                                                .:..
                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                 ,'
                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                  ..'
                                                                                                                                                                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                    . .'
                                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                     :  .
                                                                                                                                                                                                                                                                                                                                                                                                       ::
                                                                                                                                                                                                                                                                                                                                                                                                       ..:
                                                                                                                                                                                                                                                                                                                                                                                                        . '
                                                                                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                                                                          ..

                                                                                                                                                                                                                                      :. ..
                                                                                                                                                                                                                                          jq..
                                                                                                                                                                                                                                             '
                                 .
                                                          .                                                                               .                                                                                             ::
                                                                                                                                                                                                                                         '.
                                                                                                                                                                                                                                         0.:
                                                                                                                                                                                                                                           J(
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                           kJ')k:4:
                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                  .'.                                                                                                                                                          ..#
                                                                                                                                                                                                                                                                                                                                                                                                                 ''.;.,gg.'               '
                                                                                                                                                                                                                                             .:
                                                                                                                                                                                                                                              t?:4J.
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                   ,:.'.j.
                                                                                                                                                                                                                                                         t'(..
                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                ke %!        lk..'




                                                       '::   '
        .                                              . .'
                                                         .
                                                         .
                                                       ::.
                                                          :
                                                          .::
                                                            .
                                                             '
                                                              1;
                                                               4.
                                                                2
                                                                '
                                                                !
                                                                :
                                                                7
                                                                .
                                                                1)
                                                                 1:
                                                                 711
                                                                   !:
                                                                    '
                                                                    .
                                                                    1!
                                                                     ;
                                                                     1
                                                                     4
                                                                     91
                                                                      '.t
                                                                      : g
                                                                        ;
                                                                        g
                                                                        k
                                                                        )p
                                                                         .
                                                                         I
                                                                         !
                                                                         1
                                                                         2i
                                                                          11
                                                                           r
                                                                           j
                                                                           '
                                                                           .p
                                                                            1
                                                                            i
                                                                            '
                                                                            (
                                                                            ;'
                                                                            .
                                                                            :                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                       .j
                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                         :.
                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                          :.
                                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                                                                                            .:
                                                                                                                                                                                                                                                                                                                                             .:
                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                              :;
                                                                                                                                                                                                                                                                                                                                               ::
                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                                . ,
                                                                                                                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                                                                                                                  :,
                                                                                                                                                                                                                                                                                                                                                   L
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                              t:.:5 :. 1                        ..                                                :
                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                  x::j
                                                                                                                                                                                                                                                                                                                                                                         r.
                                                                                                                                                                                                                                                                                                                                                                          p:. '4 . j
'



                              Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 47 of 53 Pageid#:
                                                                  8445                          I                                       .




                                       '
                                                   t

                                       .                                                                                                                                                                        '                                                      .                                        ,                                                 ,
                                                                                        âix?azz-cmtd-sr- r.rapî.su-4.;-                                                                                                                                                                                                                                          ' '                  - u x
                      .                                                                                                                                                                                                                                                                                                                                        ;..
                                                                                                                                                                                                                                                                                                                                                                 ?'

                                                                                                                                                                                                                                                           j)
                                                                                                                                                                                                                                                            jj:EE
                                                                                                                                                                                                                                                                i::'
                                                                                                                                                                                                                                                                   :lq
                                                                                                                                                                                                                                                                     ji
                                                                                                                                                                                                                                                                      jE1@
                                                                                                                                                                                                                                                                         ji
                                                                                                                                                                                                                                                                          ;E@
                                                                                                                                                                                                                                                                            E@@
                                                                                                                                                                                                                                                                              !:'
                                                                                                                                                                                                                                                                                EE:
                                                                                                                                                                                                                                                                                  Fi
                                                                                                                                                                                                                                                                                   j5Ei
                                                                                                                                                                                                                                                                                      :@E
                                                                                                                                                                                                                                                                                        )ë
                                                                                                                                                                                                                                                                                         ::'''
                                                                                                                                                                                                                                                                                             :'s:i
                                                                                                                                                                                                                                                                                                 (j;                                                ..
                                                                                                                                                                                                                                                                                                                                                    ;                                 ::.'
                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                           ë
                                                                                                                                                                                                                                                           @
                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                           fl
                                                                                                                                                                                                                                                            (
                                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                            :2
                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                             f
                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                             2
                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                             ;.
                                                                                                                                                                                                                                                             :2
                                                                                                                                                                                                                                                              1l
                                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                               .k
                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                .1
                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                 /5
                                                                                                                                                                                                                                                                  g
                                                                                                                                                                                                                                                                  .r
                                                                                                                                                                                                                                                                  pi
                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                   :s
                                                                                                                                                                                                                                                                    b
                                                                                                                                                                                                                                                                    lj
                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                     2
                                                                                                                                                                                                                                                                     'ë
                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                      i                                                                             '
                                                                                                                                                                                                                                                                                                                                                    .                                 .
                                                                                                                                                                                                                                                                                                                                                                                      i '
                                                                   .                                                                                                                                           ïï                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                           ' '

    .                                  .
                                                                                                                                                                                                                                                                      spjrj
                                                                                                                                                                                                                                                                          .j
                                                                                                                                                                                                                                                                           :j.
                                                   . .
                                                                                                                                                                                                                                                                  . .      ...     '%.                                                                                                                                       .'
                                                                                                                                                                                                                                                                  . '''2
                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                       .              ''
                                                                                                                                                                                                                                                                  .   :J
                                                                                                                                                                                                                                                                       kp'
                                                                                                                                                                                                                                                                       i                                                                                                                                             .
j                                                                                                                                                                                                                                                             : ..                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                           .' .     i




                                                                                                                                     :jj'
                                                                                                                                     (  !'
                                                                                                                                         .':*
                                                                                                                                            :7
                                                                                                                                             :..:;
                                                                                                                                                 j2
                                                                                                                                                  (:;i
                                                                                                                                                     (i!!
                                                                                                                                                        @:
                                                                                                                                                         i;g
                                                                                                                                                           ':
                                                                                                                                                            .E'
                                                                                                                                                              :à
                                                                                                                                                               ('E
                                                                                                                                                                 jj
                                                                                                                                                                  ëEi
                                                                                                                                                                    li@
                                                                                                                                                                      i@                                                                                                                                                                                                                                         .
I                                                                              '                                                     (
                                                                                                                                     .
                                                                                                                                     i
                                                                                                                                     '
                                                                                                                                     E
                                                                                                                                     1 Mass
                                                                                                                                     8.:
                                                                                                                                       ;.
                                                                                                                                        ;..
                                                                                                                                     :: ..
                                                                                                                                     .    :b
                                                                                                                                           ..:q
                                                                                                                                              ..
                                                                                                                                               :!.
                                                                                                                                                 jiy
                                                                                                                                                   :q::e
                                                                                                                                                    :q   ::y
                                                                                                                                                       j:r
                                                                                                                                                       :   :,
                                                                                                                                                            ,2jié
                                                                                                                                                             .: '
                                                                                                                                                                @y
                                                                                                                                                                :Ei
                                                                                                                                                                 !::
                                                                                                                                                                  !
         .    .               ..                                                                                                                                                                                                                 jëé
                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                   ët:
                                                                                                                                                                                                                                                   ( :
                                                                                                                                                                                                                                                     .
                                                           .
                                                                                                                                                                                                                                              E.E
                                                                                                                                                                                                                                              è  ji
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                ;d;:
                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                  :.ë.
                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                   y ;
                                                                                                                                                                                                                                                     .(
                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      .


                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                            )'
                                                                                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                             ;, 1 * t!
                                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                                             j. :(
                          .                .                                                                                                                                                                                                                                                                                                                                      *         u.      .        j

         ..                        .                                                6k.  4*%hh4'%s*4*%h'
                                                                                                       h'''''''''
                                                                                                                :''''''''''''''*xwx'w'*'' '. ..                  (d
                                                                                                                                                                  .8
                                                                                                                                                                   )8
                                                                                                                                                                    .l
                                                                                                                                                                     .(
                                                                                                                                                                      .d8
                                                                                                                                                                        .h1l488
                                                                                                                                                                              u'
                                                                                                                                                                               (ç8'u'
                                                                                                                                                                                    (hh
                                                                                                                                                                                      .t'
                                                                                                                                                                                        sdh1td'
                                                                                                                                                                                              E::trj
                                                                                                                                                                                                   k:::1
                                                                                                                                                                                                       :!::
                                                                                                                                                                                                          4st
                                                                                                                                                                                                            :::6;1
                                                                                                                                                                                                                 rsg
                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                    1;:
                                                                                                                                                                                                                      $rë
                                                                                                                                                                                                                        >)ë#j;$$rg;
                                                                                                                                                                                                                                  !!
                                                                                                                                                                                                                                   ('
                                                                                                                                                                                                                                    $r:
                                                                                                                                                                                                                                      .r:
                                                                                                                                                                                                                                        t:
                                                                                                                                                                                                                                         t:
                                                                                                                                                                                                                                          k:'
                                                                                                                                                                                                                                            t!::t
                                                                                                                                                                                                                                                :!:
                                                                                                                                                                                                                                                  t:;
                                                                                                                                                                                                                                                    ::
                                                                                                                                                                                                                                                     ë:!:
                                                                                                                                                                                                                                                        !:!
                                                                                                                                                                                                                                                          :!
                                                                                                                                                                                                                                                           r:!:
                                                                                                                                                                                                                                                              !:!
                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                .:
                                                                                                                                                                                                                                                                 r:
                                                                                                                                                                                                                                                                  j!q
                                                                                                                                                                                                                                                                    :!:
                                                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                                                       ::y:ji:
                                                                                                                                                                                                                                                                             q?
                                                                                                                                                                                                                                                                              @:!
                                                                                                                                                                                                                                                                                :i
                                                                                                                                                                                                                                                                                 h
                                                                                                                                                                                                                                                                                 i:
                                                                                                                                                                                                                                                                                  ëq
                                                                                                                                                                                                                                                                                   $2j
                                                                                                                                                                                                                                                                                     :i
                                                                                                                                                                                                                                                                                      ?;
                                                                                                                                                                                                                                                                                       jöq
                                                                                                                                                                                                                                                                                         ?;z:;:
                                                                                                                                                                                                                                                                                              :;at;
                                                                                                                                                                                                                                                                                                  :j7
                                                                                                                                                                                                                                                                                                    ;7
                                                                                                                                                                                                                                                                                                     a:
                                                                                                                                                                                                                                                                                                      ytk:%m:S$k2
                                                                                                                                                                                                                                                                                                                t)
                                                                                                                                                                                                                                                                                                                 .;!
                                                                                                                                                                                                                                                                                                                   ëm:)
                                                                                                                                                                                                                                                                                                                      i:
                                                                                                                                                                                                                                                                                                                       j!h!
                                                                                                                                                                                                                                                                                                                          :!1h!!
                                                                                                                                                                                                                                                                                                                               .Et
                                                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                                 lr
                                                                                                                                                                                                                                                                                                                                  :!j
                                                                                                                                                                                                                                                                                                                                    q:!
                                                                                                                                                                                                                                                                                                                                      :!
                                                                                                                                                                                                                                                                                                                                       I:
                                                                                                                                                                                                                                                                                                                                        ;!:
                                                                                                                                                                                                                                                                                                                                          !y!
                                                                                                                                                                                                                                                                                                                                            :2
                                                                                                                                                                                                                                                                                                                                             J:!::!
                                                                                                                                                                                                                                                                                                                                                  I!
                                                                                                                                                                                                                                                                                                                                                   :!
                                                                                                                                                                                                                                                                                                                                                    I!;
                                                                                                                                                                                                                                                                                                                                                      !'
                                                                                                                                                                                                                                                                                                                                                       ç;!
                                                                                                                                                                                                                                                                                                                                                       ! )!)
                                                                                                                                                                                                                                                                                                                                                           !;
                                                                                                                                                                                                                                                                                                                                                            !;!
                                                                                                                                                                                                                                                                                                                                                              :7
                                                                                                                                                                                                                                                                                                                                                               J:
                                                                                                                                                                                                                                                                                                                                                                !:y j)kj::
                                                                                                                                                                                                                                                                                                                                                                         .jt
                                                                                                                                                                                                                                                                                                                                                                           .j .
                                                                           (:::. 4
                                                                                 .5.  :L
                                                                                  h'
                                                                                   .8.I
                                                                                      : ;i
                                                                                         =..
                                                                                           ï
                                                                                           ak.y
                                                                                              ij
                                                                                               k!-vi
                                                                                                 i it!
                                                                                                     ;
                                                                                                     ï!u-
                                                                                                        sv
                                                                                                         k.
                                                                                                          -iv
                                                                                                            ùé
                                                                                                             f
                                                                                                             u2
                                                                                                              .:.
                                                                                                                '
                                                                                                                 .
                                                                                                                 j
                                                                                                                 t'
                                                                                                                 . y
                                                                                                                   k
                                                                                                                   .jà
                                                                                                                     '
                                                                                                                     Lk
                                                                                                                      '
                                                                                                                      ty.
                                                                                                                       '
                                                                                                                       .L:
                                                                                                                         I'
                                                                                                                          .i.hi
                                                                                                                             r ''t!
                                                                                                                                  '
                                                                                                                                  .)j
                                                                                                                                    .
                                                                                                                                    1I
                                                                                                                                     .
                                                                                                                                     ,
                                                                                                                                     i@
                                                                                                                                      21
                                                                                                                                       ,
                                                                                                                                       'r
                                                                                                                                       :1
                                                                                                                                        .
                                                                                                                                        1'J
                                                                                                                                         /
                                                                                                                                         ki
                                                                                                                                          L
                                                                                                                                          j
                                                                                                                                          i
                                                                                                                                          ,)    .:
                                                                                                                                           : Eu:ë
                                                                                                                                                .:.
                                                                                                                                                  :'...'
                                                                                                                                                  -u
                                                                                                                                                              . .:
                                                                                                                                                       .. ' z.. -:
                                                                                                                                                              ....'
                                                                                                                                                                   .
                                                                                                                                                                   :
                                                                                                                                                                      :
                                                                                                                                                                    Eu.  :'
                                                                                                                                                                          .i :... . ... ..                       .7.'.ë'.'-i.
                                                                                                                                                                                                                            n',(:'
                                                                                                                                                                                                                                 .:'    ..'. '                        .'q    :'r.'.: i'''
                                                                                                                                                                                                                                                                                      t  .'.-. -;' )          '('
                                                                                                                                                                                                                                                                                                                '.-''.. 7.
                                                                                                                                                                                                                                                                                                                        . .'
                                                                                                                                                                                                                                                                                                                               1 .
                                                                                                                                                                                                                                                                                                                                 7
                                                                                                                                                                                                                                                                                                                                 ..u'. .-.  '.a     t.L. tr.
                                                                                                                                                                                                                                                                                                                                                           -st
                                                                                                                                                                                                                                                                                                                                                             rè-:
                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                i.
                                                                                                                                                                                                                                                                                                                                                                 -f
                                                                                                                                                                                                                                                                                                                                                                 .z
                                                                                                                                                                                                                                                                                                                                                                  -.
                                                                                                                                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                                                                   >'
                                                                                                                                                                                                                                                                                                                                                                    ;.-
                                                                                                                                                                                                                                                                                                                                                                      uq', .)
                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                          .

              .
                          .
                                                   239.            en Gorcenskifalsely claim ed to havebeen affected by Cant  l
                                                                                                                                well's
                                                                                                                                    '.                                         -
                                                                                                                                                                                                                                                                                                        .
    .                                                 spray,itw as alleled thatCantwellwas spraying hispepper spray ih the alr
                                                      t o attack  the crowd.Aside    from the obviousfactthatthisw o d be re  'tarded,                                                       '
                                                      .         .                 .                )        '              . I                                                                      ..                                                                                                                                                                                                           '                        .
                                                      zn that  l t wo   d equally lm pac t Cantwells fel
                                                                                                       low dem ons
                                                                                                                 '
                                                                                                                   trators,It c
                                                                                                                              .an be
'
                                                      seen l .
                                                              n thevl .
                                                                       deo.that Cantw elltakes hl.
                                                                                                  sthum b oîfthe.
                                                                                                                  button, when1 h1.s arm
                                                      isbum ped upwardsby othersrushing in to stop the assault.
                                                                                        ZfxhkloçzltwyozfendN -gtfmHaplyer                                                                                                                                                                 ,                 .                                                                             - D X
                                                       '                                Me* .Fim k >                      hy- SA'Y: %&% %e& !!o                                             .                                                                                                                                                                           .                                                             .
                                       '       .                                                                                            E
                                                                                                                                            :                                  ''      i
                                                                                                                                                                                       !            1:




                      .                                                .                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                       il
                                                                                                                                                                                                                                                                                                       -q
                                                                                                                                                                                                                                                                                                        !j
                                                                                                                                                                                                                                                                                                        -L
                                                                                                                                                                                                                                                                                                         ë
                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                         :':
                                                                                                                                                                                                                                                                                                         2
                                                                                                                                                                                                                                                                                                         w
                                                                                                                                                                                                                                                                                                         . iii
                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                             s
                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                             .E
                                                                                                                                                                                                                                                                                                              iii
                                                                                                                                                                                                                                                                                                              , ii
                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                .:s
                                                                                                                                                                                                                                                                                                                  iië
                                                                                                                                                                                                                                                                                                                  . i
                                                                                                                                                                                                                                                                                                                    ii
                                                                                                                                                                                                                                                                                                                    -l
                                                                                                                                                                                                                                                                                                                     i@
                                                                                                                                                                                                                                                                                                                     -i
                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                      ,ti
                                                                                                                                                                                                                                                                                                                       E:
                                                                                                                                                                                                                                                                                                                        F
                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                        -qE
                                                                                                                                                                                                                                                                                                                          l
                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                          ik
                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                          -;
                                                                                                                                                                                                                                                                                                                           #
                                                                                                                                                                                                                                                                                                                           /E
                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                           .t
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                            .:4
                                                                                                                                                                                                                                                                                                                              Eit
                                                                                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                (@
                                                                                                                                                                                                                                                                                                                                -!
                                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                 -..
                                                                                                                                                                                                                                                                                                                                                                                                                         .                '
                                                               .                                                                                                                                                                                                                                       :!E
                                                                                                                                                                                                                                                                                                         (1k
                                                                                                                                                                                                                                                                                                           ':
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           E''
                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                            jli
                                                                                                                                                                                                                                                                                                            F FE:
                                                                                                                                                                                                                                                                                                                'k
                                                                                                                                                                                                                                                                                                                E'r
                                                                                                                                                                                                                                                                                                                  'j
                                                                                                                                                                                                                                                                                                                  p
                                                                                                                                                                                                                                                                                                                  :'4
                                                                                                                                                                                                                                                                                                                    'F
                                                                                                                                                                                                                                                                                                                    ë':
                                                                                                                                                                                                                                                                                                                      ':
                                                                                                                                                                                                                                                                                                                      f'ë
                                                                                                                                                                                                                                                                                                                       ;''
                                                                                                                                                                                                                                                                                                                        ::;
                                                                                                                                                                                                                                                                                                                          '.'
                                                                                                                                                                                                                                                                                                                            ..)
                                                                                                                                                                                                                                                                                                                              ;:
                                                                                                                                                                                                                                                                                                                               E)
                                                                                                                                                                                                                                                                                                                                :ë
                                                                                                                                                                                                                                                                                                                                 '(
                                                                                                                                                                                                                                                                                                                                  ':
                                                                                                                                                                                                                                                                                                                                  .':
                                                                                                                                                                                                                                                                                                                                    '.
                                                                                                                                                                                                                                                                                                                                    .::
                                                                                                                                                                                                                                                                                                                                      ':
                                                                                                                                                                                                                                                                                                                                      .':
                                                                                                                                                                                                                                                                                                                                        'i
                                                                                                                                                                                                                                                                                                                                         ':
                                                                                                                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                                                                                                                          7'.
                                                                                                                                                                                                                                                                                                                                           :'.
                                                                                                                                                                                                                                                                                                                                             '.
                                                                                                                                                                                                                                                                                                                                             :':
                                                                                                                                                                                                                                                                                                                                               ':
                                                                                                                                                                                                                                                                                                                                               E'.
                                                                                                                                                                                                                                                                                                                                                 '..
                                                                                                                                                                                                                                                                                                                                                   'r
                                                                                                                                                                                                                                                                                                                                                    'E
                                                                                                                                                                                                                                                                                                                                                     ''i
                                                                                                                                                                                                                                                                                                                                                       ::.'.                                                         .

    /'                .                '                                                                                                                                                                                                                                                                                                                                                            'C'
                                                                                                                                                                                                                                                                                                                                                                                                      :i
                                                                                                                                                                                                                                                                                                                                                                                                       :;)
                                                                                                                                                                                      >                                                                                 J.rtrg'                                                                                                                     . .$'
                                                                                                                                                                                                                                                                  ,c.r.
                                                                                                                                                                                                                                                                      (+y
                                                                                                                                                                                                                                                                       yr!
                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                          :                                                                                                                                                       '
                                                                   '                                                                                                                                                                                                                                                                                                   L
                                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                          .tà
                                                                                                                                                                                                                                                                                            J.                                                                    iE                                     .t
                                                                                                                                                                                                                                                                                                                                                                                                          y,                                  ,




                  .
                                                                                                                                                                                                                                                                                                                                                                             ,j
                                                                                                                                                                                                                                                                                                                                                                              a , j .:
                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                      ë
                                                                                                                                                                                                                                                                                                                                                                                      t
         '                                                                                                                                                                                                                                                                   ljl'
                                                                                                                                                                                                                                                                                gf
                                                                                                                                                                                                                                                                                 ;'
                                                                                                                                                                                                                                                                                  5;'
                                                                                                                                                                                                                                                                                    :''
                                                                                                                                                                                                                                                                                      :'
                                                                                                                                                                                                                                                                                       !i
                                                                                                                                                                                                                                                                                        j,I
                                                                                                                                                                                                                                                                                          'IE
                                                                                                                                                                                                                                                                                            If
                                                                                                                                                                                                                                                                                             IEE:
                                                                                                                                                                                                                                                                                                1'5
                                                                                                                                                                                                                                                                                                  ''
                                                                                                                                                                                                                                                                                                   1Ei
                                                                                                                                                                                                                                                                                                     1iilE
                                                                                                                                                                                                                                                                                                         iE
                                                                                                                                                                                                                                                                                                          1tl
                                                                                                                                                                                                                                                                                                            1EE
                                                                                                                                                                                                                                                                                                              ii:;i;
                                                                                                                                                                                                                                                                                                                   7:
                                                                                                                                                                                                                                                                                                                    iiij
                                                                                                                                                                                                                                                                                                                       il                                                     E
                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                              ik
                                                                                                                                                                                                                                                                                                                                                                               i.
                                                                                                                                                                                                                                                                                                                                                                                ''4 )
                                                                                                                                                                                                                                                                                                                                                                                 C
                                                                                                                                                                                                                                                                                                                                                                                ''' '
                                                                                                                                                                                                                                                                                                                                                                                    .'''''
                                                                                                                                                                                                                                                                             'iqi
                                                                                                                                                                                                                                                                                è                @!:          ):.:-:@E:.il                                                            -/!):.:.4
                                                                                                                                                                                                                                                                                                                                                                                        -.    '
                                                                                                                                                                                                                                                                                                                                                                                              E':..
                                                                                                                                                                                                                                                                                                                                                                                              5   '
.                                                                                                                                                                                                                                                                                                  .lë-ëE
                                                                                                                                                                                                                                                                                                        ë.h
                                                                                                                                                                                                                                                                                                          (E:
                                                                                                                                                                                                                                                                                                            E.E
                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                              :   .
                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                  @
                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                  .k
                                                                                                                                                                                                                                                                                                                                                                                                   6!
                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                    )
                                                                                                                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                                                    !:kl
                                                                                                                                                                                                                                                                                                                                                                                                       iLï
                              .                    .
                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                              kà;J:
                                                                                                                                                                                                                                                                                                                                                                              ..  ëi... ...ë'
                                                                                                                                                                                                                                                                                                                                                                                  ;         r.
                                                                                                                                                                                                                                                                                                                                                                                            . :q
                                                                                                                                                                                                                                                                                                                                                                                             :. g.
                                                                                                                                                                                                                                                                                                                                                                                               ..j.
                                                                                                                                                                                                                                                                                                                                                                                                 ::.@
                                                                                                                                                                                                                                                                                                                                                                                                  i 71:.h.
                                                                                                  ' '' ''''' '''' ''' ''''''''                                                        ''
                                                                            Y76') !J;'                                                      :     jtl)
                                                                                                                                                     !l
                                                                                                                                                      rk.
                                                                                                                                                     '. ::
                                                                                                                                                         1:)
                                                                                                                                                           :)
                                                                                                                                                            ::h:::
                                                                                                                                                                 !1
                                                                                                                                                                  :'s
                                                                                                                                                                    i.
                                                                                                                                                                     tiy
                                                                                                                                                                     ' j/
                                                                                                                                                                        Ljk
                                                                                                                                                                          lj
                                                                                                                                                                           qlij:
                                                                                                                                                                     ''. .. '
                                                                                                                                                                            .' i:i
                                                                                                                                                                                 qjt
                                                                                                                                                                                   :j:
                                                                                                                                                                                     l:ë
                                                                                                                                                                                       ti
                                                                                                                                                                                        :i
                                                                                                                                                                                         :E::f
                                                                                                                                                                                             lLl
                                                                                                                                                                                               ::1:
                                                                                                                                                                                               i  12t
                                                                                                                                                                                                    ./
                                                                                                                                                                                                     ::
                                                                                                                                                                                                      i:))
                                                                                                                                                                                                         :ëtyL
                                                                                                                                                                                                             :I
                                                                                                                                                                                                              !:!
                                                                                                                                                                                                                :!
                                                                                                                                                                                                                 ::i
                                                                                                                                                                                                                   $i!
                                                                                                                                                                                                                     :t:t:!:
                                                                                                                                                                                                                           q:
                                                                                                                                                                                                                            6::i
                                                                                                                                                                                                                               :::
                                                                                                                                                                                                                                 i:
                                                                                                                                                                                                                                  i:
                                                                                                                                                                                                                                   i::
                                                                                                                                                                                                                                     !t@:
                                                                                                                                                                                                                                        ikï:!)j
                                                                                                                                                                                                                                              :j
                                                                                                                                                                                                                                               :q:
                                                                                                                                                                                                                                                 kT:kk(:k?:::
                                                                                                                                                                                                                                                            k:
                                                                                                                                                                                                                                                             fl::
                                                                                                                                                                                                                                                                T:?
                                                                                                                                                                                                                                                                  5t.
                                                                                                                                                                                                                                                                    ï):
                                                                                                                                                                                                                                                                    I ?:?
                                                                                                                                                                                                                                                                        ;1
                                                                                                                                                                                                                                                                         ::1'
                                                                                                                                                                                                                                                                            h;)
                                                                                                                                                                                                                                                                              :é
                                                                                                                                                                                                                                                                               E:
                                                                                                                                                                                                                                                                                ;)::.
                                                                                                                                                                                                                                                                                    Cj.
                                                                                                                                                                                                                                                                                    7 1ë
                                                                                                                                                                                                                                                                                       lE
                                                                                                                                                                                                                                                                                        :4h
                                                                                                                                                                                                                                                                                          ëh
                                                                                                                                                                                                                                                                                           ;)4
                                                                                                                                                                                                                                                                                             :)
                                                                                                                                                                                                                                                                                              Ei)
                                                                                                                                                                                                                                                                                                jli:i
                                                                                                                                                                                                                                                                                                    !j(
                                                                                                                                                                                                                                                                                                      !!
                                                                                                                                                                                                                                                                                                       4qj2
                                                                                                                                                                                                                                                                                                          h!
                                                                                                                                                                                                                                                                                                           );:j)
                                                                                                                                                                                                                                                                                                               g;
                                                                                                                                                                                                                                                                                                                ):2):)
                                                                                                                                                                                                                                                                                                                     i!
                                                                                                                                                                                                                                                                                                                      L!h
                                                                                                                                                                                                                                                                                                                        ':j)
                                                                                                                                                                                                                                                                                                                           :t::::tT:k:1:)k::::
                                                                                                                                                                                                                                                                                                                                             j$::)
                                                                                                                                                                                                                                                                                                                                                 ::'
                                                                                                                                                                                                                                                                                                                                                   f2:
                                                                                                                                                                                                                                                                                                                                                     )q
                                                                                                                                                                                                                                                                                                                                                      T7
                                                                                                                                                                                                                                                                                                                                                       k2
                                                                                                                                                                                                                                                                                                                                                        .)
                                                                                                                                                                                                                                                                                                                                                         ::)q
                                                                                                                                                                                                                                                                                                                                                            ):
                                                                                                                                                                                                                                                                                                                                                             ?k:j
                                                                                                                                                                                                                                                                                                                                                                ::k:::
                                                                                                                                                                                                                                                                                                                                                                     $kë
                                                                                                                                                                                                                                                                                                                                                                       :::14>>5m8:
                                                                                                                                                                                                                                                                                                                                                                                 tJJ1?
                                                                                                                                                                                                                                                                                                                                                                                     =2:?
                                                                                                                                                                                                                                                                                                                                                                                        !6l:
                                                                                                                                                                                                                                                                                                                                                                                           !E
                                                                                                                                                                                                                                                                                                                                                                                            :i:
                                                                                                                                                                                                                                                                                                                                                                                              !:
                                                                                                                                                                                                                                                                                                                                                                                               @2
                                                                                                                                                                                                                                                                                                                                                                                                i:E
                                                                                                                                                                                                                                                                                                                                                                                                  .'.i;
                                                                                                                                                                                                                                                                                                                                                                                                      il):.
                                                                                                                                                                                                                                                                                                                                                                                                          !ijq!
                                                                                             ?y
                                                                                              @q
                                                                                               q
                                                                                               ij
                                                                                                .jj
                                                                                                  .:'
                                                                                                    :'j
                                                                                                      lj
                                                                                                       lj
                                                                                                        j
                                                                                                        f
                                                                                                        tl'
                                                                                                          j
                                                                                                          i.
                                                                                                           :j
                                                                                                            .
                                                                                                            qj
                                                                                                             .j
                                                                                                              izj
                                                                                                                y
                                                                                                                j;.
                                                                                                                  ,
                                                                                                                  .j
                                                                                                                   tyg
                                                                                                                    x....l(
                                                                                                                          àg
                                                                                                                           ...Jj
                                                                                                                               j
                                                                                                                               tj
                                                                                                                                .j
                                                                                                                                 .j
                                                                                                                                  :j
                                                                                                                                   .j
                                                                                                                                    :.
                                                                                                                                     y                  .
                                   .                                   .1
                                                                        j
                                                                        5
                                                                        1. ;:
                                                                            #
                                                                           lt
                                                                            .  .
                                                                               ,
                                                                               (.E:.g
                                                                            ...'
                                                                              ..
                                                                               ;    y
                                                                                    p
                                                                                    .
                                                                                    :
                                                                                    ..:'  y
                                                                                          ...y
                                                                                       6::;    u
                                                                                               #      r
                                                                                                     :e ,
                                                                                                        t   ..        .    '         k. '
                                                                                                                                        (
                                                                                                                                        j
                                                                                                                                        (
                                                                                                                                        ).
                                                                                                                                        '
                                                                                                                                        .
                                                                                                                                        ;,
                                                                                                                                         :y
                                                                                                                                          ('
                                                                                                                                           y
                                                                                                                                           :. (.... '
                                                                                                                                                    ..                 ;yj..
                                                                                                                                                                        '
                                                                                                                                                                     .. .      :
                                                                                                                                                                               '
                                                                                                                                                                               .j :
                                                                                                                                                                                 .:'
                                                                                                                                                                                   .g;
                                                                                                                                                                                     :'.''     ..: ....       '....,        'y.
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            .     j.
                                                                                                                                                                                                                                   .'.'
                                                                                                                                                                                                                                    .  .
                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                       :yyy
                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                        '    ;
                                                                                                                                                                                                                                             :.y
                                                                                                                                                                                                                                               'j'('; ,.'.. .''.
                                                                                                                                                                                                                                                              .                             ,. '('  .(:'
                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                       ;.
                                                                                                                                                                                                                                                                                                        '.
                                                                                                                                                                                                                                                                                                         j;
                                                                                                                                                                                                                                                                                                          ...;:'
                                                                                                                                                                                                                                                                                                               c...'  .. yr..'.;.                        '..'   .1g( .'.'E.'.4r,
                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                       ..,          .;.
                                                                                                                                                                                                                                                                                                                                                                                     E .s.a..j
                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                             . ,
                                                                                                                                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                                                                                                                                .gjr
                                                                                                                                                                                                                                                                                                                                                                                                   y
                                                                                                                                                                                                                                                                                                                                                                                                   .--y
                                                                                                                                                                                                                                                                                                                                                                                                    . oj
                                                                                                                                                                                                                                                                                                                                                                                                      g   ;
                                                                                                                                                                                                                                                                                                                                                                                                          . :;
                                                                                                                                                                                                                                                                                                                                                                                                           ..J
                                                                                                                                                                                                                                                                                                                                                                                                             .j .
     '



Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 48 of 53 Pageid#:
                                    8446



                    ' s'rxhzàvc- toevattrvpz-vumm pînar                                                                                                                                                                                                                                                                                           (a x
                      k*'*- KMA.Mk lvik.r*< 5:bM'A Tr/; %m> t'
                                                             a#                                                                                                                                                                                                                                                                       .                  '
                                                                             c                                     j

                                                                                                                                                                                                                                                                  EEI
                                                                                                                                                                                                                                                                    EEEEE
                                                                                                                                                                                                                                                                        ::EEEJE
                                                                                                                                                                                                                                                                              JE
                                                                                                                                                                                                                                                                               II:
                                                                                                                                                                                                                                                                                 IEEI
                                                                                                                                                                                                                                                                                    SE
                                                                                                                                                                                                                                                                                     7i5
                                                                                                                                                                                                                                                                                       SF
                                                                                                                                                                                                                                                                                        !F;
                                                                                                                                                                                                                                                                                          Ei
                                                                                                                                                                                                                                                                                           5ij
                                                                                                                                                                                                                                                                                             :5
                                                                                                                                                                                                                                                                                              i5iE
                                                                                                                                                                                                                                                                                                 jiE
                                                                                                                                                                                                                                                                                                   égii
                                                                                                                                                                                                                                                                                                      ?i
                                                                                                                                                                                                                                                                                                       pip
                                                                                                                                                                                                                                                                                                         iisE
                                                                                                                                                                                                                                                                                                            3E
                                                                                                                                                                                                                                                                                                             SE
                                                                                                                                                                                                                                                                                                              JEi
                                                                                                                                                                                                                                                                                                                EjE
                                                                                                                                                                                                                                                                                                                  gE
                                                                                                                                                                                                                                                                                                                   qE
                                                                                                                                                                                                                                                                                                                    iEi
                                                                                                                                                                                                                                                                                                                      EiE
                                                                                                                                                                                                                                                                                                                        :I
                                                                                                                                                                                                                                                                                                                         tiijëiE
                                                                                                                                                                                                                                                                                                                               iEi
                                                                                                                                                                                                                                                                                                                                 .i
                                                                                                                                                                                                                                                                                                                                 'jiE
                                                                                                                                                                                                                                                                                                                                    1E
                                                                                                                                                                                                                                                                                                                                     FE
                                                                                                                                                                                                                                                                                                                                      2E!
                                                                                                                                                                                                                                                                                                                                        :!5
                                                                                                                                                                                                                                                                                                                                          (EE':
                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                  S
                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                  1i
                                                                                                                                                                                                                                                                  .J
                                                                                                                                                                                                                                                                   .E:A
                                                                                                                                                                                                                                                                    jikr
                                                                                                                                                                                                                                                                       Ei
                                                                                                                                                                                                                                                                        !!
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         !'r
                                                                                                                                                                                                                                                                         E :j'
                                                                                                                                                                                                                                                                           ë E
                                                                                                                                                                                                                                                                             !mg
                                                                                                                                                                                                                                                                              ih:2ë.
                                                                                                                                                                                                                                                                              '.    ë.:
                                                                                                                                                                                                                                                                                   ëE
                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                      ,i
                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                       .2
                                                                                                                                                                                                                                                                                       ë
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                        W
                                                                                                                                                                                                                                                                                        jF
                                                                                                                                                                                                                                                                                         !E 1.
                                                                                                                                                                                                                                                                                          hE!i7i
                                                                                                                                                                                                                                                                                             :  E$!j
                                                                                                                                                                                                                                                                                               :.
                                                                                                                                                                                                                                                                                               .   :m
                                                                                                                                                                                                                                                                                                   E2y
                                                                                                                                                                                                                                                                                                     5.
                                                                                                                                                                                                                                                                                                     tEIj
                                                                                                                                                                                                                                                                                                        iE:
                                                                                                                                                                                                                                                                                                        E Ej::
                                                                                                                                                                                                                                                                                                           .. !W:
                                                                                                                                                                                                                                                                                                             EE(E.
                                                                                                                                                                                                                                                                                                                 jE.
                                                                                                                                                                                                                                                                                                                 : E5
                                                                                                                                                                                                                                                                                                                    ii!EE
                                                                                                                                                                                                                                                                                                                      E!EP
                                                                                                                                                                                                                                                                                                                         :I
                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                          ;U
                                                                                                                                                                                                                                                                                                                           j.
                                                                                                                                                                                                                                                                                                                            'E
                                                                                                                                                                                                                                                                                                                            :!
                                                                                                                                                                                                                                                                                                                             'éi
                                                                                                                                                                                                                                                                                                                             ë:yë:.
                                                                                                                                                                                                                                                                                                                                .EE5
                                                                                                                                                                                                                                                                                                                                   !.
                                                                                                                                                                                                                                                                                                                                   j .!
                                                                                                                                                                                                                                                                                                                                    d;E
                                                                                                                                                                                                                                                                                                                                      ï
                                                                                                                                                                                                                                                                                                                                      .;
                                                                                                                                                                                                                                                                                                                                      !J
                                                                                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                       EE
                                                                                                                                                                                                                                                                                                                                       !I
                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                        E;.
                                                                                                                                                                                                                                                                                                                                        g .'
                                                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                        ..
                                                                                                                                                                                         :
                                                                                                                                                                                         '
                                                                                                                                                                                         !s
                                                                                                                                                                                         Lb
                                                                                                                                                                                           i
                                                                                                                                                                                           E!Ei
                                                                                                                                                                                             !
                                                                                                                                                                                          îi:E
                                                                                                                                                                                               ;
                                                                                                                                                                                              :!
                                                                                                                                                                                             'E
                                                                                                                                                                                              '
                                                                                                                                                                                               2:
                                                                                                                                                                                               5'            , 'E
                                                                                                                                                                                                             !
                                                                                                                                                                                                                 !                                                (
                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                  C
                                                                                                                                                                                                                                                                 .:
                                                                                                                                                                                                                                                                  .j
                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                   :.
                                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                   :.
                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                    q
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    :.y
                                                                                                                                                                                                                                                                     yj
                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                      Ej
                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                       :j
                                                                                                                                                                                                                                                                        e
                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                        Ey
                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                         k
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                         gj
                                                                                                                                                                                                                                                                          $
                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                          :.!
                                                                                                                                                                                                                                                                          :   u
                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                              EF
                                                                                                                                                                                                                                                                            :?k
                                                                                                                                                                                                                                                                              :'
                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                               .!c
                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                 l
                                                                                                                                                                                                                                                                                 y
                                                                                                                                                                                                                                                                                 U
                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                ::
                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                 . '
                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                  :.
                                                                                                                                                                                                                                                                                  .1
                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                   :'
                                                                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                    ! y
                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                     !!
                                                                                                                                                                                                                                                                                     .à
                                                                                                                                                                                                                                                                                      .jE:'
                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                          9
                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                          !k
                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                           !L
                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                            E.
                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                             è
                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                             h
                                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                                             1,..
                                                                                                                                                                                                                                                                                              #
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                              . ;
                                                                                                                                                                                                                                                                                                .1
                                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                                                                                 k
                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                 .j
                                                                                                                                                                                                                                                                                                  f
                                                                                                                                                                                                                                                                                                  ?
                                                                                                                                                                                                                                                                                                  é
                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                   :::
                                                                                                                                                                                                                                                                                                   z
                                                                                                                                                                                                                                                                                                   ' ë
                                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                                     '
                      .                                        (p
                                                                . :i
                                                                   ij.
                                                                                                                                                                                        jE.:%!.':''
                                                                                                                                                                                        ..
                                                                                                                                                                                                  .!
                                                                                                                                                                                                   .k
                                                                                                                                                                                                             ...si
                                                                                                                                                                                                                 x v::
                                                                                                                                                                                                                     ;k.                                                                                                                  .
                                                        .:::tE
                                                             !:                                                                                                                              . . ..
                                                              3:i.ë
                                                                  .:
                                                                   !:E                                  .7
                                                                                                         '                                                                                   . .;.                    ..
                                                                                                                                                                                                                      j,.
                                                         :;:
                                                         . .5
                                                           h.:' ji'                                                                                                                           .5
                                                                                                                                                                                              :
                                                                                                                                                                                              .
                                                                                                                                                                                              ::
                                                                                                                                                                                               ï@
                                                                                                                                                                                                'j
                                                                                                                                                                                                Fg'
                                                                                                                                                                                                  .'
                                                                                                                                                                                                  ..'
                                                                                                                                                                                                   ..                      9:.:
                                                                                                                                                                                                                          !!   i
                                                                                                                                                                                                                               '!''
                                                                                                                                                                                                                              ,.
                                                                                                                                                                                                                              '   ;'
                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                   ''
                                                                                                                                                                                                                                   .$
                                                                                                                                                                                                                                   i E.'
                                                                                                                                                                                                                                    .'


                                                                                                                              !r':::                                                                                                 ..
                                                                                                                                                                                :E
                                                                                                                                                                                 jp                                                 :
                                                                                                                                                                                                                                    ;'..                                                                                     ::..:
                                                                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                            i




                                                                                                                                                                                                                                                                                                                                                  k:
                                                                                                                                                                                                                                                                                                                                                  .gj.'
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                       tii
                                                                                                                                                                                                                                                                                                                    :étj:'.'..
                                                                                                                                                                                                                                                                                                                                            1 . jë,
                                                                                                                                                                                                         :gr
                                                                                                                                                                                                           ëi
                                                                                                                                                                                                            :2::.::
                                                                                                                                                                                                                  '.2:
                                                                                                                                                                                                                     ëEEE
                                                                                                                                                                                                                        ...
                                                                                                                                                                                                                          '5
                                                                                                                                                                                                                           '..
                                                                                                                                                                                                                             E.:
                                                                                                                                                                                                                               E.'
                                                                                                                                                                                                                                 E1.:
                                                                                                                                                                                                                                    '.Eb
                                                                                                                                                                                                                                       :2
                                                                                                                                                                                                                                        '!L.
                                                                                                                                                                                                                                           EE.
                                                                                                                                                                                                                                             'EE.
                                                                                                                                                                                                                                             E  !.
                                                                                                                                                                                                                                                 '.i
                                                                                                                                                                                                                                                 ! ë!E
                                                                                                                                                                                                                                                     'Ei:i                                                               i..è! .
                                                                                                                                                                                                                                                                                                                               '''.
                                                                                                                                                                                                         E
                                                                                                                                                                                                         !
                                                                                                                                                                                                         '
                                                                                                                                                                                                         ë
                                                                                                                                                                                                         E
                                                                                                                                                                                                         C.
                                                                                                                                                                                                        IE:
                                                                                                                                                                                                          E
                                                                                                                                                                                                          i.:
                                                                                                                                                                                                            2;
                                                                                                                                                                                                         CE!ëk
                                                                                                                                                                                                             l
                                                                                                                                                                                                             rlsy
                                                                                                                                                                                                            ..  v
                                                                                                                                                                                                                i
                                                                                                                                                                                                                :'
                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                 y'
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                  l
                                                                                                                                                                                                                  tIE
                                                                                                                                                                                                                    yi
                                                                                                                                                                                                                     g
                                                                                                                                                                                                                     E                                 !!                                                                 .
                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                          q
                                                                                                                                                                                                                                                                                                                          6
                                                                                                                                                                                                                                                                                                                          (:.
                                                                                                                                                                                                                                                                                                                          . :1k
                                                                                                                                                                                                                                                                                                                           : ,
                                                                                                                                                                                                                                                                                                                                    .

                                                                                                                                                                                                                                                                                                                             * .. . j ,

                          j*..2
                              .        .                      W*.'
                                                                 6***%%R*W**   *'2*'W'W'.
                                                                              <'        MR'X''
                                                                                             Z'
                                                                                              CW '
                                                                                                 O... O l))E:lX:
                                                                                                               UX):$
                                                                                                                   ;:X
                                                                                                                     ..t;!
                                                                                                                         .)X$
                                                                                                                           ...))é
                                                                                                                                .;
                                                                                                                                 .F
                                                                                                                                  :E
                                                                                                                                   1
                                                                                                                                   .F1
                                                                                                                                     X'
                                                                                                                                      !)ll
                                                                                                                                      .  X.i
                                                                                                                                           ûl11
                                                                                                                                              Eél1lCiVq1;J
                                                                                                                                                         >)i
                                                                                                                                                           1t!:!
                                                                                                                                                               :$ti7b
                                                                                                                                                                    :!
                                                                                                                                                                     ï.1
                                                                                                                                                                       .7
                                                                                                                                                                       .Y:;
                                                                                                                                                                          .>
                                                                                                                                                                           ))
                                                                                                                                                                            ..R
                                                                                                                                                                              ''Y
                                                                                                                                                                                '::
                                                                                                                                                                                  5
                                                                                                                                                                                  '=h5>);;FZ2XXW)X))Df
                                                                                                                                                                                                     2)(l9X2)t(?
                                                                                                                                                                                                               t6:
                                                                                                                                                                                                                 1!
                                                                                                                                                                                                                  'h1(!
                                                                                                                                                                                                                      1?
                                                                                                                                                                                                                       f:
                                                                                                                                                                                                                        .J
                                                                                                                                                                                                                         ;99)i4ï:
                                                                                                                                                                                                                                t':
                                                                                                                                                                                                                                  jS
                                                                                                                                                                                                                                   'ï:
                                                                                                                                                                                                                                     )j
                                                                                                                                                                                                                                      $i
                                                                                                                                                                                                                                       ;j:
                                                                                                                                                                                                                                         i:)j
                                                                                                                                                                                                                                            :j
                                                                                                                                                                                                                                             :!:
                                                                                                                                                                                                                                               E4:
                                                                                                                                                                                                                                                 (ïJ>&;%;F>)jéï:&f6f>)E)
                                                                                                                                                                                                                                                                       E:)))j;E
                                                                                                                                                                                                                                                                              :j?jJ;X7!;!
                                                                                                                                                                                                                                                                                        WJE
                                                                                                                                                                                                                                                                                          q)J:
                                                                                                                                                                                                                                                                                             J@i!21:!!1
                                                                                                                                                                                                                                                                                                      :;
                                                                                                                                                                                                                                                                                                       :2E:
                                                                                                                                                                                                                                                                                                          ('.
                                                                                                                                                                                                                                                                                                            1 I/;étjE
                             tu'1
                             Z                                                                                                                                                            '.
                 '
                 b C
                   z1.
                     ,'i
                       tk
                       .)
                        .
                        1
                        àn
                         x
                         ?;
                          D
                          E
                          '
                          2
                          Y
                          .
                          =
                          >'.
                            ?
                            ;
                            '
                            i
                            !
                            7
                            S   '
                                :
                                f
                                :
                                -6'y
                                   '
                                  6!;
                                   ,:
                                    Jk
                                     i
                                     E
                                    ïi
                                    E.
                                     t
                                     .
                                     Et>
                                       '
                                      1l
                                      E
                                      ; '
                                        >
                                        h
                                       l'
                                        1
                                        i';'
                                         ''
                                         C
                                       . .
                                       .    E
                                            t
                                            k
                                           .ï
                                            :
                                            ;i
                                             fr
                                              t
                                              i
                                             ..
                                             '3
                                              '
                                              ii i
                                                 !dk
                                               -?ë
                                         ... ...'' ':'
                                                .....1.': t:i'
                                                     :
                                                     .        ë
                                                             ..'
                                                               .
                                                               ;':
                                                              ,'
                                                               i   '
                                                                   .'' ..:
                                                                 ::'
                                                                   '     ' . ..::
                                                                       .-...
                                                                .. -....   ..   ...:
                                                                                  .'
                                                                                    '
                                                                                     .:.'..'.'...
                                                                                   ...
                                                                                   '            '                                       .
                                                                                                                                          '                      : :. ;'E     .i
                                                                                                                                                                              . ..
                                                                                                                                                                                 :E -
                                                                                                                                                                                '';'.5:ë. .:..'.            '. ' ''. '' !'
                                                                                                                                                                                                                       .         . .'.'
                                                                                                                                                                                                                                         ' ''
                                                                                                                                                                                                                                               ''
                                                                                                                                                                                                                                                .'' '        '''
                                                                                                                                                                                                                                                                .   ;'i',.:'..'..t.'''' '.4.
                                                                                                                                                                                                                                                                'ir'!                       t).'bM,t=>''''' '.
                                                                                                                                                                                                                                                                                                      'o,:,<$sv..1
                                                                                                                                                                                                                                                                                                                 ..'
                                                                                                                                                                                                                                                                                                                   vti
                                                                                                                                                                                                                                                                                                                     '                            .''v
                                                                                                                                                                                                                                                                                                                                                     .1
                                                                                                                                                                                                                                                                                                                                                      :'
                                                                                                                                                                                                                                                                                                                                                       :
                           ''
                          .%rèiw k- é- dnng.  . qce   - pwxe'                                                                                                                                                                                                                                                                            a            xi
                                                                                                                                                                                                                                                                                                                                                       '
                          'Jedà .#@Jb*./:
                                        .950 t/deo tq*tlle T=4 %ia'l!e                                                                                                                                                                                           '                                                                                      '




                                                                                                                                                           b5
                                                                                                                                                            b'                  '
                                                                                                                                                                               'E:E@
                                                                                                                                                                              :'..
                                                                                                                                                                              ëE
                                                                                                                                                                            ...    .i
                                                                                                                                                                                    E
                                                                                                                                                                                    ..jE                                                                                                          .
                                                                                                                                                          Lj
                                                                                                                                                           i
                                                                                                                                                           :
                                                                                                                                                           '                  .        EC
                                                                                                                                                                                        E
                                                                                                                                                                                        !I
                                                                                                                                                                                         E
                                                                                                                                                                                         !!
                                                                                                                                                                                          j
                                                                                                                                                                                          .:
                                                                                       ..                                                                .'
                                                                                                                                                         .                         '.
                                                                                                                                                                                    I:
                                                                                                                                                                                     I:
                                                                                                                                                                                     :I:
                                                                                                                                                                                      E                                                                                                                            .
                                                                                                                                                      ..:, ,
                                                                                                                                                           L
                                                                                                                                                           .                 $
                                                                                                                                                                             :
                                                                                                                                                                             $
                                                                                                                                                                             r         !:
                                                                                                                                                                                        çq;.:
                                                                                                                                                                                            ,:.                                                              ë';
                                                                                                                                                                                                                                                             (i
                                                                                                                                                                                                                                                             E 5:!
                                                                                                                                                                                                                                                                 ;;::
                                                                                                                                                                                                                                                                    j;:(
                                                                                                                                                                                                                                                                       ;jg
                                                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                         .ë
                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                          .k
                                                                                                                                                                                                                                                                           :g
                                                                                                                                                                                                                                                                            .j
                                                                                                                                                                                                                                                                             j..
                                                                                                                                                                                                                                                                               jjj
                                                                                                                                                                                                                                                                               y y.:
                                                                                                                                                                                                                                                                                   jë
                                                                                                                                                                                                                                                                                    j;.
                                                                                                                                                                                                                                                                                      îiF
                                                                                                                                                                                                                                                                                      E ;:y.
                                                                                                                                                                                                                                                                                           E:
                                                                                                                                                                                                                                                                                            j:
                                                                                                                                                                                                                                                                                             tqE
                                                                                                                                                                                                                                                                                               :,
                                                                                                                                                                                                                                                                                                ;q
                                                                                                                                                                                                                                                                                                 y.
                                                                                                                                                                                                                                                                                                  tjE
                                                                                                                                                                                                                                                                                                  : ..
                                                                                                                                                                                                                                                                                                     jj.
                                                                                                                                                                                                                                                                                                       i:
                                                                                                                                                                                                                                                                                                       !j.
                                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                                          jE
                                                                                                                                                                                                                                                                                                           ë.
                                                                                                                                                                                                                                                                                                            g:
                                                                                                                                                                                                                                                                                                             !j
                                                                                                                                                                                                                                                                                                              (gy
                                                                                                                                                                                                                                                                                                                Ei
                                                                                                                                                                                                                                                                                                                 EEE
                                                                                                                                                                                                                                                                                                                   qjë
                                                                                                                                                                                                                                                                                                                     s.
                                                                                                                                                                                                                                                                                                                      ë.
                                                                                                                                                                                                                                                                                                                       yj.
                                                                                                                                                                                                                                                                                                                       r ë.
                                                                                                                                                                                                                                                                                                                         yji.
                                                                                                                                                                                                                                                                                                                          q E.
                                                                                                                                                                                                                                                                                                                            zq.
                                                                                                                                                                                                                                                                                                                             tjj
                                                                                                                                                                                                                                                                                                                               ëjEg
                                                                                                                                                        .e..                 ,
                                                                                                                                                       ''
                                                                                                                                                        .                  )
                                                                                                                                                                           .
                                                                                                                                                                            )
                                                                                                                                                                            q
                                                                                                                                                                            7
                                                                                                                                                                            .. .
                                                                                                                                                                           :i
                                                                                                                                                                            .
                                                                                                                                                                           '.  :
                                                                                                                                                                               E!              .
                                                                                                                                                                                                                                                             q
                                                                                                                                                                                                                                                             kt
                                                                                                                                                                                                                                                             qj
                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                               E
                                                                                                                                                                                                                                                               F
                                                                                                                                                                                                                                                               N
                                                                                                                                                                                                                                                               y'
                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                gj
                                                                                                                                                                                                                                                              yzjg
                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                  j.
                                                                                                                                                                                                                                                                   ëj:
                                                                                                                                                                                                                                                                     u
                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                   . ;
                                                                                                                                                                                                                                                                 o:j
                                                                                                                                                                                                                                                                      gjty , jm
                                                                                                                                                                                                                                                                             gg,
                                                                                                                                                                                                                                                                                 'g.j;  j
                                                                                                                                                                                                                                                                                        .y
                                                                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                                         '.
                                                                                                                                                                                                                                                                                          g7.
                                                                                                                                                                                                                                                                                           ::
                                                                                                                                                                                                                                                                                            j:
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                             E,,
                                                                                                                                                                                                                                                                                                i,..'
                                                                                                                                                                                                                                                                                               .,2
                                                                                                                                                                                                                                                                                                    N q
                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                      îj'
                                                                                                                                                                                                                                                                                                      ?
                                                                                                                                                                                                                                                                                                    , :..:
                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                         (.j
                                                                                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                            F
                                                                                                                                                                                                                                                                                                           (@
                                                                             '.
                                                                              .
                                                                                                                                             .....:
                                                                                                                                                                           ' FjE
                                                                                                                                                                           '
                                                                                                                                                                                i?7.
                                                                                                                                                                                .:j
                                                                                                                                                                                   ëj
                                                                                                                                                                                   !Et.
                                                                                                                                                                                  iEry
                                                                                                                                                                                     ,
                                                                                                                                                                                              .                                                              -I
                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                             è
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             .ët
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                               ::.i
                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                                  )-
                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                   .l
                                                                                                                                                                                                                                                                   ..!iï
                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                     .-
                                                                                                                                                                                                                                                                   . . .2
                                                                                                                                                                                                                                                                       ' 1.;!.-.,LQ
                                                                                                                                                                                                                                                                        ::         '. I
                                                                                                                                                                                                                                                                                      p
                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                    '.:l
                                                                                                                                                                                                                                                                                       y
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       ''.
                                                                                                                                                                                                                                                                                        . <
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                         .,f
                                                                                                                                                                                                                                                                                          E2
                                                                                                                                                                                                                                                                                           E-
                                                                                                                                                                                                                                                                                            :1
                                                                                                                                                                                                                                                                                             .2
                                                                                                                                                                                                                                                                                              .1
                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                               4
                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                               F
                                                                                                                                                                                                                                                                                               :r
                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                E-
                                                                                                                                                                                                                                                                                                 a
                                                                                                                                                                                                                                                                                                 y
                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                 ::
                                                                                                                                                                                                                                                                                                  7:#
                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                                                    : y
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                      7
                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                      i.
                                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                       ir
                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                        G
                                                                                                                                                                                                                                                                                                        k
                                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                        :1
                                                                                                                                                                                                                                                                                                         :(
                                                                                                                                                                                                                                                                                                          2
                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                          'F
                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                           :E
                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            ë




                                                                                                                                                                                                                                                                                                          !E'
                                                                                                                                                                                                                                                                                                          . q7  :t:i 21(* :;l
                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                              :E7L:.<'
                                                                                                                                                                                                                                                                                                            E5
                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                             ,  ,, '1
                                                                                                                                                                                                                                                                                                                E    %'E
                                                                                                                                                                                                                                                                                                                       ' ,
                                                                                                                                                                                                                                                                                                                      %'                                '
                                                                                                                                                                                                                                                                                                             :. :: i
                                                                                                                                                                                                                                                                                                                   . '
                                                                                                                                         i!(
                                                                                                                                         E Fë
                                                                                                                                            EF:
                                                                                                                                              J;
                                                                                                                                               7::
                                                                                                                                                 E.
                                                                                                                                                  iE'
                                                                                                                                                    hE
                                                                                                                                                     tE?
                                                                                                                                                       IL
                                                                                                                                                        EqEE
                                                                                                                                                           jiF
                                                                                                                                                             ':JE
                                                                                                                                                                ':
                                                                                                                                                                 ji;
                                                                                                                                                                   'F
                                                                                                                                                                    :'E
                                                                                                                                                                      qE
                                                                                                                                                                       jEj
                                                                                                                                                                         i5
                                                                                                                                                                          !:';;:i.
                                                                                                                                                                                 if:
                                                                                                                                                                                   q
                                                                                                                                         ë
                                                                                                                                         !
                                                                                                                                         E
                                                                                                                                         .:
                                                                                                                                         1;
                                                                                                                                          '
                                                                                                                                          !I
                                                                                                                                           >
                                                                                                                                           !
                                                                                                                                           iE
                                                                                                                                            j
                                                                                                                                            .
                                                                                                                                            :
                                                                                                                                            E(
                                                                                                                                            .;;
                                                                                                                                              .:
                                                                                                                                              :g
                                                                                                                                               .j
                                                                                                                                               :2
                                                                                                                                                :.
                                                                                                                                                 ;
                                                                                                                                                 :)
                                                                                                                                                  Ej
                                                                                                                                                  :7'
                                                                                                                                                    g
                                                                                                                                                    .;
                                                                                                                                                     :'
                                                                                                                                                     .j:'
                                                                                                                                                       .j
                                                                                                                                                        .y
                                                                                                                                                         ..
                                                                                                                                                          ,
                                                                                                                                                          '
                                                                                                                                                          :j'
                                                                                                                                                            .j
                                                                                                                                                             :kj)
                                                                                                                                                                '
                                                                                                                                                                1y
                                                                                                                                                                .r;j
                                                                                                                                                                   i
                                                                                                                                                                   :'
                                                                                                                                                                    .j
                                                                                                                                                                     ..
                                                                                                                                                                      '
                                                                                                                                                                      .g
                                                                                                                                                                       .'
                                                                                                                                                                        y)
                                                                                                                                                                         ;'
                                                                                                                                                                         sj
                                                                                                                                                                          ;:.j.j
                                                                                                                                                                             ;: :
                                                                                                                                                                                .j
                                                                                                                                                                                 E;
                                                                                                                                                                                  j'
                                                                                                                                                                                   .
                                                                                                                                                                                   :!                                                                                                                                     t
                                                                                                                                                                                                                                                                                                                          d ... ;

                 C.       118:l.'v
                          . ...  g
                                 '
                                 -
                                 :
                                 .M
                                  !
                                  '
                                  :
                                  .
                                  iE
                                   '
                                   '
                                   .
                                   ;
                                   t
                                   .
                                   'q
                                    :
                                    f
                                    i
                                    k
                                    .i
                                     r
                                     !
                                     ;
                                     .
                                     -
                                     ï<
                                      !:'
                                      '
                                      .
                                      ,
                                      . i
                                        t
                                        k
                                        g,#1
                                        .
                                        ;
                                        !
                                        :  4
                                           f:
                                            x
                                            vb:'ti
                                            l
                                            t  '
                                                 .2
                                                  ):j
                                                 ..
                                            .... .
                                            ,
                                            :     t
                                                  ç ?4
                                                    .
                                                 ....$
                                                     .9
                                                      p
                                                     j:
                                                     !
                                                     ., .
                                                        :
                                                        L
                                                      r?:
                                                        :
                                                        , q
                                                          '
                                                          M
                                                         :, t'
                                                            '
                                                          .;?
                                                         ..   .:')C
                                                                  ...
                                                                  .
                                                                  - è'.E
                                                                    -  j
                                                                       'à:E
                                                                       !
                                                                       :
                                                                       .
                                                                       i  :
                                                                          .k'
                                                                          . .. . ;.:..'.:.:
                                                                            :
                                                                           .,
                                                                  . .. ..., ...           r.j:
                                                                                          .. .
                                                                                             .!
                                                                                              7)..:..
                                                                                             -:
                                                                                              )
                                                                                              .
                                                                                              '                                                                            ,.
                                                                                                                                                                            ','
                                                                                                                                                                              !:.
                                                                                                                                                                             (.
                                                                                                                                                                              (
                                                                                                                                                                              .
                                                                                                                                                                              : '
                                                                                                                                                                                !:::
                                                                                                                                                                                (
                                                                                                                                                                                .
                                                                                                                                                                                :  .
                                                                                                                                                                                   i                                         .t
                                                                                                                                                                                                                              ...'
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 u
                                                                                                                                                                                                                                ;:
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 ,.
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                  ë
                                                                                                                                                                                                                                  :.
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                   -'.
                                                                                                                                                                                                                                     j..
                                                                                                                                                                                                                                    .-
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     : :
                                                                                                                                                                                                                                       ..  ...,.....j.!..::
                                                                                                                                                                                                                                        u:..              ;
                                                                                                                                                                                                                                                          ....
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                          !   .
                                                                                                                                                                                                                                                             ''
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                              !.:......,.j:.;.
                                                                                                                                                                                                                                                                             k
                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                             p
                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                             .j
                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                              u
                                                                                                                                                                                                                                                                              <N
                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                               &
                                                                                                                                                                                                                                                                               <y
                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                u
                                                                                                                                                                                                                                                                                <
                                                                                                                                                                                                                                                                                çj
                                                                                                                                                                                                                                                                                 y
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                 rl:.,.
                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                 u
                                                                                                                                                                                                                                                                                 -

         240.     Itm ay also elp t e ourtto no 'te,t atw '1e istop er oad t ned
            outto beJew is ,t 'swas surely un nown to efendant antw e as e saw
             '                     .              ..             .  .     I.                        .
            w at appeared to be a gang oflarge w te m ales attac ng s assoelates.
             veryone antwellengaged t atevening was ite,and alloft;e 1 were
            engaged 1n violence att e tim e.
                    Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 49 of 53 Pageid#:
j
                                                        8447
                                                           '                                                                                                                                 .                        .




!                                241.     Cantwelland hlsassoclates com pletely lgnored theblack and brown
,
                                    non-com batants,asthey wentto work stopping the threats to their safety.

                                                                                                                          The.M ayhem Continues
                                 242.            Plaintiffs'co-con'spirators were,sadly,undeterred'by Cantwell's                                                                                                                                                                                                                             .
                                         judicioususe ofselfdefense spray,and continued fighting.
                                 243.            Cantwellonly engaged com batants as he m ade hisw ay around the
                                         statue.                                                                     .                                                                                                                                     '                                    .



                             '
                                 244.            Cantwellspotted Lindsay Elizabeth M oersw ielding an expandable
                                         baton attheheadsofrallygoers.Heshouted ûtrflakethat Eexpletivd from her!
                                         Right now l''and rushed in to disarm M oers.

                                 245.     As Cahtwellrushed in.Beanym an peppersprayed Cantwell.and
                                    M oers grabbed the body cam era from Cantwell'sshirt,as shown in                                                                                                                                                   '            .                                                                            .
                         .
                                    Exhibitlzs-M oersTakescam era.m p4                                                                                                                                                                                                                                                                               .


                                                                                                                                                                                                                                                                                                         '
                                                                                                                               a
                                 246.     Cantw ellrem oves hzm self 9 om the fight,and w as treated for pepper
                                    spray by law enforcem eztt.
                                                 j'                                               -
                                                                                                             (                                                                                                                          li'
                                                                                                                                                                                                                                              1' ?
                                                                                                                                                                                                                                              !  î'                                                      '
                                                 j
                                                 '              .
                                                                                    .

                                                                                             ...-
                                                                                                 :
                                                                                                .<   .. .
                                                                                                         .
                                                                                                          .                         .
                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                        .
                                                 .                              .
                                                                                 .                       .           ..                        .
                                                                                                                                             . ..   .                                                                                 . t.
                                                                                                                                                                                                                                       j g.
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                             ..          .
                                                                                                                                                                                                                                  '.
                                                                                                                                                                                                                                   ,,)
                                                                                                                                                                                                                                     jj!t
                                                                                                                                                                                                                                        ';,
                                                                                                                     .:
                                                                                                                      ,                  . ..                       .
                                                                                                     .
                                                                                                     .                                                   . .. .     .
                                                 EE
                                                 '
                                                  lë                                                         1.: .
                                                                                                                                   '.                                                                                             .
                                                                                                                                                                                                                                  ,:  lE                                                                                             .
                         '                                                                                           .
                             .
                                                                                                            j
                                                                                                            ljtyl
                                                                                                                j
                                                                                                                i
                                                                                                                I                                                        .'          .                                             -              ..
                                                                                                                i .                                                 irk
                                                                                                                                                                      #.         .                                        .                        .            .
                                                                                                                l
                                                                                                                j                                                  j
                                                                                                                                                                   i
                                                                                                                                                                   I
                                                                                                                                                                   ll
                                                                                                                                                                    .
                                                                                                                                                                      -. .
                                                                                                                                                                        .
                                                                                                                                                                          ?  . .
                                                                                                                                                                               .   ' .                                                    .
                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                    ... ..k,                                                                                         ..
                                                                                                     .'
                                                                                                      .i        i                                                 t
                                                                                                                                                                  i(.
                                                                                                                                                                    î
                                                                                                                                                                    ' .  o'.      .                                                                                                                          .
                                                                                                       !,       h
                                                                                                                I
                                                                                                                :                                                 jg
                                                                                                                                                                  .t
                                                                                                                                                                   ;-                                                                                               .'
                                                                                '
                                                                                .                               l
                                                                                                                j
                                                                                                                .5                                            s.:
                                                                                                                                                              :              ..                                                                                                                                      .
                                                                                                                                                                                                 .. ' :'                                                    ',.                             ....
                                                                             .                         .::
                                                                            ''
        '       .                                                   Es
                                                                     -
                                                                     :                              ..
                                                                                                     y
                                                                                                     j-.i. .
                                                                                                           ,
                                                                                                           -
                                                                                                           ?E
                                                                                                            f
                                                                                                            ;
                                                                                                            .
                                                                                                            k
                                                                                                            '
                                                                                                            )
                                                                                                            iEif
                                                                                                             : C:'
                                                                                                                 1                                      ..E':
                                                                                                                                                          -        .
                                                                                                                                                                  . .            .
                                                                                                                                                                                     .           -'
                                                                                                                                                                                                 '                                                         ' '                  ....        .
                     .                                          '           .                       .:
                                                                                                     yt.         j                                   yy
                                                                                                                                                      g
                                                                                                                                                      j
                                                                                                                                                      t
                                                                                                                                                      jjj iy
                                                                                                                                                           .j.                                yyjy                                                                                ..
                             .                                    k
                                                                  j
                                                                 yj
                                                                :.  k
                                                                    :
                                                                    7
                                                                    .                               .
                                                                                                    g
                                                                                                    y..         j
                                                                                                                .(                                  '1''7
                                                                                                                                                        ,
                                                                                                                                                        '.k
                                                                                                                                                          gj
                                                                                                                                                           i:
                                                                                                                                                            .i
                                                                                                                                                             '
                                                                                                                                                             l
                                                                                                                                                             .k
                                                                                                                                                              .
                                                                                                                                                              .                               yyj
                                                                                                                                                                                                yjgjyj,       ,

                                 '                             .                                j' ;
                                                                                                   t
                                                                                                   ,.           1
                                                                                                                ..
                                                                                                                                                                            ''
                                                                                                                                                                             jjy
                                                                                                                                                                               g
                                                                                                                                                                               j                .y
                                                                                                                                                                                                 .
                                                                                                                                                                                                 x
                                                                                                                                                                                                  jy,j                                                                                              j,
                                                                                                                                                                                                                                                                                                     .
                                                                                       3ij
                                                                                         '
                                                                                         é
                                                                                         . j
                                                                                           s
                                                                                           h.y
                                                                                            '
                                                                                            z:
                                                                                             g2
                                                                                              ...sr
                                                                                                  k
                                                                                                  .t.
                                                                                                    )
                                                                                                    jgj
                                                                                                      g
                                                                                                      E
                                                                                                      :
                                                                                                      j
                                                                                                      t.:j
                                                                                                       :                                                                       .            jj(
                                                                                                                                                                                              j                                                                                         , .j
                                                                                                                                                                                y.                .
                                                                                      ji
                                                                                     :' '
                                                                                             (                             .
                                                                                                                                                                                            (yj
                                                                                                                                                                                              rjj.
                                                                                                                                                                                                                                               .                                      ..
                                                                                                                                                                                                                                                                                      ;jj
                                                                                                                                                                                                                                                                                        y
                                                                                                                                                                                                                                                                                        ;  . ,                   .
                                                     '                                               .
                                                                                             s
                                                                                             :
                                                                                             !: :    .
                                                                                                       $
                                                                                                       jgj
                                                                                                         t                                                                               yj
                                                                                                                                                                                         't
                                                                                                                                                                                          y
                                                                                                                                                                                          j:
                                                                                                                                                                                           .'
                                                                                                                                                                                            .
                                                                                                                                                                                            <
                                                                                                                                                                                            jyj
                                                                                                                                                                                              .
                                                                                                                                                                                              (
                                                                                                                                                                                              y;
                                                                                                                                                                                               ëj.
                                                                                                                                                                                                 j:.                                      .                     .                  y
                                                                                                                                                                                                                                                                                   .jc
                                                                                                                                                                                                                                                                                     y..t
                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                        g                                        . ,
                         .
                                                                                  jjl!t .                                                                                                      j
                                                                                                                                                                                               pik:       .
                                                                                                                                                                                                                                                  o'.j.                            .                             .
                                                      ---
                                                        ...                     -
                                                                                t
                                                                                i
                                                                                i
                                                                                I
                                                                                .y
                                                                                 .
                                                                                 l
                                                                                 !Lj'.j
                                                                                i j?.:1 '
                                                                                         .
                                                                                         i
                                                                                         1
                                                                                         ;
                                                                                         )
                                                                                         :
                                                                                         i@ .
                                                                                          j   !
                                                                                              j
                                                                                              . . . -.. -;-.-.
                                                                                              :                                          .
                                                                                                                                                                                              :
                                                                                                                                                                                              '
                                                                                                                                                                                              )
                                                                                                                                                                                              E
                                                                                                                                                                                              ij '
                                                                                                                                                                                                 !
                                                                                                                                                                                                 jI
                                                                                                                                                                                                  -(
                                                                                                                                                                                                   ,
                                                                                                                                                                                                                              .                   L.
                                                                                                                                                                                                                                                   -....
                                 .                       .                  . ..:
                                                                              . .  :g
                                                                                    g         .jjy
                                                                                                :t
                                                                                                 q
                                                                                                 g
                                                                                                 .i
                                                                                                  j
                                                                                                  y
                                                                                                  .
                                                                                                  :l
                                                                                                   :j
                                                                                                   ;
                                                                                                   ,lys ' ;(
                                                                                                           j
                                                                                                           y
                                                                                                           jtjj
                                                                                                              y
                                                                                                              jyyyy
                                                                                                                  jy jj...
                                                                                                                         ,-                                                                  j.
                                                                                                                                                                                              j.t
                                                                                                                                                                                                /l
                                                                                                                                                                                                 '                                                                      .                                    .                                           '
                                                                                  '
                                                                                        .:    ! ,@
                                                                                              1  . ''                               ''              9
                                                                                                                                                    ;
                                                                                                                                                    's
                                                                                                                                                     '                                           :
                                                                                                                                                                                                 ;
                                                                                                                                                                                                 L
                                                                                                                                                                                                 b
                                                                                                                                                                                                 .
                                                                                                                                                                                                 1
                                                                                                                                                                                                 Iï
                                                                                                                                                                                                  1
                                                                                                                                                                                                  2E
                                                                                                                                                                                                   6              .
                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                           ...                      '.'' '
                                                                                                                                                                                                                                              .'' .%.                       .          :'
                                                                                                                                                                                                                                                                                       E


                                                                                                                                                                             t/   -z
                                                                                                                                                                              E:!!)y.
                                                                                                                                                                                    :                             .. ..
                                                                                                                                                                                                                      Q
                                                                                                                                                                                                                      .. .
                                                                                                                                                                                                                         . ..
                                                                                                                                                                                                                            ..-.                           ..
                                                                                                                                                                                                                                                           ,

                                                                                                                                                    .                       t'
                                                                                                                                                                             pj
                                                                                                                                                                             j
                                                                                                                                                                            ïj
                                                                                                                                                                             !
                                                                                                                                                                             y
                                                                                                                                                                             ;
                                                                                                                                                                             -1
                                                                                                                                                                              s
                                                                                                                                                                              .
                                                                                                                                                                              j
                                                                                                                                                                              .y
                                                                                                                                                                              )
            .
                                                                                                                                                                            j;v
                                                                                                                                                                              :
                                                                                                                                                                             .k
                                                                                                                                                                               &Ej
                                                                                                                                                                                 ,-
                                                                                                                                                                                  y;                                                                                              .                                              '
                                                                                                                                                                            g.
                                                                                                                                                                            j :j
                                                                                                                                                                              .  !..                  .
                                                                                                                                                          :                               '       '           '                                                                                          '
                                                                        .
    .                                '
                                            Z.                -p y - -'                         '        .           .*                                                                                                                                                                                                  .


                                 247.            Cantwèlldidnotrun away from thepolice.Quitethecontrary,he                                                                                                                                                                                                                   .
                                         spoke f'
                                                reely toboth law enforcem entand m edia.




                                                                                                                                                                                                      .                                       '                                                     .
            .
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 50 of 53 Pageid#:
                                    8448



                                           A fter A ction                   l
     248.
                                                                            !
               Exhibitl3g-Aftershow isa video com pilation showing Gorcenskifrom
        the lastm o> entsofthe fight,up untilpolice force Plaintiffs'co-cons
                                                                           i
                                                                             pirators
        to leavè the scene.                                                I




     249. M terthefighting stops,dorcenskicalmlyrem ainsin thecroFd,and
        beginsplayingwith hisphone.Gorcenskican beseen calmlyrem ovingllis
        own glassesfrop hisface, and placing them into his hair.   l
                                                                   j
                                    '
                                                                            ;
     250.       Surrounded by torch bearing rallygoers,secondsafterthe Egl
                                                                         ht,
         Gorcensld showsnofearatall,wllilehetapsawayon thesm artphàne.
                                                                   I
                                                                      He
         then wipeshis eyesseveraltim es,as(tcounterprotesters''.and Leftist
         çom batants alike,w alk aw ay unm olested.                      '
                                                                            !
     251.       Then,Gorcenskirestartsthe live stream ing featureon the 1
         sm artphone,and putson a show forthe audience.Gorcenskiclaim j to have
         djust''beenpeppersprayed,thatllisglasseswerepushedintollisV irby
         violentN azis,and thatpolice did notM ng to protect the innocent counter
         protesters.
                                                                            i
                                                                            l
                                                                            '
                                                                            i
     252.       Gorcenskiaccoststhepolice,allbutaccusingxthem ofcom plicity in the
         m ayhem Plaintifs'co-conspiratorshadjustperpetrated.               i
     253.     GorcenskisaysdAntifa didn'tspray sllit.The# sprayed us.They
                                                             '
                                                                       q
        sprayed us.They attacked us''.Though a blatantlie asvideoprovej,
                                                                       'thisis
         acctu-ate insofar as it dem onstrates that ((ùsnjs ((A ntjjal'.    :
     '
                                                                            1
                                           '

                                         A ugtlst 12th                      I
                                                                            j
                                                                          !
     254.      Contrary to Plaintifs'claim s,Cantw ells involvem ent on August 12th
        w as quite m inim al.                                             i

     255.       Cantwellw asinstructed to arrive atM çlntyre Park,where a(van
         would shuttle him tb the entrance ofLee Park.                      1
     256.                                                            1offblocks
                Much toCantwell'ssurprise,thevan would be dropping Vmj       '
         from the qvezlt,and he w ould have to w alk through a gauntlet of hdstile
         dem onstrators,whohurledprojectilesatllim andhisassociates.
     257.      Havinghadhisbody camei-astolen byLindsay Eltzabeth M oIersthe
                                                                       1sway to
         Previousevensrig,Cantwellinstead carrieda hanéheld cam eraon hi
         the event.On tllis,Cantw ellcaptured M ike Longo Jr.pepper spray him
         w ithoutprovocation.
                                                                            i



                                                                            i
                                                                            ?
                                                                            I
'



                            Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 51 of 53 Pageid#:
                                                             .                                .                                 '
                                                         .
                                                                8449
:                   .                                                                                                '' .                                                          .




@
i                                           .258.                às cantwellwastreatedforhissecondpepperspray assaultin as '
1
i                            '                       ma
                                                     R
                                                     Donn'
                                                         v
                                                         *
                                                         'tdkai*
                                                               v
                                                               's*
                                                                 .onerall*
                                                                         v'h
                                                                           g-
                                                                            'oe'
                                                                               rsa*
                                                                                  v
                                                                                  'sdWe'
                                                                                       rel h
                                                                                           -
                                                                                           e
                                                                                           onnakilleml  ''and
                                                                                                            ïCantwe. ljsays
                                                               llanybodyl''.Thisbeingin stark contrasttoPlalntiffs'reprated '
                                                     assertions thatDefendantsRtook no steps''to preventor m itigate.violence.'
                                                                                  t                                                               .                                    '
                                                259.             W hile stillrecpvçring 9om the attack,Cantwellwas inform ed that
                                                     policedeclaredanunlawfulassembly,andunlikethePlaintifs,Clntwell
                                                     heeded the com m and.
                .               '
                                                260.                     -#   '
                                                                 Cantwilland othersw alked outofthe park. '
                                                                                                          lSnto the m ob.and braved                                                        '
                                                 '                                                .              .                      'i
                                                                                                                                         *'
            .                                                                                           ''              '' y
                '                                    attàcksfrom projectiles,fists,azidpepperspray astheyatte>pted'
                                                                                                                  toescape.
                                                261.     Aéked by Vice New sifrallykoerswere the true non-violentproteéters,
                                                   Cantw ellstatesiéIizznoteven àaying pr&J-&non -violent.fe saying -
                                                                                                                    1e'didn't
                                                     àggress.cedidni z'nz'
                                                                         ffaf'
                                                                             eircear-
                                                                                    eazWg;anybodf .
                                        '                                                                                                             .
        .                                                                                                                               '
                                                                                      .                                                                                .                                 j
                                                262.            '
                                                                 ThevantookèantwellandothersbqcktoMclntyrePârk,andfrom
                                                     there,Cantwe11w entback to hishotelroom to showeroffLongo'sp'
                                                                                                                 epper                                                                              .


                                                     Spray.
                                                     .                    '
                                                                                                             .              .                                      '           '



                                                263.      Cantwellheard through socialm edia;thatGorcenskiclaim ed a
                                                   F arrantw asoutforhisarrest.
                    '                           j64              CantwellcalledtheChârlottesvillepolice department,inquiringtothe
                                                     truth ofthis,btztthey would notconfirm or deny the rum or.

                                                265.             Seeingapressconferencein which thepolicechiefasiedrallygoersto                                                            , '
                                                     lea
                                                     H  ve,Can
                                                       ampsh  twwent
                                                             re, ellhete
                                                                       od
                                                                        edtthheCaro
                                                                        Nor    advilcie,butt
                                                                                      na,  oi
                                                                                            ns
                                                                                            se teald
                                                                                              ek     ofhce
                                                                                                   egal   ading
                                                                                                         ounsel,North
                                                                                                                and tot
                                                                                                                      ot
                                                                                                                       Nerewm ine if
                                                                                                                      det
                                                     the Warrantrum orW astrue.                                        '

                            '                   266.      Cantwellw as cpntacted by SpecialAgentPhilChristiana of he FBI's
                                                                                                      .
                                                   JointTerroristTask Force outofBoston. Christiana wanted Cantwel
                                                                                                                 l
                                                                                                                 ' l'shelp
                                                                                                                                                      .
                                                                                                                                                                                               .
                                                   in prevçnting violence atan upcom ing rally in Boston.  '
                                                                                          '           '                                       '                                                          '
                        .                                                                                                           .

                                                267.      Cantwelltold Christiana he wùuld love tohelp,butwasbus dealing
                .                   .                                                                              k                                                                                .,
                                                   with the afterm ath ofthe evepts in dispute.C>ntwellasked Christlania to
                                                   confirm the warrânt,and m om ents later,Christiana called Cantwellback
        .
                                                   confirm ing thata warranthad been issued by UVA police.                                                                                          .
                                            .        )                                .                                                                   ..                                   ..
                                                268.             Cantwellobtaine;thecounselofElmerWoodard,ahdturne hjmself
    .
                                                     intopplice.                                                                                                           '

                                                                     '
                                                                                                          conclusion
                                                                                                                                                           ,           .


                                                Tllis StlitNeverH ad M erit,and PlaintiffsAlw ays Knew It.
                                                                                                                 '
                                                                                                                        )                                      .                       .
                                                                 k
Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 52 of
                                                                 I 53 Pageid#:
                                    8450



     N o honestperson who reviewsthe evidence in thiscase can plausibly claim to
        believe the Plaintiffs, story, Plaintiffs and
                                                    .                - l,least
                                                      Plaintifs, counse      -Iofall.The
                                                                               1
        entire thing alw ays was a sham ,and the entire narrative was decept     ively and
        intentionally crafted,wellpriortoany oftheDefendantseyen arrit1ingin the  .

        city.
        '
                                                                              I
     Plaintiffs'counsel,know ing thata trialwillinevitably exposetllisfraqd,
                ..                                                        1 have
        soughtto m ake theprocess aspainful, expensive,tim e consum j.ng,:
                              .



        hum iliating,and intz-usive aspossible,culm inating in the recentm '
                                                                           ption to
        en   joinDefendantCantwell.                                           1
                                                                              ,
                                                                              I

     Butbeforethey didthat,astheJewish TelegraphicAgencyputitin tllearticle
        aboutKaplan'sInterview,RKaplan'steam hasobtainedreamsofiniormation''
        on theiropponents and critics,which willsurely com e in handy forIdecadesto
                                                         '
                                                                              I
        COnAe.                                                                1
                                                                              .

     Plaintiffs and Plaintiffs'counselcould notpossibly have believed certain aspects
        oftheirown com plaintwhen they ûled it.Otheraspects they m ightIhave
        genuinelyconvinced them selvesofoutofsheerideologicalbias,withoui
        evidence,which is'stillneghgentatbest.Theirwell-lnancedinvestigation,
        and profoundly intrusive discovery,surely dissuaded them by now from any
        good faith errorsm ade in the beginning.

     Ratherthan adm ittheirerrors.
                         .       ' and f
                                       l-ee thetareet
                                                  ''''' s oftheir enm i
                                                                      tv''' f
                                                                            röIm tllis
        abuse ofour Courts,they have doubled dow n,and soughtm otionsforno
        otherpurpose than to saltwounds and twistblades                       I
                                                                 .            ;
     Theirm alice is on display throughoutthe com plaintand subsequentm1otions.
                     '
        DescribingDefendantsas((vile))and ((obscene)) Placing((rally/)and(isecurit/)
        an(j.((secreg an(j.(tdefense''in quotationsthroughout,asthough Defèndanté
                                                                           l
        could notconceivably have a rally,orbe entitled to security,secretj,orself
        defense.Allthat'smissingismarkingup ddrights''in thesamefaslliàn,which
        one m ightsuspectproved tem pting for Plaintiffs     .
                                                                              1
     In theirm inds,wllich are so overcom e with certainty oftheir own m oral1
        superiority, therçcan benolegitim acy tothe((otherside,,.w hue o r:
                                                                          fendants
        describethemselvesasttW hiteNationalists''ort'NationalSocialists'1
                                                                         'orRpro-
        W hite''ord'AltRight'')Plaintiffsinsiston them oreinflâmm atory teym s
        (tW hite Suprem acist''and ddneo-N azi''and dtKlansm en'' using allsuch epithets
        interchangeably,andbaselesslyinsertingRviolent''andtthate''asabjectives
        tlzroughout.

     As farasPlaintiffsare concerned,there are only people who agreè witkI them ,
        andcriminalswhomustbepunished.Literally.Tllisbiasisreplete,:notonly
        tllroughoutthis abuse ofour Courts,butthroughoutal1ofourpolitical
        discourse today. ThePresidentoftheUlaited Statessaidtherewerel1xfine
;
:
    Case 3:17-cv-00072-NKM-JCH Document 637-4 Filed 01/21/20 Page 53 of 53 Pageid#:
                                        8451



               peopleon both sikes''thatweekend,andPlaintiffs,hketoomany others,
               insisttllis isim possible.

            So farasPlaintiffs are coneerned,they arethe good,kind,decentfolks,even the
               violeptcriminalstheyconspirewith.TheRotherside''areviolentcriminals,
                                                             '
               even those who only speak their m ind in disagreem entwith the     i
               f                                                                  j
                undam entalistreligion ofegalitarianism ,which Plaintiffstake as Gospel.
                                                                                  :
            Thism ustbe repaired.N otozzly in thism atter,butin ourcountry,or not
                                                                              1 only
               willou,
                     rsociety unravel,itwillbesetagainstitselfin mortalenmitr.That
               couldwellresultin aconflictwherethesurvivorsarenotthe mostfortunate
               ones,as hasbeen seen m ore than a few tim es throughoutM an'str/gic
               history.
            Plaintiffs and their counselwould bew ellsèrved to contemplate the longterm
               ramificatlonsoftllis.Theirgrip on power,itwasshown in 2016,isIpotso
               absoluteasthey wouldliketotllink,and the/llfmvestop blamingkussia,at
               somepoint.Theirdesperateactionsin thisand otherm atters,shor thatthey
               recogllize the possibility offolkslike DefezidantCantwellgetting iziproxim ity
               toP0W er.

            W hen Plaintissbecom e ttthe otherside,''they willcertainly hope Defeztdants
               recognizethattttheotherside''hasttrights'')andSreatthem,betterthan they
               treatedus.                                    1
                                                             1
                        D EFEN DA N T S PRAY ER FO R R ELIEF :
                                     ,


       W H EREFORE                                                    1
                  , the premisesconsidered,DefendantCantwellrequeststhq
                            ,                                           following
       relief                                                         1
                                                                      I

       a.Tllis Courtdeny Plaintiffs'm otion forevidentiary sanctions.

       b.EntryofajudgmentinfavorofDefendintsMgainsteachPlaintiffanddismissalof
       theSecondAmended Complaintwith prejudice;
       c. An aw ard of@l1costs;and                                                I
                                                                                  i
       d An award ofsuch otherorfurtherreliefasthisCourtmighjdeeG justand
        .
                                                                      1
       Propel*.

       Respectfully subm itted,

       dllristopherCantwellJanuary 18t?2020

            ZG
             /(
              ,
              't
               r
               '
               t
               l
               .
               ,
               yr,
                 yXWy                       t
